                Case 20-11218-MFW             Doc 645        Filed 07/01/20        Page 1 of 142




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re
                                                                   Chapter 11

    The Hertz Corporation, et al.,1                                Case No. 20-11218 (MFW)

                                                                   (Jointly Administered)
                                         Debtors.


                                        AFFIDAVIT OF SERVICE

       I, Joudeleen C. Frans, depose and say that I am employed by Prime Clerk LLC (“Prime
Clerk”), the claims and noticing agent for the Debtors in the above-captioned chapter 11 cases.

       On June 25, 2020, at my direction and under my supervision, employees of Prime Clerk
caused the following documents to be served (1) via email on the Core Email Service List attached
hereto as Exhibit A; (2) the Respondents Service List attached hereto as Exhibit B; (3) the ECF
Email Service List attached hereto as Exhibit C; and via email on jpowell@delawarefirm.com:

           Notice of Second Amended Agenda for Telephonic and Video Hearing Scheduled for
            June 25, 2020, at 3:00 p.m. (prevailing Eastern Time), before the Honorable Mary F.
            Walrath, at the United States Bankruptcy Court for the District of Delaware [Docket No.
            587] (the “Amended Agenda”)

       On June 25, 2020, at my direction and under my supervision, employees of Prime Clerk
caused the Amended Agenda to be served via first class mail on the Core FCM Service List
attached hereto as Exhibit D and on the United of the United States Trustee, Attn: Linda
Richenderfer Trial Attorney, 844 King Street, Suite 2207, Lockbox 35, Wilmington, DE 19801.

       At my direction and under my supervision, employees of Prime Clerk caused the following
documents to be served by the method and date set forth on the Core/2002 Service List
attached hereto as Exhibit E and on June 26, 2020 via email on the ECF Email Service List
attached hereto as Exhibit C:

           Certification of Counsel regarding Order Establishing Procedures for Interim
            Compensation and Reimbursement of Expenses for Chapter 11 Professionals and
            Committee Members [Docket No. 516]

1
          The last four digits of The Hertz Corporation’s tax identification number are 8568. The location of the
debtors’ service address is 8501 Williams Road, Estero, FL 33928. Due to the large number of debtors in these chapter
11 cases, for which joint administration for procedural purposes has been granted, a complete list of the debtors and
the last four digits of their federal tax identification numbers is not provided herein. A complete list of such
information may be obtained on the website of the debtors’ claims and noticing agent at
https://restructuring.primeclerk.com/hertz.
        Case 20-11218-MFW          Doc 645      Filed 07/01/20    Page 2 of 142




   Certification of Counsel regarding Order Authorizing the Employment and Retention of
    White & Case LLP as Attorneys to the Debtors nunc pro tunc to the Petition Date
    [Docket No. 519]

   Certification of Counsel regarding Order Authorizing the Employment and Retention of
    FTI Consulting, Inc. as Restructuring Advisor to the Debtors nunc pro tunc to the Petition
    Date [Docket No. 521]

   Certification of Counsel regarding Final Order (A) Authorizing Debtors to (I) File a
    Consolidated Creditor Matrix, (II) File a Consolidated List of 50 Largest Unsecured
    Creditors, (II) Waive Requirements to File a List of All Equity Holders and Modify
    Notice Thereto, and (b) Granting Related Relief [Docket No. 522]

   Certificate of No Objection regarding Debtors' Application to Retain and Employ
    Richards, Layton & Finger, P.A. as Co-Counsel to the Debtors effective as of the Petition
    Date [Docket No. 523]

   Certificate of No Objection regarding Debtors' Application for Entry of an Order
    Authorizing the Employment and Retention of Prime Clerk LLC as Administrative
    Advisor to the Debtors nunc pro tunc to the Petition Date [Docket No. 524]

   Certification of Counsel regarding Order Extending Time to File (I) Schedules of Assets
    and Liabilities, (II) Schedules of Current Income and Expenditures, (III) Schedules of
    Executory Contracts and Unexpired Leases, (IV) Statements of Financial Affairs, and (V)
    Rule 2015.3 Financial Reports [Docket No. 525]

   Certification of Counsel regarding Order Authorizing the Debtors to Employ
    Professionals Used in the Ordinary Course of Business [Docket No. 526]

   Certification of Counsel regarding Final Order (I) Authorizing, but Not Directing, the
    Debtors to Pay Certain Prepetition Taxes & Fees and (II) Granting Related Relief
    [Docket No. 527] (the “COC regarding Final Tax Order”)

   Certification of Counsel regarding Final Order (I) Approving Debtors' Proposed Form of
    Adequate Assurance of Payment to Utility Providers, (II) Establishing Procedures for
    Resolving Objections by Utility Providers, and (III) Prohibiting Utility Providers from
    Altering, Refusing, or Discontinuing Utility Services [Docket No. 528] (the “COC
    regarding Final Utilities Order”)

   Certification of Counsel regarding Final Order (I) Authorizing, but Not Directing, the
    Debtors, to Pay Prepetition Claims of Foreign and Critical Vendors, and (II) Confirming
    Administrative Expense Priority Status for Outstanding Prepetition Purchase Orders, and
    (III) Granting Related Relief [Docket No. 529] (the “COC regarding Critical Vendors”)



                                            2
        Case 20-11218-MFW          Doc 645       Filed 07/01/20   Page 3 of 142




   Certification of Counsel regarding Final Order (I) Authorizing, but Not Directing,
    Debtors to Honor Prepetition Obligations to Non-Debtor Franchisees in the Ordinary
    Course and (II) Granting Related Relief [Docket No. 530]

   Certification of Counsel regarding Final Order (I) Authorizing, but Not Directing, the
    Debtors to (A) Maintain Their Existing Customer Programs and (B) Honor Certain
    Prepetition Customer Obligations, and (II) Granting Related Relief Thereto [Docket No.
    532] (the “COC regarding Final Customer Programs Order”)

   Order Establishing Procedures for Interim Compensation and Reimbursement of
    Expenses for Chapter 11 Professionals and Committee Members [Docket No. 534]

   Order Authorizing the Employment and Retention of White & Case LLP as Attorneys to
    the Debtors nunc pro tunc to the Petition Date [Docket No. 536]

   Order Authorizing the Employment and Retention of FTI Consulting, Inc. as
    Restructuring Advisor to the Debtors nunc pro tunc to the Petition Date [Docket No. 538]

   Final Order (A) Authorizing Debtors to (I) File a Consolidated Creditor Matrix, (II) File a
    Consolidated List of 50 Largest Unsecured Creditors, (III) Waive Requirements to File a
    List of All Equity Holders and Modify Notice Thereto, and (B) Granting Related Relief
    [Docket No. 539]

   Order Extending Time to File (I) Schedules of Assets and Liabilities, (II) Schedules of
    Current Income and Expenditures, (III) Schedules of Executory Contracts and Unexpired
    Leases, (IV) Statements of Financial Affairs, and (V) Rule 2015.3 Financial Reports
    [Docket No. 540]

   Final Order (I) Authorizing, but Not Directing, the Debtors to Pay Certain Prepetition
    Taxes & Fees and (II) Granting Related Relief [Docket No. 541] (the “Final Taxes
    Order”)

   Final Order (I) Authorizing, but Not Directing, Debtors to Honor Prepetition Obligations
    to Non-Debtor Franchisees in the Ordinary Course and (II) Granting Related Relief
    [Docket No. 543]

   Final Order (I) Authorizing, but Not Directing, the Debtors to (A) Maintain Their
    Existing Customer Programs and (B) Honor Certain Prepetition Customer Obligations,
    and (II) Granting Related Relief Thereto [Docket No. 544] (the “Final Customer
    Programs Order”)

   Order Authorizing the Debtors to Retain and Employ Richards, Layton & Finger, P.A. as
    Co-Counsel to the Debtors effective as of the Petition Date [Docket No. 545]

   Order Authorizing the Employment and Retention of Prime Clerk LLC as Administrative
    Advisor to the Debtors nunc pro tunc to the Petition Date [Docket No. 546]

                                             3
        Case 20-11218-MFW          Doc 645      Filed 07/01/20    Page 4 of 142




   Order Authorizing the Debtors to Employ Professionals Used in the Ordinary Course of
    Business [Docket No. 547]

   Final Order (I) Approving Debtors' Proposed Form of Adequate Assurance of Payment to
    Utility Providers, (II) Establishing Procedures for Resolving Objections by Utility
    Providers, and (III) Prohibiting Utility Providers from Altering, Refusing, or
    Discontinuing Utility Services [Docket No. 548] (the “Final Utilities Order”)

   Certification of Counsel regarding (1) Second Agreed Order (I) Authorizing Use of Cash
    Collateral and (II) Granting Adequate Protection and Related Relief to Prepetition
    Secured Parties, and (2) Second Agreed Order Granting Adequate Protection and Related
    Relief to Prepetition Sidecar Secured Parties [Docket No. 552] (the “COC regarding
    Cash Collateral Sidecar”)

   Certification of Counsel regarding Final Order (I) Authorizing, but Not Directing, the
    Debtors to Pay Certain Prepetition Claims of Airport Authorities and (II) Granting
    Related Relief [Docket No. 558] (the “COC regarding Airport Authorities”)

   Second Agreed Order (I) Authorizing Use of Cash Collateral and (II) Granting Adequate
    Protection and Related Relief to Prepetition Secured Parties [Docket No. 559] (the “Final
    Cash Collateral Order”)

   Second Agreed Order Granting Adequate Protection and Related Relief to Prepetition
    Sidecar Secured Parties [Docket No. 560] (the “Final Sidecar Cash Collateral Order”)

   Final Order (I) Authorizing, but Not Directing, the Debtors to Pay Certain Prepetition
    Claims of Airport Authorities and (II) Granting Related Relief [Docket No. 563] (the
    “Final Airport Authorities Order”)

   Certification of Counsel regarding Final Order (a) Authorizing, but Not Directing, the
    Debtors to (I) Maintain Existing Insurance Policies and Pay All Insurance Obligations
    Arising Thereunder, (II) Continue Insurance Premium Financing and (iii) Renew, Revise,
    Extend, Supplement, Change or Enter Into New Insurance Policies and Insurance
    Premium Financing Agreements and (B) Modifying Automatic Stay with Respect to
    Workers' Compensation Programs [Docket No. 575] (the “COC regarding Final
    Insurance Order”)

   Certification of Counsel regarding Final Order (I) Authorizing, but Not Directing,
    Debtors to (A) Continue Use of Their Existing Cash Management System, Bank
    Accounts, Checks and Business Forms, (B) Pay Related Prepetition Obligations, (C)
    Continue Performance of Intercompany Transactions, and (d) Continue Hedging
    Practices; (II) Waiving the Section 345(b) Deposit and Investment Requirements; and
    (III) Granting Related Relief [Docket No. 582] (the “COC regarding Final Cash
    Management Order”)


                                            4
           Case 20-11218-MFW          Doc 645      Filed 07/01/20   Page 5 of 142




      Final Order (A) Authorizing, but Not Directing, the Debtors to (I) Maintain Existing
       Insurance Policies and Pay All Insurance Obligations Arising Thereunder, (II) Continue
       Insurance Premium Financing and (III) Renew, Revise, Extend, Supplement, Change or
       Enter Into New Insurance Policies and Insurance Premium Financing Agreements and
       (B) Modifying Automatic Stay with Respect to Workers' Compensation Programs
       [Docket No. 584] (the “Final Insurance Order”)

      Final Order (I) Authorizing, but Not Directing, Debtors to (A) Continue Use of Their
       Existing Cash Management System, Bank Accounts, Checks and Business Forms, (B)
       Pay Related Prepetition Obligations, (C) Continue Performance of Intercompany
       Transactions, and (D) Continue Hedging Practices; (II) Waiving the Section 345(b)
       Deposit and Investment Requirements; and (III) Granting Related Relief [Docket No.
       586] (the “Final Cash Management Order”)

      Final Order (A) Authorizing, but Not Directing, the Debtors to: (I) Pay Prepetition Wages
       and Compensation; (II) Continue Certain Employee Incentive and Expense Programs;
       (III) Continue Certain Employee Benefit Programs; (B) Authorizing All Banks to Honor
       Prepetition Checks for Payment of Prepetition Employee Obligations; and (C) Granting
       Other Related Relief [Docket No. 593] (the “Final Wages Order”)

      Debtors’ Application for Entry of an Order Authorizing the Employment and Retention
       of Deloitte Tax LLP as Tax Services Provider to the Debtors nunc pro tunc to the Petition
       Date [Docket No. 599]

      At my direction and under my supervision, employees of Prime Clerk caused the following
documents:
      1) COC regarding Final Tax Order, Final Utilities Order, COC regarding Critical
          Vendors, COC regarding Final Customer Programs Order, Final Taxes Order, Final
          Customer Programs Order, Final Utilities Order, COC regarding Cash Collateral
          Sidecar, COC regarding Airport Authorities, Final Cash Collateral Order, Final
          Sidecar Cash Collateral Order, Final Airport Authorities Order, COC regarding Final
          Insurance Order, COC regarding Final Cash Management Order, Final Insurance
          Order, Final Cash Management Order, Amended Agenda, and Final Wages Order to
          be served by the method and date set forth on the Banks Service List attached hereto
          as Exhibit F.

       2) COC regarding Cash Collateral Sidecar, Final Cash Collateral Order, Final Sidecar
          Cash Collateral Order, and Amended Agenda to be served by the method and date set
          forth on the Notice Parties Service List attached hereto as Exhibit G.

       On June 25, 2020, at my direction and under my supervision, employees of Prime Clerk
caused the following documents:

       1) COC regarding Final Insurance Order, Final Insurance Order, and Amended Agenda
          to be served via first class mail on the Insurance Service List attached hereto as
          Exhibit H.

                                               5
           Case 20-11218-MFW           Doc 645       Filed 07/01/20    Page 6 of 142




       2) COC regarding Cash Collateral Sidecar, Final Cash Collateral Order, and Amended
          Agenda to be served via first class mail on the UCC Lienholders Service List attached
          hereto as Exhibit I.

       3) COC regarding Final Utilities Order, Final Utilities Order, and Amended Agenda to
          be served via first class mail on the Utilities Service List attached hereto as Exhibit J.



Dated: July 1, 2020
                                                             /s/ Joudeleen C. Frans______
                                                             Joudeleen C. Frans

State of New York
County of New York

Subscribed and sworn to (or affirmed) before me on July 1, 2020, by Joudeleen C. Frans, proved
to me on the basis of satisfactory evidence to be the person who appeared before me.



/s/ ADAM ADLER
Notary Public, State of New York
No. 02AD6306134
Qualified in Nassau County
Commission Expires June 16, 2022




                                                 6
                                                                                       SRF 43488
Case 20-11218-MFW   Doc 645   Filed 07/01/20   Page 7 of 142




                       Exhibit A
                                                Case 20-11218-MFW                Doc 645            Filed 07/01/20        Page 8 of 142
                                                                                           Exhibit A
                                                                                     Core Email Service List
                                                                                        Served via email
                       DESCRIPTION                               NAME                                          ADDRESS                                           EMAIL

                                                                                        ATTN: ARIK PREIS KEVIN ZUZOLO & PATRICK C. CHEN   APREIS@AKINGUMP.COM
COUNSEL TO THE AD HOC GROUP OF SECOND LIEN                                              ONE BRYANT PARK                                   KZUZOLO@AKINGUMP.COM
NOTEHOLDERS                                     AKIN GUMP STRAUSS HAUER & FELD LLP      NEW YORK NY 10036                                 PATRICK.CHEN@AKINGUMP.COM
                                                                                        ATTN: JAMES J. VINCEQUERRA
                                                                                        90 PARK AVENUE
COUNSEL TO TRAVELPORT, LP                       ALSTON & BIRD LLP                       NEW YORK NY 10016                                 JAMES.VINCEQUERRA@ALSTON.COM
                                                                                        ATTN: DAVID POLANSKY
                                                AMERICAN AUTOMOBILE ASSOCIATION,        1000 AAA DRIVE
COMMITTEE OF UNSECURED CREDITORS                INC.                                    HEATHROW FL 32746                                 DPOLANSKY@NATIONAL.AAA.COM
                                                                                        ATTN: LAWRENCE A. LEVINE ESQ.
                                                                                        300 SE 17TH STREET
COUNSEL TO RICHARD BENNETT                      ANIDJAR & LEVINE P.A.                   FORT LAUDERDALE FL 33316                          LLEVINE@ANL‐LAW.COM
                                                                                        ATTN: ANDREW I. SILFEN BETH M. BROWNSTEIN
                                                                                        1301 AVENUE OF THE AMERICAS FLOOR 42              ANDREW.SILFEN@ARENTFOX.COM
COUNSEL TO BOKF NATIONAL ASSOCIATION            ARENT FOX LLP                           NEW YORK NY 10019                                 BETH.BROWNSTEIN@ARENTFOX.COM
                                                                                        ATTN: MICHAEL D. MESSERSMITH
                                                                                        70 WEST MADISON ST
                                                                                        SUITE 4200
COUNSEL TO AD HOC GROUP FOR SENIOR TERM LOAN    ARNOLD & PORTER                         CHICAGO IL 60602‐4231                             MICHAEL.MESSERSMITH@ARNOLDPORTER.COM
                                                                                        ATTN: JAMES W. GRUDUS, ESQ.
                                                                                        ONE ROCKEFELLER PLAZA, ROOM 18‐19
COUNSEL TO AT&T CORP. AND ITS AFFILIATES        AT&T SERVICES, INC.                     NEW YORK NY 10020                                 JAMES.GRUDUS@ATT.COM
                                                                                        ATTN: ADAM DRAIZIN PRESIDENT
                                                                                        1150 N ALMA SCHOOL RD.
TOP 50 LARGEST UNSECURED CREDITORS              ATS PROCESSING SERVICES                 MESA AZ 85201                                     HERTZ@ATSOL.COM
                                                                                        ATTN: ALISON KOWALSKI
                                                                                        385 RIFLE CAMP ROAD
                                                                                        3RD FLOOR
BANK OF NEW YORK MELLON                         BANK OF NEW YORK MELLON                 WOODLAND PARK NJ 07424                            ALISON.KOWALSKI@BNYMELLON.COM
                                                                                        ATTN: PAUL BULLIVANT
                                                                                        LEVEL 6 DELOITTE CENTRE 80 QUEEN STREET
NEW ZEALAND RCF ‐ BANK OF NEW ZEALAND AS LENDER BANK OF NEW ZEALAND                     AUCKLAND 1010 NEW ZEALAND                         PAUL.BULLIVANT@BNZ.CO.NZ
                                                                                        ATTN: KEVIN M. NEWMAN
COUNSEL TO DLC MANAGEMENT CORP. AND PG                                                  125 EAST JEFFERSON STREET
SYRACUSE, LLC                                   BARCLAY DAMON LLP                       SYRACUSE NY 13202                                 KNEWMAN@BARCLAYDAMON.COM
                                                                                        ATTN: SCOTT L. FLEISCHER
                                                                                        1270 AVENUE OF THE AMERICAS
COUNSEL TO DLC MANAGEMENT CORP. AND PG                                                  SUITE 501
SYRACUSE, LLC                                   BARCLAY DAMON LLP                       NEW YORK NY 10020                                 SFLEISCHER@BARCLAYDAMON.COM
                                                                                        ATTN: CHRISTOPHER AITKIN
BARCLAYS BANK PLC AS ADMINISTRATIVE AGENT AND   BARCLAYS BANK PLC BANK DEBT             745 SEVENTH AVENUE
COLLATERAL AGENT OR "SENIOR CREDIT AGREEMENT"   MANAGEMENT GROUP                        NEW YORK NY 10019                                 CHRISTOPHER.AITKIN@BARCLAYS.COM


        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                            Page 1 of 25
                                                   Case 20-11218-MFW               Doc 645          Filed 07/01/20       Page 9 of 142
                                                                                          Exhibit A
                                                                                    Core Email Service List
                                                                                       Served via email
                   DESCRIPTION                                    NAME                                    ADDRESS                                             EMAIL
BARCLAYS BANK PLC AS ADMINISTRATIVE AGENT AND                                         ATTN: ROBERT WALSH
COLLATERAL AGENT (“SENIOR CREDIT AGREEMENT        BARCLAYS BANK PLC BANK DEBT         745 SEVENTH AVENUE
AGENT”)                                           MANAGEMENT GROUP                    NEW YORK NY 10019                               ROBERT.XA.WALSH@BARCLAYS.COM
                                                                                      ATTN: AGENCY SERVICES – LINDSAY PROUD
BARCLAYS BANK PLC AS ADMINISTRATIVE AGENT AND                                         700 PRIDES CROSSING                             12145455230@TLS.LDSPROD.COM
COLLATERAL AGENT OR "SENIOR CREDIT AGREEMENT"     BARCLAYS BANK PLC LOAN OPERATIONS   NEWARK DE 19713                                 LINDSAY.PROUD@BARCLAYS.COM
                                                                                      ATTN: CATHERINE E. HOLZHAUSER
COUNSEL TO TEAMSTERS LOCAL UNION NOS. 150, 431,                                       520 CAPITOL MALL, SUITE 300
665, 853 & 856                                    BEESON, TAYER & BODINE, APC         SACRAMENTO CA 95814                             CHOLZHAUSER@BEESONTAYER.COM
                                                                                      ATTN: JENNIFER R. HOOVER, KEVIN M. CAPUZZI, &
                                                                                      JOHN C. GENTILE                                 JHOOVER@BENESCHLAW.COM
COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED BENESCH, FRIEDLANDER, COPLAN &         222 DELAWARE AVENUE, SUITE 801                  KCAPUZZI@BENESCHLAW.COM
CREDITORS                                         ARONOFF LLP                         WILMINGTON DE 19801                             JGENTILE@BENESCHLAW.COM
                                                                                      ATTN: DAVID M. KLAUDER
COUNSEL TO 104 FOUNDRY STREET REALTY LLC & RENO‐                                      1204 N. KING STREET
TAHOE AIRPORT AUTHORITY                           BIELLI & KLAUDER LLC                WILMINGTON DE 19801                             DKLAUDER@BK‐LEGAL.COM
                                                                                      ATTN: ASHLEY S. RUSHER, ESQ.
                                                                                      P.O. DRAWER 25008
COUNSEL TO GLORIA CAUDILL                         BLANCO TACKABERRY & MATAMOROS, P.A. WINSTON SALEM NC 27114‐5008                     ASR@BLANCOLAW.COM
                                                                                      ATTN: REGINA STANGO KELBON, VICTORIA
COUNSEL TO BANK OF MONTREAL, THE BANK OF NOVA                                         GUILFOYLE, STANLEY B. TARR                      KELBON@BLANKROME.COM
SCOTIA AND THE BANK OF NEW YORK MELLON TRUST                                          1201 MARKET STREET SUITE 800                    GUILFOYLE@BLANKROME.COM
COMPANY, N.A.                                     BLANK ROME LLP                      WILMINGTON DE 19801                             TARR@BLANKROME.COM
                                                                                      ATTN: SEAN KIRK
                                                                                      511 UNION STREET
                                                                                      SUITE 1600
COUNSEL TO COMDATA INC.                           BONE MCALLESTER NORTON PLLC         NASHVILLE TN 37219                              SKIRK@BONELAW.COM
                                                                                      ATTN: KRYSTAL R. MIKKILINENI
                                                                                      801 GRAND AVENUE
                                                  BRADSHAW, FOWLER, PROCTOR &         SUITE 3700
COUNSEL TO GBS, INC. DBA GRAHAM COLLISION         FAIRGRAVE P.C.                      DES MOINES IA 50309                             MIKKILINENI@BRADSHAWLAW.COM
                                                                                      ATTN: DONALD K. LUDMAN
                                                                                      6 NORTH BROAD STREET
                                                                                      SUITE 1000
COUNSEL TO CONCUR TECHNOLOGIES, INC.              BROWN & CONNERY, LLP                WOODBURY NJ 08096                               DLUDMAN@BROWNCONNERY.COM
                                                                                      ATTN: SHAWN M. CHRISTIANSON
                                                                                      55 SECOND STREET
COUNSEL TO ORACLE AMERICA, INC. AND ORACLE CREDIT BUCHALTER, A PROFESSIONAL           17TH FLOOR
CORPORATION                                       CORPORATION                         SAN FRANCISCO CA 94105‐3493                     SCHRISTIANSON@BUCHALTER.COM
                                                                                      ATTN: KEVIN C. CALHOUN
                                                                                      29828 TELEGRAPH ROAD
COUNSEL TO THE OAKLAND COUNTY TREASURER           CALHOUN & DI PONIO, PLC             SOUTHFIELD MI 48034‐1338                        KEVIN@LAWYERMICH.COM



        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                            Page 2 of 25
                                                     Case 20-11218-MFW                 Doc 645         Filed 07/01/20        Page 10 of 142
                                                                                              Exhibit A
                                                                                        Core Email Service List
                                                                                           Served via email
                       DESCRIPTION                                    NAME                                        ADDRESS                                           EMAIL

                                                                                            ATTN: STEVE L. NELSON AND ROGER L. STRANDLUND
                                                                                            506 15TH STREET
COUNSEL TO METROPOLITAN AIRPORT AUTHORITY OF                                                SUITE 600                                     SNELSON@CALIFF.COM
ROCK ISLAND COUNTY, ILLINOIS                         CALIFF & HARPER, P.C.                  MOLINE IL 61265                               RSTRANDLUND@CALIFF.COM
DONLEN CANADA SECURITIZATION PROGRAM ‐
CANADIAN IMPERIAL BANK OF COMMERCE AS
COMMITTED LENDER AND COMPUTERSHARE TRUST                                                ATTN: CANADIAN SECURITIZATION GROUP
COMPANY OF CANADA AS TRUSTEE OF STABLE TRUST AS                                         5TH FLOOR BROOKFIELD PLACE 161 BAY STREET
CONDUIT LENDER                                       CANADIAN IMPERIAL BANK OF COMMERCE TORONTO ON M5J 2S8 CANADA                            SECURITIZATIONMAILBOX@CIBC.CA
                                                                                        ATTN: AARON R. CAHN
                                                                                        2 WALL STREET                                        BANKRUPTCY@CLM.COM
COUNSEL TO XTIVIA TECHNOLOGIES INC.                  CARTER LEDYARD & MILBURN LLP       NEW YORK NY 10005‐2072                               cahn@clm.com
COUNSEL TO CENTRAL STATES, SOUTHEAST AND
SOUTHWEST AREAS PENSION FUND AND CENTRAL                                                    ATTN: FRANK BLECHSCHMIDT, ESQ.
STATES, SOUTHEAST AND SOUTHWEST AREAS HEALTH                                                8647 WEST HIGGINS ROAD
AND WELFARE FUND                                     CENTRAL STATES LAW DEPARTMENT          CHICAGO IL 60631‐2803                            FBLECHSC@CENTRALSTATESFUNDS.ORG

                                                                                            ATTN: MARK L. DESGROSSEILLIERS ROBERT A. WEBER
                                                                                            HERCULES PLAZA
COUNSEL TO AMERICAN TRAFFIC SOLUTIONS                                                       1313 NORTH MARKET STREET SUITE 5400              DESGROSS@CHIPMANBROWN.COM
CONSOLIDATED LLC AND ATS PROCESSING SERVICES LLC     CHIPMAN BROWN CICERO & COLE LLP        WILMINGTON DE 19801                              WEBER@CHIPMANBROWN.COM
                                                                                            ATTN: ALBERT A. CIARDI, III & WALTER W.
                                                                                            GOULDSBURY III
                                                                                            ONE COMMERCE SQUARE, SUITE 3500
                                                                                            2005 MARKET STREET                               ACIARDI@CIARDILAW.COM
COUNSEL TO FALSE POLICE REPORT PLAINTIFFS            CIARDI CIARDI & ASTIN                  PHILADELPHIA PA 19103                            WGOULDSBURY@CIARDILAW.COM

                                                                                            ATTN: DANIEL K. ASTIN & JOSEPH J. MCMAHON, JR.
                                                                                            1204 N. KING STREET
COUNSEL TO FALSE POLICE REPORT PLAINTIFFS            CIARDI CIARDI & ASTIN                  WILMINGTON DE 19801                           JMCMAHON@CIARDILAW.COM
                                                                                                                                          ROBERT.KOHL@CITI.COM
                                                                                            ATTN: ROBERT KOHL GLOBAL SECURITIZED PRODUCTS BRETT.BUSHINGER@CITI.COM
AUSTRALIAN SECURITIZATION NOTES ‐ CITIBANK N.A. AS                                          750 WASHINGTON BOULEVARD 8TH FLOOR            SECURITISATIONOPS@CITI.COM
ADMINISTRATIVE AGENT                                 CITIBANK N.A.                          STAMFORD CT 06901                             FIAUSECURITISATION@CITI.COM

COUNSEL TO THE CITY OF PHILADELPHIA, SCHOOL                                                 ATTN: MEGAN N. HARPER
DISTRICT OF PHILADELPHIA, WATER REVENUE BUREAU                                              MUNICIPAL SERVICES BUILDING
AND THE CITY OF PHILADELPHIA DEPARTMENT OF                                                  1401 JFK BOULEVARD, 5TH FLOOR
COMMERCE DIVISION OF AVIATION                        CITY OF PHILADELPHIA LAW DEPARTMENT    PHILADELPHIA PA 19102‐1595                       MEGAN.HARPER@PHILA.GOV
                                                                                            ATTN: SEAN A. O’NEAL
ALOC FACILITY ‐ CLEARY GOTTLIEB STEEN & HAMILTON                                            ONE LIBERTY PLAZA
LLP AS ADMINISTRATIVE AGENT                          CLEARY GOTTLIEB STEEN & HAMILTON LLP   NEW YORK NY 10006                                SONEAL@CGSH.COM


        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                                Page 3 of 25
                                                   Case 20-11218-MFW               Doc 645        Filed 07/01/20      Page 11 of 142
                                                                                          Exhibit A
                                                                                    Core Email Service List
                                                                                       Served via email
                  DESCRIPTION                                   NAME                                       ADDRESS                                         EMAIL
COUNSEL TO EUROPEAN ABS NOTES ‐ CREDIT AGRICOLE                                        ATTN: JOHN MACLENNAN MAGGIC ZHAO
CORPORATE AND INVESTMENT BANK AS ADMINISTRATIVE                                        10 UPPER BANK STREET                         JOHN.MACLENNAN@CLIFFORDCHANCE.COM
AGENT                                           CLIFFORD CHANCE                        LONDON E14 5JJ UNITED KINGDOM                MAGGIE.ZHAO@CLIFFORDCHANCE.COM
                                                                                       ATTN: SALLY J. DAUGHERTY
                                                   COHEN, SEGLIAS, PALLAS, GREENHALL & 500 DELAWARE AVENUE, SUITE 730
COUNSEL TO JM&A GROUP                              FURMAN, PC                          WILMINGTON DE 19801                          SDAUGHERTY@COHENSEGLIAS.COM
                                                                                       ATTN: JUSTIN ALBERTO & G. DAVID DEAN
COUNSEL TO THE AD HOC GROUP OF SECOND LIEN                                             500 DELAWARE AVENUE SUITE 1410               JALBERTO@COLESCHOTZ.COM
NOTEHOLDERS                                        COLE SCHOTZ P.C.                    WILMINGTON DE 19801                          DDEAN@COLESCHOTZ.COM
                                                                                       ATTN: KIM GAGE
COUNSEL TO MERCEDES‐BENZ FINANCIAL SERVICES USA                                        535 ANTON BOULEVARD, 10TH FLOOR
LLC AND TD AUTO FINANCE                            COOKSEY, TOOLEN, GAGE, DUFFY & WOOG COSTA MESA CA 92626                          KGAGE@COOKSEYLAW.COM
                                                                                       ATTN: ERIC A. BROWNDORF
                                                                                       1125 ATLANTIC AVENUE
                                                                                       3RD FLOOR
COUNSEL TO CROMPCO LLC                             COOPER LEVENSON P.A.                ATLANTIC CITY NJ 08401                       EBROWNDORF@COOPERLEVENSON.COM
                                                                                       ATTN: ERIN K. BRIGNOLA EDWARD A. CORMA
                                                                                       30 FOX HUNT DRIVE #30                        EBRIGNOLA@COOPERLEVENSON.COM
COUNSEL TO CROMPCO LLC                             COOPER LEVENSON P.A.                BEAR DE 19701                                ECORMA@COOPERLEVENSON.COM
                                                                                                                                    MO_TITRISATION_CACIB@CA‐CIB.COM
                                                                                       ATTN: MO SECURITIZATION CACIB/CAROLE         CAROLE.DHAEYERE@CA‐CIB.COM
                                                                                       D’HAEYERE‐DANIEL PIANTONI                    SARAH.ABOUNOUR@CA‐CIB.COM
EUROPEAN ABS NOTES ‐ CREDIT AGRICOLE CORPORATE     CREDIT AGRICOLE CORPORATE AND       12 PLACE DES ETATS‐UNIS CS 70052             DIENABA.HAIDARA@CA‐CIB.COM
AND INVESTMENT BANK AS ADMINISTRATIVE AGENT        INVESTMENT BANK                     MONTROUGE CEDEX 92547 FRANCE                 PHILIPPE.FAVRE@CA‐CIB.COM
U.S. VEHICLE RCF ‐ CREDIT AGRICOLE CORPORATE AND
INVESTMENT BANK AS ADMINISTRATIVE AGENT AND                                            ATTN: AGNES CASTILLO
BANK OF NEW YORK MELLON TRUST COMPANY N.A AS       CRÉDIT AGRICOLE CORPORATE AND       1301 AVENUE OF THE AMERICAS
COLLATERAL AGENT                                   INVESTMENT BANK                     NEW YORK NY 10019                            AGNES.CASTILLO@CA‐CIB.COM
U.S. VEHICLE RCF ‐ CREDIT AGRICOLE CORPORATE AND                                       ATTN: ERIC O’DELL MANAGING DIRECTOR & MIKE
INVESTMENT BANK AS ADMINISTRATIVE AGENT AND                                            MCINTYRE DIRECTOR
BANK OF NEW YORK MELLON TRUST COMPANY N.A AS       CRÉDIT AGRICOLE CORPORATE AND       227 W. MONROE STREET #3800
COLLATERAL AGENT                                   INVESTMENT BANK                     CHICAGO IL 60606                             MIKE.MCINTYRE@CA‐CIB.COM
U.S. VEHICLE RCF ‐ CREDIT AGRICOLE CORPORATE AND
INVESTMENT BANK AS ADMINISTRATIVE AGENT AND                                            ATTN: MARISOL ORTIZ
BANK OF NEW YORK MELLON TRUST COMPANY N.A AS       CRÉDIT AGRICOLE CORPORATE AND       1301 AVENUE OF THE AMERICAS
COLLATERAL AGENT                                   INVESTMENT BANK                     NEW YORK NY 10019                            MARISOL.ORTIZ@CA‐CIB.COM
                                                                                       ATTN: JOSEPH GREY
                                                                                       1105 NORTH MARKET STREET
COUNSEL TO COMDATA INC. & NISSAN NORTH AMERICA,                                        SUITE 901
INC.                                            CROSS & SIMON, LLC                     WILMINGTON DE 19801                          JGREY@CROSSLAW.COM




        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                           Page 4 of 25
                                                Case 20-11218-MFW              Doc 645        Filed 07/01/20     Page 12 of 142
                                                                                      Exhibit A
                                                                                Core Email Service List
                                                                                   Served via email
                       DESCRIPTION                               NAME                                  ADDRESS                                       EMAIL
                                                                                   ATTN: KEVIN S. MANN, ESQ.
                                                                                   1105 N. MARKET STREET
                                                                                   SUITE 901
COUNSEL TO CORE PALMETTO OWNER, LLC             CROSS & SIMON, LLC                 WILMINGTON DE 19801                       KMANN@CROSSLAW.COM
                                                                                   ATTN: DAVID R. SOFTNESS, ESQ.
                                                                                   201 SOUTH BISCAYNE BOULEVARD
                                                                                   SUITE 2740
COUNSEL TO AMADEUS IT GROUP, S.A.               DAVID R. SOFTNESS, P.A.            MIAMI FL 33131                            DAVID@SOFTNESSLAW.COM
                                                                                   ATTN MARSHALL HUEBNER ELLIOT MOSKOWITZ    MARSHALL.HUEBNER@DAVISPOLK.COM
HVF II U.S. ABS NOTES ‐ SPECIAL RESTRUCTURING                                      DARREN S. KLEIN                           HVF.ROUTING@DAVISPOLK.COM
COUNSEL TO AGENT DEUTSCHE BANK AG NEW YORK                                         450 LEXINGTON AVENUE                      ELLIOT.MOSKOWITZ@DAVISPOLK.COM
BRANCH                                          DAVIS POLK & WARDWELL LLP          NEW YORK NY 10017                         DARREN.KLEIN@DAVISPOLK.COM
                                                                                   ATTN: HUGH MCCULLOUGH
                                                                                   920 FIFTH AVENUE, SUITE 3300
COUNSEL TO EWR CONRAC LLC                       DAVIS WRIGHT TREMAINE LLP          SEATTLE WA 98104‐1610                     HUGHMCCULLOUGH@DWT.COM
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   CARVEL STATE OFFICE BUILDING
                                                                                   820 N. FRENCH STREET 6TH FLOOR            ATTORNEY.GENERAL@STATE.DE.US
DELAWARE STATE ATTORNEY GENERAL                 DELAWARE ATTORNEY GENERAL          WILMINGTON DE 19801                       ATTORNEY.GENERAL@DELAWARE.GOV
                                                                                   ATTN: CHRISTINA ROJAS BANKRUPTCY
                                                                                   ADMINISTRATOR
                                                                                   820 N. FRENCH STREET 8TH FLOOR
DELAWARE DIVISION OF REVENUE                    DELAWARE DIVISION OF REVENUE       WILMINGTON DE 19801                       FASNOTIFY@STATE.DE.US
                                                                                   ATTN: OFFICER MANAGING AGENT OR GENERAL
                                                                                   AGENT
                                                                                   820 SILVER LAKE BOULVEARD SUITE 100
DELAWARE STATE TREASURY                         DELAWARE STATE TREASURY            DOVER DE 19904                            STATETREASURER@STATE.DE.US
                                                                                   ATTN: JOSEPH B. UCUZOGLU CEO (US)
                                                                                   30 ROCKEFELLER PLAZA
TOP 50 LARGEST UNSECURED CREDITORS              DELOITTE                           NEW YORK NY 10112‐0015                    JOEUCUZOGLUDELOITTEUSCEO@DELOITTE.COM
                                                                                   ATTN: RICHARD PALLOT‐COOK
COUNSEL TO U.K. FINANCING FACILITY LOMBARD NORTH                                   ONE FLEET PLACE
CENTRAL PLC AS LENDER                            DENTONS                           LONDON EC4M 7RA UNITED KINGDOM            RICHARD.PALLOT‐COOK@DENTONS.COM
                                                                                   ATTN: CHRISTOPHER R. BELMONTE PAMELA A.
                                                                                   BOSSWICK
                                                                                   230 PARK AVENUE
COUNSEL TO INTERNATIONAL BUSINESS MACHINES                                         SUITE 1130                                CRBELMONTE@DUANEMORRIS.COM
CORPORATION                                     DUANE MORRIS LLP                   NEW YORK NY 10169‐0079                    PABOSSWICK@DUANEMORRIS.COM




        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                       Page 5 of 25
                                                   Case 20-11218-MFW           Doc 645        Filed 07/01/20         Page 13 of 142
                                                                                      Exhibit A
                                                                                Core Email Service List
                                                                                   Served via email
                       DESCRIPTION                                  NAME                                  ADDRESS                                     EMAIL


COUNSEL TO ACE AMERICAN INSURANCE COMPANY, ACE
PROPERTY AND CASUALTY INSURANCE COMPANY, ACE
FIRE UNDERWRITERS INSURANCE COMPANY, INDEMNITY
INSURANCE COMPANY NORTH AMERICA, ILLINOIS UNION
INSURANCE COMPANY, PACIFIC EMPLOYERS INSURANCE                                     ATTN: DREW S. MCGEHRIN
COMPANY, WESTCHESTER FIRE INSURANCE COMPANY,                                       222 DELAWARE AVENUE
WESTCHESTER SURPLUS LINES INSURANCE COMPANY,                                       SUITE 1600
FEDERAL INSURANCE COMPANY, AND ESIS INC.        DUANE MORRIS LLP                   WILMINGTON DE 19801                         DSMCGEHRIN@DUANEMORRIS.COM
                                                                                   ATTN: FREDERICK D. HYMAN, ESQ.
COUNSEL TO CANADIAN IMPERIAL BANK OF COMMERCE,                                     1540 BROADWAY
NEW YORK BRANCH                                DUANE MORRIS LLP                    NEW YORK NY 10036‐4086                      RHYMAN@DUANEMORRIS.COM
                                                                                   ATTN: JARRET P. HITCHINGS, ESQ.
COUNSEL TO CANADIAN IMPERIAL BANK OF COMMERCE,                                     222 DELAWARE AVENUE, SUITE 1600
NEW YORK BRANCH                                DUANE MORRIS LLP                    WILMINGTON DE 19801                         JPHITCHINGS@DUANEMORRIS.COM


COUNSEL TO ACE AMERICAN INSURANCE COMPANY, ACE
PROPERTY AND CASUALTY INSURANCE COMPANY, ACE
FIRE UNDERWRITERS INSURANCE COMPANY, INDEMNITY
INSURANCE COMPANY NORTH AMERICA, ILLINOIS UNION
INSURANCE COMPANY, PACIFIC EMPLOYERS INSURANCE                                     ATTN: WENDY M. SIMKULAK, CATHERINE B.
COMPANY, WESTCHESTER FIRE INSURANCE COMPANY,                                       HEITZENRATER
WESTCHESTER SURPLUS LINES INSURANCE COMPANY,                                       30 SOUTH 17TH STREET                        WMSIMKULAK@DUANEMORRIS.COM
FEDERAL INSURANCE COMPANY, AND ESIS INC.        DUANE MORRIS LLP                   PHILADELPHIA PA 19103                       CHEITZENRATER@DUANEMORRIS.COM
                                                                                   LAW OFFICE OF RICHARD CORNFELD, LLC
                                                                                   ATTN: DANIEL S. LEVY
                                                                                   1010 MARKET STREET, SUITE 1645
COMMITTEE OF UNSECURED CREDITORS                   EMMA BRADLEY                    ST. LOUIS MO 63101                          DLEVY@CORNFELDLEGAL.COM
                                                                                   ATTN: THOMAS A. PITTA ELIZABETH TARAILA &
                                                                                   EDWARD P. ZUJKOWSKI                         TPITTA@EMMETMARVIN.COM
COUNSEL TO HVF II U.S. ABS NOTES AND THE BANK OF                                   120 BROADWAY 32ND FLOOR                     ETARAILA@EMMETMARVIN.COM
NEW YORK MELLON TRUST COMPANY, N.A.                EMMET MARVIN & MARTIN LLP       NEW YORK NY 10271                           EZUJKOWSKI@EMMETMARVIN.COM
                                                                                   ATTN: ANDREW ENTWISTLE
                                                                                   401 CONGRESS AVE., SUITE 1170
COUNSEL TO GAMCO INVESTORS, INC. AND ITS AFFILIATES ENTWISTLE & CAPPUCCI LLP       AUSTIN TX 78701                             AENTWISTLE@ENTWISTLE‐LAW.COM
                                                                                   ATTN: JOSHUA K. PORTER
                                                                                   299 PARK AVENUE, 20TH FLOOR
COUNSEL TO GAMCO INVESTORS, INC. AND ITS AFFILIATES ENTWISTLE & CAPPUCCI LLP       NEW YORK NY 10171                           JPORTER@ENTWISTLE‐LAW.COM
                                                                                   ATTN: PETER M. KERN VICE CHAIRMAN & CEO
                                                                                   333 108TH AVE. NE
TOP 50 LARGEST UNSECURED CREDITORS                 EXPEDIA                         BELLEVUE WA 98004                           BDZIELAK@EXPEDIA.COM


        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                       Page 6 of 25
                                                   Case 20-11218-MFW                   Doc 645        Filed 07/01/20       Page 14 of 142
                                                                                              Exhibit A
                                                                                        Core Email Service List
                                                                                           Served via email
                       DESCRIPTION                                 NAME                                          ADDRESS                                        EMAIL
                                                                                           ATTN: JAMES H. MILLAR
                                                                                           1177 AVENUE OF THE AMERICAS
                                                                                           41ST FLOOR
COUNSEL TO THE MTN STEERING COMMITTEE              FAEGRE DRINKER BIDDLE & REATH LLP       NEW YORK NY 10036                           JAMES.MILLAR@FAEGREDRINKER.COM
                                                                                           ATTN: PATRICK A. JACKSON
                                                                                           222 DELAWARE AVE
                                                                                           SUITE 1410
COUNSEL TO THE MTN STEERING COMMITTEE              FAEGRE DRINKER BIDDLE & REATH LLP       WILMINGTON DE 19801‐1621                    PATRICK.JACKSON@FAEGREDRINKER.COM
                                                                                           ATTN: BRIAN E. FARNAN & MICHAEL J. FARNAN
                                                                                           919 NORTH MARKET STREET, 12TH FLOOR         BFARNAN@FARNANLAW.COM
COUNSEL TO GAMCO INVESTORS, INC. AND ITS AFFILIATES FARNAN LLP                             WILMINGTON DE 19801                         MFARNAN@FARNANLAW.COM
                                                                                           ATTN: CATHERINE M. CAMPBELL & MELISSA A.
                                                                                           BRENNAN
                                                                                           177 MILK STREET
COUNSEL TO TEAMSTERS LOCAL UNION 25 HEALTH                                                 SUITE 300                                   CMC@FCZLAW.COM
SERVICES & INSURANCE PLAN                          FEINBERG, CAMPBELL & ZACK, P.C.         BOSTON MA 02109                             MAB@FCZLAW.COM
                                                                                           ATTN: CATHY L. REECE
                                                                                           2394 EAST CAMELBACK ROAD
                                                                                           SUITE 600
COUNSEL TO RENO‐TAHOE AIRPORT AUTHORITY            FENNEMORE CRAIG, P.C.                   PHEONIX AZ 85016                            CREECE@FCLAW.COM
                                                                                           ATTN: MARK F. HEBBELN & HAROLD L. KAPLAN
COUNSEL TO WELLS FARGO BANK, N.A., AS INDENTURE                                            321 N. CLARK STREET, SUITE 3000             MHEBBELN@FOLEY.COM
TRUSTEE                                            FOLEY & LARDNER LLP                     CHICAGO IL 60654                            HKAPLAN@FOLEY.COM
                                                                                           ATTN: DEBORAH A. CRABBE
COUNSEL TO CASSAN ENTERPRISES INC., TODD                                                   1111 THIRD AVENUE, SUITE 3000
INVESTMENT COMPANY & CMC INVESTMENTS, INC.         FOSTER GARVEY PC                        SEATTLE WA 98101                            DEBORAH.CRABBE@FOSTER.COM
                                                                                           ATTN: COURTNEY A. EMERSON
                                                                                           919 NORTH MARKET STREET
                                                                                           SUITE 300
COUNSEL TO BUILDRITE CONSTRUCTION CORP.            FOX ROTHSCHILD LLP                      WILMINGTON DE 19899‐2323                    CEMERSON@FOXROTHSCHILD.COM
                                                                                           ATTN: FRANCIS MALOFIY, ESQUIRE
                                                                                           280 N. PROVIDENCE ROAD, SUITE 1
COUNSEL TO FALSE POLICE REPORT PLAINTIFFS          FRANCIS ALEXANDER, LLC                  MEDIA PA 19063                              FRANCIS@FRANCISALEXANDER.COM
                                                                                           ATTN: ROY S. KOBERT
                                                                                           301 E. PINE STREET, P.O. BOX 1400
                                                                                           P.O. BOX 3068
COUNSEL TO PALM BEACH COUNTY                       GARYROBINSON, P.A.                      ORLANDO FL 32802‐3068                       ROY.KOBERT@GRAY‐ROBINSON.COM
                                                                                           ATTN: LISA BITTLE TANCREDI, ESQUIRE
                                                                                           1000 N. WEST STREET
                                                                                           SUITE 1200
COUNSEL TO ARGONAUT INSURANCE COMPANY              GEBHARDT & SMITH LLP                    WILMINGTON DE 19801                         LTANCREDI@GEBSMITH.COM




        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                               Page 7 of 25
                                                Case 20-11218-MFW                 Doc 645        Filed 07/01/20         Page 15 of 142
                                                                                         Exhibit A
                                                                                   Core Email Service List
                                                                                      Served via email
                       DESCRIPTION                              NAME                                        ADDRESS                                                   EMAIL
                                                                                       ATTN: MICHAEL BUSENKELL, ESQUIRE
                                                                                       1201 NORTH ORANGE STREET, SUITE 300
COUNSEL TO AT&T CORP. AND ITS AFFILIATES        GELLERT SCALI BUSENKELL & BROWN, LLC   WILMINGTON DE 19801                               MBUSENKELL@GSBBLAW.COM
                                                                                       ATTN: BARBARA L. YONG, ESQ. & CAREN A. LEDERER,
                                                                                       ESQ.
                                                                                       70 W. MADISON STREET, SUITE 1500                  BLYONG@GCT.LAW
COUNSEL TO WFP PECAN PARK, LP                   GOLAN CHRISTIE TAGLIA LLP              CHICAGO IL 60602                                  CALEDERER@GCT.LAW
                                                                                       ATTN: DEPARTMENT MANAGER
                                                GOLDMAN SACHS MORTGAGE CO. AS          200 WEST STREET                                   GS‐SBDAGENCY‐BORROWERNOTICES@NY.EMAIL.GS.COM
TOP 50 LARGEST UNSECURED CREDITORS              LENDER AND ADMINISTRATIVE AGENT        NEW YORK NY 10282
                                                                                       ATTN: DEPARTMENT MANAGER
ALOC FACILITY ‐ GOLDMAN SACHS MORTGAGE CO. AS                                          200 WEST STREET                                   GS‐SBDAGENCY‐BORROWERNOTICES@NY.EMAIL.GS.COM
LENDER AND ADMINISTRATIVE AGENT                 GOLDMAN SACHS MORTGAGE COMPANY         NEW YORK NY 10282
                                                                                       ATTN: GOLDMAN SACHS LOAN OPERATIONS               GS‐SBDAGENCY‐BORROWERNOTICES@NY.EMAIL.GS.COM
ALOC FACILITY ‐ GOLDMAN SACHS MORTGAGE CO. AS                                          2001 ROSS AVENUE 29TH FLOOR                       GSD.LINK@GS.COM
LENDER AND ADMINISTRATIVE AGENT                 GOLDMAN SACHS MORTGAGE COMPANY         DALLAS TX 75201                                   ficc‐sbd‐distressedteam@ny.email.gs.com
                                                                                       ATTN: DOUGLAS B. ROSNER, ESQ.
                                                                                       400 ATLANTIC AVENUE
COUNSEL TO 201 STUART STREET (OWNER), LLC       GOULSTON & STORRS PC                   BOSTON MA 02110‐3333                              drosner@goulstonstorrs.com
                                                                                       ATTN: J. MICHAEL DEBBELER
                                                                                       312 WALNUT STREET
                                                                                       SUITE 1800
COUNSEL TO FIRST TRANSIT, INC                   GRAYDON HEAD & RITCHEY LLP             CINCINNATI OH 45202‐4060                          MDEBBELER@GRAYDON.LAW
                                                                                       ATTN: JASON B. BURNETT
                                                                                       50 NORTH LAURA STREET
                                                                                       SUITE 1100
COUNSEL TO CITY OF PENSACOLA, FLORIDA           GRAYROBINSON, P.A.                     JACKSONVILLE FL 32202                             JASON.BURNETT@GRAY‐ROBINSON.COM
                                                                                       ATTN: STEVEN J. SOLOMON, ESQ.
                                                                                       333 S. E. 2ND AVENUE
COUNSEL TO LANDMARK AVIATION DBA SIGNATURE                                             SUITE 3200
FLIGHT SUPPORT                                  GRAYROBINSON, P.A.                     MIAMI FL 33131                                    STEVEN.SOLOMON@GRAY‐ROBINSON.COM
                                                                                       ATTN: DENNIS A. MELORO
                                                                                       THE NEMOURS BUILDING
                                                                                       1007 NORTH ORANGE STREET SUITE 1200
COUNSEL TO COX AUTOMOTIVE INC.                  GREENBERG TRAURIG LLP                  WILMINGTON DE 19801                               MELOROD@GTLAW.COM
                                                                                       ATTN: JOHN D. ELROD
                                                                                       TERMINUS 200
                                                                                       3333 PIEDMONT ROAD NE SUITE 2500
COUNSEL TO COX AUTOMOTIVE INC.                  GREENBERG TRAURIG LLP                  ATLANTA GA 30305                                  ELRODJ@GTLAW.COM
                                                                                       ATTN: FRANK F. MCGINN
COUNSEL TO IRON MOUNTAIN INFORMATION                                                   155 FEDERAL STREET, 9TH FLOOR
MANAGEMENT, LLC                                 HACKETT FEINBERG P.C.                  BOSTON MA 02110                                   FFM@BOSTONBUSINESSLAW.COM



        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                          Page 8 of 25
                                                  Case 20-11218-MFW               Doc 645           Filed 07/01/20          Page 16 of 142
                                                                                          Exhibit A
                                                                                    Core Email Service List
                                                                                       Served via email
                       DESCRIPTION                                 NAME                                       ADDRESS                                             EMAIL
                                                                                         ATTN: JOSEPH R. SGROI
                                                                                         660 WOODWARD AVENUE
                                                                                         2290 FIRST NATIONAL BUILDING
COUNSEL TO GENERAL MOTORS LLC                     HONIGMAN LLP                           DETROIT MI 48226                                 JSGROI@HONIGMAN.COM
                                                                                         ATTN: JEFFREY A. HOKANSON
                                                                                         ONE AMERICAN SQUARE
                                                                                         SUITE 2900
COUNSEL TO THE INDIANAPOLIS AIRPORT AUTHORITY     ICE MILLER                             INDIANAPOLIS IN 46282‐0200                       JEFF.HOKANSON@ICEMILLER.COM
                                                                                         ATTN: IAIN GOLD
                                                  INTERNATIONAL BROTHERHOOD OF           25 LOUISIANA AVE. NW
COMMITTEE OF UNSECURED CREDITORS                  TEAMSTERS                              WASHINGTON DC 20001                              IGOLD@TEAMSTER.ORG
                                                                                         BARRERA & ASSOCIATES
                                                                                         ATTN: PATRICIO BARRERA
                                                                                         2298 E. MAPLE AVE
COMMITTEE OF UNSECURED CREDITORS                  JANICE DAWSON                          EL SEGUNDO CA 90245                              BARRERA@BAATTORNEYS.COM
                                                                                         ATTN: JEFFREY A. KROL
COUNSEL TO AUTOMOBILE MECHANICS’ LOCAL NO. 701                                           311 S. WACKER DRIVE, SUITE 1050
UNION AND INDUSTRY PENSION FUND                   JOHNSON & KROL, LLC                    CHICAGO IL 60606                                 KROL@JOHNSONKROL.COM
                                                                                         ATTN: GEORGE A. KURISKY, JR. AND DAMIAN W.
                                                                                         ABREO
                                                                                         4 HOUSTON CENTER
                                                                                         1221 LAMAR, SUITE 1000                           GKURISKY@JDKGLAW.COM
COUNSEL TO TOMMIE VAUGHN MOTORS, INC.             JOHNSON DELUCA KURISKY & GOULD, P.C.   HOUSTON TX 77010                                 DABREO@JDKGLAW.COM
                                                                                         ATTN: CHAD A. JUSTICE ESQ.
COUNSEL TO ARLEAN GREEN ON BEHALF OF HERSELF AND                                         1205 N. FRANKLIN STREET SUITE 326
ALL OTHERS SIMILARLY‐SITUATED                    JUSTICE FOR JUSTICE LLC                 TAMPA FL 33602                                   CHAD@GETJUSTICEFORJUSTICE.COM
                                                                                         ATTN: DAVID C. NEU, MICHAEL J. GEARIN
                                                                                         925 FOURTH AVENUE                                DAVID.NEU@KLGATES.COM
                                                                                         SUITE 2900
COUNSEL TO PORT OF SEATTLE                        K&L GATES LLP                          SEATTLE WA 98104                                 MIKE.GEARIN@KLGATES.COM

                                                                                         ATTN: STEVEN L. CAPONI, MATTHEW B. GOELLER
                                                                                         600 N. KING STREET                               STEVEN.CAPONI@KLGATES.COM
                                                                                         SUITE 901
COUNSEL TO PORT OF SEATTLE                        K&L GATES LLP                          WILMINGTON DE 19801                              MATTHEW.GOELLER@KLGATES.COM
                                                                                         ATTN: ERIC T. SMITH, W. ERIC PILSK, & DAVID Y.
                                                                                         BANNARD
                                                                                         1634 I (EYE) STREET NW                           ESMITH@KAPLANKIRSCH.COM
                                                                                         SUITE 300                                        EPILSK@KAPLANKIRSCH.COM
COUNSEL TO THE CITY OF ATLANTA, COUNSEL TO ACAA   KAPLAN KIRSCH ROCKWELL                 WASHINGTON DC 20006                              DBANNARD@KAPLANKIRSCH.COM




        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                             Page 9 of 25
                                                Case 20-11218-MFW              Doc 645          Filed 07/01/20     Page 17 of 142
                                                                                       Exhibit A
                                                                                 Core Email Service List
                                                                                    Served via email
                       DESCRIPTION                             NAME                                         ADDRESS                                        EMAIL
                                                                                     ATTN: ASHLEY KELLER, SETH MEYER, & ALEXIOS
                                                                                     DRAVILLAS                                     ACK@KELLERLENKNER.COM
COUNSEL TO JEFFREY BROWER AND THE PERSONAL                                           150 NORTH RIVERSIDE PLAZA, SUITE 4270         SAM@KELLERLENKNER.COM
INJURY CLAIMANTS                                 KELLER LENKNER LLC                  CHICAGO IL 60606                              AJD@KELLERLENKNER.COM
                                                                                     ATTN: DAVIS WRIGHT TREMAINE LLP
                                                                                     919 N. MARKET STREET, SUITE 1000
COUNSEL TO EWR CONRAC LLC                        KLEHR HARRISON HARVEY BRANZBURG LLP WILMINGTON DE 19801‐3062                      RLEMISCH@KLEHR.COM
                                                                                     ATTN: TRACY L. KLESTADT
                                                                                     200 WEST 41ST STREET
                                                 KLESTADT WINTERS JURELLER           17TH FLOOR
COUNSEL TO ORLANDO SANFORD INTERNATIONAL, INC. SOUTHARD & STEVENS, LLP               NEW YORK NY 10036                             TKLESTADT@KLESTADT.COM
                                                                                     ATTN: THOMAS MOERS MAYER, AMY CATON, DAVID    TMAYER@KRAMERLEVIN.COM
                                                                                     E. BLABEY, JR., & ALICE J. BYOWITZ            ACATON@KRAMERLEVIN.COM
COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED                                       1177 AVENUE OF THE AMERICAS                   DBLABEY@KRAMERLEVIN.COM
CREDITORS                                        KRAMER LEVIN NAFTALIS & FRANKEL LLP NEW YORK NY 10036                             ABYOWITZ@KRAMERLEVIN.COM
                                                                                     ATTN: JEFFREY KURTZMAN
                                                                                     401 S. 2ND STREET
                                                                                     SUITE 200
COUNSEL TO REEDMAN TOLL AUTO GROUP               KURTZMAN STEADY LLC                 PHILADELPHIA PA 19147                         KURTZMAN@KURTZMANSTEADY.COM
                                                                                     ATTN: ADAM L. HIRSCH
                                                                                     1801 CALIFORNIA STREET
                                                                                     SUITE 3000
COUNSEL TO THE CITY AND COUNTY OF DENVER         KUTAK ROCK LLP                      DENVER CO 80202‐2658                          ADAM.HIRSCH@KUTAKROCK.COM
                                                                                     ATTN: KERRI K. MUMFORD MATTHEW R. PIERCE
                                                                                     919 MARKET STREET
                                                                                     SUITE 1800                                    MUMFORD@LRCLAW.COM
COUNSEL TO DEUTSCHE BANK AG NEW YORK BRANCH      LANDIS RATH & COBB LLP              WILMINGTON DE 19801                           PIERCE@LRCLAW.COM
                                                                                     ATTN: DARRYL T. LANDWEHR
                                                                                     935 GRAVIER STREET, SUITE 835
COUNSEL TO ALAN WEINER                           LANDWEHR LAW FIRM                   NEW ORLEANS LA 70112                          DTLANDWEHR@ATT.NET
                                                                                     ATTN: JOHNATHAN MILLER ESQ. & STUART MILLER
                                                                                     ESQ.
COUNSEL TO ARLEAN GREEN ON BEHALF OF HERSELF AND                                     132 NASSAU STREET SUITE 1100                  JON@LANKMILL.COM
ALL OTHERS SIMILARLY‐SITUATED                    LANKENAU & MILLER LLP               NEW YORK NY 10038                             STUART@LANKMILL.COM




        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                        Page 10 of 25
                                                    Case 20-11218-MFW                 Doc 645             Filed 07/01/20       Page 18 of 142
                                                                                                 Exhibit A
                                                                                           Core Email Service List
                                                                                              Served via email
                       DESCRIPTION                                   NAME                                            ADDRESS                                        EMAIL

SENIOR SECOND PRIORITY SECURED NOTES (“2L NOTES”) ‐
WELLS FARGO BANK AS INDENTURE TRUSTEE UNDER THE
SENIOR NOTES OR “U.S. NOTES AGENT” AND L/C FACILITY ‐
BARCLAYS BANK PLC AS ADMINISTRATIVE AGENT AND
COLLATERAL AGENT OR "SENIOR CREDIT AGREEMENT                                                                                               ALFRED.XUE@LW.COM
AGENT" COUNSEL TO SENIOR CREDIT AGREEMENT, U.S.                                               ATTN: ALFRED Y. XUE, CHRISTOPHER R. PLAUT,   CHRIS.PLAUT@LW.COM
VEHICLE RCF ‐ CREDIT AGRICOLE CORPORATE AND                                                   GEORGE DAVIS, SUZZANNE UHLAND, CHRISTOPHER   GEORGE.DAVIS@LW.COM
INVESTMENT BANK AS ADMINISTRATIVE AGENT AND                                                   HARRIS AND ADAM J. GOLDBERG                  SUZZANNE.UHLAND@LW.COM
BANK OF NEW YORK MELLON TRUST COMPANY N.A AS                                                  885 THIRD AVENUE                             CHRISTOPHER.HARRIS@LW.COM
COLLATERAL AGENT AND                                  LATHAM & WATKINS LLP                    NEW YORK NY 10022‐4834                       ADAM.GOLDBERG@LW.COM
                                                                                              ATTN: HEATHER WALLER
                                                                                              330 NORTH WABASH AVENUE
                                                                                              SUITE 2800
COUNSEL TO BARCLAYS BANK PLC                        LATHAM & WATKINS LLP                      CHICAGO IL 60611                             HEATHER.WALLER@LW.COM
                                                                                              ATTN: KEVIN T. FINGERET GRAEME P. SMYTH
HVF II U.S. ABS NOTES ‐ LATHAM & WATKINS LLP. AS                                              885 THIRD AVENUE                             KEVIN.FINGERET@LW.COM
GENERAL COUNSEL                                       LATHAM & WATKINS LLP                    NEW YORK NY 10022‐4834                       GRAEME.SMYTH@LW.COM
SENIOR SECOND PRIORITY SECURED NOTES (“2L NOTES”) ‐
WELLS FARGO BANK AS INDENTURE TRUSTEE UNDER THE
SENIOR NOTES OR “U.S. NOTES AGENT” AND L/C FACILITY ‐                                         ATTN: R. CHARLES CASSIDY III
BARCLAYS BANK PLC AS ADMINISTRATIVE AGENT AND                                                 555 ELEVENTH STREET NW
COLLATERAL AGENT OR "SENIOR CREDIT AGREEMENT                                                  SUITE 1000
AGENT"                                                LATHAM & WATKINS LLP                    WASHINGTON DC 20004‐1304                     CHARLES.CASSIDY@LW.COM
COUNSEL TO THE INTERNATIONAL BROTHERHOOD OF
TEAMSTERS & AFFILIATED LOCALS 20 25 79 89 104 114
117 118 150 175 206 222 272 299 305 317 327 355 385
399 431 449 455 481 492 495 528 529 541 618 641 665                                           ATTN: SUSAN E. KAUFMAN
667 682 745 769 781 813 830 853 856 886 901 922 926                                           919 NORTH MARKET STREET SUITE 460
931 986 988 AND 996                                   LAW OFFICE OF SUSAN E. KAUFMAN LLC      WILMINGTON DE 19801                          SKAUFMAN@SKAUFMANLAW.COM
                                                                                              ATTN: MARSHALL A. FEIN
                                                                                              13822 BLUFF LANE
COUNSEL TO AUSTIN CONRAC LLC                        LAW OFFICES OF MARSHALL A. FEIN           SAN ANTONIO TX 78216‐6302                    MARSHALL@CON‐RAC.COM
                                                                                              ATTN: ELIZABETH WELLER
                                                                                              2777 N. STEMMONS FREEWAY
                                                LINEBARGER GOGGAN BLAIR & SAMPSON             SUITE 1000
COUNSEL TO TARRANT COUNTY AND DALLAS COUNTY     LLP                                           DALLAS TX 75207                              DALLAS.BANKRUPTCY@PUBLICANS.COM
COUNSEL TO MATAGORDA COUNTY, CYPRESS ‐
FAIRBANKS ISD, HARRIS COUNTY, FORT BEND COUNTY,
LIBERTY COUNTY, GALVESTON COUNTY, POLK COUNTY,                                                ATTN: JOHN P. DILLMAN
JEFFERSON COUNTY, MONTGOMERY COUNTY, ANGELINA LINEBARGER GOGGAN BLAIR & SAMPSON,              PO BOX 3064
COUNTY                                          LLP                                           HOUSTON TX 77253‐3064                        HOUSTON_BANKRUPTCY@PUBLICANS.COM



        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                                  Page 11 of 25
                                                    Case 20-11218-MFW            Doc 645         Filed 07/01/20       Page 19 of 142
                                                                                        Exhibit A
                                                                                  Core Email Service List
                                                                                     Served via email
                    DESCRIPTION                                       NAME                                  ADDRESS                                    EMAIL
HFLF ABS NOTES ‐ LORD SECURITIES CORPORATION AS
GROUP I BACK‐UP ADMINISTRATOR AND COUNSEL TO                                         ATTN: DANIEL B. BESIKOF, GENEVA SHI
NTT AMERICA SOLUTIONS, INC., F/K/A DIMENSION DATA                                    345 PARK AVENUE – 21ST FLOOR               DBESIKOF@LOEB.COM
NORTH AMERICA, INC.                                 LOEB & LOEB LLP                  NEW YORK NY 10145                          GSHI@LOEB.COM
                                                                                     ATTN: MICHAEL LUSKIN RICHARD STERN ALEX
                                                                                     TALESNICK                                  LUSKIN@LSELLP.COM
COUNSEL TO CRÉDIT AGRICOLE CORPORATE AND                                             8TH AVE. & 41ST ST                         STERN@LSELLP.COM
INVESTMENT BANK                                     LUSKIN STERN & EISLER LLP        NEW YORK NY 10036                          TALESNICK@LSELLP.COM
                                                                                     ATTN: JAMES E. HUGGETT ESQUIRE
                                                                                     300 DELAWARE AVENUE
COUNSEL TO ARLEAN GREEN ON BEHALF OF HERSELF AND                                     SUITE 800
ALL OTHERS SIMILARLY‐SITUATED                    MARGOLIS EDELSTEIN                  WILMINGTON DE 19801                        JHUGGETT@MARGOLISEDELSTEIN.COM
                                                                                     ATTN: MICHAEL A. PAASCH
                                                                                     225 E ROBINSON ST
COUNSEL TO SCOTT RANDOLPH, ORANGE COUNTY                                             STE 600
FLORIDA TAX COLLECTOR                               MATEER HARBERT                   ORLANDO FL 32801                           MPAASCH@MATEERHARBERT.COM
                                                                                     ATTN: BRIAN TRUST
                                                                                     1221 AVENUE OF THE AMERICAS
COUNSEL TO BARCLAYS BANK PLC                        MAYER BROWN LLP                  NEW YORK NY 10020                          BTRUST@MAYERBROWN.COM
                                                                                     ATTN: SEAN T. SCOTT
                                                                                     71 SOUTH WACKER DRIVE
COUNSEL TO BARCLAYS BANK PLC                        MAYER BROWN LLP                  CHICAGO IL 60606                           STSCOTT@MAYERBROWN.COM
                                                                                     ATTN: JAYNA PARTAIN LAMAR
                                                                                     1901 SIXTH AVENUE NORTH, SUITE 2400
COUNSEL TO BIRMINGHAM AIRPORT AUTHORITY             MAYNARD COOPER & GALE P.C.       BIRMINGHAM AL 35203                        JLAMAR@MAYNARDCOOPER.COM
                                                                                     ATTN: KATE ROGGIO BUCK
COUNSEL TO CASSAN ENTERPRISES INC., TODD                                             405 N. KING STREET, 8TH FLOOR
INVESTMENT COMPANY & CMC INVESTMENTS, INC.          MCCARTER & ENGLISH LLP           WILMINGTON DE 19801                        KBUCK@MCCARTER.COM
                                                                                     ATTN: KATE ROGGIO BUCK
                                                                                     405 N. KING STREET, 8TH FLOOR
COUNSEL TO LYFT, INC.                               MCCARTER & ENGLISH, LLP          WILMINGTON DE 19801                        KBUCK@MCCARTER.COM




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                        Page 12 of 25
                                                 Case 20-11218-MFW               Doc 645          Filed 07/01/20       Page 20 of 142
                                                                                         Exhibit A
                                                                                   Core Email Service List
                                                                                      Served via email
                       DESCRIPTION                               NAME                                        ADDRESS                                   EMAIL


COUNSEL TO THE COUNTY OF ANDERSON TEXAS THE
COUNTY OF BASTROP TEXAS TAX APPRAISAL DISTRICT OF
BELL COUNTY BOWIE CENTRAL APPRAISAL DISTRICT THE
COUNTY OF BRAZOS TEXAS BURNET CENTRAL APPRAISAL
DISTRICT CELINA INDEPENDENT SCHOOL DISTRICT THE
TOWN OF ST. PAUL TEXAS THE COUNTY OF COMAL TEXAS
THE COUNTY OF DENTON TEXAS GLADEWATER
INDEPENDENT SCHOOL DISTRICT THE CITY OF
GLADEWATER TEXAS PINE TREE INDEPENDENT SCHOOL
DISTRICT WHITE OAK INDEPENDENT SCHOOL DISTRICT
THE COUNTY OF HAYS TEXAS KERRVILLE INDEPENDENT
SCHOOL DISTRICT CITY OF WACO AND/OR WACO
INDEPENDENT SCHOOL DISTRICT MIDLAND CENTRAL
APPRAISAL DISTRICT REEVES COUNTY TAX DISTRICT                                       ATTN: TARA LEDAY
CENTRAL APPRAISAL DISTRICT OF TAYLOR COUNTY AND                                     PO BOX 1269
THE COUNTY OF WILLIAMSON TEXAS                    MCCREARY VESELKA BRAGG & ALLEN P.CROUND ROCK TX 78680                          TLEDAY@MVBALAW.COM
                                                                                    ATTN: JOHN H. MADDOCK III
                                                                                    GATEWAY PLAZA
                                                                                    800 EAST CANAL STREET
COUNSEL TO BANC OF AMERICA LEASING & CAPITAL, LLC MCGUIREWOODS LLP                  RICHMOND VA 23219                            JMADDOCK@MCGUIREWOODS.COM
                                                                                    ATTN: RICHARD D. TRENK
                                                                                    75 LIVINGSTON AVENUE 2ND FLOOR
COUNSEL TO 104 FOUNDRY STREET REALTY LLC          MCMANIMON SCOTLAND & BAUMANN LLC ROSELAND NJ 07068                             RTRENK@MSBNJ.COM
                                                                                    ATTN: NICOLE C. KENWORTHY
                                                                                    6801 KENILWORTH AVENUE
                                                                                    SUITE 400
COUNSEL TO PRINCE GEORGE'S COUNTY, MARYLAND       MEYERS, RODBELL & ROSENBAUM, P.A. RIVERDALE MD 20737‐1385                      BDEPT@MRRLAW.NET
                                                                                    ATTN: RYAN C. ZAGARE, ESQ.
                                                                                    P. O. BOX 025504                             RZAGARE@MIAMI‐AIRPORT.COM
COUNSEL TO MIAMI‐DADE COUNTY, FLORIDA             MIAMI‐DADE COUNTY ATTORNEY        MIAMI FL 33102‐5504                          RMARTIN@MIAMI‐AIRPORT.COM
                                                                                    ATTN: RONALD A. SPINNER MARC N. SWANSON
                                                  MILLER CANFIELD PADDOCK AND STONE 150 WEST JEFFERSON SUITE 2500                SPINNER@MILLERCANFIELD.COM
COUNSEL TO WAYNE COUNTY AIRPORT AUTHORITY         P.L.C.                            DETROIT MI 48226                             SWANSONM@MILLERCANFIELD.COM
                                                                                    ATTN: ROBERT B. LACHENAUER
                                                                                    600 THIRD AVENUE
HFLF ABS NOTES ‐ LORD SECURITIES CORPORATION AS                                     25TH FLOOR
GROUP I BACK‐UP ADMINISTRATOR                     MINTZ & GOLD LLP                  NEW YORK NY 10016                            LACHENAUER@MINTZANDGOLD.COM
                                                                                    ATTN: STEVEN A. GINTHER
                                                                                    301 W. HIGH STREET, ROOM 670
                                                  MISSOURI DEPARTMENT OF REVENUE,   PO BOX 475
COUNSEL TO MO DEPARTMENT OF REVENUE               BANKRUPTCY UNIT                   JEFFERSON CITY MO 65105‐0475                 deecf@dor.mo.gov


        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                          Page 13 of 25
                                                 Case 20-11218-MFW               Doc 645             Filed 07/01/20      Page 21 of 142
                                                                                            Exhibit A
                                                                                      Core Email Service List
                                                                                         Served via email
                        DESCRIPTION                              NAME                                         ADDRESS                                         EMAIL
                                                                                         ATTN: KEVIN P. MONTEE
                                                                                         1250‐I NEWELL AVE
                                                                                         SUITE 149
COUNSEL TO FFHS ASSOCIATES GATEWAY LP            MONTEE LAW FIRM APC                     WALNUT CREEK CA 94596                          KMONTEE@MONTEEFIRM.COM
                                                                                         ATTN: MARC J. PHILLIPS, ESQ.
                                                 MONTGOMERY MCCRACKEN WALKER &           1105 NORTH MARKET STREET, SUITE 1500
COUNSEL TO FCA US LLC                            RHOADS LLP                              WILMINGTON DE 19801                            MPHILLIPS@MMWR.COM

                                                                                         ATTN: RACHEL B. MERSKY & BRIAN J. MCLAUGHLIN
                                                 MONZACK MERSKY MCLAUGHLIN AND           1201 N. ORANGE STREET, SUITE 400               RMERSKY@MONLAW.COM
COUNSEL TO KIR SAN RAMON, L.P.                   BROWDER, P.A.                           WILMINGTON DE 19801                            BMCLAUGHLIN@MONLAW.COM
                                                                                         ATTN: JAMES YOUNG
COUNSEL TO JEFFREY BROWER AND THE PERSONAL                                               76 SOUTH LAURA STREET, SUITE 1100
INJURY CLAIMANTS                                 MORGAN & MORGAN                         JACKSONVILLE FL 32202                          JYOUNG@FORTHEPEOPLE.COM
                                                                                         ATTN: JUAN R. MARTINEZ
COUNSEL TO JEFFREY BROWER AND THE PERSONAL                                               201 N. FRANKLIN STREET, 7TH FLOOR
INJURY CLAIMANTS                                 MORGAN & MORGAN                         TAMPA FL 33602                                 JUANMARTINEZ@FORTHEPEOPLE.COM
                                                                                         ATTN: ERIC J. MONZO BRYA M. KEILSON
                                                                                         500 DELAWARE AVENUE SUITE 1500                 EMONZO@MORRISJAMES.COM
COUNSEL TO BOKF NATIONAL ASSOCIATION             MORRIS JAMES LLP                        WILMINGTON DE 19801                            BKEILSON@MORRISJAMES.COM
                                                                                         ATTN: DEREK C. ABBOTT ANDREW R. REMMING AND
                                                                                         ERIC W. MOATS
                                                                                         1201 N. MARKET ST. 16TH FLOOR                  DABBOTT@MNAT.COM
COUNSEL TO BARCLAYS BANK PLC AND CRÉDIT AGRICOLE                                         P.O. BOX 1347                                  AREMMING@MNAT.COM
CORPORATE AND INVESTMENT BANK                    MORRIS NICHOLS ARSHT & TUNNELL LLP      WILMINGTON DE 19899‐1347                       EMOATS@MNAT.COM
                                                                                         ATTN: KAREN CORDRY
                                                 NATIONAL ASSOCIATION OF ATTORNEYS       1850 M ST. NW 12TH FLOOR
STATE ATTORNEY GENERAL                           GENERAL                                 WASHINGTON DC 20036                            KCORDRY@NAAG.ORG
                                                                                         ATTN: H. JASON GOLD, ESQ. & DYLAN G. TRACHE,
                                                                                         ESQ.
                                                 NELSON MULLINS RILEY & SCARBOROUGH      101 CONSTITUTION AVENUE, NW, SUITE 900         DYLAN.TRACHE@NELSONMULLINS.COM
COUNSEL TO FCA US LLC                            LLP                                     WASHINGTON DC 20001                            JASON.GOLD@NELSONMULLINS.COM
                                                                                         ATTN: JOHN P. STREELMAN, ESQ.
                                                 NELSON MULLINS RILEY & SCARBOROUGH      1400 WEWATTA STREET, SUITE 500
COUNSEL TO FCA US LLC                            LLP                                     DENVER CO 80202                                JOHN.STREELMAN@NELSONMULLINS.COM
                                                                                         ATTN: DAVID A. ROSENZWEIG, ESQ. & FRANCISCO
                                                                                         VAZQUEZ, ESQ.
                                                                                         1301 AVENUE OF THE AMERICAS                    DAVID.ROSENZWEIG@NORTONROSEFULBRIGHT.COM
COUNSEL TO AT&T CORP. AND ITS AFFILIATES         NORTON ROSE FULBRIGHT US LLP            NEW YORK NY 10019‐6022                         FRANCISCO.VAZQUEZ@NORTONROSEFULBRIGHT.COM

                                                                                         ATTN: GREGORY C. NUTI & CHRISTOPHER H. HART
                                                                                         411 30TH STREET, SUITE 408                     GNUTI@NUTIHART.COM
COUNSEL TO LYFT, INC.                            NUTI HART LLP                           OAKLAND CA 94609                               CHART@NUTIHART.COM


         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                            Page 14 of 25
                                                   Case 20-11218-MFW                   Doc 645          Filed 07/01/20       Page 22 of 142
                                                                                               Exhibit A
                                                                                         Core Email Service List
                                                                                            Served via email
                       DESCRIPTION                                 NAME                                         ADDRESS                                              EMAIL
                                                                                            ATTN: LINDA RICHENDERFER TRIAL ATTORNEY
                                                                                            844 KING STREET SUITE 2207
                                                                                            LOCKBOX 35
OFFICE OF THE UNITED STATES TRUSTEE (REGION 3)     OFFICE OF THE UNITED STATES TRUSTEE      WILMINGTON DE 19801                              LINDA.RICHENDERFER@USDOJ.GOV

                                                                                            ATTN: J. BRIAN FLETCHER & CHRISTIAN C. ONSAGER
COUNSEL TO CITY AND COUNTY OF SAN FRANCISCO, SAN                                            600 17TH STREET, SUITE 425N                      JBFLETCHER@OFJLAW.COM
FRANCISCO AIRPORT COMMISSION                     ONSAGER | FLETCHER | JOHNSON LLC           DENVER CO 80202                                  CONSAGER@OFJLAW.COM
                                                                                            ATTN: ROSA R. ORENSTEIN NATHAN M. NICHOLS        ROSA@ORENSTEIN‐LG.COM
COUNSEL TO DALLAS/FORT WORTH INTERNATIONAL                                                  1201 ELM STREET SUITE 4020                       NATHAN@ORENSTEIN‐LG.COM
AIRPORT BOARD                                      ORENSTEIN LAW GROUP P.C.                 DALLAS TX 75270
HERTZ CANADIAN SECURITIZATION NOTES ‐ BNY TRUST                                             ATTN: MARC WASSERMAN PETER MILLIGAN
COMPANY OF CANADA AS INDENTURE TRUSTEE AND                                                  100 KING STREET WEST P.O. BOX 50
COLLATERAL AGENT AND BANK OF MONTREAL AND THE                                               SUITE 6200 1 FIRST CANADIAN PLACE                MWASSERMAN@OSLER.COM
BANK OF NOVA SCOTIA                                OSLER HOSKIN & HARCOURT LLP              TORONTO ON M5X 1B8 CANADA                        PMILLIGAN@OSLER.COM
                                                                                            ATTN: JAHAN C. SAGAFI
                                                                                            ONE CALIFORNIA STREET
COUNSEL TO PETER LEE LATONYA CAMPBELL S. SHARMA                                             12TH FLOOR
O. MOLINA AND P. BOBADILLO                         OUTTEN & GOLDEN LLP                      SAN FRANCISCO CA 94111                           JSAGAFI@OUTTENGOLDEN.COM
                                                                                            ATTN: COLIN R. ROBINSON
                                                                                            919 N. MARKET STREET
COUNSEL TO AD HOC COMMITTEE OF LITIGATION                                                   17TH FLOOR
CREDITORS                                          PACHULSKI STANG ZIEHL & JONES LLP        WILMINGTON DE 19801                              CROBINSON@PSZJLAW.COM
COUNSEL TO PRICELINE.COM AND CERTAIN AFFILIATES,                                            ATTN: JAMES E. O’NEILL
COUNSEL TO BOOKING.COM TRANSPORT LIMITED,                                                   919 N. MARKET STREET, 17TH FLOOR
TRADING AS RENTALCARS.COM, AND CERTAIN OF ITS                                               P.O. BOX 8705
AFFILIATES                                         PACHULSKI STANG ZIEHL & JONES LLP        WILMINGTON DE 19899‐8705                         JONEILL@PSZJLAW.COM
COUNSEL TO PRICELINE.COM AND CERTAIN AFFILIATES,
COUNSEL TO BOOKING.COM TRANSPORT LIMITED,                                                   ATTN: JEREMY V. RICHARDS
TRADING AS RENTALCARS.COM, AND CERTAIN OF ITS                                               10100 SANTA MONICA BLVD., 13TH FLOOR
AFFILIATES                                         PACHULSKI STANG ZIEHL & JONES LLP        LOS ANGELES CA 90067                             JRICHARDS@PSZJLAW.COM
COUNSEL TO PRICELINE.COM AND CERTAIN AFFILIATES,
COUNSEL TO BOOKING.COM TRANSPORT LIMITED,                                                   ATTN: JOHN A. MORRIS
TRADING AS RENTALCARS.COM, AND CERTAIN OF ITS                                               780 THIRD AVENUE, 34TH FLOOR
AFFILIATES                                         PACHULSKI STANG ZIEHL & JONES LLP        NEW YORK NY 10017‐2024                           JMORRIS@PSZJLAW.COM
                                                                                            ATTN: JOHN FIERO
                                                                                            150 CALIFORNIA STREET
COUNSEL TO AD HOC COMMITTEE OF LITIGATION                                                   15TH FLOOR
CREDITORS                                          PACHULSKI STANG ZIEHL & JONES LLP        SAN FRANCISCO CA 94111                           JFIERO@PSZJLAW.COM
                                                                                            ATTN: PEGAH VAKILI CAROLYN J. LACHMAN AND JACK   VAKILI.PEGAH@PBGC.GOV
COUNSEL TO PENSION BENEFIT GUARANTY                                                         BUTLER                                           EFILE@PBGC.GOV
CORPORATION AND COMMITTEE OF UNSECURED             PENSION BENEFIT GUARANTY                 1200 K STREET N.W.                               LACHMAN.CAROLYN@PBGC.GOV
CREDITORS                                          CORPORATION                              WASHINGTON DC 20005‐4026                         JACK@PBGC.GOV


        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                                Page 15 of 25
                                                     Case 20-11218-MFW                Doc 645             Filed 07/01/20      Page 23 of 142
                                                                                                 Exhibit A
                                                                                           Core Email Service List
                                                                                              Served via email
                     DESCRIPTION                                      NAME                                        ADDRESS                                              EMAIL
COUNSEL TO LA JOYA INDEPENDENT SCHOOL DISTRICT                                                ATTN: JOHN T. BANKS
CITY OF WESLACO WESLACO INDEPENDENT SCHOOL                                                    3301 NORTHLAND DRIVE
DISTRICT DELTA LAKE IRRIGATION DISTRICT CITY OF LA   PERDUE BRANDON FIELDER COLLINS &         SUITE 505
FERIA                                                MOTT L.L.P.                              AUSTIN TX 78731                                JBANKS@PBFCM.COM
                                                                                              ATTN: LAURA J. MONROE
COUNSEL TO LUBBOCK CENTRAL APPRAISAL DISTRICT        PERDUE BRANDON FIELDER COLLINS &         P.O. BOX 817
AND MIDLAND COUNTY                                   MOTT L.L.P.                              LUBBOCK TX 79408                               LMBKR@PBFCM.COM
                                                                                              ATTN: OWEN M. SONIK
                                                                                              1235 NORTH LOOP WEST
                                                PERDUE BRANDON FIELDER COLLINS &              SUITE 600
COUNSEL TO PASADENA INDEPENDENT SCHOOL DISTRICT MOTT LLP                                      HOUSTON TX 77008                               OSONIK@PBFCM.COM
                                                                                              ATTN: EBONEY COBB
                                                     PERDUE, BRANDON, FIELDER, COLLINS &      500 E. BORDER STREET, SUITE 640
COUNSEL TO GRAPEVINE‐COLLEYVILLE ISD                 MOTT, L.L.P.                             ARLINGTON TX 76010                             ECOBB@PBFCM.COM
                                                                                              ATTN: CHRISTOPHER A. WARD, SHANTI M. KATONA,
                                                                                              BRENNA A. DOLPHIN                              CWARD@POLSINELLI.COM
                                                                                              222 DELAWARE AVE., SUITE 1101                  SKATONA@POLSINELLI.COM
COUNSEL TO TSD RENTAL, LLC                           POLSINELLI PC                            WILMINGTON DE 19801                            BDOLPHIN@POLSINELLI.COM

                                                                                          ATTN: CHRISTOPHER M. SAMIS AND D. RYAN SLAUGH
                                                                                          1313 NORTH MARKET STREET, SIXTH FLOOR         CSAMIS@POTTERANDERSON.COM
COUNSEL TO FINES FORD LINCOLN SALES AND SERVICE                                           P.O. BOX 951
LTD.                                                 POTTER ANDERSON & CORROON LLP        WILMINGTON DE 19899                           RSLAUGH@POTTERANDERSON.COM
                                                                                          ATTN: GERALD P. KENNEDY, ESQ.
                                                     PROCOPIO, CORY, HARGREAVES & SAVITCH 525 B STREET, SUITE 2200
COUNSEL TO RIU CALIFORNIA LLC                        LLP                                  SAN DIEGO CA 92101                            GERALD.KENNEDY@PROCOPIO.COM

                                                                                              ATTN: ANDRES REINER PRESIDENT CEO & DIRECTOR
                                                                                              OAKLAND CITY CENTER
TOP 50 LARGEST UNSECURED CREDITORS                   PROS REVENUE MANAGEMENT                  OAKLAND CA 94607                               APARRISH@PROS.COM
                                                                                              ATTN: IRVE J. GOLDMAN
                                                                                              850 MAIN STREET
                                                                                              P.O. BOX 7006
COUNSEL TO CONNECTICUT AIRPORT AUTHORITY             PULLMAN & COMLEY, LLC                    BRIDGEPORT CT 06601‐7006                       IGOLDMAN@PULLCOM.COM
                                                                                              ATTN: ANN E. PILLE
                                                                                              10 SOUTH WACKER DRIVE 40TH FLOOR
COUNSEL TO WELLS FARGO EQUIPMENT FINANCE LLC         REED SMITH LLP                           CHICAGO IL 60606‐7507                          APILLE@REEDSMITH.COM
                                                                                              ATTN: CHRISTOPHER A. LYNCH
                                                                                              599 LEXINGTON AVENUE
COUNSEL TO WINTHROP RESOURCES CORPORATION &                                                   24TH FLOOR
TCF NATIONAL BANK                                    REED SMITH LLP                           NEW YORK NY 10022                              CLYNCH@REEDSMITH.COM




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                 Page 16 of 25
                                                 Case 20-11218-MFW                Doc 645          Filed 07/01/20      Page 24 of 142
                                                                                         Exhibit A
                                                                                   Core Email Service List
                                                                                      Served via email
                       DESCRIPTION                               NAME                                      ADDRESS                                             EMAIL
                                                                                      ATTN: KURT F. GWYNNE, JASON D. ANGELO
COUNSEL TO WELLS FARGO EQUIPMENT FINANCE LLC,                                         1201 NORTH MARKET STREET
WINTHROP RESOURCES CORPORATION, TCF NATIONAL                                          SUITE 1500                                      KGWYNNE@REEDSMITH.COM
BANK & SIGNATURE FINANCIAL LLC                  REED SMITH LLP                        WILMINGTON DE 19801                             JANGELO@REEDSMITH.COM
                                                                                      ATTN: MARK D. COLLINS JOHN H. KNIGHT BRETT M.   COLLINS@RLF.COM
                                                                                      HAYWOOD CHRISTOPHER M. DE LILLO J. ZACHARY      KNIGHT@RLF.COM
                                                                                      NOBLE & M. LYNZY MCGEE                          HAYWOOD@RLF.COM
                                                                                      ONE RODNEY SQUARE                               DELILLO@RLF.COM
                                                                                      920 N. KING STREET                              NOBLE@RLF.COM
CO‐COUNSEL TO DEBTORS AND DEBTORS‐IN‐POSSESSION RICHARDS LAYTON & FINGER P.A.         WILMINGTON DE 19801                             MCGEE@RLF.COM
                                                                                      ATTN: JOHN J. RUTTER
                                                                                      222 SOUTH MAIN STREET
COUNSEL TO CAM AUTO INVESTMENTS, LLC            ROETZEL & ANDRESS, LPA                AKRON OH 44308                                  JRUTTER@RALAW.COM
                                                                                      ATTN: GREGG M. GALARDI MATTHEW M. ROOSE
COUNSEL TO BANK OF MONTREAL AND THE BANK OF                                           1211 6TH AVE                                    GREGG.GALARDI@ROPESGRAY.COM
NOVA SCOTIA                                     ROPES & GRAY LLP                      NEW YORK NY 10036‐8704                          MATTHEW.ROOSE@ROPESGRAY.COM
                                                                                      ATTN: ALEX P. ROSENTHAL
                                                                                      2115 NORTH COMMERCE PARKWAY
COUNSEL TO MOTORHOUSE HOLDINGS LLC              ROSENTHAL LAW GROUP                   WESTON FL 33326                                 ALEX@ROSENTHALCOUNSEL.COM
                                                                                      ATTN: MICHAEL C. FALICK
                                                                                      1201 LOUISIANA ST., SUITE 550
COUNSEL TO SIGNAD, LTD.                         ROTHFELDER & FALICK, L.L.P.           HOUSTON TX 77002                                MFALICK@ROTHFELDERFALICK.COM
                                                                                      ATTN: JOHN D. DEMMY, LUCIAN B. MURLEY
                                                                                      1201 NORTH MARKET STREET, SUITE 2300
                                                                                      P.O. BOX 1266                                   JOHN.DEMMY@SAUL.COM
COUNSEL TO FACT INC. AND SOUTHWEST AIRLINES CO. SAUL EWING ARNSTEIN & LEHR LLP        WILMINGTON DE 19899‐1266                        LUKE.MURLEY@SAUL.COM
                                                                                      ATTN: STEPHEN B. RAVIN ESQ.
                                                                                      ONE RIVERFRONT PLAZA
                                                                                      1037 RAYMOND BLVD. SUITE 1520
COUNSEL TO FACT INC.                            SAUL EWING ARNSTEIN & LEHR LLP        NEWARK NJ 07102‐5426                            STEPHEN.RAVIN@SAUL.COM
                                                                                      ATTN: STEVEN C. REINGOLD
COUNSEL TO DASSAULT FALCON JET CORP. AND                                              131 DARTMOUTH STREET
DASSAULT FALCON JET‐WILMINGTON CORP.            SAUL EWING ARNSTEIN & LEHR LLP        BOSTON MA 02116                                 STEVEN.REINGOLD@SAUL.COM
                                                                                      ATTN: RICHARD A. BARKASY KRISTI J. DOUGHTY
                                                                                      824 N. MARKET STREET
                                                                                      SUITE 800                                       RBARKASY@SCHNADER.COM
COUNSEL TO THE CITY OF ATLANTA, COUNSEL TO ACAA SCHNADER HARRISON SEGAL & LEWIS LLP WILMINGTON DE 19801‐4939                          KDOUGHTY@SCHNADER.COM
                                                                                      ATTN: LEGAL DEPARTMENT
                                                                                      BROOKFIELD PLACE
                                                SECURITIES & EXCHANGE COMMISSION ‐ NY 200 VESEY STREET SUITE 400                      BANKRUPTCYNOTICESCHR@SEC.GOV
SECURITIES AND EXCHANGE COMMISSION              OFFICE                                NEW YORK NY 10281‐1022                          NYROBANKRUPTCY@SEC.GOV




        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                           Page 17 of 25
                                                   Case 20-11218-MFW                  Doc 645         Filed 07/01/20     Page 25 of 142
                                                                                             Exhibit A
                                                                                       Core Email Service List
                                                                                          Served via email
                        DESCRIPTION                                   NAME                            ADDRESS                                                   EMAIL
                                                                                  SECRETARY OF THE TREASURY
                                             SECURITIES AND EXCHANGE COMMISSION ‐ 100 F STREET NE
SECURITIES AND EXCHANGE COMMISSION           HEADQUARTERS                         WASHINGTON DC 20549                                   SECBANKRUPTCY@SEC.GOV
                                                                                  ATTN: LEGAL DEPARTMENT
                                                                                  ONE PENN CENTER
                                             SECURITIES AND EXCHANGE COMMISSION ‐ 1617 JFK BOULEVARD SUITE 520
SECURITIES AND EXCHANGE COMMISSION           REGIONAL OFFICE                      PHILADELPHIA PA 19103                                 SECBANKRUPTCY@SEC.GOV
                                                                                  ATTN: R. KARL HILL
                                                                                  222 DELAWARE AVENUE
COUNSEL TO SCOTT RANDOLPH, ORANGE COUNTY                                          SUITE 1500
FLORIDA TAX COLLECTOR                        SEITZ, VAN OGTROP & GREEN, P.A.      WILMINGTON DE 19801                                   KHILL@SVGLAW.COM
                                                                                  ATTN: DUANE M. GECK, DONALD H. CRAM
COUNSEL TO FORD MOTOR COMPANY AND FORD MOTOR                                      ONE EMBARCADERO CENTER, SUITE 2600                    DMG@SEVERSON.COM
COMPANY OF CANADA, LIMITED                   SEVERSON & WERSON, P.C.              SAN FRANCISCO CA 94111                                DHC@SEVERSON.COM
                                                                                  ATTN: MICHAEL STEINBERG
ALOC FACILITY ‐ SHEARMAN & STERLING LLP AS                                        599 LEXINGTON AVENUE
ADMINISTRATIVE AGENT ‐ FINANCE COUNSEL       SHEARMAN & STERLING LLP              NEW YORK NY 10022‐6069                                MICHAEL.STEINBERG@SHEARMAN.COM
                                                                                  ATTN: RONALD M. TUCKER, ESQ.
                                                                                  225 WEST WASHINGTON STREET
COUNSEL TO SIMON PROPERTY GROUP, INC.        SIMON PROPERTY GROUP, INC.           INDIANAPOLIS IN 46204                                 RTUCKER@SIMON.COM

                                                                                          ATTN: SCOTT GREENSTEIN AND PATRICK DONNELLY
TOP 50 LARGEST UNSECURED CREDITORS AND                                                    1221 AVENUE OF THE AMERICAS 36TH FL
COMMITTEE OF UNSECURED CREDITORS                   SIRIUS XM RADIO INC                    NEW YORK NY 10020                             PATRICK.DONNELLY@SIRIUSXM.COM
                                                                                          ATTN: DANA S. PLON
                                                                                          123 SOUTH BROAD STREET, SUITE 2100
COUNSEL TO B.A., LLC                               SIRLIN LESSER & BENSON, P.C.           PHILADELPHIA PA 19109                         DPLON@SIRLINLAW.COM
                                                                                          ATTN: KATHLEEN M. MILLER
                                                                                          1000 WEST STREET, SUITE 1501
                                                                                          P.O. BOX 410
COUNSEL TO CITY OF MCALLEN TEXAS                   SMITH, KATZENSTEIN & JENKINS LLP       WILMINGTON DE 19899                           KMILLER@SKJLAW.COM

                                                                                          ATTN: GARY C. KELLY CHAIRMAN & JAMES SHEPPARD
                                                                                          2702 LOVE FIELD DRIVE
TOP 50 LARGEST UNSECURED CREDITORS AND                                                    HDQ‐4GC
COMMITTEE OF UNSECURED CREDITORS                   SOUTHWEST AIRLINES CO                  DALLAS TX 75235                               JAMES.SHEPPARD@WNCO.COM
                                                                                          ATTN: MARK A. SALZBERG
COUNSEL TO AMERICAN TRAFFIC SOLUTIONS                                                     2550 M STREET NW
CONSOLIDATED LLC AND ATS PROCESSING SERVICES LLC   SQUIRE PATTON BOGGS (US) LLP           WASHINGTON DC 20037                           MARK.SALZBERG@SQUIREPB.COM
                                                                                          ATTN: IVO KELLER
                                                                                          505 MONTGOMERY STREET
COUNSEL TO ASSOCIATED LIMOUSINE OPERATORS OF                                              SUITE 620
SAN FRANCISCO, INC.                                SSL LAW FIRM LLP                       SAN FRANCISCO CA 94111                        IVO@SSLLAWFIRM.COM


         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                             Page 18 of 25
                                              Case 20-11218-MFW             Doc 645          Filed 07/01/20     Page 26 of 142
                                                                                    Exhibit A
                                                                              Core Email Service List
                                                                                 Served via email
                       DESCRIPTION                           NAME                                      ADDRESS                                   EMAIL
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   P.O. BOX 110300
STATE ATTORNEY GENERAL                        STATE OF ALASKA ATTORNEY GENERAL     JUNEAU AK 99811‐0300                   ATTORNEY.GENERAL@ALASKA.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   2005 N CENTRAL AVE
STATE ATTORNEY GENERAL                        STATE OF ARIZONA ATTORNEY GENERAL    PHOENIX AZ 85004‐2926                  AGINFO@AZAG.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   P.O. BOX 944255
STATE ATTORNEY GENERAL                        STATE OF CALIFORNIA ATTORNEY GENERAL SACRAMENTO CA 94244‐2550               BANKRUPTCY@COAG.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                              STATE OF CONNECTICUT ATTORNEY        55 ELM ST.
STATE ATTORNEY GENERAL                        GENERAL                              HARTFORD CT 06106                      ATTORNEY.GENERAL@CT.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   CARVEL STATE OFFICE BLDG.
                                                                                   820 N. FRENCH ST.
STATE ATTORNEY GENERAL                        STATE OF DELAWARE ATTORNEY GENERAL WILMINGTON DE 19801                      ATTORNEY.GENERAL@STATE.DE.US
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   425 QUEEN ST.
STATE ATTORNEY GENERAL                        STATE OF HAWAII ATTORNEY GENERAL     HONOLULU HI 96813                      HAWAIIAG@HAWAII.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   100 WEST RANDOLPH STREET
STATE ATTORNEY GENERAL                        STATE OF ILLINOIS ATTORNEY GENERAL   CHICAGO IL 60601                       WEBMASTER@ATG.STATE.IL.US
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   INDIANA GOVERNMENT CENTER SOUTH
                                                                                   302 W. WASHINGTON ST. 5TH FLOOR
STATE ATTORNEY GENERAL                        STATE OF INDIANA ATTORNEY GENERAL    INDIANAPOLIS IN 46204                  INFO@ATG.IN.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   1305 E. WALNUT STREET
STATE ATTORNEY GENERAL                        STATE OF IOWA ATTORNEY GENERAL       DES MOINES IA 50319                    WEBTEAM@AG.IOWA.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   P.O. BOX 94095
STATE ATTORNEY GENERAL                        STATE OF LOUISIANA ATTORNEY GENERAL BATON ROUGE LA 70804‐4095               CONSUMERINFO@AG.STATE.LA.US
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   6 STATE HOUSE STATION
STATE ATTORNEY GENERAL                        STATE OF MAINE ATTORNEY GENERAL      AUGUSTA ME 04333                       CONSUMER.MEDIATION@MAINE.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   200 ST. PAUL PLACE
STATE ATTORNEY GENERAL                        STATE OF MARYLAND ATTORNEY GENERAL BALTIMORE MD 21202‐2202                  OAG@OAG.STATE.MD.US
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                              STATE OF MASSACHUSETTS ATTORNEY      ONE ASHBURTON PLACE
STATE ATTORNEY GENERAL                        GENERAL                              BOSTON MA 02108‐1698                   AGO@STATE.MA.US




        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                     Page 19 of 25
                                              Case 20-11218-MFW              Doc 645          Filed 07/01/20      Page 27 of 142
                                                                                     Exhibit A
                                                                               Core Email Service List
                                                                                  Served via email
                       DESCRIPTION                           NAME                                       ADDRESS                                    EMAIL
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   G. MENNEN WILLIAMS BUILDING 7TH FLOOR
                                                                                   525 W. OTTAWA ST. P.O. BOX 30212
STATE ATTORNEY GENERAL                        STATE OF MICHIGAN ATTORNEY GENERAL LANSING MI 48909‐0212                      MIAG@MICHIGAN.GOV
                                                                                   ATTN: DANA NESSEL, HEATHER L. DONALD
                                                                                   CADILLAC PLACE, STE. 10‐200
COUNSEL TO STATE OF MICHIGAN, DEPARTMENT OF   STATE OF MICHIGAN, DEPARTMENT OF     3030 W. GRAND BLVD.
TREASURY                                      TREASURY                             DETROIT MI 48202                         DONALDH@MICHIGAN.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   SUPREME COURT BUILDING
                                                                                   207 W. HIGH ST.
STATE ATTORNEY GENERAL                        STATE OF MISSOURI ATTORNEY GENERAL   JEFFERSON CITY MO 65102                  ATTORNEY.GENERAL@AGO.MO.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   215 N SANDERS THIRD FLOOR
                                                                                   PO BOX 201401
STATE ATTORNEY GENERAL                        STATE OF MONTANA ATTORNEY GENERAL HELENA MT 59620‐1401                        CONTACTDOJ@MT.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   2115 STATE CAPITOL
                                                                                   2ND FL RM 2115
STATE ATTORNEY GENERAL                        STATE OF NEBRASKA ATTORNEY GENERAL LINCOLN NE 68509‐8920                      AGO.INFO.HELP@NEBRASKA.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   100 NORTH CARSON STREET
STATE ATTORNEY GENERAL                        STATE OF NEVADA ATTORNEY GENERAL     CARSON CITY NV 89701                     AGINFO@AG.NV.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                              STATE OF NEW HAMPSHIRE ATTORNEY      33 CAPITOL ST.
STATE ATTORNEY GENERAL                        GENERAL                              CONCORD NH 03301                         ATTORNEYGENERAL@DOJ.NH.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   RJ HUGHES JUSTICE COMPLEX
                                                                                   25 MARKET STREET P.O. BOX 080
STATE ATTORNEY GENERAL                        STATE OF NEW JERSEY ATTORNEY GENERAL TRENTON NJ 08625‐0080                    ASKCONSUMERAFFAIRS@LPS.STATE.NJ.US
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   STATE CAPITOL
                                              STATE OF NORTH DAKOTA ATTORNEY       600 E BOULEVARD AVE DEPT 125
STATE ATTORNEY GENERAL                        GENERAL                              BISMARCK ND 58505‐0040                   NDAG@ND.GOV
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   1162 COURT STREET NE
STATE ATTORNEY GENERAL                        STATE OF OREGON ATTORNEY GENERAL     SALEM OR 97301                           CONSUMER.HOTLINE@DOJ.STATE.OR.US
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   1302 EAST HIGHWAY 14
                                              STATE OF SOUTH DAKOTA ATTORNEY       SUITE 1
STATE ATTORNEY GENERAL                        GENERAL                              PIERRE SD 57501‐8501                     CONSUMERHELP@STATE.SD.US




        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                      Page 20 of 25
                                                 Case 20-11218-MFW                     Doc 645         Filed 07/01/20       Page 28 of 142
                                                                                              Exhibit A
                                                                                        Core Email Service List
                                                                                           Served via email
                       DESCRIPTION                                NAME                                    ADDRESS                                                     EMAIL
                                                                                     ATTN: BANKRUPTCY DEPARTMENT
                                                                                     P.O. BOX 20207
STATE ATTORNEY GENERAL                           STATE OF TENNESSEE ATTORNEY GENERAL NASHVILLE TN 37202‐0207                                 CONSUMER.AFFAIRS@AG.TN.GOV
                                                                                     ATTN: BANKRUPTCY DEPARTMENT
                                                                                     CAPITOL STATION
                                                                                     PO BOX 12548
STATE ATTORNEY GENERAL                           STATE OF TEXAS ATTORNEY GENERAL     AUSTIN TX 78711‐2548                                    PUBLIC.INFORMATION@OAG.STATE.TX.US
                                                                                     ATTN: BANKRUPTCY DEPARTMENT
                                                                                     PO BOX 142320
STATE ATTORNEY GENERAL                           STATE OF UTAH ATTORNEY GENERAL      SALT LAKE CITY UT 84114‐2320                            UAG@UTAH.GOV
                                                                                     ATTN: BANKRUPTCY DEPARTMENT
                                                                                     109 STATE ST.
STATE ATTORNEY GENERAL                           STATE OF VERMONT ATTORNEY GENERAL MONTPELIER VT 05609‐1001                                  AGO.INFO@VERMONT.GOV
                                                                                     ATTN: BANKRUPTCY DEPARTMENT
                                                 STATE OF WEST VIRGINIA ATTORNEY     STATE CAPITOL BLDG 1 ROOM E 26
STATE ATTORNEY GENERAL                           GENERAL                             CHARLESTON WV 25305                                     CONSUMER@WVAGO.GOV
                                                                                     ATTN: PATRICIA A. REDMOND, ESQ.
                                                                                     MUSEUM TOWER, SUITE 2200
                                                 STEARNS WEAVER MILLER WEISSLER      150 WEST FLAGLER STREET
COUNSEL TO AA BAKER GROUP LTD                    ALHADEFF & SITTERSON, P.A.          MIAMI FL 33130                                          PREDMOND@STEARNSWEAVER.COM
                                                                                     ATTN: JOSEPH H. HUSTON, JR.
COUNSEL TO JEFFREY BROWER AND THE PERSONAL                                           919 NORTH MARKET STREET, 13TH FLOOR
INJURY CLAIMANTS                                 STEVENS & LEE, P.C.                 WILMINGTON DE 19801                                     JHH@STEVENSLEE.COM
                                                                                     ATTN: NICHOLAS F. KAJON
COUNSEL TO JEFFREY BROWER AND THE PERSONAL                                           485 MADISON AVENUE, 20TH FLOOR
INJURY CLAIMANTS                                 STEVENS & LEE, P.C.                 NEW YORK NY 10022                                       NFK@STEVENSLEE.COM
                                                                                     ATTN: SABRINA L. STREUSAND
                                                                                     1801 S. MOPAC EXPRESSWAY
                                                 STREUSAND LANDON OZBURN & LEMMON SUITE 320
COUNSEL TO AUSTIN CONRAC LLC                     LLP                                 AUSTIN TX 78746                                         STREUSAND@SLOLLP.COM
COUNSEL TO CENTRAL STATES, SOUTHEAST AND
SOUTHWEST AREAS PENSION FUND AND CENTRAL                                                   ATTN: WILLIAM D. SULLIVAN, ESQ.
STATES, SOUTHEAST AND SOUTHWEST AREAS HEALTH                                               919 NORTH MARKET STREET, SUITE 420
AND WELFARE FUND                                 SULLIVAN ꞏ HAZELTINE ꞏ ALLINSON LLC       WILMINGTON DE 19801                               BSULLIVAN@SHA‐LLC.COM

                                                                                           ATTN: WILLIAM A. HAZELTINE, WILLIAM D. SULLIVAN
COUNSEL TO DALLAS/FORT WORTH INTERNATIONAL                                                 919 NORTH MARKET STREET SUITE 420                 WHAZELTINE@SHA‐LLC.COM
AIRPORT BOARD AND TOMMIE VAUGHN MOTORS, INC.     SULLIVAN HAZELTINE ALLINSON LLC           WILMINGTON DE 19801                               BSULLIVAN@SHA‐LLC.COM
                                                                                           ATTN: COURTNEY J. HULL, JASON B. BINFORD, LAYLA
                                                                                           D. MILLIGAN
COUNSEL TO COMPTROLLER OF PUBLIC ACCOUNTS                                                  BANKRUPTCY & COLLECTIONS DIVISION MC 008          COURTNEY.HULL@OAG.TEXAS.GOV
REVENUE ACCOUNTING DIVISION OF THE STATE OF TEXAS TEXAS COMPTROLLER OF PUBLIC              P.O. BOX 12548                                    JASON.BINFORD@OAG.TEXAS.GOV
& STATE OF TEXAS                                  ACCOUNTS AND THE STATE OF TEXAS          AUSTIN TX 78711‐2548                              LAYLA.MILLIGAN@OAG.TEXAS.GOV


        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                               Page 21 of 25
                                                      Case 20-11218-MFW                 Doc 645         Filed 07/01/20       Page 29 of 142
                                                                                               Exhibit A
                                                                                         Core Email Service List
                                                                                            Served via email
                        DESCRIPTION                                   NAME                                       ADDRESS                                             EMAIL
                                                                                            ATTN: CORPORATE TRUST ADMINISTRATION –
HFLF ABS NOTES ‐ BANK OF NEW YORK MELLON TRUST                                              STRUCTURED FINANCE
COMPANY N.A. AS INDENTURE TRUSTEE AND COLLATERAL THE BANK OF NEW YORK MELLON TRUST          2 NORTH LASALLE STREET SUITE 1020
AGENT OR “U.S. ABS AGENT”                        COMPANY N.A.                               CHICAGO IL 60602                                   DIANE.MOSER@BNYMELLON.COM
                                                                                            ATTN: STEVEN F. JACKSON
                                                                                            ONE HARRISON STREET, S.E., 5TH FLOOR
COUNSEL TO COUNTY OF LOUDOUN, VIRGINIA                THE COUNTY OF LOUDOUN, VIRGINIA       LEESBURG VA 20177‐7000                             STEVE.JACKSON@LOUDOUN.GOV
                                                                                            DIVISION OF CORPORATIONS FRANCHISE TAXES
                                                                                            P.O. BOX 898
THE DELAWARE DEPARTMENT OF STATE                      THE DELAWARE DEPARTMENT OF STATE      DOVER DE 19903                                     DOSDOC_FTAX@STATE.DE.US
                                                                                            ATTN: MARY E. OLSEN ESQ.
                                                                                            182 ST. FRANCIS STREET
COUNSEL TO ARLEAN GREEN ON BEHALF OF HERSELF AND                                            SUITE 103
ALL OTHERS SIMILARLY‐SITUATED                    THE GARDNER FIRM P.C.                      MOBILE AL 36602                                    MOLSEN@THEGARDNERFIRM.COM
                                                                                            ATTN: JAMES A. HINDS RACHEL M. SPOSATO             JHINDS@HINDSLAWGROUP.COM
                                                                                            21257 HAWTHORNE BLVD. 2ND FLOOR                    RSPOSATO@HINDSLAWGOUP.COM.COM
COUNSEL TO SAN DIMAS PARTNERS LLC                     THE HINDS LAW GROUP APC               TORRANCE CA 90503                                  MDURAN@HINDSLAWGROUP.COM
                                                                                            ATTN: DAVID ASHTON
                                                                                            7200 NE AIRPORT WAY
COUNSEL TO THE PORT OF PORTLAND                       THE PORT OF PORTLAND                  PORTLAND OR 97218                                  DAVID.ASHTON@PORTOFPORTLAND.COM
                                                                                            ATTN: JASON C. POWELL, THOMAS REICHERT
                                                                                            1201 N. ORANGE STREET
                                                                                            SUITE 500                                          JPOWELL@DELAWAREFIRM.COM
COUNSEL TO THE INDIANAPOLIS AIRPORT AUTHORITY         THE POWELL FIRM, LLC                  WILMINGTON DE 19899                                TREICHERT@DELAWAREFIRM.COM
COUNSEL TO THE INTERNATIONAL BROTHERHOOD OF
TEAMSTERS & AFFILIATED LOCALS 20 25 79 89 104 114
117 118 150 175 206 222 272 299 305 317 327 355 385
399 431 449 455 481 492 495 528 529 541 618 641 665                                         ATTN: FREDERICK PERILLO SARA J. GEENEN
667 682 745 769 781 813 830 853 856 886 901 922 926                                         310 W WISCONSIN AVE. SUITE 100MW                   FP@PREVIANT.COM
931 986 988 AND 996                                   THE PREVIANT LAW FIRM S.C.            MILWAUKEE WI 53203                                 SJG@PREVIANT.COM
                                                                                            ATTN: FREDERICK B. ROSNER ESQ. & JASON A. GIBSON
                                                                                            ESQ.
COUNSEL TO ZURICH AMERICAN INSURANCE COMPANY                                                824 N. MARKET STREET SUITE 810                     ROSNER@TEAMROSNER.COM
AND LIBERTY MUTUAL INSURANCE COMPANY                  THE ROSNER LAW GROUP LLC              WILMINGTON DE 19801                                GIBSON@TEAMROSNER.COM
                                                                                            ATTN: BEVERLY CAHILL
                                                                                            3131 MCKINNEY
                                                                                            STE 600
COUNSEL TO M2 AUTO REPARE INC.                        THE SUNDMAKER FIRM, LLC               DALLAS TX 75201                                    BEVERLY@SUNDMAKERFIRM.COM
                                                                                            ATTN: JOHN A. BOYD, ESQ.
                                                                                            3610 FOURTEENTH STREET
                                                                                            P.O. BOX 1299                                      JBOYD@TCLAW.NET
COUNSEL TO MARIE J. FRITTS                            THOMPSON & COLEGATE LLP               RIVERSIDE CA 92502                                 FEDNOTICE@TCLAW.NET



         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                               Page 22 of 25
                                                   Case 20-11218-MFW                Doc 645          Filed 07/01/20      Page 30 of 142
                                                                                            Exhibit A
                                                                                      Core Email Service List
                                                                                         Served via email
                       DESCRIPTION                                 NAME                                      ADDRESS                                           EMAIL
                                                                                        ATTN: ALBERT F. NASUTI
                                                                                        40 TECHNOLOGY PARKWAY SOUTH SUITE 300
COUNSEL TO MANSFIELD OIL COMPANY OF GAINESVILLE    THOMPSON O'BRIEN KEMP & NASUTI P.C. PEACHTREE CORNERS GA 30092                    ANASUTI@TOKN.COM
                                                                                        ATTN: D.J. MILLER, DANIEL A. SCHWARTZ AND
                                                                                        ADRIAN VISHEAU
                                                                                        100 WELLINGTON STREET WEST, SUITE 3200       DJMILLER@TGF.CA
COUNSEL TO FINES FORD LINCOLN SALES AND SERVICE                                         P.O. BOX 329                                 DSCHWARTZ@TGF.CA
LTD.                                               THORNTON GROUT FINNIGAN LLP          TORONTO ON M5K 1K7 CANADA                    AVISHEAU@TGF.CA
                                                                                        ATTN: MARK S. GAMELL ESQ. & STEVEN H.
                                                                                        RITTMASTER ESQ.
                                                                                        100 JERICHO QUADRANGLE
COUNSEL TO ZURICH AMERICAN INSURANCE COMPANY       TORRE LENTZ GAMELL GARY & RITTMASTER SUITE 309                                    MGAMELL@TLGGR.COM
AND LIBERTY MUTUAL INSURANCE COMPANY               LLP                                  JERICHO NY 11753                             SRITTMASTER@TLGGR.COM
                                                                                        ATTN: JENNIFER L. PRUSKI
                                                                                        POST OFFICE BOX 255824
COUNSEL TO FOLSOM CENTRAL, LLC                     TRAINOR FAIRBROOK                    SACRAMENTO CA 95865                          JPRUSKI@TRAINORFAIRBROOK.COM
                                                                                        ATTN: JASON A. STARKS
                                                                                        P.O. BOX 1748
COUNSEL TO TRAVIS COUNTY                           TRAVIS COUNTY ATTORNEY               AUSTIN TX 78767                              JASON.STARKS@TRAVISCOUNTYTX.GOV
                                                                                        ATTN: CHARLES M. TATELBAUM
                                                                                        110 S.E. 6TH STREET #1500
COUNSEL TO JM&A GROUP                              TRIPP SCOTT, P.A.                    FORT LAUDERDALE FL 33301                     CMT@TRIPPSCOTT.COM
                                                                                        ATTN: JENNIFER R. TULLIUS
                                                                                        515 S. FLOWER STREET
                                                   TULLIUS LAW GROUP, A PROFESSIONAL    18TH FLOOR
COUNSEL TO ORCHARD TOWN & COUNTRY, LTD.            CORPORATION                          LOS ANGELES CA 90071                         JTULLIUS@TULLIUSLAW.COM
                                                                                        ATTN: CINDY WOODWARD
                                                                                        60 LIVINGSTON AVE
                                                                                        EP‐MN‐WS ID
COMMITTEE OF UNSECURED CREDITORS                   U.S. BANK                            ST. PAUL MN 55107                            CINDY.WOODWARD@USBANK.COM
                                                                                        ATTN: DAVID C. WEISS
                                                                                        U.S. ATTORNEY'S OFFICE
UNITED STATES ATTORNEY FOR THE DISTRICT OF         UNITED STATES ATTORNEY FOR THE       1313 N MARKET STREET
DELAWARE                                           DISTRICT OF DELAWARE                 WILMINGTON DE 19801                          USADE.ECFBANKRUPTCY@USDOJ.GOV

COUNSEL TO SAFELITE GROUP AND ITS RELATED ENTITIES,                                       ATTN: TIFFANY STRELOW COBB
INCLUDING, WITHOUT LIMITATION, SAFELITE                                                   52 EAST GAY STREET
FULFILLMENT, INC.                                   VORYS, SATER, SEYMOUR AND PEASE LLP   COLUMBUS OH 43215                             TSCOBB@VORYS.COM
                                                                                                                                        RGMASON@WLRK.COM
                                                                                          ATTN: RICHARD G. MASON AMY R. WOLF MICHAEL S. ARWOLF@WLRK.COM
                                                                                          BENN ANGELA K. HERRING MICHAEL H. CASSEL      MSBENN@WLRK.COM
                                                                                          51 WEST 52ND STREET                           AKHERRING@WLRK.COM
COUNSEL TO THE MTN STEERING COMMITTEE              WACHTELL LIPTON ROSEN & KATZ           NEW YORK NY 10019                             MHCASSEL@WLRK.COM


        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                             Page 23 of 25
                                                 Case 20-11218-MFW               Doc 645             Filed 07/01/20      Page 31 of 142
                                                                                            Exhibit A
                                                                                      Core Email Service List
                                                                                         Served via email
                       DESCRIPTION                               NAME                                         ADDRESS                                           EMAIL
                                                                                         ATTN: MICHAEL R. PASLAY, COURTNEY K. STONE
                                                                                         511 UNION STREET
                                                                                         SUITE 2700                                    MIKE.PASLAY@WALLERLAW.COM
COUNSEL TO NISSAN NORTH AMERICA, INC.            WALLER LANSDEN DORTCH & DAVIS, LLP      NASHVILLE TN 37219                            COURTNEY.STONE@WALLERLAW.COM
                                                                                         ATTN: J. MICHAEL FIELDS
                                                                                         POST OFFICE BOX 8088
COUNSEL TO HJB VENTURES, LLC                     WARD AND SMITH, P.A.                    GREENVILLE NC 27835‐8088                      jmf@wardandsmith.com
                                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                                                         441 4TH STREET NW
STATE ATTORNEY GENERAL                           WASHINGTON DC ATTORNEY GENERAL          WASHINGTON DC 20001                           OAG@DC.GOV
                                                                                         ATTN: CHAD NEWTON CEO
                                                                                         11050 ROGELL DRIVE #602
TOP 50 LARGEST UNSECURED CREDITORS               WAYNE COUNTY                            DETROIT MI 48242                              KRISTY.EXNER@WCAA.US

                                                                                         ATTN: DAVID M. GOODRICH, MICHAEL J. WEILAND
                                                                                         650 TOWN CENTER DRIVE
                                                                                         SUITE 600                                     DGOODRICH@WGLLP.COM
COUNSEL TO RONALD J. MILLS/ MILLS AUTOMOTIVE     WEILAND GOLDEN GOODRICH LLP             COSTA MESA CA 92626                           MWEILAND@WGLLP.COM
                                                                                         ATTN: JEFFREY S. CIANCIULLI
                                                                                         824 N. MARKET STREET
COUNSEL TO GBL ENTERPRISES, LUCCA INVESTMENTS                                            SUITE 800
AND DD&J PROPERTIES, LLC                         WEIR & PARTNERS LLP                     WILMINGTON DE 19801                           JCIANCIULLI@WEIRPARTNERS.COM
                                                                                         ATTN: THOMAS M. KORSMAN
                                                                                         600 S. 4TH STREET
                                                                                         6TH FLOOR
COMMITTEE OF UNSECURED CREDITORS                WELLS FARGO BANK                         MINNEAPOLIS MN 55479                          THOMAS.M.KORSMAN@WELLSFARGO.COM
                                                WELLS FARGO BANK NATIONAL                MAC N9303‐121
WELLS FARGO BANK AS INDENTURE TRUSTEE UNDER THE ASSOCIATION AS TRUSTEE AND NOTE          608 2ND AVENUE SOUTH
SENIOR NOTES                                    REGISTRAR ‐ DAPS REORG                   MINNEAPOLIS MN 55479                          DAPSREORG@WELLSFARGO.COM
                                                WELLS FARGO BANK NATIONAL                MAC N9300‐070
WELLS FARGO BANK AS INDENTURE TRUSTEE UNDER THE ASSOCIATIONWELLS FARGO CORPORATE         600 FOURTH STREET SOUTH 7TH FLOOR
SENIOR NOTES                                    TRUST‐DAPS REORG                         MINNEAPOLIS MN 55415                          DAPSREORG@WELLSFARGO.COM
                                                                                         ATTN: CHARLES W. SCHARF CEO & PRESIDENT
                                                 WELLS FARGO NATIONAL ASSOCIATION        600 FOURTH STREET SOUTH 7TH FL
                                                 WELLS FARGO CORPORATE TRUST‐DAPS        MAC N9300‐070
TOP 50 LARGEST UNSECURED CREDITORS               REORG                                   MINNEAPOLIS MN 55415                          DAPSREORG@WELLSFARGO.COM

                                                                                         ATTN: BRANDON J. HILL ESQ. & LUIS A. CABASSA ESQ.
COUNSEL TO ARLEAN GREEN ON BEHALF OF HERSELF AND                                         1110 NORTH FLORIDA AVENUE SUITE 300               LCABASSA@WFCLAW.COM
ALL OTHERS SIMILARLY‐SITUATED                    WENZEL FENTON CABASSA P.A.              TAMPA FL 33602                                    BHILL@WFCLAW.COM
                                                                                         ATTN: STEPHANIE DENNYSON AND JO CASSAR
AUSTRALIAN SECURITIZATION NOTES ‐ WESTPAC                                                LEVEL 3 275 KENT STREET
BANKING CORP. AS ADMINISTRATIVE AGENT            WESTPAC BANKING CORPORATION             SYDNEY AUSTRALIA                                  STEPHANN@WESTPAC.COM.AU


        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                             Page 24 of 25
                                                  Case 20-11218-MFW             Doc 645          Filed 07/01/20     Page 32 of 142
                                                                                        Exhibit A
                                                                                  Core Email Service List
                                                                                     Served via email
                       DESCRIPTION                               NAME                                      ADDRESS                                       EMAIL
                                                                                      ATTN: RONALD K. GORSICH AARON COLODNY DOAH   RGORSICH@WHITECASE.COM
                                                                                      KIM ANDREW MACKINTOSH                        AARON.COLODNY@WHITECASE.COM
                                                                                      555 SOUTH FLOWER STREET SUITE 2700           DOAH.KIM@WHITECASE.COM
CO‐COUNSEL TO DEBTORS AND DEBTORS‐IN‐POSSESSION   WHITE & CASE LLP (CA)               LOS ANGELES CA 90071                         ANDREW.MACKINTOSH@WHITECASE.COM
                                                                                      ATTN: THOMAS E. LAURIA MATTHEW C. BROWN
                                                                                      AMANDA PARRA CRISTE                          TLAURIA@WHITECASE.COM
                                                                                      200 SOUTH BISCAYNE BOULEVARD SUITE 4900      MBROWN@WHITECASE.COM
CO‐COUNSEL TO DEBTORS AND DEBTORS‐IN‐POSSESSION   WHITE & CASE LLP (FL)               MIAMI FL 33131                               APARRACRISTE@WHITECASE.COM
                                                                                      ATTN: JASON N. ZAKIA
                                                                                      111 SOUTH WACKER DRIVE
CO‐COUNSEL TO DEBTORS AND DEBTORS‐IN‐POSSESSION   WHITE & CASE LLP (IL)               CHICAGO IL 60606                             JZAKIA@WHITECASE.COM
                                                                                      ATTN: DAVID M. TURETSKY DOV GOTTLIEB KATE
                                                                                      WARRICK                                      DAVID.TURETSKY@WHITECASE.COM
                                                                                      1221 AVENUE OF THE AMERICAS                  DGOTTLIEB@WHITECASE.COM
CO‐COUNSEL TO DEBTORS AND DEBTORS‐IN‐POSSESSION   WHITE & CASE LLP (NY)               NEW YORK NY 10020                            KATE.WARRICK@WHITECASE.COM
                                                                                      ATTN: RACHEL C. STRICKLAND DANIEL FORMAN     RSTRICKLAND@WILLKIE.COM
                                                                                      AGUSTINA G. BERRO & ERIN RYAN                DFORMAN@WILLKIE.COM
                                                                                      787 SEVENTH AVENUE                           ABERRO@WILLKIE.COM
COUNSEL TO THE AD HOC NOTEHOLDER GROUP            WILLKIE FARR & GALLAGHER LLP        NEW YORK NY 10019‐6099                       ERYAN@WILLKIE.COM
                                                                                      ATTN: ROBERT S. BRADY EDMON L. MORTON        RBRADY@YCST.COM
                                                                                      MATTHEW B. LUNN & JOSEPH M. MULVIHILL        EMORTON@YCST.COM
                                                                                      RODNEY SQUARE                                MLUNN@YCST.COM
                                                                                      1000 NORTH KING STREET                       JMULVIHILL@YCST.COM
COUNSEL TO THE AD HOC NOTEHOLDER GROUP            YOUNG CONAWAY STARGATT & TAYLOR LLP WILMINGTON DE 19801                          bankfilings@ycst.com




        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                         Page 25 of 25
Case 20-11218-MFW   Doc 645   Filed 07/01/20   Page 33 of 142




                        Exhibit B
                                          Case 20-11218-MFW          Doc 645     Filed 07/01/20    Page 34 of 142

                                                                       Exhibit B
                                                               Respondents Service List
                                                                   Served via email
               Description                                      Name                                                    Email
Attorney for the Birmingham Airport
Authority                                 THE BIFFERATO FIRM, P.A.                          cbifferato@tbf.legal
Attorneys for Connecticut Airport
Authority                                 PULLMAN & COMLEY, LLC                             igoldman@pullcom.com
Attorneys for Dallas/Fort Worth
International Airport Board and the
Dallas/Fort Worth Public Facility
Improvement Corporation                   ORENSTEIN LAW GROUP, P.C.                         rosa@orensteinlg.com; nathan@orensteinlg.com
Attorneys for Dallas/Fort Worth
International Airport Board and the
Dallas/Fort Worth Public Facility
Improvement Corporation                   SULLIVAN • HAZELTINE • ALLINSON LLC               whazeltine@sha‐llc.com
BEST BEST & KRIEGER LLP                   ATTN: CAROLINE R. DJANG                           CAROLINE.DJANG@BBKLAW.COM
                                                                                            kelbon@blankrome.com; guilfoyle@blankrome.com;
                                                                                            Gregg.Galardi@ropesgray.com;
                                          Attn: K Elbon, Gregg Galardi, Matthew Roose, M.   Matthew.Roose@ropesgray.com; mwasserman@osler.com;
Blank Rome                                Wasserman, P Milligan                             pmilligan@osler.com
CONNOLLY GALLAGHER LLP                    ATTN: KAREN C. BIFFERATO                          KBIFFERATO@CONNOLLYGALLAGHER.COM
Counsel for the Ad Hoc Group Litigation
Creditors                                 PACHULSKI STANG ZIEHL & JONES LLP                 jfiero@pszjlaw.com; crobinson@pszjlaw.com
Counsel for the Ad Hoc Group Litigation
Creditors                                 PACHULSKI STANG ZIEHL & JONES LLP                 jfiero@pszjlaw.com; crobinson@pszjlaw.com
Counsel for The City of Philadelphia
Department of Commerce Division of
Aviation                                  THE CITY OF PHILADELPHIA                          Megan.Harper@phila.gov
Counsel to Airport Consortium             KAPLAN KIRSCH & ROCKWELL, LLP                     dbannard@kaplankirsch.com
Counsel to Airport Consortium             SCHNADER HARRISON SEGAL & LEWIS                   kdoughty@schnader.com



   In re The Hertz Corporation, et al.
   Case No. 20‐11218 (MFW)                                                Page 1 of 3
                                         Case 20-11218-MFW        Doc 645      Filed 07/01/20   Page 35 of 142

                                                                      Exhibit B
                                                              Respondents Service List
                                                                  Served via email
              Description                                     Name                                                   Email
Counsel to Barclays Bank, PLC as
administrative agent under the Hertz
Fleet Lease Funding LP Series 2013‐2
transaction                              MAYER BROWN LLP                                 btrust@mayerbrown.com
Counsel to Barclays Bank, PLC as
administrative agent under the Hertz
Fleet Lease Funding LP Series 2013‐2
transaction                              MORRIS, NICHOLS, ARSHT & TUNNELL LLP            dabbott@mnat.com; aremming@mnat.com; emoats@mnat.com
Counsel to Wayne County Airport
Authority                                CONNOLLY GALLAGHER LLP                          kbifferato@connollygallagher.com
Counsel to Wayne County Airport
Authority                                MILLER, CANFIELD, PADDOCK AND STONE, P.L.C.     swansonm@millercanfield.com
Counsel to Wells Fargo Equipment
Finance, Inc.                            REED SMITH LLP                                  apille@reedmith.com
Counsel to Wells Fargo Equipment
Finance, Inc.                            REED SMITH LLP                                  kgwynne@reedsmith.com; jangelo@reedsmith.com
DAVIS WRIGHT TREMAINE LLP                ATTN: HUGH MCCULLOUGH                           HUGHMCCULLOUGH@DWT.COM

                                                                                         steven.caponi@klgates.com; matthew.goeller@klgates.com;
K&L Gates                                Attn: Caponi, Goeller, Gearin, Neu              mike.gearin@klgates.com; david.neu@klgates.com
KAPLAN KIRSH & ROCKWELL, LLP             ATTN: DAVID Y. BANNARD                          DBANNARD@KAPLANKIRSCH.COM
KAPLAN KIRSH & ROCKWELL, LLP             ATTN: ERIC T. SMITH & W. ERIC PILSK             esmith@kaplankirsch.com; epilsk@ kaplankirsch.com
Kutak Rock                               Attn: I. Oizides, A. Hirsch                     loizides@loizides.com; adam.hirsch@kutakrock.com

                                                                                          mumford@lrclaw.com; pierce@lrclaw.com;
                                                                                          marshall.huebner@davispolk.com;
Landis Rath and Cobb                     Attn: Mumford, Pierce, Huebner, Moskowitz, Klein elliot.moskowitz@davispolk.com; darren.klein@davispolk.com



   In re The Hertz Corporation, et al.
   Case No. 20‐11218 (MFW)                                              Page 2 of 3
                                         Case 20-11218-MFW          Doc 645      Filed 07/01/20    Page 36 of 142

                                                                       Exhibit B
                                                               Respondents Service List
                                                                   Served via email
             Description                                        Name                                               Email
LAW FIRM OF RUSSELL R. JOHNSON III,                                                         RUSSELL@RUSSELLJOHNSONLAWFIRM.COM;
PLC                                      ATTN: RUSSELL R. JOHNSON, III & JOHN M. CRAIG      JOHN@RUSSELLJOHNSONLAWFIRM.COM
MCCARTER & ENGLISH, LLP                  ATTN: WILLIAM F. TAYLOR, JR.                       WTAYLOR@MCCARTER.COM
MCCREARY, VALESKA, BRAGG & ALLEN,
P.C.                                     ATTN: TARA LEDAY                                   TLEDAY@MVBALAW.COM
MILLER, CANFIELD, PADDOCK AND
STONE, PLC                               ATTN: MARK N. SWANSON                              SWANSONM@MILLERCANFIELD.COM

Office of the Attorney General of Texas Attn: Jason Binford, Iayla Milligan                 jason.binford@oag.texas.gov; layla.milligan@oag.texas.gov
PERDUE, BRANDOM, FIELDER, COLLINS
& MOTT LLP                              ATTN: EBONEY COBB                                   ecobb@pbfcm.com
Reed Smith                              Attn: K. Hill, M. Paasch                            khill@svglaw.com; mpaasch@mateerharbert.com
                                        ATTN: R. SCOTT WILLIAMS & FREDERICK D. CLARKE,
RUUMBERGER, KIRK & CALDWELL P.C. III                                                        SWILLIAMS@RUMBERGER.COM; FCLARKE@RUMBERGER.COM
SAUL EWING ARNSTEIN & LEHR LLP          ATTN: MARK MINUTI                                   MARK.MINUTI@SAUL.COM

SCHNADER HARRISON SEGAL & LEWIS          ATTN: RICHARD A. BARKASY & KRISTI J. DOUGHTY       rbarkasy@schnader.com; kdoughty@schnader.com

SCHNADER HARRISON SEGAL & LEWIS          ATTN: RICHARD A. BARKASY & KRISTI J. DOUGHTY       rbarkasy@schnader.com; kdoughty@schnader.com
                                                                                            rgmason@wlrk.com; arwolf@wlrk.com; msbenn@wlrk.com;
                                                                                            akherring@wlrk.com; mhcassel@wlrk.com;
Schnader Harrison Segal & Lewis LLP      Attn: Mason, Wolf, Benn, Herring, Cassel, Millar   james.millar@faegredrinker.com
                                                                                            rosa@orensteinlg.com; nathan@orensteinlg.com;
                                                                                            whazeltine@sha‐llc.com




   In re The Hertz Corporation, et al.
   Case No. 20‐11218 (MFW)                                                Page 3 of 3
Case 20-11218-MFW   Doc 645   Filed 07/01/20   Page 37 of 142




                       Exhibit C
                                      Case 20-11218-MFW     Doc 645     Filed 07/01/20   Page 38 of 142

                                                                Exhibit C
                                                          ECF Email Service List
                                                            Served via email
                                                                      Email
                                          3783558420@filings.docketbird.com
                                          acolodny@whitecase.com
                                          adam.goldberg@lw.com
                                          adam.hirsch@kutakrock.com
                                          aentwistle@entwistle‐law.com
                                          aesnow@duanemorris.com
                                          ahrycak@foxrothschild.com
                                          akenney@beesontayer.com
                                          alocklin@mvbalaw.com
                                          alyssa.domorod@klgates.com
                                          Amador.ruiz‐baliu@gray‐robinson.com
                                          ana.marmanillo@gray‐robinson.com
                                          andrew.silfen@arentfox.com
                                          andrew‐remming‐0904@ecf.pacerpro.com
                                          andy.kong@arentfox.com
                                          ann‐jerominski‐2390@ecf.pacerpro.com
                                          apreis@akingump.com
                                          aremming@mnat.com
                                          asr@blancolaw.com
                                          austin.bankruptcy@publicans.com
                                          bankfilings@ycst.com
                                          bankruptcy@clm.com
                                          bankruptcy@coleschotz.com
                                          bankruptcy@mvbalaw.com
                                          bankruptcy@potteranderson.com
                                          bankruptcy@simon.com
                                          Bankruptcy001@sha‐llc.com
                                          bankruptcy‐2628@ecf.pacerpro.com


In re The Hertz Corporation, et al.
Case No. 20‐11218 (MFW)                                          Page 1 of 5
                                      Case 20-11218-MFW     Doc 645      Filed 07/01/20   Page 39 of 142

                                                                Exhibit C
                                                          ECF Email Service List
                                                            Served via email
                                                                    Email
                                          bankruptcydel@gtlaw.com
                                          bankruptcydel@mccarter.com
                                          bankruptcyecf@klgates.com
                                          bclerk@cooperlevenson.com
                                          bdolphin@polsinelli.com
                                          beth.brownstein@arentfox.com
                                          Beth.weller@lgbs.com
                                          bfarnan@farnanlaw.com
                                          bk‐chull@oag.texas.gov
                                          BKECF@traviscountytx.gov
                                          bkeilson@morrisjames.com
                                          blh@wardandsmith.com
                                          blyong@gct.law
                                          bmclaughlin@monlaw.com
                                          bmoss@OFJlaw.com
                                          brian.lohan@arnoldporter.com
                                          btrust@mayerbrownrowe.com
                                          cahn@clm.com
                                          caroline.djang@bbklaw.com
                                          cathy.thomas@wallerlaw.com
                                          cbifferato@tbf.legal
                                          ccronk@wallerlaw.com
                                          cemerson@foxrothschild.com
                                          cgiobbe@potteranderson.com
                                          cgraver@stearnsweaver.com
                                          chart@nutihart.com
                                          cholzhauser@beesontayer.com
                                          chris.cronk@wallerlaw.com


In re The Hertz Corporation, et al.
Case No. 20‐11218 (MFW)                                           Page 2 of 5
                                      Case 20-11218-MFW      Doc 645     Filed 07/01/20   Page 40 of 142

                                                                 Exhibit C
                                                           ECF Email Service List
                                                             Served via email
                                                                      Email
                                          cjennings@cooperlevenson.com
                                          cmcintire@buchalter.com
                                          cmt@trippscott.com
                                          cmw@previant.com
                                          consager@OFJlaw.com
                                          corporate‐reorg‐1449@ecf.pacerpro.com
                                          CourtMail@clm.com
                                          courtney.stone@wallerlaw.com
                                          crbelmonte@duanemorris.com
                                          crobinson@pszjlaw.com
                                          csamis@potteranderson.com
                                          cwalters@svglaw.com
                                          cward@polsinelli.com
                                          dabbott@mnat.com
                                          dallas.bankruptcy@publicans.com
                                          dastin@ciardilaw.com
                                          david.ashton@portofportland.com
                                          david.mayo@arentfox.com
                                          david.neu@klgates.com
                                          dbesikof@loeb.com
                                          dculver@mnat.com
                                          ddean@coleschotz.com
                                          debankruptcy@beneschlaw.com
                                          deecf@dor.mo.gov
                                          delawaredocketing@polsinelli.com
                                          delillo@rlf.com
                                          dellitdock@gtlaw.com
                                          dellose@lrclaw.com


In re The Hertz Corporation, et al.
Case No. 20‐11218 (MFW)                                           Page 3 of 5
                                      Case 20-11218-MFW      Doc 645     Filed 07/01/20   Page 41 of 142

                                                                 Exhibit C
                                                           ECF Email Service List
                                                             Served via email
                                                                     Email
                                          derek‐abbott‐1155@ecf.pacerpro.com
                                          dero@chipmanbrown.com
                                          desgross@chipmanbrown.com
                                          dforman@willkie.com
                                          dgoodrich@wgllp.com
                                          dklauder@bk‐legal.com
                                          dludman@brownconnery.com
                                          doah.kim@whitecase.com
                                          docket@kellerlenkner.com
                                          DocketCR@wardandsmith.com
                                          docketingorlando@rumberger.com
                                          don.stecker@lgbs.com
                                          donaldh@michigan.gov
                                          Dora.Casiano‐Perez@lgbs.com
                                          dplon@sirlinlaw.com
                                          drosner@goulstonstorrs.com
                                          dsmcgehrin@duanemorris.com
                                          dtroiano@delawarefirm.com
                                          dwg@stevenslee.com
                                          ecf@primeclerk.com
                                          ecobb@ecf.inforuptcy.com
                                          ecobb@pbfcm.com
                                          efile@pbgc.gov
                                          elrodj@gtlaw.com
                                          emalafronti@mnat.com
                                          emily‐malafronti‐2874@ecf.pacerpro.com
                                          emoats@mnat.com
                                          emonzo@morrisjames.com


In re The Hertz Corporation, et al.
Case No. 20‐11218 (MFW)                                           Page 4 of 5
                                      Case 20-11218-MFW     Doc 645      Filed 07/01/20   Page 42 of 142

                                                                Exhibit C
                                                          ECF Email Service List
                                                            Served via email
                                                                    Email
                                          eservice@trippscott.com
                                          evelyn.gomez@bbklaw.com
                                          fblechsc@centralstatesfunds.org
                                          fednotice@tclaw.net
                                          ffm@bostonbusinesslaw.com
                                          fieldss@gtlaw.com
                                          fp@previant.com
                                          fusco@chipmanbrown.com
                                          gerald.kennedy@procopio.com
                                          gibson@teamrosner.com
                                          glenn‐reimann‐6767@ecf.pacerpro.com
                                          gmatthews@reliable‐co.com
                                          gnuti@nutihart.com
                                          gregg.galardi@ropesgray.com
                                          greimann@mnat.com




In re The Hertz Corporation, et al.
Case No. 20‐11218 (MFW)                                           Page 5 of 5
Case 20-11218-MFW   Doc 645   Filed 07/01/20   Page 43 of 142




                       Exhibit D
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 44 of 142

                                                                    Exhibit D
                                                             Core FCM Service List
                                                            Served via first class mail
                      DESCRIPTION                                     NAME                                        ADDRESS
                                                                                              ATTN: TIM CONDON PRESIDENT & CEO
                                                                                              1 AUTO CLUB DRIVE
TOP 50 LARGEST UNSECURED CREDITORS                   AAA                                      DEARBORN MI 48126
                                                                                              ATTN: DAVID I. BUCKHAM
                                                                                              EIGHT TOWER BRIDGE
                                                                                              161 WASHINGTON STREET SUITE 600
TOP 50 LARGEST UNSECURED CREDITORS                   ALLIED UNIVERSAL SECURITY SERVICES       CONSHOHOCKEN PA 19428
                                                                                              ATTN: JAMES J. VINCEQUERRA
                                                                                              90 PARK AVENUE
COUNSEL TO TRAVELPORT, LP                            ALSTON & BIRD LLP                        NEW YORK NY 10016
                                                                                              ATTN: DAVID POLANSKY
                                                     AMERICAN AUTOMOBILE ASSOCIATION,         1000 AAA DRIVE
COMMITTEE OF UNSECURED CREDITORS                     INC.                                     HEATHROW FL 32746
                                                                                              ATTN: MR. SQUERI CHAIRMAN & CEO
                                                                                              200 VESEY STREET
TOP 50 LARGEST UNSECURED CREDITORS                   AMERICAN EXPRESS                         NEW YORK NY 10285‐3106
                                                                                              ATTN: MICHAEL D. MESSERSMITH
                                                                                              70 WEST MADISON ST
                                                                                              SUITE 4200
COUNSEL TO AD HOC GROUP FOR SENIOR TERM LOAN ARNOLD & PORTER                                  CHICAGO IL 60602‐4231
                                                                                              ATTN: JOHN STANKEY PRESIDENT & CEO
                                                                                              208 S. AKARD STREET
TOP 50 LARGEST UNSECURED CREDITORS                   AT&T                                     DALLAS TX 75202
                                                                                              ATTN: JAMES W. GRUDUS, ESQ.
                                                                                              ONE ROCKEFELLER PLAZA, ROOM 18‐19
COUNSEL TO AT&T CORP. AND ITS AFFILIATES             AT&T SERVICES, INC.                      NEW YORK NY 10020




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                        Page 1 of 33
                                           Case 20-11218-MFW   Doc 645    Filed 07/01/20   Page 45 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                    NAME                                         ADDRESS
                                                                                             ATTN: ADAM DRAIZIN PRESIDENT
                                                                                             1150 N ALMA SCHOOL RD.
TOP 50 LARGEST UNSECURED CREDITORS                   ATS PROCESSING SERVICES                 MESA AZ 85201
                                                                                             ATTN: MORAY KEITH
                                                                                             12100 FEATHERSTONE WAY
TOP 50 LARGEST UNSECURED CREDITORS                   AUTONATION SHARED SERVICE CENTER        RICHMOND BC V6W 1K9 CANADA
                                                                                             ATTN: ALISON KOWALSKI
                                                                                             385 RIFLE CAMP ROAD
                                                                                             3RD FLOOR
BANK OF NEW YORK MELLON                              BANK OF NEW YORK MELLON                 WOODLAND PARK NJ 07424
                                                                                             ATTN: PAUL BULLIVANT
NEW ZEALAND RCF ‐ BANK OF NEW ZEALAND AS                                                     LEVEL 6 DELOITTE CENTRE 80 QUEEN STREET
LENDER                                               BANK OF NEW ZEALAND                     AUCKLAND 1010 NEW ZEALAND
                                                                                             ATTN: SCOTT L. FLEISCHER
                                                                                             1270 AVENUE OF THE AMERICAS
COUNSEL TO DLC MANAGEMENT CORP. AND PG                                                       SUITE 501
SYRACUSE, LLC                                        BARCLAY DAMON LLP                       NEW YORK NY 10020
                                                                                             ATTN: CHRISTOPHER AITKIN
BARCLAYS BANK PLC AS ADMINISTRATIVE AGENT AND        BARCLAYS BANK PLC BANK DEBT             745 SEVENTH AVENUE
COLLATERAL AGENT OR "SENIOR CREDIT AGREEMENT"        MANAGEMENT GROUP                        NEW YORK NY 10019
BARCLAYS BANK PLC AS ADMINISTRATIVE AGENT AND                                                ATTN: ROBERT WALSH
COLLATERAL AGENT (“SENIOR CREDIT AGREEMENT           BARCLAYS BANK PLC BANK DEBT             745 SEVENTH AVENUE
AGENT”)                                              MANAGEMENT GROUP                        NEW YORK NY 10019
                                                                                             ATTN: AGENCY SERVICES – LINDSAY PROUD
BARCLAYS BANK PLC AS ADMINISTRATIVE AGENT AND                                                700 PRIDES CROSSING
COLLATERAL AGENT OR "SENIOR CREDIT AGREEMENT" BARCLAYS BANK PLC LOAN OPERATIONS              NEWARK DE 19713




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 2 of 33
                                           Case 20-11218-MFW   Doc 645    Filed 07/01/20   Page 46 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                    NAME                            ADDRESS
                                                                                 ATTN: ASHLEY S. RUSHER, ESQ.
                                                                                 110 S. STRATFORD ROAD
                                                                                 5TH FLOOR
COUNSEL TO GLORIA CAUDILL                    BLANCO TACKABERRY & MATAMOROS, P.A. WINSTON SALEM NC 27104‐4299
EUROPEAN ABS NOTES ‐ BNP PARIBAS TRUST                                           ATTN: PRESIDENT OR GENERAL COUNSEL
CORPORATION UK LTD. AS COLLATERAL            BNP PARIBAS TRUST CORPORATION UK    10 HAREWOOD AVENUE
AGENT/ISSUER SECURITY TRUSTEE                LIMITED                             LONDON NW1 6AA UNITED KINGDOM
HERTZ CANADIAN SECURITIZATION NOTES ‐ BNY                                        ATTN: CORPORATE TRUST ADMINISTRATION
TRUST COMPANY OF CANADA AS INDENTURE TRUSTEE                                     320 BAY STREET 11TH FLOOR
AND COLLATERAL AGENT                         BNY TRUST COMPANY OF CANADA         TORONTO ON M4H 506 CANADA
                                                                                 ATTN: SEAN KIRK
                                                                                 511 UNION STREET
                                                                                 SUITE 1600
COUNSEL TO COMDATA INC.                      BONE MCALLESTER NORTON PLLC         NASHVILLE TN 37219
                                                                                 ATTN: KRYSTAL R. MIKKILINENI
                                                                                 801 GRAND AVENUE
                                             BRADSHAW, FOWLER, PROCTOR &         SUITE 3700
COUNSEL TO GBS, INC. DBA GRAHAM COLLISION    FAIRGRAVE P.C.                      DES MOINES IA 50309
                                                                                 ATTN: PAOLO FERRARI PRESIDENT CEO COO
                                                                                 200 4TH AVE S.
TOP 50 LARGEST UNSECURED CREDITORS           BRIDGESTONE/FIRESTONE INC           NASHVILLE TN 37201
                                                                                 ATTN: BRIAN FULGHUM VICE PRESIDENT
                                                                                 600 CHASTAIN ROAD NW SUITE 326
TOP 50 LARGEST UNSECURED CREDITORS           BUILDRITE CONSTRUCTION CORP         KENNESAW GA 30144




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 3 of 33
                                           Case 20-11218-MFW   Doc 645      Filed 07/01/20   Page 47 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                  DESCRIPTION                                  NAME                                 ADDRESS
DONLEN CANADA SECURITIZATION PROGRAM ‐
CANADIAN IMPERIAL BANK OF COMMERCE AS
COMMITTED LENDER AND COMPUTERSHARE TRUST                                        ATTN: CANADIAN SECURITIZATION GROUP
COMPANY OF CANADA AS TRUSTEE OF STABLE TRUST                                    5TH FLOOR BROOKFIELD PLACE 161 BAY STREET
AS CONDUIT LENDER                            CANADIAN IMPERIAL BANK OF COMMERCE TORONTO ON M5J 2S8 CANADA
                                                                                ATTN: CHARLIE CONIGLIO CEO
                                                                                CLASSON HOUSE DUNDRUM BUSINESS PARK
                                                                                DUNDRUM
TOP 50 LARGEST UNSECURED CREDITORS           CAR TRAWLER                        DUBLIN 14 IRELAND
                                                                                ATTN: ALBERT A. CIARDI, III & WALTER W.
                                                                                GOULDSBURY III
                                                                                ONE COMMERCE SQUARE, SUITE 3500
                                                                                2005 MARKET STREET
COUNSEL TO FALSE POLICE REPORT PLAINTIFFS    CIARDI CIARDI & ASTIN              PHILADELPHIA PA 19103

                                                                                               ATTN: ROBERT KOHL GLOBAL SECURITIZED PRODUCTS
AUSTRALIAN SECURITIZATION NOTES ‐ CITIBANK N.A.                                                750 WASHINGTON BOULEVARD 8TH FLOOR
AS ADMINISTRATIVE AGENT                              CITIBANK N.A.                             STAMFORD CT 06901
                                                                                               ATTN: IVAR C. SATERO DIRECTOR
                                                                                               SAN FRANCISCO INTERNATIONAL AIRPORT
                                                                                               710 N MCDONNELL RD
TOP 50 LARGEST UNSECURED CREDITORS                   CITY AND COUNTY OF SAN FRANCISCO          SAN FRANCISCO CA 94128
                                                                                               ATTN: BRENT WINDOM PRESIDENT
                                                                                               CHICAGO MIDWAY INTERNATIONAL AIRPORT
                                                                                               10000 WEST O'HARE AVE
TOP 50 LARGEST UNSECURED CREDITORS                   CITY OF CHICAGO                           CHICAGO IL 60666




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                         Page 4 of 33
                                           Case 20-11218-MFW   Doc 645    Filed 07/01/20   Page 48 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                    NAME                                        ADDRESS
                                                                                             ATTN: SEAN A. O’NEAL
ALOC FACILITY ‐ CLEARY GOTTLIEB STEEN & HAMILTON                                             ONE LIBERTY PLAZA
LLP AS ADMINISTRATIVE AGENT                      CLEARY GOTTLIEB STEEN & HAMILTON LLP        NEW YORK NY 10006
COUNSEL TO EUROPEAN ABS NOTES ‐ CREDIT                                                       ATTN: JOHN MACLENNAN MAGGIC ZHAO
AGRICOLE CORPORATE AND INVESTMENT BANK AS                                                    10 UPPER BANK STREET
ADMINISTRATIVE AGENT                             CLIFFORD CHANCE                             LONDON E14 5JJ UNITED KINGDOM
                                                                                             ATTN: RON CLARKE CEO & CHAIRMAN
                                                                                             5301 MARYLAND WAY
TOP 50 LARGEST UNSECURED CREDITORS                   COMDATA                                 BRENTWOOD TN 37027
                                                                                             ATTN: BANKRUPTCY DEPARTMENT
                                                     COMMONWEALTH OF PUERTO RICO             APARTADO 9020192
STATE ATTORNEY GENERAL                               ATTORNEY GENERAL                        SAN JUAN PR 00902‐0192
                                                                                             ATTN: ERIC A. BROWNDORF
                                                                                             1125 ATLANTIC AVENUE
                                                                                             3RD FLOOR
COUNSEL TO CROMPCO LLC                               COOPER LEVENSON P.A.                    ATLANTIC CITY NJ 08401
                                                                                             ATTN: ERIN K. BRIGNOLA EDWARD A. CORMA
                                                                                             30 FOX HUNT DRIVE #30
COUNSEL TO CROMPCO LLC                               COOPER LEVENSON P.A.                    BEAR DE 19701
                                                                                             ATTN: MO SECURITIZATION CACIB/CAROLE
EUROPEAN ABS NOTES ‐ CREDIT AGRICOLE                                                         D’HAEYERE‐DANIEL PIANTONI
CORPORATE AND INVESTMENT BANK AS                     CREDIT AGRICOLE CORPORATE AND           12 PLACE DES ETATS‐UNIS CS 70052
ADMINISTRATIVE AGENT                                 INVESTMENT BANK                         MONTROUGE CEDEX 92547 FRANCE

U.S. VEHICLE RCF ‐ CREDIT AGRICOLE CORPORATE AND
INVESTMENT BANK AS ADMINISTRATIVE AGENT AND                                                  ATTN: AGNES CASTILLO
BANK OF NEW YORK MELLON TRUST COMPANY N.A AS CRÉDIT AGRICOLE CORPORATE AND                   1301 AVENUE OF THE AMERICAS
COLLATERAL AGENT                                 INVESTMENT BANK                             NEW YORK NY 10019


     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 5 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 49 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                      ADDRESS

U.S. VEHICLE RCF ‐ CREDIT AGRICOLE CORPORATE AND                                              ATTN: ERIC O’DELL MANAGING DIRECTOR & MIKE
INVESTMENT BANK AS ADMINISTRATIVE AGENT AND                                                   MCINTYRE DIRECTOR
BANK OF NEW YORK MELLON TRUST COMPANY N.A AS CRÉDIT AGRICOLE CORPORATE AND                    227 W. MONROE STREET #3800
COLLATERAL AGENT                                 INVESTMENT BANK                              CHICAGO IL 60606

U.S. VEHICLE RCF ‐ CREDIT AGRICOLE CORPORATE AND
INVESTMENT BANK AS ADMINISTRATIVE AGENT AND                                                   ATTN: MARISOL ORTIZ
BANK OF NEW YORK MELLON TRUST COMPANY N.A AS CRÉDIT AGRICOLE CORPORATE AND                    1301 AVENUE OF THE AMERICAS
COLLATERAL AGENT                                 INVESTMENT BANK                              NEW YORK NY 10019
                                                                                              ATTN: DAVID R. SOFTNESS, ESQ.
                                                                                              201 SOUTH BISCAYNE BOULEVARD
                                                                                              SUITE 2740
COUNSEL TO AMADEUS IT GROUP, S.A.                    DAVID R. SOFTNESS, P.A.                  MIAMI FL 33131
                                                                                              ATTN MARSHALL HUEBNER ELLIOT MOSKOWITZ
HVF II U.S. ABS NOTES ‐ SPECIAL RESTRUCTURING                                                 DARREN S. KLEIN
COUNSEL TO AGENT DEUTSCHE BANK AG NEW YORK                                                    450 LEXINGTON AVENUE
BRANCH                                               DAVIS POLK & WARDWELL LLP                NEW YORK NY 10017
                                                                                              ATTN: HUGH MCCULLOUGH
                                                                                              920 FIFTH AVENUE, SUITE 3300
COUNSEL TO EWR CONRAC LLC                            DAVIS WRIGHT TREMAINE LLP                SEATTLE WA 98104‐1610
                                                                                              ATTN: RICK GIBBSCEO & CO‐FOUNDER
                                                                                              1 HOWARD ST
TOP 50 LARGEST UNSECURED CREDITORS                   DEALER DOT COM                           BURLINGTON VT 05401
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              CARVEL STATE OFFICE BUILDING
                                                                                              820 N. FRENCH STREET 6TH FLOOR
DELAWARE STATE ATTORNEY GENERAL                      DELAWARE ATTORNEY GENERAL                WILMINGTON DE 19801


     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                        Page 6 of 33
                                           Case 20-11218-MFW    Doc 645   Filed 07/01/20   Page 50 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                    NAME                                        ADDRESS
                                                                                             ATTN: CHRISTINA ROJAS BANKRUPTCY
                                                                                             ADMINISTRATOR
                                                                                             820 N. FRENCH STREET 8TH FLOOR
DELAWARE DIVISION OF REVENUE                         DELAWARE DIVISION OF REVENUE            WILMINGTON DE 19801
                                                                                             ATTN: OFFICER MANAGING AGENT OR GENERAL
                                                                                             AGENT
                                                                                             820 SILVER LAKE BOULVEARD SUITE 100
DELAWARE STATE TREASURY                              DELAWARE STATE TREASURY                 DOVER DE 19904
                                                                                             ATTN: JOSEPH B. UCUZOGLU CEO (US)
                                                                                             30 ROCKEFELLER PLAZA
TOP 50 LARGEST UNSECURED CREDITORS                   DELOITTE                                NEW YORK NY 10112‐0015
                                                                                             39‐40/F OXFORD HOUSE
                                                                                             TAIKOO PLACE 979 KING’S ROAD
TOP 50 LARGEST UNSECURED CREDITORS                   DENT WIZARD INTERNATIONAL CORP          QUARRY BAY HONG KONG
                                                                                             ATTN: RICHARD PALLOT‐COOK
COUNSEL TO U.K. FINANCING FACILITY LOMBARD                                                   ONE FLEET PLACE
NORTH CENTRAL PLC AS LENDER                          DENTONS                                 LONDON EC4M 7RA UNITED KINGDOM
                                                                                             ATTN: FREDERICK D. HYMAN, ESQ.
COUNSEL TO CANADIAN IMPERIAL BANK OF                                                         1540 BROADWAY
COMMERCE, NEW YORK BRANCH                            DUANE MORRIS LLP                        NEW YORK NY 10036‐4086




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 7 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 51 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                       ADDRESS

COUNSEL TO ACE AMERICAN INSURANCE COMPANY,
ACE PROPERTY AND CASUALTY INSURANCE COMPANY,
ACE FIRE UNDERWRITERS INSURANCE COMPANY,
INDEMNITY INSURANCE COMPANY NORTH AMERICA,
ILLINOIS UNION INSURANCE COMPANY, PACIFIC
EMPLOYERS INSURANCE COMPANY, WESTCHESTER                                                      ATTN: WENDY M. SIMKULAK, CATHERINE B.
FIRE INSURANCE COMPANY, WESTCHESTER SURPLUS                                                   HEITZENRATER
LINES INSURANCE COMPANY, FEDERAL INSURANCE                                                    30 SOUTH 17TH STREET
COMPANY, AND ESIS INC.                       DUANE MORRIS LLP                                 PHILADELPHIA PA 19103
                                                                                              ATTN: MORAY KEITH
                                                                                              12100 FEATHERSTONE WAY
TOP 50 LARGEST UNSECURED CREDITORS                   DUECK RICHMOND                           RICHMOND BC V6W 1K9 CANADA
                                                                                              LAW OFFICE OF RICHARD CORNFELD, LLC
                                                                                              ATTN: DANIEL S. LEVY
                                                                                              1010 MARKET STREET, SUITE 1645
COMMITTEE OF UNSECURED CREDITORS                     EMMA BRADLEY                             ST. LOUIS MO 63101
                                                                                              ATTN: PETER M. KERN VICE CHAIRMAN & CEO
                                                                                              333 108TH AVE. NE
TOP 50 LARGEST UNSECURED CREDITORS                   EXPEDIA                                  BELLEVUE WA 98004
                                                                                              ATTN: JAMES H. MILLAR
                                                                                              1177 AVENUE OF THE AMERICAS
                                                                                              41ST FLOOR
COUNSEL TO THE MTN STEERING COMMITTEE                FAEGRE DRINKER BIDDLE & REATH LLP        NEW YORK NY 10036




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                        Page 8 of 33
                                           Case 20-11218-MFW   Doc 645    Filed 07/01/20   Page 52 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                    NAME                                          ADDRESS
                                                                                             ATTN: CATHERINE M. CAMPBELL & MELISSA A.
                                                                                             BRENNAN
                                                                                             177 MILK STREET
COUNSEL TO TEAMSTERS LOCAL UNION 25 HEALTH                                                   SUITE 300
SERVICES & INSURANCE PLAN                            FEINBERG, CAMPBELL & ZACK, P.C.         BOSTON MA 02109
                                                                                             ATTN: CATHY L. REECE
                                                                                             2394 EAST CAMELBACK ROAD
                                                                                             SUITE 600
COUNSEL TO RENO‐TAHOE AIRPORT AUTHORITY              FENNEMORE CRAIG, P.C.                   PHEONIX AZ 85016
                                                                                             ATTN: ROBERT FINES PRINCIPAL
                                                                                             10 SIMONA DR
TOP 50 LARGEST UNSECURED CREDITORS                   FINES FORD                              BOLTON ON L7E 4C7 CANADA
                                                                                             ATTN: DEBORAH A. CRABBE
COUNSEL TO CASSAN ENTERPRISES INC., TODD                                                     1111 THIRD AVENUE, SUITE 3000
INVESTMENT COMPANY & CMC INVESTMENTS, INC.           FOSTER GARVEY PC                        SEATTLE WA 98101
                                                                                             ATTN: FRANCIS MALOFIY, ESQUIRE
                                                                                             280 N. PROVIDENCE ROAD, SUITE 1
COUNSEL TO FALSE POLICE REPORT PLAINTIFFS            FRANCIS ALEXANDER, LLC                  MEDIA PA 19063
                                                                                             ATTN: ROY S. KOBERT
                                                                                             301 E. PINE STREET, P.O. BOX 1400
                                                                                             P.O. BOX 3068
COUNSEL TO PALM BEACH COUNTY                         GARYROBINSON, P.A.                      ORLANDO FL 32802‐3068
                                                                                             ATTN: LISA BITTLE TANCREDI, ESQUIRE
                                                                                             1000 N. WEST STREET
                                                                                             SUITE 1200
COUNSEL TO ARGONAUT INSURANCE COMPANY                GEBHARDT & SMITH LLP                    WILMINGTON DE 19801




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 9 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 53 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                        ADDRESS
                                                                                              ATTN: JASON CHAPNIK CHAIRMAN
                                                                                              150 CENTER COURT
TOP 50 LARGEST UNSECURED CREDITORS                   GERBER NATIONAL CLAIM SERVICES LLC       SCHAUMBURG IL 60195
                                                                                              ATTN: DEPARTMENT MANAGER
                                                     GOLDMAN SACHS MORTGAGE CO. AS            200 WEST STREET
TOP 50 LARGEST UNSECURED CREDITORS                   LENDER AND ADMINISTRATIVE AGENT          NEW YORK NY 10282
                                                                                              ATTN: DEPARTMENT MANAGER
ALOC FACILITY ‐ GOLDMAN SACHS MORTGAGE CO. AS                                                 200 WEST STREET
LENDER AND ADMINISTRATIVE AGENT               GOLDMAN SACHS MORTGAGE COMPANY                  NEW YORK NY 10282
                                                                                              ATTN: GOLDMAN SACHS LOAN OPERATIONS
ALOC FACILITY ‐ GOLDMAN SACHS MORTGAGE CO. AS                                                 2001 ROSS AVENUE 29TH FLOOR
LENDER AND ADMINISTRATIVE AGENT               GOLDMAN SACHS MORTGAGE COMPANY                  DALLAS TX 75201
                                                                                              ATTN: JASON B. BURNETT
                                                                                              50 NORTH LAURA STREET
                                                                                              SUITE 1100
COUNSEL TO CITY OF PENSACOLA, FLORIDA                GRAYROBINSON, P.A.                       JACKSONVILLE FL 32202
                                                                                              ATTN: PHIL BROWN CEO
                                                                                              ORLANDO INTERNATIONAL AIRPORT
                                                                                              ONE JEFF FUQUA BOULEVARD
TOP 50 LARGEST UNSECURED CREDITORS                   GREATER ORLANDO AVI AUTH                 ORLANDO FL 32827‐4392
                                                                                              ATTN: DOMINGO SANCHEZ CHAIRMAN
                                                                                              ORLANDO INTERNATIONAL AIRPORT
                                                                                              ONE JEFF FUQUA BOULEVARD
TOP 50 LARGEST UNSECURED CREDITORS                   GREATER ORLANDO AVIATION AUTH            ORLANDO FL 32827‐4392
                                                                                              ATTN: JOHN D. ELROD
                                                                                              TERMINUS 200
                                                                                              3333 PIEDMONT ROAD NE SUITE 2500
COUNSEL TO COX AUTOMOTIVE INC.                       GREENBERG TRAURIG LLP                    ATLANTA GA 30305


     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 10 of 33
                                           Case 20-11218-MFW   Doc 645        Filed 07/01/20   Page 54 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                        NAME                                      ADDRESS
                                                                                                 ATTN: HEATHER KERNAHAN CEO
                                                                                                 45 E 20TH ST
TOP 50 LARGEST UNSECURED CREDITORS                   HOTWIRE                                     NEW YORK NY 10003
                                                                                                 ATTN: GENERAL COUNSEL
                                                                                                 1 NEW ORCHARD ROAD
TOP 50 LARGEST UNSECURED CREDITORS                   IBM CORPORATION                             ARMONK NY 10504

                                                                                                 ATTN: RODRIGO ALONSO RODRIGUEZ GONZALEZ
COUNSEL TO INTERNATIONAL BUSINESS MACHINES                                                       CARRETERA AL CASTILLO 2200 EL QUINCE
CORP (IBM)                                           IBM CORPORATION                             EL SALTO, JALISCO 45680 MEXICO
                                                                                                 ATTN: ANDY GRAVINA
                                                                                                 SPECIAL HANDLING GROUP
                                                                                                 7100 HIGHLANDS PKWY
COUNSEL TO IBM CREDIT LLC                            IBM CREDIT LLC                              SMYRNA GA 30082
                                                                                                 ATTN: JEFFREY A. HOKANSON
                                                                                                 ONE AMERICAN SQUARE
                                                                                                 SUITE 2900
COUNSEL TO THE INDIANAPOLIS AIRPORT AUTHORITY ICE MILLER                                         INDIANAPOLIS IN 46282‐0200
                                                                                                 ATTN: KEVIN SAMUELSON CEO
                                                                                                 641 AVENUE OF THE AMERICAS
TOP 50 LARGEST UNSECURED CREDITORS                   INFOR (US) INC                              NEW YORK NY 10011
                                                                                                 CENTRALIZED INSOLVENCY OPERATION
                                                                                                 2970 MARKET STREET
                                                                                                 MAIL STOP 5‐Q30.133
IRS INSOLVENCY SECTION                               INTERNAL REVENUE SERVICE                    PHILADELPHIA PA 19104‐5016
                                                                                                 CENTRALIZED INSOLVENCY OPERATION
                                                                                                 P.O. BOX 7346
IRS INSOLVENCY SECTION                               INTERNAL REVENUE SERVICE                    PHILADELPHIA PA 19101‐7346


     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                          Page 11 of 33
                                           Case 20-11218-MFW   Doc 645      Filed 07/01/20   Page 55 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                      NAME                                         ADDRESS
                                                                                               ATTN: IAIN GOLD
                                                     INTERNATIONAL BROTHERHOOD OF              25 LOUISIANA AVE. NW
COMMITTEE OF UNSECURED CREDITORS                     TEAMSTERS                                 WASHINGTON DC 20001
                                                                                               BARRERA & ASSOCIATES
                                                                                               ATTN: PATRICIO BARRERA
                                                                                               2298 E. MAPLE AVE
COMMITTEE OF UNSECURED CREDITORS                     JANICE DAWSON                             EL SEGUNDO CA 90245
                                                                                               ATTN: FORREST HEATHCOTT PRESIDENT
                                                                                               500 JIM MORAN BLVD
TOP 50 LARGEST UNSECURED CREDITORS                   JM & A GROUP INC                          DEERFIELD BEACH FL 33442
                                                                                               ATTN: JEFFREY A. KROL
COUNSEL TO AUTOMOBILE MECHANICS’ LOCAL NO.                                                     311 S. WACKER DRIVE, SUITE 1050
701 UNION AND INDUSTRY PENSION FUND                  JOHNSON & KROL, LLC                       CHICAGO IL 60606
                                                                                               ATTN: GEORGE A. KURISKY, JR. AND DAMIAN W.
                                                                                               ABREO
                                                                                               4 HOUSTON CENTER
                                                                                               1221 LAMAR, SUITE 1000
COUNSEL TO TOMMIE VAUGHN MOTORS, INC.                JOHNSON DELUCA KURISKY & GOULD, P.C.      HOUSTON TX 77010
                                                                                               ATTN: CHAD A. JUSTICE ESQ.
COUNSEL TO ARLEAN GREEN ON BEHALF OF HERSELF                                                   1205 N. FRANKLIN STREET SUITE 326
AND ALL OTHERS SIMILARLY‐SITUATED                    JUSTICE FOR JUSTICE LLC                   TAMPA FL 33602
                                                                                               ATTN: ERIC T. SMITH, W. ERIC PILSK, & DAVID Y.
                                                                                               BANNARD
                                                                                               1634 I (EYE) STREET NW
COUNSEL TO THE CITY OF ATLANTA, COUNSEL TO                                                     SUITE 300
ACAA                                                 KAPLAN KIRSCH ROCKWELL                    WASHINGTON DC 20006




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                        Page 12 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 56 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                      ADDRESS
                                                                                         ATTN: DAVIS WRIGHT TREMAINE LLP
                                                                                         919 N. MARKET STREET, SUITE 1000
COUNSEL TO EWR CONRAC LLC                            KLEHR HARRISON HARVEY BRANZBURG LLP WILMINGTON DE 19801‐3062
                                                                                         ATTN: THOMAS MOERS MAYER, AMY CATON, DAVID
                                                                                         E. BLABEY, JR., & ALICE J. BYOWITZ
COUNSEL TO THE OFFICIAL COMMITTEE OF                                                     1177 AVENUE OF THE AMERICAS
UNSECURED CREDITORS                                  KRAMER LEVIN NAFTALIS & FRANKEL LLP NEW YORK NY 10036
                                                                                         ATTN: DARRYL T. LANDWEHR
                                                                                         935 GRAVIER STREET, SUITE 835
COUNSEL TO ALAN WEINER                               LANDWEHR LAW FIRM                   NEW ORLEANS LA 70112
                                                                                         ATTN: PAUL VALENTE VICE PRESIDENT
                                                                                         98 MAPLE AVE
TOP 50 LARGEST UNSECURED CREDITORS                   LANE VALENTE                        SMITHTOWN NY 11787
                                                                                         ATTN: JOHNATHAN MILLER ESQ. & STUART MILLER
                                                                                         ESQ.
COUNSEL TO ARLEAN GREEN ON BEHALF OF HERSELF                                             132 NASSAU STREET SUITE 1100
AND ALL OTHERS SIMILARLY‐SITUATED                    LANKENAU & MILLER LLP               NEW YORK NY 10038
                                                                                         ATTN: HEATHER WALLER
                                                                                         330 NORTH WABASH AVENUE
                                                                                         SUITE 2800
COUNSEL TO BARCLAYS BANK PLC                         LATHAM & WATKINS LLP                CHICAGO IL 60611
                                                                                         ATTN: KEVIN T. FINGERET GRAEME P. SMYTH
HVF II U.S. ABS NOTES ‐ LATHAM & WATKINS LLP. AS                                         885 THIRD AVENUE
GENERAL COUNSEL                                      LATHAM & WATKINS LLP                NEW YORK NY 10022‐4834




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 13 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 57 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                        ADDRESS

SENIOR SECOND PRIORITY SECURED NOTES (“2L
NOTES”) ‐ WELLS FARGO BANK AS INDENTURE
TRUSTEE UNDER THE SENIOR NOTES OR “U.S. NOTES                                                 ATTN: R. CHARLES CASSIDY III
AGENT” AND L/C FACILITY ‐ BARCLAYS BANK PLC AS                                                555 ELEVENTH STREET NW
ADMINISTRATIVE AGENT AND COLLATERAL AGENT OR                                                  SUITE 1000
"SENIOR CREDIT AGREEMENT AGENT"                LATHAM & WATKINS LLP                           WASHINGTON DC 20004‐1304
                                                                                              ATTN: MARSHALL A. FEIN
                                                                                              13822 BLUFF LANE
COUNSEL TO AUSTIN CONRAC LLC                         LAW OFFICES OF MARSHALL A. FEIN          SAN ANTONIO TX 78216‐6302
                                                                                              ATTN: DON STECKER
                                                                                              112 E. PECAN STREET
                                                     LINEBARGER GOGGAN BLAIR & SAMPSON        SUITE 2200
COUNSEL TO BEXAR COUNTY                              LLP                                      SAN ANTONIO TX 78205

COUNSEL TO RAYMONDVILLE ISD, WILLACY COUNTY,
NUECES COUNTY, CALDWELL CAD, CAMERON
COUNTY, HIDALGO COUNTY, CITY OF HARLINGEN,
MCLENNAN COUNTY, VICTORIA COUNTY, HAYS CISD,                                     ATTN: DIANE WADE SANDERS
CITY OF MCALLEN, HARLINGEN CISD, LA FERIA ISD,       LINEBARGER GOGGAN BLAIR & SAMPSON,
                                                                                 P.O. BOX 17428
SAN MARCOS CISD                                      LLP                         AUSTIN TX 78760
                                                                                 ATTN: RICHARD PERRY CHRIS COOPER
U.K. FINANCING FACILITY LOMBARD NORTH CENTRAL LOMBARD CORPORATE FINANCE/ LOMBARD 280 BISHOPSGATE
PLC AS LENDER                                 NORTH CENTRAL PLC                  LONDON EC2M 4RB UNITED KINGDOM

                                                                                              ATTN: HERTZ – DONLEN PROGRAM ADMINISTRATOR
HFLF ABS NOTES ‐ LORD SECURITIES CORPORATION AS                                               48 WALL STREET 27TH FLOOR
GROUP I BACK‐UP ADMINISTRATOR                   LORD SECURITIES CORPORATION                   NEW YORK NY 10005


     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 14 of 33
                                           Case 20-11218-MFW   Doc 645      Filed 07/01/20   Page 58 of 142

                                                                    Exhibit D
                                                             Core FCM Service List
                                                            Served via first class mail
                      DESCRIPTION                                      NAME                                       ADDRESS
                                                                                               ATTN: MICHAEL LUSKIN RICHARD STERN ALEX
                                                                                               TALESNICK
COUNSEL TO CRÉDIT AGRICOLE CORPORATE AND                                                       8TH AVE. & 41ST ST
INVESTMENT BANK                                      LUSKIN STERN & EISLER LLP                 NEW YORK NY 10036

                                                                                               ATTN: LOGAN GREEN CEO CO‐FOUNDER & DIRECTOR
                                                                                               548 MARKET STREET SUITE 68514
TOP 50 LARGEST UNSECURED CREDITORS                   LYFT                                      SAN FRANCISCO CA 94104

                                                                                               ATTN: JONATHAN FITZPATRICK PRESIDENT & CEO
                                                                                               440 S. CHURCH STREET SUITE 700
TOP 50 LARGEST UNSECURED CREDITORS                   MAACO FRANCHISING CORPORATE LLC           CHARLOTTE NC 28202
                                                                                               ATTN: LISA WIELAND CEO
                                                                                               ONE HARBORSIDE DRIVE SUITE 200S
TOP 50 LARGEST UNSECURED CREDITORS                   MASSACHUSETTS PORT AUTHORITY              BOSTON MA 02128
                                                                                               ATTN: BRIAN TRUST
                                                                                               1221 AVENUE OF THE AMERICAS
COUNSEL TO BARCLAYS BANK PLC                         MAYER BROWN LLP                           NEW YORK NY 10020
                                                                                               ATTN: SEAN T. SCOTT
                                                                                               71 SOUTH WACKER DRIVE
COUNSEL TO BARCLAYS BANK PLC                         MAYER BROWN LLP                           CHICAGO IL 60606




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                        Page 15 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 59 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                   ADDRESS


COUNSEL TO THE COUNTY OF ANDERSON TEXAS THE
COUNTY OF BASTROP TEXAS TAX APPRAISAL DISTRICT
OF BELL COUNTY BOWIE CENTRAL APPRAISAL
DISTRICT THE COUNTY OF BRAZOS TEXAS BURNET
CENTRAL APPRAISAL DISTRICT CELINA INDEPENDENT
SCHOOL DISTRICT THE TOWN OF ST. PAUL TEXAS THE
COUNTY OF COMAL TEXAS THE COUNTY OF DENTON
TEXAS GLADEWATER INDEPENDENT SCHOOL DISTRICT
THE CITY OF GLADEWATER TEXAS PINE TREE
INDEPENDENT SCHOOL DISTRICT WHITE OAK
INDEPENDENT SCHOOL DISTRICT THE COUNTY OF
HAYS TEXAS KERRVILLE INDEPENDENT SCHOOL
DISTRICT CITY OF WACO AND/OR WACO
INDEPENDENT SCHOOL DISTRICT MIDLAND CENTRAL
APPRAISAL DISTRICT REEVES COUNTY TAX DISTRICT                                          ATTN: TARA LEDAY
CENTRAL APPRAISAL DISTRICT OF TAYLOR COUNTY                                            PO BOX 1269
AND THE COUNTY OF WILLIAMSON TEXAS             MCCREARY VESELKA BRAGG & ALLEN P.C      ROUND ROCK TX 78680
                                                                                       ATTN: RICHARD D. TRENK
                                                                                       75 LIVINGSTON AVENUE 2ND FLOOR
COUNSEL TO 104 FOUNDRY STREET REALTY LLC             MCMANIMON SCOTLAND & BAUMANN LLC ROSELAND NJ 07068
                                                                                       ATTN: NICOLE C. KENWORTHY
                                                                                       6801 KENILWORTH AVENUE
                                                                                       SUITE 400
COUNSEL TO PRINCE GEORGE'S COUNTY, MARYLAND          MEYERS, RODBELL & ROSENBAUM, P.A. RIVERDALE MD 20737‐1385




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 16 of 33
                                           Case 20-11218-MFW     Doc 645      Filed 07/01/20   Page 60 of 142

                                                                      Exhibit D
                                                               Core FCM Service List
                                                              Served via first class mail
                      DESCRIPTION                                        NAME                                        ADDRESS
                                                                                                 ATTN: ROBERT B. LACHENAUER
                                                                                                 600 THIRD AVENUE
HFLF ABS NOTES ‐ LORD SECURITIES CORPORATION AS                                                  25TH FLOOR
GROUP I BACK‐UP ADMINISTRATOR                   MINTZ & GOLD LLP                                 NEW YORK NY 10016
                                                                                                 ATTN: KEVIN P. MONTEE
                                                                                                 1250‐I NEWELL AVE
                                                                                                 SUITE 149
COUNSEL TO FFHS ASSOCIATES GATEWAY LP                MONTEE LAW FIRM APC                         WALNUT CREEK CA 94596
                                                                                                 ATTN: JAMES YOUNG
COUNSEL TO JEFFREY BROWER AND THE PERSONAL                                                       76 SOUTH LAURA STREET, SUITE 1100
INJURY CLAIMANTS                                     MORGAN & MORGAN                             JACKSONVILLE FL 32202
                                                                                                 ATTN: JUAN R. MARTINEZ
COUNSEL TO JEFFREY BROWER AND THE PERSONAL                                                       201 N. FRANKLIN STREET, 7TH FLOOR
INJURY CLAIMANTS                                     MORGAN & MORGAN                             TAMPA FL 33602
                                                                                                 ATTN: H. JASON GOLD, ESQ. & DYLAN G. TRACHE,
                                                                                                 ESQ.
                                                     NELSON MULLINS RILEY & SCARBOROUGH          101 CONSTITUTION AVENUE, NW, SUITE 900
COUNSEL TO FCA US LLC                                LLP                                         WASHINGTON DC 20001
                                                                                                 ATTN: JOHN P. STREELMAN, ESQ.
                                                     NELSON MULLINS RILEY & SCARBOROUGH          1400 WEWATTA STREET, SUITE 500
COUNSEL TO FCA US LLC                                LLP                                         DENVER CO 80202
                                                                                                 ATTN: MAKOTO UCHIDA PRESIDENT & CEO
                                                                                                 ONE NISSAN WAY
TOP 50 LARGEST UNSECURED CREDITORS                   NISSAN                                      FRANKLIN TN 37067
                                                                                                 39‐40/F OXFORD HOUSE
                                                                                                 TAIKOO PLACE 979 KING’S ROAD
TOP 50 LARGEST UNSECURED CREDITORS                   NISSAN CN                                   QUARRY BAY HONG KONG



     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                          Page 17 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 61 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                               ADDRESS
                                                                                    ATTN: DAVID A. ROSENZWEIG, ESQ. & FRANCISCO
                                                                                    VAZQUEZ, ESQ.
                                                                                    1301 AVENUE OF THE AMERICAS
COUNSEL TO AT&T CORP. AND ITS AFFILIATES        NORTON ROSE FULBRIGHT US LLP        NEW YORK NY 10019‐6022
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                                                                    590 S. MARINE CORPS DR. SUITE 901
STATE ATTORNEY GENERAL                          OFFICE OF THE ATTORNEY GENERAL GUAM TAMUNING GU 96913
                                                                                    ATTN: ROSA R. ORENSTEIN NATHAN M. NICHOLS
COUNSEL TO DALLAS/FORT WORTH INTERNATIONAL                                          1201 ELM STREET SUITE 4020
AIRPORT BOARD                                   ORENSTEIN LAW GROUP P.C.            DALLAS TX 75270
HERTZ CANADIAN SECURITIZATION NOTES ‐ BNY                                           ATTN: MARC WASSERMAN PETER MILLIGAN
TRUST COMPANY OF CANADA AS INDENTURE TRUSTEE                                        100 KING STREET WEST P.O. BOX 50
AND COLLATERAL AGENT AND BANK OF MONTREAL                                           SUITE 6200 1 FIRST CANADIAN PLACE
AND THE BANK OF NOVA SCOTIA                     OSLER HOSKIN & HARCOURT LLP         TORONTO ON M5X 1B8 CANADA
                                                                                    ATTN: JAHAN C. SAGAFI
                                                                                    ONE CALIFORNIA STREET
COUNSEL TO PETER LEE LATONYA CAMPBELL S.                                            12TH FLOOR
SHARMA O. MOLINA AND P. BOBADILLO               OUTTEN & GOLDEN LLP                 SAN FRANCISCO CA 94111
                                                                                    ATTN: MANAGER TRANSACTION MANAGEMENT
AUSTRALIAN SECURITIZATION NOTES ‐ PT LIMITED AS                                     LEVEL 12 123 PITT STREET
SECURITY TRUSTEE                                P.T. LIMITED                        SYDNEY NSW 2000 AUSTRALIA

COUNSEL TO PRICELINE.COM AND CERTAIN                                                          ATTN: JAMES E. O’NEILL
AFFILIATES, COUNSEL TO BOOKING.COM TRANSPORT                                                  919 N. MARKET STREET, 17TH FLOOR
LIMITED, TRADING AS RENTALCARS.COM, AND                                                       P.O. BOX 8705
CERTAIN OF ITS AFFILIATES                    PACHULSKI STANG ZIEHL & JONES LLP                WILMINGTON DE 19899‐8705




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 18 of 33
                                           Case 20-11218-MFW   Doc 645       Filed 07/01/20   Page 62 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                       NAME                                       ADDRESS

COUNSEL TO PRICELINE.COM AND CERTAIN
AFFILIATES, COUNSEL TO BOOKING.COM TRANSPORT                                                    ATTN: JEREMY V. RICHARDS
LIMITED, TRADING AS RENTALCARS.COM, AND                                                         10100 SANTA MONICA BLVD., 13TH FLOOR
CERTAIN OF ITS AFFILIATES                    PACHULSKI STANG ZIEHL & JONES LLP                  LOS ANGELES CA 90067

COUNSEL TO PRICELINE.COM AND CERTAIN
AFFILIATES, COUNSEL TO BOOKING.COM TRANSPORT                                                    ATTN: JOHN A. MORRIS
LIMITED, TRADING AS RENTALCARS.COM, AND                                                         780 THIRD AVENUE, 34TH FLOOR
CERTAIN OF ITS AFFILIATES                    PACHULSKI STANG ZIEHL & JONES LLP                  NEW YORK NY 10017‐2024
                                                                                                ATTN: BRENT WINDOM PRESIDENT
                                                                                                3118 W ALLEGHENY AVE
TOP 50 LARGEST UNSECURED CREDITORS                 PEP BOYS                                     PHILADELPHIA PA 19132
COUNSEL TO LA JOYA INDEPENDENT SCHOOL DISTRICT                                                  ATTN: JOHN T. BANKS
CITY OF WESLACO WESLACO INDEPENDENT SCHOOL                                                      3301 NORTHLAND DRIVE
DISTRICT DELTA LAKE IRRIGATION DISTRICT CITY OF LA PERDUE BRANDON FIELDER COLLINS &             SUITE 505
FERIA                                              MOTT L.L.P.                                  AUSTIN TX 78731
                                                                                                ATTN: JAMES D. TUTON PRESIDENT
                                                                                                1150 N ALMA SCHOOL RD
TOP 50 LARGEST UNSECURED CREDITORS                   PLATEPASS LLC                              MESA AZ 85201

                                                                                                ATTN: ANDRES REINER PRESIDENT CEO & DIRECTOR
                                                                                                OAKLAND CITY CENTER
TOP 50 LARGEST UNSECURED CREDITORS                   PROS REVENUE MANAGEMENT                    OAKLAND CA 94607
                                                                                                ATTN: ANN E. PILLE
                                                                                                10 SOUTH WACKER DRIVE 40TH FLOOR
COUNSEL TO WELLS FARGO EQUIPMENT FINANCE LLC REED SMITH LLP                                     CHICAGO IL 60606‐7507



     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                         Page 19 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 63 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                             ADDRESS
                                                                                  ATTN: CHRISTOPHER A. LYNCH
                                                                                  599 LEXINGTON AVENUE
COUNSEL TO WINTHROP RESOURCES CORPORATION &                                       24TH FLOOR
TCF NATIONAL BANK                           REED SMITH LLP                        NEW YORK NY 10022
                                                                                  ATTN: ALEX P. ROSENTHAL
                                                                                  2115 NORTH COMMERCE PARKWAY
COUNSEL TO MOTORHOUSE HOLDINGS LLC          ROSENTHAL LAW GROUP                   WESTON FL 33326
                                                                                  ATTN: MICHAEL C. FALICK
                                                                                  1201 LOUISIANA ST., SUITE 550
COUNSEL TO SIGNAD, LTD.                     ROTHFELDER & FALICK, L.L.P.           HOUSTON TX 77002
                                                                                  ATTN: THOMAS FEENEY PRESIDENT & CEO
                                                                                  7400 SAFELITE WAY
TOP 50 LARGEST UNSECURED CREDITORS          SAFELITE FULFILLMENT INC              COLUMBUS OH 43235
                                                                                  ATTN: STEPHEN B. RAVIN ESQ.
                                                                                  ONE RIVERFRONT PLAZA
                                                                                  1037 RAYMOND BLVD. SUITE 1520
COUNSEL TO FACT INC.                        SAUL EWING ARNSTEIN & LEHR LLP        NEWARK NJ 07102‐5426
                                                                                  ATTN: STEVEN C. REINGOLD
COUNSEL TO DASSAULT FALCON JET CORP. AND                                          131 DARTMOUTH STREET
DASSAULT FALCON JET‐WILMINGTON CORP.        SAUL EWING ARNSTEIN & LEHR LLP        BOSTON MA 02116
                                                                                  ATTN: LEGAL DEPARTMENT
                                                                                  BROOKFIELD PLACE
                                            SECURITIES & EXCHANGE COMMISSION ‐ NY 200 VESEY STREET SUITE 400
SECURITIES AND EXCHANGE COMMISSION          OFFICE                                NEW YORK NY 10281‐1022
                                                                                  SECRETARY OF THE TREASURY
                                            SECURITIES AND EXCHANGE COMMISSION ‐ 100 F STREET NE
SECURITIES AND EXCHANGE COMMISSION          HEADQUARTERS                          WASHINGTON DC 20549



     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 20 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 64 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                   ADDRESS
                                                                                          ATTN: LEGAL DEPARTMENT
                                                                                          ONE PENN CENTER
                                                     SECURITIES AND EXCHANGE COMMISSION ‐ 1617 JFK BOULEVARD SUITE 520
SECURITIES AND EXCHANGE COMMISSION                   REGIONAL OFFICE                      PHILADELPHIA PA 19103
                                                                                          ATTN: DUANE M. GECK, DONALD H. CRAM
COUNSEL TO FORD MOTOR COMPANY AND FORD                                                    ONE EMBARCADERO CENTER, SUITE 2600
MOTOR COMPANY OF CANADA, LIMITED                     SEVERSON & WERSON, P.C.              SAN FRANCISCO CA 94111
                                                                                          ATTN: MICHAEL STEINBERG
ALOC FACILITY ‐ SHEARMAN & STERLING LLP AS                                                599 LEXINGTON AVENUE
ADMINISTRATIVE AGENT ‐ FINANCE COUNSEL               SHEARMAN & STERLING LLP              NEW YORK NY 10022‐6069

                                                                                              ATTN: SCOTT GREENSTEIN AND PATRICK DONNELLY
TOP 50 LARGEST UNSECURED CREDITORS AND                                                        1221 AVENUE OF THE AMERICAS 36TH FL
COMMITTEE OF UNSECURED CREDITORS                     SIRIUS XM RADIO INC                      NEW YORK NY 10020

                                                                                              ATTN: GARY C. KELLY CHAIRMAN & JAMES SHEPPARD
                                                                                              2702 LOVE FIELD DRIVE
TOP 50 LARGEST UNSECURED CREDITORS AND                                                        HDQ‐4GC
COMMITTEE OF UNSECURED CREDITORS                     SOUTHWEST AIRLINES CO                    DALLAS TX 75235
                                                                                              ATTN: IVO KELLER
                                                                                              505 MONTGOMERY STREET
COUNSEL TO ASSOCIATED LIMOUSINE OPERATORS OF                                                  SUITE 620
SAN FRANCISCO, INC.                          SSL LAW FIRM LLP                                 SAN FRANCISCO CA 94111
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              P.O. BOX 300152
STATE ATTORNEY GENERAL                               STATE OF ALABAMA ATTORNEY GENERAL        MONTGOMERY AL 36130‐0152




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 21 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 65 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                    ADDRESS
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                                                          P.O. BOX 110300
STATE ATTORNEY GENERAL                               STATE OF ALASKA ATTORNEY GENERAL     JUNEAU AK 99811‐0300
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                                                          2005 N CENTRAL AVE
STATE ATTORNEY GENERAL                               STATE OF ARIZONA ATTORNEY GENERAL    PHOENIX AZ 85004‐2926
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                                                          323 CENTER ST.
                                                                                          SUITE 200
STATE ATTORNEY GENERAL                               STATE OF ARKANSAS ATTORNEY GENERAL LITTLE ROCK AR 72201‐2610
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                                                          P.O. BOX 944255
STATE ATTORNEY GENERAL                               STATE OF CALIFORNIA ATTORNEY GENERAL SACRAMENTO CA 94244‐2550
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                                                          RALPH L. CARR COLORADO JUDICIAL CENTER
                                                                                          1300 BROADWAY 10TH FLOOR
STATE ATTORNEY GENERAL                               STATE OF COLORADO ATTORNEY GENERAL DENVER CO 80203
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                     STATE OF CONNECTICUT ATTORNEY        55 ELM ST.
STATE ATTORNEY GENERAL                               GENERAL                              HARTFORD CT 06106
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                                                          CARVEL STATE OFFICE BLDG.
                                                                                          820 N. FRENCH ST.
STATE ATTORNEY GENERAL                               STATE OF DELAWARE ATTORNEY GENERAL WILMINGTON DE 19801
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                                                          THE CAPITOL PL 01
STATE ATTORNEY GENERAL                               STATE OF FLORIDA ATTORNEY GENERAL    TALLAHASSEE FL 32399‐1050



     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 22 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 66 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                        ADDRESS
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              40 CAPITAL SQUARE SW
STATE ATTORNEY GENERAL                               STATE OF GEORGIA ATTORNEY GENERAL        ATLANTA GA 30334‐1300
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              425 QUEEN ST.
STATE ATTORNEY GENERAL                               STATE OF HAWAII ATTORNEY GENERAL         HONOLULU HI 96813
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              700 W. JEFFERSON STREET
                                                                                              P.O. BOX 83720
STATE ATTORNEY GENERAL                               STATE OF IDAHO ATTORNEY GENERAL          BOISE ID 83720‐1000
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              100 WEST RANDOLPH STREET
STATE ATTORNEY GENERAL                               STATE OF ILLINOIS ATTORNEY GENERAL       CHICAGO IL 60601
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              INDIANA GOVERNMENT CENTER SOUTH
                                                                                              302 W. WASHINGTON ST. 5TH FLOOR
STATE ATTORNEY GENERAL                               STATE OF INDIANA ATTORNEY GENERAL        INDIANAPOLIS IN 46204
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              1305 E. WALNUT STREET
STATE ATTORNEY GENERAL                               STATE OF IOWA ATTORNEY GENERAL           DES MOINES IA 50319
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              120 SW 10TH AVE. 2ND FLOOR
STATE ATTORNEY GENERAL                               STATE OF KANSAS ATTORNEY GENERAL         TOPEKA KS 66612‐1597
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              700 CAPITOL AVENUE SUITE 118
STATE ATTORNEY GENERAL                               STATE OF KENTUCKY ATTORNEY GENERAL       FRANKFORT KY 40601




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 23 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 67 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                     ADDRESS
                                                                                           ATTN: BANKRUPTCY DEPARTMENT
                                                                                           P.O. BOX 94095
STATE ATTORNEY GENERAL                               STATE OF LOUISIANA ATTORNEY GENERAL BATON ROUGE LA 70804‐4095
                                                                                           ATTN: BANKRUPTCY DEPARTMENT
                                                                                           6 STATE HOUSE STATION
STATE ATTORNEY GENERAL                               STATE OF MAINE ATTORNEY GENERAL       AUGUSTA ME 04333
                                                                                           ATTN: BANKRUPTCY DEPARTMENT
                                                                                           200 ST. PAUL PLACE
STATE ATTORNEY GENERAL                               STATE OF MARYLAND ATTORNEY GENERAL BALTIMORE MD 21202‐2202
                                                                                           ATTN: BANKRUPTCY DEPARTMENT
                                                     STATE OF MASSACHUSETTS ATTORNEY       ONE ASHBURTON PLACE
STATE ATTORNEY GENERAL                               GENERAL                               BOSTON MA 02108‐1698
                                                                                           ATTN: BANKRUPTCY DEPARTMENT
                                                                                           G. MENNEN WILLIAMS BUILDING 7TH FLOOR
                                                                                           525 W. OTTAWA ST. P.O. BOX 30212
STATE ATTORNEY GENERAL                               STATE OF MICHIGAN ATTORNEY GENERAL LANSING MI 48909‐0212
                                                                                           ATTN: BANKRUPTCY DEPARTMENT
                                                                                           1400 BREMER TOWER
                                                                                           445 MINNESOTA STREET
STATE ATTORNEY GENERAL                               STATE OF MINNESOTA ATTORNEY GENERAL ST. PAUL MN 55101‐2131
                                                                                           ATTN: BANKRUPTCY DEPARTMENT
                                                                                           WALTER SILLERS BUILDING
                                                                                           550 HIGH STREET SUITE 1200 P.O. BOX 220
STATE ATTORNEY GENERAL                               STATE OF MISSISSIPPI ATTORNEY GENERAL JACKSON MS 39201
                                                                                           ATTN: BANKRUPTCY DEPARTMENT
                                                                                           SUPREME COURT BUILDING
                                                                                           207 W. HIGH ST.
STATE ATTORNEY GENERAL                               STATE OF MISSOURI ATTORNEY GENERAL    JEFFERSON CITY MO 65102


     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 24 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 68 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                    ADDRESS
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                                                          215 N SANDERS THIRD FLOOR
                                                                                          PO BOX 201401
STATE ATTORNEY GENERAL                               STATE OF MONTANA ATTORNEY GENERAL HELENA MT 59620‐1401
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                                                          2115 STATE CAPITOL
                                                                                          2ND FL RM 2115
STATE ATTORNEY GENERAL                               STATE OF NEBRASKA ATTORNEY GENERAL LINCOLN NE 68509‐8920
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                                                          100 NORTH CARSON STREET
STATE ATTORNEY GENERAL                               STATE OF NEVADA ATTORNEY GENERAL     CARSON CITY NV 89701
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                     STATE OF NEW HAMPSHIRE ATTORNEY      33 CAPITOL ST.
STATE ATTORNEY GENERAL                               GENERAL                              CONCORD NH 03301
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                                                          RJ HUGHES JUSTICE COMPLEX
                                                                                          25 MARKET STREET P.O. BOX 080
STATE ATTORNEY GENERAL                               STATE OF NEW JERSEY ATTORNEY GENERAL TRENTON NJ 08625‐0080
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                     STATE OF NEW MEXICO ATTORNEY         P.O. DRAWER 1508
STATE ATTORNEY GENERAL                               GENERAL                              SANTA FE NM 87504‐1508
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                                                          THE CAPITOL
STATE ATTORNEY GENERAL                               STATE OF NEW YORK ATTORNEY GENERAL ALBANY NY 12224‐0341
                                                                                          ATTN: BANKRUPTCY DEPARTMENT
                                                     STATE OF NORTH CAROLINA ATTORNEY     9001 MAIL SERVICE CENTER
STATE ATTORNEY GENERAL                               GENERAL                              RALEIGH NC 27699‐9001



     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 25 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 69 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                   ADDRESS
                                                                                        ATTN: BANKRUPTCY DEPARTMENT
                                                                                        STATE CAPITOL
                                                     STATE OF NORTH DAKOTA ATTORNEY     600 E BOULEVARD AVE DEPT 125
STATE ATTORNEY GENERAL                               GENERAL                            BISMARCK ND 58505‐0040
                                                                                        ATTN: BANKRUPTCY DEPARTMENT
                                                                                        30 E. BROAD ST. 14TH FLOOR
STATE ATTORNEY GENERAL                               STATE OF OHIO ATTORNEY GENERAL     COLUMBUS OH 43215
                                                                                        ATTN: BANKRUPTCY DEPARTMENT
                                                                                        313 NE 21ST STREET
STATE ATTORNEY GENERAL                               STATE OF OKLAHOMA ATTORNEY GENERAL OKLAHOMA CITY OK 73105
                                                                                        ATTN: BANKRUPTCY DEPARTMENT
                                                                                        1162 COURT STREET NE
STATE ATTORNEY GENERAL                               STATE OF OREGON ATTORNEY GENERAL   SALEM OR 97301
                                                                                        ATTN: BANKRUPTCY DEPARTMENT
                                                                                        STRAWBERRY SQUARE
                                                     STATE OF PENNSYLVANIA ATTORNEY     16TH FLOOR
STATE ATTORNEY GENERAL                               GENERAL                            HARRISBURG PA 17120
                                                                                        ATTN: BANKRUPTCY DEPARTMENT
                                                     STATE OF RHODE ISLAND ATTORNEY     150 SOUTH MAIN STREET
STATE ATTORNEY GENERAL                               GENERAL                            PROVIDENCE RI 02903
                                                                                        ATTN: BANKRUPTCY DEPARTMENT
                                                     STATE OF SOUTH CAROLINA ATTORNEY   P.O. BOX 11549
STATE ATTORNEY GENERAL                               GENERAL                            COLUMBIA SC 29211‐1549
                                                                                        ATTN: BANKRUPTCY DEPARTMENT
                                                                                        1302 EAST HIGHWAY 14
                                                     STATE OF SOUTH DAKOTA ATTORNEY     SUITE 1
STATE ATTORNEY GENERAL                               GENERAL                            PIERRE SD 57501‐8501



     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 26 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 70 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                    ADDRESS
                                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                                                         P.O. BOX 20207
STATE ATTORNEY GENERAL                               STATE OF TENNESSEE ATTORNEY GENERAL NASHVILLE TN 37202‐0207
                                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                                                         CAPITOL STATION
                                                                                         PO BOX 12548
STATE ATTORNEY GENERAL                               STATE OF TEXAS ATTORNEY GENERAL     AUSTIN TX 78711‐2548
                                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                                                         PO BOX 142320
STATE ATTORNEY GENERAL                               STATE OF UTAH ATTORNEY GENERAL      SALT LAKE CITY UT 84114‐2320
                                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                                                         109 STATE ST.
STATE ATTORNEY GENERAL                               STATE OF VERMONT ATTORNEY GENERAL MONTPELIER VT 05609‐1001
                                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                                                         900 EAST MAIN STREET
STATE ATTORNEY GENERAL                               STATE OF VIRGINIA ATTORNEY GENERAL  RICHMOND VA 23219
                                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                                                         1125 WASHINGTON ST. SE
                                                     STATE OF WASHINGTON ATTORNEY        P.O. BOX 40100
STATE ATTORNEY GENERAL                               GENERAL                             OLYMPIA WA 98504‐0100
                                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                     STATE OF WEST VIRGINIA ATTORNEY     STATE CAPITOL BLDG 1 ROOM E 26
STATE ATTORNEY GENERAL                               GENERAL                             CHARLESTON WV 25305
                                                                                         ATTN: BANKRUPTCY DEPARTMENT
                                                                                         WISCONSIN DEPARTMENT OF JUSTICE
                                                                                         STATE CAPITOL ROOM 114 EAST P.O. BOX 7857
STATE ATTORNEY GENERAL                               STATE OF WISCONSIN ATTORNEY GENERAL MADISON WI 53707‐7857



     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 27 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 71 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                        ADDRESS
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              123 CAPITOL BUILDING
                                                                                              200 W. 24TH STREET
STATE ATTORNEY GENERAL                       STATE OF WYOMING ATTORNEY GENERAL                CHEYENNE WY 82002
COUNSEL TO CENTRAL STATES, SOUTHEAST AND
SOUTHWEST AREAS PENSION FUND AND CENTRAL                                                      ATTN: WILLIAM D. SULLIVAN, ESQ.
STATES, SOUTHEAST AND SOUTHWEST AREAS HEALTH                                                  919 NORTH MARKET STREET, SUITE 420
AND WELFARE FUND                             SULLIVAN ꞏ HAZELTINE ꞏ ALLINSON LLC              WILMINGTON DE 19801

COUNSEL TO DALLAS/FORT WORTH INTERNATIONAL                                                    ATTN: WILLIAM A. HAZELTINE, WILLIAM D. SULLIVAN
AIRPORT BOARD AND TOMMIE VAUGHN MOTORS,                                                       919 NORTH MARKET STREET SUITE 420
INC.                                                 SULLIVAN HAZELTINE ALLINSON LLC          WILMINGTON DE 19801
                                                                                              ATTN: JEFF PURITT PRESIDENT
                                                                                              2251 SOUTH DECATUR BOULEVARD
TOP 50 LARGEST UNSECURED CREDITORS                   TELUS INTERNATIONAL US CORP              LAS VEGAS NV 89102
                                                                                              ATTN: OLIVER RATZESBERGER PRESIDENT & CEO
                                                                                              17095 VIA DEL CAMPO
TOP 50 LARGEST UNSECURED CREDITORS                   TERADATA OPERATIONS INC                  SAN DIEGO CA 92127
                                                                                              ATTN: CORPORATE TRUST ADMINISTRATION –
                                                                                              STRUCTURED FINANCE
                                                                                              2 NORTH LASALLE STREET
                                                     THE BANK OF NEW YORK MELLON TRUST        SUITE 1020
HVF II U.S. ABS NOTES TRUSTEE                        COMPANY N.A.                             CHICAGO IL 60602
                                                                                              ATTN: CORPORATE TRUST ADMINISTRATION –
HFLF ABS NOTES ‐ BANK OF NEW YORK MELLON                                                      STRUCTURED FINANCE
TRUST COMPANY N.A. AS INDENTURE TRUSTEE AND          THE BANK OF NEW YORK MELLON TRUST        2 NORTH LASALLE STREET SUITE 1020
COLLATERAL AGENT OR “U.S. ABS AGENT”                 COMPANY N.A.                             CHICAGO IL 60602



     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 28 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 72 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                         ADDRESS
                                                                                              ATTN: STEVEN F. JACKSON
                                                                                              ONE HARRISON STREET, S.E., 5TH FLOOR
COUNSEL TO COUNTY OF LOUDOUN, VIRGINIA               THE COUNTY OF LOUDOUN, VIRGINIA          LEESBURG VA 20177‐7000
                                                                                              DIVISION OF CORPORATIONS FRANCHISE TAXES
                                                                                              P.O. BOX 898
THE DELAWARE DEPARTMENT OF STATE                     THE DELAWARE DEPARTMENT OF STATE         DOVER DE 19903
                                                                                              ATTN: MARY E. OLSEN ESQ.
                                                                                              182 ST. FRANCIS STREET
COUNSEL TO ARLEAN GREEN ON BEHALF OF HERSELF                                                  SUITE 103
AND ALL OTHERS SIMILARLY‐SITUATED                    THE GARDNER FIRM P.C.                    MOBILE AL 36602
                                                                                              ATTN: JAMES A. HINDS RACHEL M. SPOSATO
                                                                                              21257 HAWTHORNE BLVD. 2ND FLOOR
COUNSEL TO SAN DIMAS PARTNERS LLC                    THE HINDS LAW GROUP APC                  TORRANCE CA 90503
                                                                                              ATTN: BEVERLY CAHILL
                                                                                              3131 MCKINNEY
                                                                                              STE 600
COUNSEL TO M2 AUTO REPARE INC.                       THE SUNDMAKER FIRM, LLC                  DALLAS TX 75201
                                                                                              ATTN: ALBERT F. NASUTI
COUNSEL TO MANSFIELD OIL COMPANY OF                                                           40 TECHNOLOGY PARKWAY SOUTH SUITE 300
GAINESVILLE                                          THOMPSON O'BRIEN KEMP & NASUTI P.C.      PEACHTREE CORNERS GA 30092
                                                                                              ATTN: D.J. MILLER, DANIEL A. SCHWARTZ AND
                                                                                              ADRIAN VISHEAU
                                                                                              100 WELLINGTON STREET WEST, SUITE 3200
COUNSEL TO FINES FORD LINCOLN SALES AND SERVICE                                               P.O. BOX 329
LTD.                                            THORNTON GROUT FINNIGAN LLP                   TORONTO ON M5K 1K7 CANADA




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 29 of 33
                                           Case 20-11218-MFW     Doc 645     Filed 07/01/20   Page 73 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                       NAME                                         ADDRESS
                                                                                                ATTN: GREGORY WILLS MANAGING DIRECTOR
                                                                                                FL'S 2‐4 ST GEORGE'S HOUSE 56 PETER STREET
                                                                                                FLS 9‐12 SUNLIGHT HOUSE
TOP 50 LARGEST UNSECURED CREDITORS                   TRAVEL JIGSAW                              MANCHESTER M2 3NQ UNITED KINGDOM
                                                                                                ATTN: GORDON WILSON PRESIDENT & CEO
                                                     TRAVELPORT LP C O BANK OF AMERICA          AXIS ONE AXIS PARK 10 HURRICANE WAY
TOP 50 LARGEST UNSECURED CREDITORS                   LOCKBOX                                    LANGLEY SL3 8AG UNITED KINGDOM
                                                                                                ATTN: JASON A. STARKS
                                                                                                P.O. BOX 1748
COUNSEL TO TRAVIS COUNTY                             TRAVIS COUNTY ATTORNEY                     AUSTIN TX 78767
                                                                                                ATTN: CINDY WOODWARD
                                                                                                60 LIVINGSTON AVE
                                                                                                EP‐MN‐WS ID
COMMITTEE OF UNSECURED CREDITORS                     U.S. BANK                                  ST. PAUL MN 55107

                                                                                                ATTN: CORPORATE TRUST SERVICES – DONLEN TRUST
HFLF ABS NOTES ‐ BANK OF NEW YORK MELLON                                                        190 SOUTH LASALLE STREET 7TH FLOOR
TRUST COMPANY N.A. AS UTI TRUSTEE OR THE                                                        MK‐IL‐SL7R
ADMINISTRATIVE TRUSTEE                               U.S. BANK NATIONAL ASSOCIATION             CHICAGO IL 60603

                                                                                                ATTN: CORPORATE TRUST SERVICES – DONLEN TRUST
HFLF ABS NOTES ‐ BANK OF NEW YORK MELLON                                                        300 DELAWARE AVENUE 9TH FLOOR
TRUST COMPANY N.A. AS UTI TRUSTEE OR THE                                                        EX‐DE‐WDAW
ADMINISTRATIVE TRUSTEE                               U.S. BANK NATIONAL ASSOCIATION             WILMINGTON DE 19801
                                                                                                ATTN: SCOTT KIRBY CHIEF EXECUTIVE OFFICER
                                                                                                233 S. WACKER DRIVE
TOP 50 LARGEST UNSECURED CREDITORS                   UNITED AIRLINES                            CHICAGO IL 60606



     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                         Page 30 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 74 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                         ADDRESS
                                                                                              ATTN: DAVID C. WEISS
                                                                                              U.S. ATTORNEY'S OFFICE
UNITED STATES ATTORNEY FOR THE DISTRICT OF           UNITED STATES ATTORNEY FOR THE           1313 N MARKET STREET
DELAWARE                                             DISTRICT OF DELAWARE                     WILMINGTON DE 19801
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              US DEPT OF JUSTICE
                                                     UNITED STATES OF AMERICA ATTORNEY        950 PENNSYLVANIA AVE NW
STATE ATTORNEY GENERAL                               GENERAL                                  WASHINGTON DC 20530‐0001
                                                                                              ATTN: GENERAL COUNSEL
                                                                                              21 SOUTH STREET 3RD FLOOR
                                                                                              MAIL STATION: EX‐NJ‐WSSM
U.S. BANK N.A. AS SUCCESSOR TRUSTEE                  US BANK CORPORATE TRUST SERVICES         MORRISTOWN NJ 07960
                                                                                              ATTN: ANDREW CECERE CHAIRMAN PRESIDENT &
                                                                                              CEO
                                                                                              21 SOUTH STREET 3RD FL
                                                                                              MS: EX‐NJ‐WSSM
TOP 50 LARGEST UNSECURED CREDITORS                   US BANK PROMISSORY NOTES                 MORRISTOWN NJ 07960

                                                                                              ATTN: DAVID ZHOU DAVID CO‐FOUNDER & CO‐CEO
                                                                                              220 WEST 1ST ST. 3RD FL
TOP 50 LARGEST UNSECURED CREDITORS                   VXI GLOBAL SOLUTIONS LLC                 LOS ANGELES CA 90012

                                                                                              ATTN: RICHARD G. MASON AMY R. WOLF MICHAEL S.
                                                                                              BENN ANGELA K. HERRING MICHAEL H. CASSEL
                                                                                              51 WEST 52ND STREET
COUNSEL TO THE MTN STEERING COMMITTEE                WACHTELL LIPTON ROSEN & KATZ             NEW YORK NY 10019




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 31 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 75 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                        ADDRESS
                                                                                              ATTN: BANKRUPTCY DEPARTMENT
                                                                                              441 4TH STREET NW
STATE ATTORNEY GENERAL                               WASHINGTON DC ATTORNEY GENERAL           WASHINGTON DC 20001
                                                                                              ATTN: CHAD NEWTON CEO
                                                                                              11050 ROGELL DRIVE #602
TOP 50 LARGEST UNSECURED CREDITORS                   WAYNE COUNTY                             DETROIT MI 48242
                                                                                              ATTN: THOMAS M. KORSMAN
                                                                                              600 S. 4TH STREET
                                                                                              6TH FLOOR
COMMITTEE OF UNSECURED CREDITORS                     WELLS FARGO BANK                         MINNEAPOLIS MN 55479
                                                                                              ATTN: GENERAL COUNSEL
WELLS FARGO BANK AS INDENTURE TRUSTEE UNDER          WELLS FARGO BANK NATIONAL                150 EAST 42ND STREET 40TH FLOOR
THE SENIOR NOTES COLLATERAL AGENT                    ASSOCIATION                              NEW YORK NY 10017
                                                     WELLS FARGO BANK NATIONAL                MAC N9303‐121
WELLS FARGO BANK AS INDENTURE TRUSTEE UNDER          ASSOCIATION AS TRUSTEE AND NOTE          608 2ND AVENUE SOUTH
THE SENIOR NOTES                                     REGISTRAR ‐ DAPS REORG                   MINNEAPOLIS MN 55479
                                                     WELLS FARGO BANK NATIONAL                MAC N9300‐070
WELLS FARGO BANK AS INDENTURE TRUSTEE UNDER          ASSOCIATIONWELLS FARGO CORPORATE         600 FOURTH STREET SOUTH 7TH FLOOR
THE SENIOR NOTES                                     TRUST‐DAPS REORG                         MINNEAPOLIS MN 55415
                                                                                              ATTN: CHARLES W. SCHARF CEO & PRESIDENT
                                                     WELLS FARGO NATIONAL ASSOCIATION         600 FOURTH STREET SOUTH 7TH FL
                                                     WELLS FARGO CORPORATE TRUST‐DAPS         MAC N9300‐070
TOP 50 LARGEST UNSECURED CREDITORS                   REORG                                    MINNEAPOLIS MN 55415

                                                                                              ATTN: BRANDON J. HILL ESQ. & LUIS A. CABASSA ESQ.
COUNSEL TO ARLEAN GREEN ON BEHALF OF HERSELF                                                  1110 NORTH FLORIDA AVENUE SUITE 300
AND ALL OTHERS SIMILARLY‐SITUATED                    WENZEL FENTON CABASSA P.A.               TAMPA FL 33602



     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 32 of 33
                                           Case 20-11218-MFW   Doc 645     Filed 07/01/20   Page 76 of 142

                                                                   Exhibit D
                                                            Core FCM Service List
                                                           Served via first class mail
                      DESCRIPTION                                     NAME                                        ADDRESS
                                                                                              ATTN: STEPHANIE DENNYSON AND JO CASSAR
AUSTRALIAN SECURITIZATION NOTES ‐ WESTPAC                                                     LEVEL 3 275 KENT STREET
BANKING CORP. AS ADMINISTRATIVE AGENT          WESTPAC BANKING CORPORATION                    SYDNEY AUSTRALIA
EUROPEAN VEHICLE NOTES ‐ WILMINGTON TRUST NA                                                  ATTN: ADAM BERMAN
AS INDENTURE TRUSTEE ‐ 4.125% SENIOR NOTES DUE WILMINGTON TRUST NATIONAL                      166 MERCER STREET SUITE 2 R
2021                                           ASSOCIATION                                    NEW YORK NY 10012
                                                                                              ATTN: HERTZ HOLDINGS NETHERLANDS B.V.
EUROPEAN VEHICLE NOTES ‐ WILMINGTON TRUST NA                                                  ADMINISTRATOR
AS INDENTURE TRUSTEE ‐ 5.500% SENIOR NOTES DUE WILMINGTON TRUST NATIONAL                      50 SOUTH SIXTH STREET SUITE 1290
2023                                           ASSOCIATION                                    MINNEAPOLIS MN 55402




     In re The Hertz Corporation, et al.
     Case No. 20‐11218 (MFW)                                       Page 33 of 33
Case 20-11218-MFW   Doc 645   Filed 07/01/20   Page 77 of 142




                        Exhibit E
                                                           Case 20-11218-MFW                   Doc 645             Filed 07/01/20          Page 78 of 142
                                                                                                         Exhibit E
                                                                                                  Core/2002 Service List
                                                                                                 Served as set forth below
                   DESCRIPTION                                  NAME                                   ADDRESS                                               EMAIL            METHOD AND DATE OF SERVICE
                                                                                    ATTN: TIM CONDON PRESIDENT & CEO
                                                                                    1 AUTO CLUB DRIVE
TOP 50 LARGEST UNSECURED CREDITORS             AAA                                  DEARBORN MI 48126                                                                        First Class Mail on 6/25/2020

                                                                                    ATTN: ARIK PREIS KEVIN ZUZOLO & PATRICK C. CHEN   APREIS@AKINGUMP.COM
COUNSEL TO THE AD HOC GROUP OF SECOND LIEN                                          ONE BRYANT PARK                                   KZUZOLO@AKINGUMP.COM
NOTEHOLDERS                                    AKIN GUMP STRAUSS HAUER & FELD LLP   NEW YORK NY 10036                                 PATRICK.CHEN@AKINGUMP.COM              Email on 6/26/2020
                                                                                    ATTN: DAVID I. BUCKHAM
                                                                                    EIGHT TOWER BRIDGE
                                                                                    161 WASHINGTON STREET SUITE 600
TOP 50 LARGEST UNSECURED CREDITORS             ALLIED UNIVERSAL SECURITY SERVICES   CONSHOHOCKEN PA 19428                                                                    First Class Mail on 6/25/2020
                                                                                    ATTN: JAMES J. VINCEQUERRA
                                                                                    90 PARK AVENUE                                                                           First Class Mail on 6/25/2020 and
COUNSEL TO TRAVELPORT, LP                      ALSTON & BIRD LLP                    NEW YORK NY 10016                                 JAMES.VINCEQUERRA@ALSTON.COM           Email on 6/26/2020
                                                                                    ATTN: DAVID POLANSKY
                                               AMERICAN AUTOMOBILE ASSOCIATION,     1000 AAA DRIVE                                                                           First Class Mail on 6/25/2020 and
COMMITTEE OF UNSECURED CREDITORS               INC.                                 HEATHROW FL 32746                                 DPOLANSKY@NATIONAL.AAA.COM             Email on 6/26/2020
                                                                                    ATTN: MR. SQUERI CHAIRMAN & CEO
                                                                                    200 VESEY STREET
TOP 50 LARGEST UNSECURED CREDITORS             AMERICAN EXPRESS                     NEW YORK NY 10285‐3106                                                                   First Class Mail on 6/25/2020
                                                                                    ATTN: LAWRENCE A. LEVINE ESQ.
                                                                                    300 SE 17TH STREET
COUNSEL TO RICHARD BENNETT                     ANIDJAR & LEVINE P.A.                FORT LAUDERDALE FL 33316                          LLEVINE@ANL‐LAW.COM                    Email on 6/26/2020
                                                                                    ATTN: ANDREW I. SILFEN BETH M. BROWNSTEIN
                                                                                    1301 AVENUE OF THE AMERICAS FLOOR 42              ANDREW.SILFEN@ARENTFOX.COM
COUNSEL TO BOKF NATIONAL ASSOCIATION           ARENT FOX LLP                        NEW YORK NY 10019                                 BETH.BROWNSTEIN@ARENTFOX.COM           Email on 6/26/2020
                                                                                    ATTN: MICHAEL D. MESSERSMITH
                                                                                    70 WEST MADISON ST
COUNSEL TO AD HOC GROUP FOR SENIOR TERM                                             SUITE 4200                                                                               First Class Mail on 6/25/2020 and
LOAN                                           ARNOLD & PORTER                      CHICAGO IL 60602‐4231                             MICHAEL.MESSERSMITH@ARNOLDPORTER.COM   Email on 6/26/2020
                                                                                    ATTN: JOHN STANKEY PRESIDENT & CEO
                                                                                    208 S. AKARD STREET
TOP 50 LARGEST UNSECURED CREDITORS             AT&T                                 DALLAS TX 75202                                                                          First Class Mail on 6/25/2020
                                                                                    ATTN: JAMES W. GRUDUS, ESQ.
                                                                                    ONE ROCKEFELLER PLAZA, ROOM 18‐19                                                        First Class Mail on 6/25/2020 and
COUNSEL TO AT&T CORP. AND ITS AFFILIATES       AT&T SERVICES, INC.                  NEW YORK NY 10020                                 JAMES.GRUDUS@ATT.COM                   Email on 6/26/2020
                                                                                    ATTN: ADAM DRAIZIN PRESIDENT
                                                                                    1150 N ALMA SCHOOL RD.                                                                   First Class Mail on 6/25/2020 and
TOP 50 LARGEST UNSECURED CREDITORS             ATS PROCESSING SERVICES              MESA AZ 85201                                     HERTZ@ATSOL.COM                        Email on 6/26/2020
                                                                                    ATTN: MORAY KEITH
                                                                                    12100 FEATHERSTONE WAY
TOP 50 LARGEST UNSECURED CREDITORS             AUTONATION SHARED SERVICE CENTER     RICHMOND BC V6W 1K9 CANADA                                                               First Class Mail on 6/25/2020
                                                                                    ATTN: ALISON KOWALSKI
                                                                                    385 RIFLE CAMP ROAD
                                                                                    3RD FLOOR                                                                                First Class Mail on 6/25/2020 and
BANK OF NEW YORK MELLON                        BANK OF NEW YORK MELLON              WOODLAND PARK NJ 07424                            ALISON.KOWALSKI@BNYMELLON.COM          Email on 6/26/2020
                                                                                    ATTN: PAUL BULLIVANT
NEW ZEALAND RCF ‐ BANK OF NEW ZEALAND AS                                            LEVEL 6 DELOITTE CENTRE 80 QUEEN STREET                                                  First Class Mail on 6/25/2020 and
LENDER                                         BANK OF NEW ZEALAND                  AUCKLAND 1010 NEW ZEALAND                         PAUL.BULLIVANT@BNZ.CO.NZ               Email on 6/26/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                          Page 1 of 27
                                                       Case 20-11218-MFW                    Doc 645            Filed 07/01/20          Page 79 of 142
                                                                                                      Exhibit E
                                                                                               Core/2002 Service List
                                                                                              Served as set forth below
                   DESCRIPTION                              NAME                                     ADDRESS                                              EMAIL      METHOD AND DATE OF SERVICE
                                                                                ATTN: KEVIN M. NEWMAN
COUNSEL TO DLC MANAGEMENT CORP. AND PG                                          125 EAST JEFFERSON STREET
SYRACUSE, LLC                               BARCLAY DAMON LLP                   SYRACUSE NY 13202                                 KNEWMAN@BARCLAYDAMON.COM          Email on 6/26/2020
                                                                                ATTN: SCOTT L. FLEISCHER
                                                                                1270 AVENUE OF THE AMERICAS
COUNSEL TO DLC MANAGEMENT CORP. AND PG                                          SUITE 501                                                                           First Class Mail on 6/25/2020 and
SYRACUSE, LLC                               BARCLAY DAMON LLP                   NEW YORK NY 10020                                 SFLEISCHER@BARCLAYDAMON.COM       Email on 6/26/2020
BARCLAYS BANK PLC AS ADMINISTRATIVE AGENT                                       ATTN: CHRISTOPHER AITKIN
AND COLLATERAL AGENT OR "SENIOR CREDIT      BARCLAYS BANK PLC BANK DEBT         745 SEVENTH AVENUE                                                                  First Class Mail on 6/25/2020 and
AGREEMENT"                                  MANAGEMENT GROUP                    NEW YORK NY 10019                                 CHRISTOPHER.AITKIN@BARCLAYS.COM   Email on 6/26/2020
BARCLAYS BANK PLC AS ADMINISTRATIVE AGENT                                       ATTN: ROBERT WALSH
AND COLLATERAL AGENT (“SENIOR CREDIT        BARCLAYS BANK PLC BANK DEBT         745 SEVENTH AVENUE                                                                  First Class Mail on 6/25/2020 and
AGREEMENT AGENT”)                           MANAGEMENT GROUP                    NEW YORK NY 10019                                 ROBERT.XA.WALSH@BARCLAYS.COM      Email on 6/26/2020
BARCLAYS BANK PLC AS ADMINISTRATIVE AGENT                                       ATTN: AGENCY SERVICES – LINDSAY PROUD
AND COLLATERAL AGENT OR "SENIOR CREDIT                                          700 PRIDES CROSSING                               12145455230@TLS.LDSPROD.COM       First Class Mail on 6/25/2020 and
AGREEMENT"                                  BARCLAYS BANK PLC LOAN OPERATIONS   NEWARK DE 19713                                   LINDSAY.PROUD@BARCLAYS.COM        Email on 6/26/2020
                                                                                ATTN: CATHERINE E. HOLZHAUSER
COUNSEL TO TEAMSTERS LOCAL UNION NOS. 150,                                      520 CAPITOL MALL, SUITE 300
431, 665, 853 & 856                         BEESON, TAYER & BODINE, APC         SACRAMENTO CA 95814                               CHOLZHAUSER@BEESONTAYER.COM       Email on 6/26/2020
                                                                                ATTN: JENNIFER R. HOOVER, KEVIN M. CAPUZZI, &
                                                                                JOHN C. GENTILE                                   JHOOVER@BENESCHLAW.COM
COUNSEL TO THE OFFICIAL COMMITTEE OF        BENESCH, FRIEDLANDER, COPLAN &      222 DELAWARE AVENUE, SUITE 801                    KCAPUZZI@BENESCHLAW.COM
UNSECURED CREDITORS                         ARONOFF LLP                         WILMINGTON DE 19801                               JGENTILE@BENESCHLAW.COM           Email on 6/26/2020
                                                                                ATTN: DAVID M. KLAUDER
COUNSEL TO 104 FOUNDRY STREET REALTY LLC &                                      1204 N. KING STREET
RENO‐TAHOE AIRPORT AUTHORITY                BIELLI & KLAUDER LLC                WILMINGTON DE 19801                               DKLAUDER@BK‐LEGAL.COM             Email on 6/26/2020
                                                                                ATTN: ASHLEY S. RUSHER, ESQ.
                                                                                110 S. STRATFORD ROAD
                                                                                5TH FLOOR
COUNSEL TO GLORIA CAUDILL                   BLANCO TACKABERRY & MATAMOROS, P.A. WINSTON SALEM NC 27104‐4299                                                         First Class Mail on 6/25/2020
                                                                                ATTN: ASHLEY S. RUSHER, ESQ.
                                                                                P.O. DRAWER 25008
COUNSEL TO GLORIA CAUDILL                   BLANCO TACKABERRY & MATAMOROS, P.A. WINSTON SALEM NC 27114‐5008                       ASR@BLANCOLAW.COM                 Email on 6/26/2020
                                                                                ATTN: REGINA STANGO KELBON, VICTORIA GUILFOYLE,
COUNSEL TO BANK OF MONTREAL, THE BANK OF                                        STANLEY B. TARR                                   KELBON@BLANKROME.COM
NOVA SCOTIA AND THE BANK OF NEW YORK MELLON                                     1201 MARKET STREET SUITE 800                      GUILFOYLE@BLANKROME.COM
TRUST COMPANY, N.A.                         BLANK ROME LLP                      WILMINGTON DE 19801                               TARR@BLANKROME.COM                Email on 6/26/2020
EUROPEAN ABS NOTES ‐ BNP PARIBAS TRUST                                          ATTN: PRESIDENT OR GENERAL COUNSEL
CORPORATION UK LTD. AS COLLATERAL           BNP PARIBAS TRUST CORPORATION UK    10 HAREWOOD AVENUE
AGENT/ISSUER SECURITY TRUSTEE               LIMITED                             LONDON NW1 6AA UNITED KINGDOM                                                       First Class Mail on 6/25/2020
HERTZ CANADIAN SECURITIZATION NOTES ‐ BNY                                       ATTN: CORPORATE TRUST ADMINISTRATION
TRUST COMPANY OF CANADA AS INDENTURE                                            320 BAY STREET 11TH FLOOR
TRUSTEE AND COLLATERAL AGENT                BNY TRUST COMPANY OF CANADA         TORONTO ON M4H 506 CANADA                                                           First Class Mail on 6/25/2020
                                                                                ATTN: SEAN KIRK
                                                                                511 UNION STREET
                                                                                SUITE 1600                                                                          First Class Mail on 6/25/2020 and
COUNSEL TO COMDATA INC.                     BONE MCALLESTER NORTON PLLC         NASHVILLE TN 37219                                SKIRK@BONELAW.COM                 Email on 6/26/2020
                                                                                ATTN: KRYSTAL R. MIKKILINENI
                                                                                801 GRAND AVENUE
                                            BRADSHAW, FOWLER, PROCTOR &         SUITE 3700                                                                          First Class Mail on 6/25/2020 and
COUNSEL TO GBS, INC. DBA GRAHAM COLLISION   FAIRGRAVE P.C.                      DES MOINES IA 50309                               MIKKILINENI@BRADSHAWLAW.COM       Email on 6/26/2020



         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                      Page 2 of 27
                                                           Case 20-11218-MFW             Doc 645             Filed 07/01/20          Page 80 of 142
                                                                                                    Exhibit E
                                                                                             Core/2002 Service List
                                                                                            Served as set forth below
                   DESCRIPTION                                  NAME                               ADDRESS                                               EMAIL     METHOD AND DATE OF SERVICE
                                                                               ATTN: PAOLO FERRARI PRESIDENT CEO COO
                                                                               200 4TH AVE S.
TOP 50 LARGEST UNSECURED CREDITORS             BRIDGESTONE/FIRESTONE INC       NASHVILLE TN 37201                                                                 First Class Mail on 6/25/2020
                                                                               ATTN: DONALD K. LUDMAN
                                                                               6 NORTH BROAD STREET
                                                                               SUITE 1000
COUNSEL TO CONCUR TECHNOLOGIES, INC.           BROWN & CONNERY, LLP            WOODBURY NJ 08096                                DLUDMAN@BROWNCONNERY.COM          Email on 6/26/2020
                                                                               ATTN: SHAWN M. CHRISTIANSON
                                                                               55 SECOND STREET
COUNSEL TO ORACLE AMERICA, INC. AND ORACLE     BUCHALTER, A PROFESSIONAL       17TH FLOOR
CREDIT CORPORATION                             CORPORATION                     SAN FRANCISCO CA 94105‐3493                      SCHRISTIANSON@BUCHALTER.COM       Email on 6/26/2020
                                                                               ATTN: BRIAN FULGHUM VICE PRESIDENT
                                                                               600 CHASTAIN ROAD NW SUITE 326
TOP 50 LARGEST UNSECURED CREDITORS             BUILDRITE CONSTRUCTION CORP     KENNESAW GA 30144                                                                  First Class Mail on 6/25/2020
                                                                               ATTN: KEVIN C. CALHOUN
                                                                               29828 TELEGRAPH ROAD
COUNSEL TO THE OAKLAND COUNTY TREASURER        CALHOUN & DI PONIO, PLC         SOUTHFIELD MI 48034‐1338                         KEVIN@LAWYERMICH.COM              Email on 6/26/2020

                                                                               ATTN: STEVE L. NELSON AND ROGER L. STRANDLUND
                                                                               506 15TH STREET
COUNSEL TO METROPOLITAN AIRPORT AUTHORITY                                      SUITE 600                                        SNELSON@CALIFF.COM
OF ROCK ISLAND COUNTY, ILLINOIS           CALIFF & HARPER, P.C.                MOLINE IL 61265                                  RSTRANDLUND@CALIFF.COM            Email on 6/26/2020
DONLEN CANADA SECURITIZATION PROGRAM ‐
CANADIAN IMPERIAL BANK OF COMMERCE AS
COMMITTED LENDER AND COMPUTERSHARE TRUST                                     ATTN: CANADIAN SECURITIZATION GROUP
COMPANY OF CANADA AS TRUSTEE OF STABLE                                       5TH FLOOR BROOKFIELD PLACE 161 BAY STREET                                            First Class Mail on 6/25/2020 and
TRUST AS CONDUIT LENDER                   CANADIAN IMPERIAL BANK OF COMMERCE TORONTO ON M5J 2S8 CANADA                          SECURITIZATIONMAILBOX@CIBC.CA     Email on 6/26/2020
                                                                             ATTN: CHARLIE CONIGLIO CEO
                                                                             CLASSON HOUSE DUNDRUM BUSINESS PARK
                                                                             DUNDRUM
TOP 50 LARGEST UNSECURED CREDITORS        CAR TRAWLER                        DUBLIN 14 IRELAND                                                                    First Class Mail on 6/25/2020
                                                                             ATTN: AARON R. CAHN
                                                                             2 WALL STREET                                      BANKRUPTCY@CLM.COM
COUNSEL TO XTIVIA TECHNOLOGIES INC.       CARTER LEDYARD & MILBURN LLP       NEW YORK NY 10005‐2072                             cahn@clm.com                      Email on 6/26/2020

COUNSEL TO CENTRAL STATES, SOUTHEAST AND
SOUTHWEST AREAS PENSION FUND AND CENTRAL                                       ATTN: FRANK BLECHSCHMIDT, ESQ.
STATES, SOUTHEAST AND SOUTHWEST AREAS                                          8647 WEST HIGGINS ROAD
HEALTH AND WELFARE FUND                        CENTRAL STATES LAW DEPARTMENT   CHICAGO IL 60631‐2803                            FBLECHSC@CENTRALSTATESFUNDS.ORG   Email on 6/26/2020

                                                                               ATTN: MARK L. DESGROSSEILLIERS ROBERT A. WEBER
COUNSEL TO AMERICAN TRAFFIC SOLUTIONS                                          HERCULES PLAZA
CONSOLIDATED LLC AND ATS PROCESSING SERVICES                                   1313 NORTH MARKET STREET SUITE 5400              DESGROSS@CHIPMANBROWN.COM
LLC                                          CHIPMAN BROWN CICERO & COLE LLP   WILMINGTON DE 19801                              WEBER@CHIPMANBROWN.COM            Email on 6/26/2020
                                                                               ATTN: ALBERT A. CIARDI, III & WALTER W.
                                                                               GOULDSBURY III
                                                                               ONE COMMERCE SQUARE, SUITE 3500
                                                                               2005 MARKET STREET                               ACIARDI@CIARDILAW.COM             First Class Mail on 6/25/2020 and
COUNSEL TO FALSE POLICE REPORT PLAINTIFFS      CIARDI CIARDI & ASTIN           PHILADELPHIA PA 19103                            WGOULDSBURY@CIARDILAW.COM         Email on 6/26/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                    Page 3 of 27
                                                            Case 20-11218-MFW                   Doc 645             Filed 07/01/20         Page 81 of 142
                                                                                                          Exhibit E
                                                                                                   Core/2002 Service List
                                                                                                  Served as set forth below
                    DESCRIPTION                                   NAME                                   ADDRESS                                               EMAIL       METHOD AND DATE OF SERVICE

                                                                                     ATTN: DANIEL K. ASTIN & JOSEPH J. MCMAHON, JR.
                                                                                     1204 N. KING STREET
COUNSEL TO FALSE POLICE REPORT PLAINTIFFS       CIARDI CIARDI & ASTIN                WILMINGTON DE 19801                           JMCMAHON@CIARDILAW.COM                 Email on 6/26/2020
                                                                                                                                   ROBERT.KOHL@CITI.COM
                                                                                     ATTN: ROBERT KOHL GLOBAL SECURITIZED PRODUCTS BRETT.BUSHINGER@CITI.COM
AUSTRALIAN SECURITIZATION NOTES ‐ CITIBANK N.A.                                      750 WASHINGTON BOULEVARD 8TH FLOOR            SECURITISATIONOPS@CITI.COM             First Class Mail on 6/25/2020 and
AS ADMINISTRATIVE AGENT                         CITIBANK N.A.                        STAMFORD CT 06901                             FIAUSECURITISATION@CITI.COM            Email on 6/26/2020
                                                                                     ATTN: IVAR C. SATERO DIRECTOR
                                                                                     SAN FRANCISCO INTERNATIONAL AIRPORT
                                                                                     710 N MCDONNELL RD
TOP 50 LARGEST UNSECURED CREDITORS              CITY AND COUNTY OF SAN FRANCISCO     SAN FRANCISCO CA 94128                                                               First Class Mail on 6/25/2020
                                                                                     ATTN: BRENT WINDOM PRESIDENT
                                                                                     CHICAGO MIDWAY INTERNATIONAL AIRPORT
                                                                                     10000 WEST O'HARE AVE
TOP 50 LARGEST UNSECURED CREDITORS              CITY OF CHICAGO                      CHICAGO IL 60666                                                                     First Class Mail on 6/25/2020

COUNSEL TO THE CITY OF PHILADELPHIA, SCHOOL                                          ATTN: MEGAN N. HARPER
DISTRICT OF PHILADELPHIA, WATER REVENUE                                              MUNICIPAL SERVICES BUILDING
BUREAU AND THE CITY OF PHILADELPHIA                                                  1401 JFK BOULEVARD, 5TH FLOOR
DEPARTMENT OF COMMERCE DIVISION OF AVIATION CITY OF PHILADELPHIA LAW DEPARTMENT      PHILADELPHIA PA 19102‐1595                       MEGAN.HARPER@PHILA.GOV              Email on 6/26/2020
                                                                                     ATTN: SEAN A. O’NEAL
ALOC FACILITY ‐ CLEARY GOTTLIEB STEEN &                                              ONE LIBERTY PLAZA                                                                    First Class Mail on 6/25/2020 and
HAMILTON LLP AS ADMINISTRATIVE AGENT            CLEARY GOTTLIEB STEEN & HAMILTON LLP NEW YORK NY 10006                                SONEAL@CGSH.COM                     Email on 6/26/2020
COUNSEL TO EUROPEAN ABS NOTES ‐ CREDIT                                               ATTN: JOHN MACLENNAN MAGGIC ZHAO
AGRICOLE CORPORATE AND INVESTMENT BANK AS                                            10 UPPER BANK STREET                             JOHN.MACLENNAN@CLIFFORDCHANCE.COM   First Class Mail on 6/25/2020 and
ADMINISTRATIVE AGENT                            CLIFFORD CHANCE                      LONDON E14 5JJ UNITED KINGDOM                    MAGGIE.ZHAO@CLIFFORDCHANCE.COM      Email on 6/26/2020
                                                                                     ATTN: SALLY J. DAUGHERTY
                                                COHEN, SEGLIAS, PALLAS, GREENHALL &  500 DELAWARE AVENUE, SUITE 730
COUNSEL TO JM&A GROUP                           FURMAN, PC                           WILMINGTON DE 19801                              SDAUGHERTY@COHENSEGLIAS.COM         Email on 6/26/2020
                                                                                     ATTN: JUSTIN ALBERTO & G. DAVID DEAN
COUNSEL TO THE AD HOC GROUP OF SECOND LIEN                                           500 DELAWARE AVENUE SUITE 1410                   JALBERTO@COLESCHOTZ.COM
NOTEHOLDERS                                     COLE SCHOTZ P.C.                     WILMINGTON DE 19801                              DDEAN@COLESCHOTZ.COM                Email on 6/26/2020
                                                                                     ATTN: RON CLARKE CEO & CHAIRMAN
                                                                                     5301 MARYLAND WAY
TOP 50 LARGEST UNSECURED CREDITORS              COMDATA                              BRENTWOOD TN 37027                                                                   First Class Mail on 6/25/2020
                                                                                     ATTN: BANKRUPTCY DEPARTMENT
                                                COMMONWEALTH OF PUERTO RICO          APARTADO 9020192
STATE ATTORNEY GENERAL                          ATTORNEY GENERAL                     SAN JUAN PR 00902‐0192                                                               First Class Mail on 6/25/2020
                                                                                     ATTN: KIM GAGE
COUNSEL TO MERCEDES‐BENZ FINANCIAL SERVICES                                          535 ANTON BOULEVARD, 10TH FLOOR
USA LLC AND TD AUTO FINANCE                     COOKSEY, TOOLEN, GAGE, DUFFY & WOOG COSTA MESA CA 92626                               KGAGE@COOKSEYLAW.COM                Email on 6/26/2020
                                                                                     ATTN: ERIC A. BROWNDORF
                                                                                     1125 ATLANTIC AVENUE
                                                                                     3RD FLOOR                                                                            First Class Mail on 6/25/2020 and
COUNSEL TO CROMPCO LLC                          COOPER LEVENSON P.A.                 ATLANTIC CITY NJ 08401                           EBROWNDORF@COOPERLEVENSON.COM       Email on 6/26/2020
                                                                                     ATTN: ERIN K. BRIGNOLA EDWARD A. CORMA
                                                                                     30 FOX HUNT DRIVE #30                            EBRIGNOLA@COOPERLEVENSON.COM        First Class Mail on 6/25/2020 and
COUNSEL TO CROMPCO LLC                          COOPER LEVENSON P.A.                 BEAR DE 19701                                    ECORMA@COOPERLEVENSON.COM           Email on 6/26/2020




          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                          Page 4 of 27
                                                           Case 20-11218-MFW             Doc 645             Filed 07/01/20        Page 82 of 142
                                                                                                   Exhibit E
                                                                                            Core/2002 Service List
                                                                                           Served as set forth below
                   DESCRIPTION                                  NAME                              ADDRESS                                               EMAIL     METHOD AND DATE OF SERVICE
                                                                                                                               MO_TITRISATION_CACIB@CA‐CIB.COM
                                                                               ATTN: MO SECURITIZATION CACIB/CAROLE D’HAEYERE‐ CAROLE.DHAEYERE@CA‐CIB.COM
EUROPEAN ABS NOTES ‐ CREDIT AGRICOLE                                           DANIEL PIANTONI                                 SARAH.ABOUNOUR@CA‐CIB.COM
CORPORATE AND INVESTMENT BANK AS               CREDIT AGRICOLE CORPORATE AND   12 PLACE DES ETATS‐UNIS CS 70052                DIENABA.HAIDARA@CA‐CIB.COM        First Class Mail on 6/25/2020 and
ADMINISTRATIVE AGENT                           INVESTMENT BANK                 MONTROUGE CEDEX 92547 FRANCE                    PHILIPPE.FAVRE@CA‐CIB.COM         Email on 6/26/2020

U.S. VEHICLE RCF ‐ CREDIT AGRICOLE CORPORATE
AND INVESTMENT BANK AS ADMINISTRATIVE AGENT                                    ATTN: AGNES CASTILLO
AND BANK OF NEW YORK MELLON TRUST COMPANY CRÉDIT AGRICOLE CORPORATE AND        1301 AVENUE OF THE AMERICAS                                                       First Class Mail on 6/25/2020 and
N.A AS COLLATERAL AGENT                      INVESTMENT BANK                   NEW YORK NY 10019                             AGNES.CASTILLO@CA‐CIB.COM           Email on 6/26/2020

U.S. VEHICLE RCF ‐ CREDIT AGRICOLE CORPORATE                                   ATTN: ERIC O’DELL MANAGING DIRECTOR & MIKE
AND INVESTMENT BANK AS ADMINISTRATIVE AGENT                                    MCINTYRE DIRECTOR
AND BANK OF NEW YORK MELLON TRUST COMPANY CRÉDIT AGRICOLE CORPORATE AND        227 W. MONROE STREET #3800                                                        First Class Mail on 6/25/2020 and
N.A AS COLLATERAL AGENT                      INVESTMENT BANK                   CHICAGO IL 60606                              MIKE.MCINTYRE@CA‐CIB.COM            Email on 6/26/2020

U.S. VEHICLE RCF ‐ CREDIT AGRICOLE CORPORATE
AND INVESTMENT BANK AS ADMINISTRATIVE AGENT                                    ATTN: MARISOL ORTIZ
AND BANK OF NEW YORK MELLON TRUST COMPANY CRÉDIT AGRICOLE CORPORATE AND        1301 AVENUE OF THE AMERICAS                                                       First Class Mail on 6/25/2020 and
N.A AS COLLATERAL AGENT                      INVESTMENT BANK                   NEW YORK NY 10019                             MARISOL.ORTIZ@CA‐CIB.COM            Email on 6/26/2020
                                                                               ATTN: JOSEPH GREY
                                                                               1105 NORTH MARKET STREET
COUNSEL TO COMDATA INC. & NISSAN NORTH                                         SUITE 901
AMERICA, INC.                                  CROSS & SIMON, LLC              WILMINGTON DE 19801                           JGREY@CROSSLAW.COM                  Email on 6/26/2020
                                                                               ATTN: KEVIN S. MANN, ESQ.
                                                                               1105 N. MARKET STREET
                                                                               SUITE 901
COUNSEL TO CORE PALMETTO OWNER, LLC            CROSS & SIMON, LLC              WILMINGTON DE 19801                           KMANN@CROSSLAW.COM                  Email on 6/26/2020
                                                                               ATTN: DAVID R. SOFTNESS, ESQ.
                                                                               201 SOUTH BISCAYNE BOULEVARD
                                                                               SUITE 2740                                                                        First Class Mail on 6/25/2020 and
COUNSEL TO AMADEUS IT GROUP, S.A.              DAVID R. SOFTNESS, P.A.         MIAMI FL 33131                                DAVID@SOFTNESSLAW.COM               Email on 6/26/2020
                                                                               ATTN MARSHALL HUEBNER ELLIOT MOSKOWITZ        MARSHALL.HUEBNER@DAVISPOLK.COM
HVF II U.S. ABS NOTES ‐ SPECIAL RESTRUCTURING                                  DARREN S. KLEIN                               HVF.ROUTING@DAVISPOLK.COM
COUNSEL TO AGENT DEUTSCHE BANK AG NEW YORK                                     450 LEXINGTON AVENUE                          ELLIOT.MOSKOWITZ@DAVISPOLK.COM      First Class Mail on 6/25/2020 and
BRANCH                                        DAVIS POLK & WARDWELL LLP        NEW YORK NY 10017                             DARREN.KLEIN@DAVISPOLK.COM          Email on 6/26/2020
                                                                               ATTN: HUGH MCCULLOUGH
                                                                               920 FIFTH AVENUE, SUITE 3300                                                      First Class Mail on 6/25/2020 and
COUNSEL TO EWR CONRAC LLC                      DAVIS WRIGHT TREMAINE LLP       SEATTLE WA 98104‐1610                         HUGHMCCULLOUGH@DWT.COM              Email on 6/26/2020
                                                                               ATTN: RICK GIBBSCEO & CO‐FOUNDER
                                                                               1 HOWARD ST
TOP 50 LARGEST UNSECURED CREDITORS             DEALER DOT COM                  BURLINGTON VT 05401                                                               First Class Mail on 6/25/2020
                                                                               ATTN: BANKRUPTCY DEPARTMENT
                                                                               CARVEL STATE OFFICE BUILDING
                                                                               820 N. FRENCH STREET 6TH FLOOR                ATTORNEY.GENERAL@STATE.DE.US        First Class Mail on 6/25/2020 and
DELAWARE STATE ATTORNEY GENERAL                DELAWARE ATTORNEY GENERAL       WILMINGTON DE 19801                           ATTORNEY.GENERAL@DELAWARE.GOV       Email on 6/26/2020
                                                                               ATTN: CHRISTINA ROJAS BANKRUPTCY
                                                                               ADMINISTRATOR
                                                                               820 N. FRENCH STREET 8TH FLOOR                                                    First Class Mail on 6/25/2020 and
DELAWARE DIVISION OF REVENUE                   DELAWARE DIVISION OF REVENUE    WILMINGTON DE 19801                           FASNOTIFY@STATE.DE.US               Email on 6/26/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                    Page 5 of 27
                                                          Case 20-11218-MFW               Doc 645             Filed 07/01/20   Page 83 of 142
                                                                                                    Exhibit E
                                                                                             Core/2002 Service List
                                                                                            Served as set forth below
                   DESCRIPTION                                  NAME                                ADDRESS                                      EMAIL             METHOD AND DATE OF SERVICE
                                                                                ATTN: OFFICER MANAGING AGENT OR GENERAL
                                                                                AGENT
                                                                                820 SILVER LAKE BOULVEARD SUITE 100                                               First Class Mail on 6/25/2020 and
DELAWARE STATE TREASURY                        DELAWARE STATE TREASURY          DOVER DE 19904                            STATETREASURER@STATE.DE.US              Email on 6/26/2020
                                                                                ATTN: JOSEPH B. UCUZOGLU CEO (US)
                                                                                30 ROCKEFELLER PLAZA                                                              First Class Mail on 6/25/2020 and
TOP 50 LARGEST UNSECURED CREDITORS             DELOITTE                         NEW YORK NY 10112‐0015                    JOEUCUZOGLUDELOITTEUSCEO@DELOITTE.COM   Email on 6/26/2020
                                                                                39‐40/F OXFORD HOUSE
                                                                                TAIKOO PLACE 979 KING’S ROAD
TOP 50 LARGEST UNSECURED CREDITORS             DENT WIZARD INTERNATIONAL CORP   QUARRY BAY HONG KONG                                                              First Class Mail on 6/25/2020
                                                                                ATTN: RICHARD PALLOT‐COOK
COUNSEL TO U.K. FINANCING FACILITY LOMBARD                                      ONE FLEET PLACE                                                                   First Class Mail on 6/25/2020 and
NORTH CENTRAL PLC AS LENDER                    DENTONS                          LONDON EC4M 7RA UNITED KINGDOM            RICHARD.PALLOT‐COOK@DENTONS.COM         Email on 6/26/2020
                                                                                ATTN: CHRISTOPHER R. BELMONTE PAMELA A.
                                                                                BOSSWICK
                                                                                230 PARK AVENUE
COUNSEL TO INTERNATIONAL BUSINESS MACHINES                                      SUITE 1130                                CRBELMONTE@DUANEMORRIS.COM
CORPORATION                                    DUANE MORRIS LLP                 NEW YORK NY 10169‐0079                    PABOSSWICK@DUANEMORRIS.COM              Email on 6/26/2020

COUNSEL TO ACE AMERICAN INSURANCE COMPANY,
ACE PROPERTY AND CASUALTY INSURANCE
COMPANY, ACE FIRE UNDERWRITERS INSURANCE
COMPANY, INDEMNITY INSURANCE COMPANY
NORTH AMERICA, ILLINOIS UNION INSURANCE
COMPANY, PACIFIC EMPLOYERS INSURANCE
COMPANY, WESTCHESTER FIRE INSURANCE                                             ATTN: DREW S. MCGEHRIN
COMPANY, WESTCHESTER SURPLUS LINES                                              222 DELAWARE AVENUE
INSURANCE COMPANY, FEDERAL INSURANCE                                            SUITE 1600
COMPANY, AND ESIS INC.                     DUANE MORRIS LLP                     WILMINGTON DE 19801                       DSMCGEHRIN@DUANEMORRIS.COM              Email on 6/26/2020
                                                                                ATTN: FREDERICK D. HYMAN, ESQ.
COUNSEL TO CANADIAN IMPERIAL BANK OF                                            1540 BROADWAY                                                                     First Class Mail on 6/25/2020 and
COMMERCE, NEW YORK BRANCH                      DUANE MORRIS LLP                 NEW YORK NY 10036‐4086                    RHYMAN@DUANEMORRIS.COM                  Email on 6/26/2020
                                                                                ATTN: JARRET P. HITCHINGS, ESQ.
COUNSEL TO CANADIAN IMPERIAL BANK OF                                            222 DELAWARE AVENUE, SUITE 1600
COMMERCE, NEW YORK BRANCH                      DUANE MORRIS LLP                 WILMINGTON DE 19801                       JPHITCHINGS@DUANEMORRIS.COM             Email on 6/26/2020

COUNSEL TO ACE AMERICAN INSURANCE COMPANY,
ACE PROPERTY AND CASUALTY INSURANCE
COMPANY, ACE FIRE UNDERWRITERS INSURANCE
COMPANY, INDEMNITY INSURANCE COMPANY
NORTH AMERICA, ILLINOIS UNION INSURANCE
COMPANY, PACIFIC EMPLOYERS INSURANCE
COMPANY, WESTCHESTER FIRE INSURANCE                                             ATTN: WENDY M. SIMKULAK, CATHERINE B.
COMPANY, WESTCHESTER SURPLUS LINES                                              HEITZENRATER
INSURANCE COMPANY, FEDERAL INSURANCE                                            30 SOUTH 17TH STREET                      WMSIMKULAK@DUANEMORRIS.COM              First Class Mail on 6/25/2020 and
COMPANY, AND ESIS INC.                     DUANE MORRIS LLP                     PHILADELPHIA PA 19103                     CHEITZENRATER@DUANEMORRIS.COM           Email on 6/26/2020
                                                                                ATTN: MORAY KEITH
                                                                                12100 FEATHERSTONE WAY
TOP 50 LARGEST UNSECURED CREDITORS             DUECK RICHMOND                   RICHMOND BC V6W 1K9 CANADA                                                        First Class Mail on 6/25/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                     Page 6 of 27
                                                             Case 20-11218-MFW                Doc 645             Filed 07/01/20     Page 84 of 142
                                                                                                         Exhibit E
                                                                                                  Core/2002 Service List
                                                                                                 Served as set forth below
                   DESCRIPTION                                   NAME                                    ADDRESS                                       EMAIL         METHOD AND DATE OF SERVICE
                                                                                    LAW OFFICE OF RICHARD CORNFELD, LLC
                                                                                    ATTN: DANIEL S. LEVY
                                                                                    1010 MARKET STREET, SUITE 1645                                                  First Class Mail on 6/25/2020 and
COMMITTEE OF UNSECURED CREDITORS                EMMA BRADLEY                        ST. LOUIS MO 63101                          DLEVY@CORNFELDLEGAL.COM             Email on 6/26/2020
                                                                                    ATTN: THOMAS A. PITTA ELIZABETH TARAILA &
                                                                                    EDWARD P. ZUJKOWSKI                         TPITTA@EMMETMARVIN.COM
COUNSEL TO HVF II U.S. ABS NOTES AND THE BANK                                       120 BROADWAY 32ND FLOOR                     ETARAILA@EMMETMARVIN.COM
OF NEW YORK MELLON TRUST COMPANY, N.A.          EMMET MARVIN & MARTIN LLP           NEW YORK NY 10271                           EZUJKOWSKI@EMMETMARVIN.COM          Email on 6/26/2020
                                                                                    ATTN: ANDREW ENTWISTLE
COUNSEL TO GAMCO INVESTORS, INC. AND ITS                                            401 CONGRESS AVE., SUITE 1170
AFFILIATES                                      ENTWISTLE & CAPPUCCI LLP            AUSTIN TX 78701                             AENTWISTLE@ENTWISTLE‐LAW.COM        Email on 6/26/2020
                                                                                    ATTN: JOSHUA K. PORTER
COUNSEL TO GAMCO INVESTORS, INC. AND ITS                                            299 PARK AVENUE, 20TH FLOOR
AFFILIATES                                      ENTWISTLE & CAPPUCCI LLP            NEW YORK NY 10171                           JPORTER@ENTWISTLE‐LAW.COM           Email on 6/26/2020
                                                                                    ATTN: PETER M. KERN VICE CHAIRMAN & CEO
                                                                                    333 108TH AVE. NE                                                               First Class Mail on 6/25/2020 and
TOP 50 LARGEST UNSECURED CREDITORS              EXPEDIA                             BELLEVUE WA 98004                           BDZIELAK@EXPEDIA.COM                Email on 6/26/2020
                                                                                    ATTN: JAMES H. MILLAR
                                                                                    1177 AVENUE OF THE AMERICAS
                                                                                    41ST FLOOR                                                                      First Class Mail on 6/25/2020 and
COUNSEL TO THE MTN STEERING COMMITTEE           FAEGRE DRINKER BIDDLE & REATH LLP   NEW YORK NY 10036                           JAMES.MILLAR@FAEGREDRINKER.COM      Email on 6/26/2020
                                                                                    ATTN: PATRICK A. JACKSON
                                                                                    222 DELAWARE AVE
                                                                                    SUITE 1410
COUNSEL TO THE MTN STEERING COMMITTEE           FAEGRE DRINKER BIDDLE & REATH LLP   WILMINGTON DE 19801‐1621                    PATRICK.JACKSON@FAEGREDRINKER.COM   Email on 6/26/2020
                                                                                    ATTN: BRIAN E. FARNAN & MICHAEL J. FARNAN
COUNSEL TO GAMCO INVESTORS, INC. AND ITS                                            919 NORTH MARKET STREET, 12TH FLOOR         BFARNAN@FARNANLAW.COM
AFFILIATES                                      FARNAN LLP                          WILMINGTON DE 19801                         MFARNAN@FARNANLAW.COM               Email on 6/26/2020
                                                                                    ATTN: CATHERINE M. CAMPBELL & MELISSA A.
                                                                                    BRENNAN
                                                                                    177 MILK STREET
COUNSEL TO TEAMSTERS LOCAL UNION 25 HEALTH                                          SUITE 300                                   CMC@FCZLAW.COM                      First Class Mail on 6/25/2020 and
SERVICES & INSURANCE PLAN                       FEINBERG, CAMPBELL & ZACK, P.C.     BOSTON MA 02109                             MAB@FCZLAW.COM                      Email on 6/26/2020
                                                                                    ATTN: CATHY L. REECE
                                                                                    2394 EAST CAMELBACK ROAD
                                                                                    SUITE 600                                                                       First Class Mail on 6/25/2020 and
COUNSEL TO RENO‐TAHOE AIRPORT AUTHORITY         FENNEMORE CRAIG, P.C.               PHEONIX AZ 85016                            CREECE@FCLAW.COM                    Email on 6/26/2020
                                                                                    ATTN: ROBERT FINES PRINCIPAL
                                                                                    10 SIMONA DR
TOP 50 LARGEST UNSECURED CREDITORS              FINES FORD                          BOLTON ON L7E 4C7 CANADA                                                        First Class Mail on 6/25/2020
                                                                                    ATTN: MARK F. HEBBELN & HAROLD L. KAPLAN
COUNSEL TO WELLS FARGO BANK, N.A., AS                                               321 N. CLARK STREET, SUITE 3000             MHEBBELN@FOLEY.COM
INDENTURE TRUSTEE                               FOLEY & LARDNER LLP                 CHICAGO IL 60654                            HKAPLAN@FOLEY.COM                   Email on 6/26/2020
                                                                                    ATTN: DEBORAH A. CRABBE
COUNSEL TO CASSAN ENTERPRISES INC., TODD                                            1111 THIRD AVENUE, SUITE 3000                                                   First Class Mail on 6/25/2020 and
INVESTMENT COMPANY & CMC INVESTMENTS, INC. FOSTER GARVEY PC                         SEATTLE WA 98101                            DEBORAH.CRABBE@FOSTER.COM           Email on 6/26/2020
                                                                                    ATTN: COURTNEY A. EMERSON
                                                                                    919 NORTH MARKET STREET
                                                                                    SUITE 300
COUNSEL TO BUILDRITE CONSTRUCTION CORP.         FOX ROTHSCHILD LLP                  WILMINGTON DE 19899‐2323                    CEMERSON@FOXROTHSCHILD.COM          Email on 6/26/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                         Page 7 of 27
                                                           Case 20-11218-MFW                     Doc 645             Filed 07/01/20           Page 85 of 142
                                                                                                           Exhibit E
                                                                                                    Core/2002 Service List
                                                                                                   Served as set forth below
                   DESCRIPTION                                 NAME                                         ADDRESS                                                  EMAIL              METHOD AND DATE OF SERVICE
                                                                                      ATTN: FRANCIS MALOFIY, ESQUIRE
                                                                                      280 N. PROVIDENCE ROAD, SUITE 1                                                                  First Class Mail on 6/25/2020 and
COUNSEL TO FALSE POLICE REPORT PLAINTIFFS      FRANCIS ALEXANDER, LLC                 MEDIA PA 19063                                    FRANCIS@FRANCISALEXANDER.COM                   Email on 6/26/2020
                                                                                      ATTN: ROY S. KOBERT
                                                                                      301 E. PINE STREET, P.O. BOX 1400
                                                                                      P.O. BOX 3068                                                                                    First Class Mail on 6/25/2020 and
COUNSEL TO PALM BEACH COUNTY                   GARYROBINSON, P.A.                     ORLANDO FL 32802‐3068                             ROY.KOBERT@GRAY‐ROBINSON.COM                   Email on 6/26/2020
                                                                                      ATTN: LISA BITTLE TANCREDI, ESQUIRE
                                                                                      1000 N. WEST STREET
                                                                                      SUITE 1200                                                                                       First Class Mail on 6/25/2020 and
COUNSEL TO ARGONAUT INSURANCE COMPANY          GEBHARDT & SMITH LLP                   WILMINGTON DE 19801                               LTANCREDI@GEBSMITH.COM                         Email on 6/26/2020
                                                                                      ATTN: MICHAEL BUSENKELL, ESQUIRE
                                                                                      1201 NORTH ORANGE STREET, SUITE 300
COUNSEL TO AT&T CORP. AND ITS AFFILIATES       GELLERT SCALI BUSENKELL & BROWN, LLC   WILMINGTON DE 19801                               MBUSENKELL@GSBBLAW.COM                         Email on 6/26/2020
                                                                                      ATTN: JASON CHAPNIK CHAIRMAN
                                                                                      150 CENTER COURT
TOP 50 LARGEST UNSECURED CREDITORS             GERBER NATIONAL CLAIM SERVICES LLC     SCHAUMBURG IL 60195                                                                              First Class Mail on 6/25/2020
                                                                                      ATTN: BARBARA L. YONG, ESQ. & CAREN A. LEDERER,
                                                                                      ESQ.
                                                                                      70 W. MADISON STREET, SUITE 1500                  BLYONG@GCT.LAW
COUNSEL TO WFP PECAN PARK, LP                  GOLAN CHRISTIE TAGLIA LLP              CHICAGO IL 60602                                  CALEDERER@GCT.LAW                              Email on 6/26/2020
                                                                                      ATTN: DEPARTMENT MANAGER
                                               GOLDMAN SACHS MORTGAGE CO. AS          200 WEST STREET                                   GS‐SBDAGENCY‐BORROWERNOTICES@NY.EMAIL.GS.COM   First Class Mail on 6/25/2020 and
TOP 50 LARGEST UNSECURED CREDITORS             LENDER AND ADMINISTRATIVE AGENT        NEW YORK NY 10282                                                                                Email on 6/26/2020
                                                                                      ATTN: DEPARTMENT MANAGER
ALOC FACILITY ‐ GOLDMAN SACHS MORTGAGE CO.                                            200 WEST STREET                                   GS‐SBDAGENCY‐BORROWERNOTICES@NY.EMAIL.GS.COM   First Class Mail on 6/25/2020 and
AS LENDER AND ADMINISTRATIVE AGENT             GOLDMAN SACHS MORTGAGE COMPANY         NEW YORK NY 10282                                                                                Email on 6/26/2020
                                                                                      ATTN: GOLDMAN SACHS LOAN OPERATIONS               GS‐SBDAGENCY‐BORROWERNOTICES@NY.EMAIL.GS.COM
ALOC FACILITY ‐ GOLDMAN SACHS MORTGAGE CO.                                            2001 ROSS AVENUE 29TH FLOOR                       GSD.LINK@GS.COM                                First Class Mail on 6/25/2020 and
AS LENDER AND ADMINISTRATIVE AGENT             GOLDMAN SACHS MORTGAGE COMPANY         DALLAS TX 75201                                   ficc‐sbd‐distressedteam@ny.email.gs.com        Email on 6/26/2020
                                                                                      ATTN: DOUGLAS B. ROSNER, ESQ.
                                                                                      400 ATLANTIC AVENUE
COUNSEL TO 201 STUART STREET (OWNER), LLC      GOULSTON & STORRS PC                   BOSTON MA 02110‐3333                              drosner@goulstonstorrs.com                     Email on 6/26/2020
                                                                                      ATTN: J. MICHAEL DEBBELER
                                                                                      312 WALNUT STREET
                                                                                      SUITE 1800
COUNSEL TO FIRST TRANSIT, INC                  GRAYDON HEAD & RITCHEY LLP             CINCINNATI OH 45202‐4060                          MDEBBELER@GRAYDON.LAW                          Email on 6/26/2020
                                                                                      ATTN: JASON B. BURNETT
                                                                                      50 NORTH LAURA STREET
                                                                                      SUITE 1100                                                                                       First Class Mail on 6/25/2020 and
COUNSEL TO CITY OF PENSACOLA, FLORIDA          GRAYROBINSON, P.A.                     JACKSONVILLE FL 32202                             JASON.BURNETT@GRAY‐ROBINSON.COM                Email on 6/26/2020
                                                                                      ATTN: STEVEN J. SOLOMON, ESQ.
                                                                                      333 S. E. 2ND AVENUE
COUNSEL TO LANDMARK AVIATION DBA SIGNATURE                                            SUITE 3200
FLIGHT SUPPORT                             GRAYROBINSON, P.A.                         MIAMI FL 33131                                    STEVEN.SOLOMON@GRAY‐ROBINSON.COM               Email on 6/26/2020
                                                                                      ATTN: PHIL BROWN CEO
                                                                                      ORLANDO INTERNATIONAL AIRPORT
                                                                                      ONE JEFF FUQUA BOULEVARD
TOP 50 LARGEST UNSECURED CREDITORS             GREATER ORLANDO AVI AUTH               ORLANDO FL 32827‐4392                                                                            First Class Mail on 6/25/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                            Page 8 of 27
                                                            Case 20-11218-MFW            Doc 645            Filed 07/01/20    Page 86 of 142
                                                                                                   Exhibit E
                                                                                            Core/2002 Service List
                                                                                           Served as set forth below
                   DESCRIPTION                                  NAME                                ADDRESS                                     EMAIL    METHOD AND DATE OF SERVICE
                                                                               ATTN: DOMINGO SANCHEZ CHAIRMAN
                                                                               ORLANDO INTERNATIONAL AIRPORT
                                                                               ONE JEFF FUQUA BOULEVARD
TOP 50 LARGEST UNSECURED CREDITORS             GREATER ORLANDO AVIATION AUTH   ORLANDO FL 32827‐4392                                                    First Class Mail on 6/25/2020
                                                                               ATTN: DENNIS A. MELORO
                                                                               THE NEMOURS BUILDING
                                                                               1007 NORTH ORANGE STREET SUITE 1200
COUNSEL TO COX AUTOMOTIVE INC.                 GREENBERG TRAURIG LLP           WILMINGTON DE 19801                       MELOROD@GTLAW.COM              Email on 6/26/2020
                                                                               ATTN: JOHN D. ELROD
                                                                               TERMINUS 200
                                                                               3333 PIEDMONT ROAD NE SUITE 2500                                         First Class Mail on 6/25/2020 and
COUNSEL TO COX AUTOMOTIVE INC.                 GREENBERG TRAURIG LLP           ATLANTA GA 30305                          ELRODJ@GTLAW.COM               Email on 6/26/2020
                                                                               ATTN: FRANK F. MCGINN
COUNSEL TO IRON MOUNTAIN INFORMATION                                           155 FEDERAL STREET, 9TH FLOOR
MANAGEMENT, LLC                                HACKETT FEINBERG P.C.           BOSTON MA 02110                           FFM@BOSTONBUSINESSLAW.COM      Email on 6/26/2020
                                                                               ATTN: JOSEPH R. SGROI
                                                                               660 WOODWARD AVENUE
                                                                               2290 FIRST NATIONAL BUILDING
COUNSEL TO GENERAL MOTORS LLC                  HONIGMAN LLP                    DETROIT MI 48226                          JSGROI@HONIGMAN.COM            Email on 6/26/2020
                                                                               ATTN: HEATHER KERNAHAN CEO
                                                                               45 E 20TH ST
TOP 50 LARGEST UNSECURED CREDITORS             HOTWIRE                         NEW YORK NY 10003                                                        First Class Mail on 6/25/2020
                                                                               ATTN: GENERAL COUNSEL
                                                                               1 NEW ORCHARD ROAD
TOP 50 LARGEST UNSECURED CREDITORS             IBM CORPORATION                 ARMONK NY 10504                                                          First Class Mail on 6/25/2020

                                                                               ATTN: RODRIGO ALONSO RODRIGUEZ GONZALEZ
COUNSEL TO INTERNATIONAL BUSINESS MACHINES                                     CARRETERA AL CASTILLO 2200 EL QUINCE
CORP (IBM)                                     IBM CORPORATION                 EL SALTO, JALISCO 45680 MEXICO                                           First Class Mail on 6/25/2020
                                                                               ATTN: ANDY GRAVINA
                                                                               SPECIAL HANDLING GROUP
                                                                               7100 HIGHLANDS PKWY
COUNSEL TO IBM CREDIT LLC                      IBM CREDIT LLC                  SMYRNA GA 30082                                                          First Class Mail on 6/25/2020
                                                                               ATTN: JEFFREY A. HOKANSON
                                                                               ONE AMERICAN SQUARE
COUNSEL TO THE INDIANAPOLIS AIRPORT                                            SUITE 2900                                                               First Class Mail on 6/25/2020 and
AUTHORITY                                      ICE MILLER                      INDIANAPOLIS IN 46282‐0200                JEFF.HOKANSON@ICEMILLER.COM    Email on 6/26/2020
                                                                               ATTN: KEVIN SAMUELSON CEO
                                                                               641 AVENUE OF THE AMERICAS
TOP 50 LARGEST UNSECURED CREDITORS             INFOR (US) INC                  NEW YORK NY 10011                                                        First Class Mail on 6/25/2020
                                                                               CENTRALIZED INSOLVENCY OPERATION
                                                                               2970 MARKET STREET
                                                                               MAIL STOP 5‐Q30.133
IRS INSOLVENCY SECTION                         INTERNAL REVENUE SERVICE        PHILADELPHIA PA 19104‐5016                                               First Class Mail on 6/25/2020
                                                                               CENTRALIZED INSOLVENCY OPERATION
                                                                               P.O. BOX 7346
IRS INSOLVENCY SECTION                         INTERNAL REVENUE SERVICE        PHILADELPHIA PA 19101‐7346                                               First Class Mail on 6/25/2020
                                                                               ATTN: IAIN GOLD
                                               INTERNATIONAL BROTHERHOOD OF    25 LOUISIANA AVE. NW                                                     First Class Mail on 6/25/2020 and
COMMITTEE OF UNSECURED CREDITORS               TEAMSTERS                       WASHINGTON DC 20001                       IGOLD@TEAMSTER.ORG             Email on 6/26/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                   Page 9 of 27
                                                        Case 20-11218-MFW                   Doc 645            Filed 07/01/20           Page 87 of 142
                                                                                                       Exhibit E
                                                                                                Core/2002 Service List
                                                                                               Served as set forth below
                   DESCRIPTION                              NAME                                          ADDRESS                                          EMAIL    METHOD AND DATE OF SERVICE
                                                                                  BARRERA & ASSOCIATES
                                                                                  ATTN: PATRICIO BARRERA
                                                                                  2298 E. MAPLE AVE                                                                First Class Mail on 6/25/2020 and
COMMITTEE OF UNSECURED CREDITORS             JANICE DAWSON                        EL SEGUNDO CA 90245                              BARRERA@BAATTORNEYS.COM         Email on 6/26/2020
                                                                                  ATTN: FORREST HEATHCOTT PRESIDENT
                                                                                  500 JIM MORAN BLVD
TOP 50 LARGEST UNSECURED CREDITORS           JM & A GROUP INC                     DEERFIELD BEACH FL 33442                                                         First Class Mail on 6/25/2020
                                                                                  ATTN: JEFFREY A. KROL
COUNSEL TO AUTOMOBILE MECHANICS’ LOCAL NO.                                        311 S. WACKER DRIVE, SUITE 1050                                                  First Class Mail on 6/25/2020 and
701 UNION AND INDUSTRY PENSION FUND          JOHNSON & KROL, LLC                  CHICAGO IL 60606                                 KROL@JOHNSONKROL.COM            Email on 6/26/2020
                                                                                  ATTN: GEORGE A. KURISKY, JR. AND DAMIAN W.
                                                                                  ABREO
                                                                                  4 HOUSTON CENTER
                                                                                  1221 LAMAR, SUITE 1000                           GKURISKY@JDKGLAW.COM            First Class Mail on 6/25/2020 and
COUNSEL TO TOMMIE VAUGHN MOTORS, INC.        JOHNSON DELUCA KURISKY & GOULD, P.C. HOUSTON TX 77010                                 DABREO@JDKGLAW.COM              Email on 6/26/2020
                                                                                  ATTN: CHAD A. JUSTICE ESQ.
COUNSEL TO ARLEAN GREEN ON BEHALF OF HERSELF                                      1205 N. FRANKLIN STREET SUITE 326                                                First Class Mail on 6/25/2020 and
AND ALL OTHERS SIMILARLY‐SITUATED            JUSTICE FOR JUSTICE LLC              TAMPA FL 33602                                   CHAD@GETJUSTICEFORJUSTICE.COM   Email on 6/26/2020
                                                                                  ATTN: DAVID C. NEU, MICHAEL J. GEARIN
                                                                                  925 FOURTH AVENUE                                DAVID.NEU@KLGATES.COM
                                                                                  SUITE 2900
COUNSEL TO PORT OF SEATTLE                   K&L GATES LLP                        SEATTLE WA 98104                                 MIKE.GEARIN@KLGATES.COM         Email on 6/26/2020
                                                                                  ATTN: STEVEN L. CAPONI, MATTHEW B. GOELLER
                                                                                  600 N. KING STREET                               STEVEN.CAPONI@KLGATES.COM
                                                                                  SUITE 901
COUNSEL TO PORT OF SEATTLE                   K&L GATES LLP                        WILMINGTON DE 19801                              MATTHEW.GOELLER@KLGATES.COM     Email on 6/26/2020
                                                                                  ATTN: ERIC T. SMITH, W. ERIC PILSK, & DAVID Y.
                                                                                  BANNARD
                                                                                  1634 I (EYE) STREET NW                           ESMITH@KAPLANKIRSCH.COM
COUNSEL TO THE CITY OF ATLANTA, COUNSEL TO                                        SUITE 300                                        EPILSK@KAPLANKIRSCH.COM         First Class Mail on 6/25/2020 and
ACAA                                         KAPLAN KIRSCH ROCKWELL               WASHINGTON DC 20006                              DBANNARD@KAPLANKIRSCH.COM       Email on 6/26/2020
                                                                                  ATTN: ASHLEY KELLER, SETH MEYER, & ALEXIOS
                                                                                  DRAVILLAS                                        ACK@KELLERLENKNER.COM
COUNSEL TO JEFFREY BROWER AND THE PERSONAL                                        150 NORTH RIVERSIDE PLAZA, SUITE 4270            SAM@KELLERLENKNER.COM
INJURY CLAIMANTS                             KELLER LENKNER LLC                   CHICAGO IL 60606                                 AJD@KELLERLENKNER.COM           Email on 6/26/2020
                                                                                  ATTN: DAVIS WRIGHT TREMAINE LLP
                                                                                  919 N. MARKET STREET, SUITE 1000                                                 First Class Mail on 6/25/2020 and
COUNSEL TO EWR CONRAC LLC                    KLEHR HARRISON HARVEY BRANZBURG LLP WILMINGTON DE 19801‐3062                          RLEMISCH@KLEHR.COM              Email on 6/26/2020
                                                                                  ATTN: TRACY L. KLESTADT
                                                                                  200 WEST 41ST STREET
COUNSEL TO ORLANDO SANFORD INTERNATIONAL, KLESTADT WINTERS JURELLER               17TH FLOOR
INC.                                         SOUTHARD & STEVENS, LLP              NEW YORK NY 10036                                TKLESTADT@KLESTADT.COM          Email on 6/26/2020
                                                                                  ATTN: THOMAS MOERS MAYER, AMY CATON, DAVID E.    TMAYER@KRAMERLEVIN.COM
                                                                                  BLABEY, JR., & ALICE J. BYOWITZ                  ACATON@KRAMERLEVIN.COM
COUNSEL TO THE OFFICIAL COMMITTEE OF                                              1177 AVENUE OF THE AMERICAS                      DBLABEY@KRAMERLEVIN.COM         First Class Mail on 6/25/2020 and
UNSECURED CREDITORS                          KRAMER LEVIN NAFTALIS & FRANKEL LLP  NEW YORK NY 10036                                ABYOWITZ@KRAMERLEVIN.COM        Email on 6/26/2020
                                                                                  ATTN: JEFFREY KURTZMAN
                                                                                  401 S. 2ND STREET
                                                                                  SUITE 200
COUNSEL TO REEDMAN TOLL AUTO GROUP           KURTZMAN STEADY LLC                  PHILADELPHIA PA 19147                            KURTZMAN@KURTZMANSTEADY.COM     Email on 6/26/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                      Page 10 of 27
                                                           Case 20-11218-MFW       Doc 645             Filed 07/01/20      Page 88 of 142
                                                                                              Exhibit E
                                                                                       Core/2002 Service List
                                                                                      Served as set forth below
                   DESCRIPTION                                  NAME                         ADDRESS                                           EMAIL    METHOD AND DATE OF SERVICE
                                                                        ATTN: ADAM L. HIRSCH
                                                                        1801 CALIFORNIA STREET
                                                                        SUITE 3000
COUNSEL TO THE CITY AND COUNTY OF DENVER       KUTAK ROCK LLP           DENVER CO 80202‐2658                          ADAM.HIRSCH@KUTAKROCK.COM        Email on 6/26/2020
                                                                        ATTN: KERRI K. MUMFORD MATTHEW R. PIERCE
                                                                        919 MARKET STREET
COUNSEL TO DEUTSCHE BANK AG NEW YORK                                    SUITE 1800                                    MUMFORD@LRCLAW.COM
BRANCH                                         LANDIS RATH & COBB LLP   WILMINGTON DE 19801                           PIERCE@LRCLAW.COM                Email on 6/26/2020
                                                                        ATTN: DARRYL T. LANDWEHR
                                                                        935 GRAVIER STREET, SUITE 835                                                  First Class Mail on 6/25/2020 and
COUNSEL TO ALAN WEINER                         LANDWEHR LAW FIRM        NEW ORLEANS LA 70112                          DTLANDWEHR@ATT.NET               Email on 6/26/2020
                                                                        ATTN: PAUL VALENTE VICE PRESIDENT
                                                                        98 MAPLE AVE
TOP 50 LARGEST UNSECURED CREDITORS             LANE VALENTE             SMITHTOWN NY 11787                                                             First Class Mail on 6/25/2020
                                                                        ATTN: JOHNATHAN MILLER ESQ. & STUART MILLER
                                                                        ESQ.
COUNSEL TO ARLEAN GREEN ON BEHALF OF HERSELF                            132 NASSAU STREET SUITE 1100                  JON@LANKMILL.COM                 First Class Mail on 6/25/2020 and
AND ALL OTHERS SIMILARLY‐SITUATED            LANKENAU & MILLER LLP      NEW YORK NY 10038                             STUART@LANKMILL.COM              Email on 6/26/2020


SENIOR SECOND PRIORITY SECURED NOTES (“2L
NOTES”) ‐ WELLS FARGO BANK AS INDENTURE
TRUSTEE UNDER THE SENIOR NOTES OR “U.S. NOTES
AGENT” AND L/C FACILITY ‐ BARCLAYS BANK PLC AS
ADMINISTRATIVE AGENT AND COLLATERAL AGENT
OR "SENIOR CREDIT AGREEMENT AGENT" COUNSEL                                                                            ALFRED.XUE@LW.COM
TO SENIOR CREDIT AGREEMENT, U.S. VEHICLE RCF ‐                          ATTN: ALFRED Y. XUE, CHRISTOPHER R. PLAUT,    CHRIS.PLAUT@LW.COM
CREDIT AGRICOLE CORPORATE AND INVESTMENT                                GEORGE DAVIS, SUZZANNE UHLAND, CHRISTOPHER    GEORGE.DAVIS@LW.COM
BANK AS ADMINISTRATIVE AGENT AND BANK OF                                HARRIS AND ADAM J. GOLDBERG                   SUZZANNE.UHLAND@LW.COM
NEW YORK MELLON TRUST COMPANY N.A AS                                    885 THIRD AVENUE                              CHRISTOPHER.HARRIS@LW.COM
COLLATERAL AGENT AND                           LATHAM & WATKINS LLP     NEW YORK NY 10022‐4834                        ADAM.GOLDBERG@LW.COM             Email on 6/26/2020
                                                                        ATTN: HEATHER WALLER
                                                                        330 NORTH WABASH AVENUE
                                                                        SUITE 2800                                                                     First Class Mail on 6/25/2020 and
COUNSEL TO BARCLAYS BANK PLC                   LATHAM & WATKINS LLP     CHICAGO IL 60611                              HEATHER.WALLER@LW.COM            Email on 6/26/2020
                                                                        ATTN: KEVIN T. FINGERET GRAEME P. SMYTH
HVF II U.S. ABS NOTES ‐ LATHAM & WATKINS LLP. AS                        885 THIRD AVENUE                              KEVIN.FINGERET@LW.COM            First Class Mail on 6/25/2020 and
GENERAL COUNSEL                                  LATHAM & WATKINS LLP   NEW YORK NY 10022‐4834                        GRAEME.SMYTH@LW.COM              Email on 6/26/2020


SENIOR SECOND PRIORITY SECURED NOTES (“2L
NOTES”) ‐ WELLS FARGO BANK AS INDENTURE
TRUSTEE UNDER THE SENIOR NOTES OR “U.S. NOTES                           ATTN: R. CHARLES CASSIDY III
AGENT” AND L/C FACILITY ‐ BARCLAYS BANK PLC AS                          555 ELEVENTH STREET NW
ADMINISTRATIVE AGENT AND COLLATERAL AGENT                               SUITE 1000                                                                     First Class Mail on 6/25/2020 and
OR "SENIOR CREDIT AGREEMENT AGENT"             LATHAM & WATKINS LLP     WASHINGTON DC 20004‐1304                      CHARLES.CASSIDY@LW.COM           Email on 6/26/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                              Page 11 of 27
                                                              Case 20-11218-MFW                  Doc 645            Filed 07/01/20        Page 89 of 142
                                                                                                           Exhibit E
                                                                                                    Core/2002 Service List
                                                                                                   Served as set forth below
                    DESCRIPTION                                    NAME                                   ADDRESS                                           EMAIL        METHOD AND DATE OF SERVICE

COUNSEL TO THE INTERNATIONAL BROTHERHOOD
OF TEAMSTERS & AFFILIATED LOCALS 20 25 79 89
104 114 117 118 150 175 206 222 272 299 305 317
327 355 385 399 431 449 455 481 492 495 528 529                                        ATTN: SUSAN E. KAUFMAN
541 618 641 665 667 682 745 769 781 813 830 853                                        919 NORTH MARKET STREET SUITE 460
856 886 901 922 926 931 986 988 AND 996           LAW OFFICE OF SUSAN E. KAUFMAN LLC   WILMINGTON DE 19801                           SKAUFMAN@SKAUFMANLAW.COM           Email on 6/26/2020
                                                                                       ATTN: MARSHALL A. FEIN
                                                                                       13822 BLUFF LANE                                                                 First Class Mail on 6/25/2020 and
COUNSEL TO AUSTIN CONRAC LLC                      LAW OFFICES OF MARSHALL A. FEIN      SAN ANTONIO TX 78216‐6302                     MARSHALL@CON‐RAC.COM               Email on 6/26/2020
                                                                                       ATTN: DON STECKER
                                                                                       112 E. PECAN STREET
                                                  LINEBARGER GOGGAN BLAIR & SAMPSON    SUITE 2200
COUNSEL TO BEXAR COUNTY                           LLP                                  SAN ANTONIO TX 78205                                                             First Class Mail on 6/25/2020
                                                                                       ATTN: ELIZABETH WELLER
                                                                                       2777 N. STEMMONS FREEWAY
COUNSEL TO TARRANT COUNTY AND DALLAS              LINEBARGER GOGGAN BLAIR & SAMPSON    SUITE 1000
COUNTY                                            LLP                                  DALLAS TX 75207                               DALLAS.BANKRUPTCY@PUBLICANS.COM    Email on 6/26/2020

COUNSEL TO RAYMONDVILLE ISD, WILLACY COUNTY,
NUECES COUNTY, CALDWELL CAD, CAMERON
COUNTY, HIDALGO COUNTY, CITY OF HARLINGEN,
MCLENNAN COUNTY, VICTORIA COUNTY, HAYS CISD,                                           ATTN: DIANE WADE SANDERS
CITY OF MCALLEN, HARLINGEN CISD, LA FERIA ISD,    LINEBARGER GOGGAN BLAIR & SAMPSON,   P.O. BOX 17428
SAN MARCOS CISD                                   LLP                                  AUSTIN TX 78760                                                                  First Class Mail on 6/25/2020
COUNSEL TO MATAGORDA COUNTY, CYPRESS ‐
FAIRBANKS ISD, HARRIS COUNTY, FORT BEND
COUNTY, LIBERTY COUNTY, GALVESTON COUNTY,                                              ATTN: JOHN P. DILLMAN
POLK COUNTY, JEFFERSON COUNTY, MONTGOMERY         LINEBARGER GOGGAN BLAIR & SAMPSON,   PO BOX 3064
COUNTY, ANGELINA COUNTY                           LLP                                  HOUSTON TX 77253‐3064                         HOUSTON_BANKRUPTCY@PUBLICANS.COM   Email on 6/26/2020

HFLF ABS NOTES ‐ LORD SECURITIES CORPORATION
AS GROUP I BACK‐UP ADMINISTRATOR AND                                             ATTN: DANIEL B. BESIKOF, GENEVA SHI
COUNSEL TO NTT AMERICA SOLUTIONS, INC., F/K/A                                    345 PARK AVENUE – 21ST FLOOR                        DBESIKOF@LOEB.COM
DIMENSION DATA NORTH AMERICA, INC.            LOEB & LOEB LLP                    NEW YORK NY 10145                                   GSHI@LOEB.COM                      Email on 6/26/2020
                                                                                 ATTN: RICHARD PERRY CHRIS COOPER
U.K. FINANCING FACILITY LOMBARD NORTH CENTRAL LOMBARD CORPORATE FINANCE/ LOMBARD 280 BISHOPSGATE
PLC AS LENDER                                 NORTH CENTRAL PLC                  LONDON EC2M 4RB UNITED KINGDOM                                                         First Class Mail on 6/25/2020

                                                                                       ATTN: HERTZ – DONLEN PROGRAM ADMINISTRATOR
HFLF ABS NOTES ‐ LORD SECURITIES CORPORATION                                           48 WALL STREET 27TH FLOOR
AS GROUP I BACK‐UP ADMINISTRATOR                  LORD SECURITIES CORPORATION          NEW YORK NY 10005                                                                First Class Mail on 6/25/2020
                                                                                       ATTN: MICHAEL LUSKIN RICHARD STERN ALEX
                                                                                       TALESNICK                                     LUSKIN@LSELLP.COM
COUNSEL TO CRÉDIT AGRICOLE CORPORATE AND                                               8TH AVE. & 41ST ST                            STERN@LSELLP.COM                   First Class Mail on 6/25/2020 and
INVESTMENT BANK                                   LUSKIN STERN & EISLER LLP            NEW YORK NY 10036                             TALESNICK@LSELLP.COM               Email on 6/26/2020

                                                                                       ATTN: LOGAN GREEN CEO CO‐FOUNDER & DIRECTOR
                                                                                       548 MARKET STREET SUITE 68514
TOP 50 LARGEST UNSECURED CREDITORS                LYFT                                 SAN FRANCISCO CA 94104                                                           First Class Mail on 6/25/2020




          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                          Page 12 of 27
                                                           Case 20-11218-MFW                 Doc 645              Filed 07/01/20     Page 90 of 142
                                                                                                       Exhibit E
                                                                                                Core/2002 Service List
                                                                                               Served as set forth below
                    DESCRIPTION                                  NAME                                 ADDRESS                                         EMAIL       METHOD AND DATE OF SERVICE

                                                                                   ATTN: JONATHAN FITZPATRICK PRESIDENT & CEO
                                                                                   440 S. CHURCH STREET SUITE 700
TOP 50 LARGEST UNSECURED CREDITORS              MAACO FRANCHISING CORPORATE LLC    CHARLOTTE NC 28202                                                            First Class Mail on 6/25/2020
                                                                                   ATTN: JAMES E. HUGGETT ESQUIRE
                                                                                   300 DELAWARE AVENUE
COUNSEL TO ARLEAN GREEN ON BEHALF OF HERSELF                                       SUITE 800
AND ALL OTHERS SIMILARLY‐SITUATED            MARGOLIS EDELSTEIN                    WILMINGTON DE 19801                          JHUGGETT@MARGOLISEDELSTEIN.COM   Email on 6/26/2020
                                                                                   ATTN: LISA WIELAND CEO
                                                                                   ONE HARBORSIDE DRIVE SUITE 200S
TOP 50 LARGEST UNSECURED CREDITORS              MASSACHUSETTS PORT AUTHORITY       BOSTON MA 02128                                                               First Class Mail on 6/25/2020
                                                                                   ATTN: MICHAEL A. PAASCH
                                                                                   225 E ROBINSON ST
COUNSEL TO SCOTT RANDOLPH, ORANGE COUNTY                                           STE 600
FLORIDA TAX COLLECTOR                           MATEER HARBERT                     ORLANDO FL 32801                             MPAASCH@MATEERHARBERT.COM        Email on 6/26/2020
                                                                                   ATTN: BRIAN TRUST
                                                                                   1221 AVENUE OF THE AMERICAS                                                   First Class Mail on 6/25/2020 and
COUNSEL TO BARCLAYS BANK PLC                    MAYER BROWN LLP                    NEW YORK NY 10020                            BTRUST@MAYERBROWN.COM            Email on 6/26/2020
                                                                                   ATTN: SEAN T. SCOTT
                                                                                   71 SOUTH WACKER DRIVE                                                         First Class Mail on 6/25/2020 and
COUNSEL TO BARCLAYS BANK PLC                    MAYER BROWN LLP                    CHICAGO IL 60606                             STSCOTT@MAYERBROWN.COM           Email on 6/26/2020
                                                                                   ATTN: JAYNA PARTAIN LAMAR
                                                                                   1901 SIXTH AVENUE NORTH, SUITE 2400
COUNSEL TO BIRMINGHAM AIRPORT AUTHORITY         MAYNARD COOPER & GALE P.C.         BIRMINGHAM AL 35203                          JLAMAR@MAYNARDCOOPER.COM         Email on 6/26/2020
                                                                                   ATTN: KATE ROGGIO BUCK
COUNSEL TO CASSAN ENTERPRISES INC., TODD                                           405 N. KING STREET, 8TH FLOOR
INVESTMENT COMPANY & CMC INVESTMENTS, INC. MCCARTER & ENGLISH LLP                  WILMINGTON DE 19801                          KBUCK@MCCARTER.COM               Email on 6/26/2020
                                                                                   ATTN: KATE ROGGIO BUCK
                                                                                   405 N. KING STREET, 8TH FLOOR
COUNSEL TO LYFT, INC.                           MCCARTER & ENGLISH, LLP            WILMINGTON DE 19801                          KBUCK@MCCARTER.COM               Email on 6/26/2020


COUNSEL TO THE COUNTY OF ANDERSON TEXAS THE
COUNTY OF BASTROP TEXAS TAX APPRAISAL
DISTRICT OF BELL COUNTY BOWIE CENTRAL
APPRAISAL DISTRICT THE COUNTY OF BRAZOS TEXAS
BURNET CENTRAL APPRAISAL DISTRICT CELINA
INDEPENDENT SCHOOL DISTRICT THE TOWN OF ST.
PAUL TEXAS THE COUNTY OF COMAL TEXAS THE
COUNTY OF DENTON TEXAS GLADEWATER
INDEPENDENT SCHOOL DISTRICT THE CITY OF
GLADEWATER TEXAS PINE TREE INDEPENDENT
SCHOOL DISTRICT WHITE OAK INDEPENDENT
SCHOOL DISTRICT THE COUNTY OF HAYS TEXAS
KERRVILLE INDEPENDENT SCHOOL DISTRICT CITY OF
WACO AND/OR WACO INDEPENDENT SCHOOL
DISTRICT MIDLAND CENTRAL APPRAISAL DISTRICT
REEVES COUNTY TAX DISTRICT CENTRAL APPRAISAL                                       ATTN: TARA LEDAY
DISTRICT OF TAYLOR COUNTY AND THE COUNTY OF                                        PO BOX 1269                                                                   First Class Mail on 6/25/2020 and
WILLIAMSON TEXAS                              MCCREARY VESELKA BRAGG & ALLEN P.C   ROUND ROCK TX 78680                          TLEDAY@MVBALAW.COM               Email on 6/26/2020




          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                        Page 13 of 27
                                                          Case 20-11218-MFW                   Doc 645            Filed 07/01/20          Page 91 of 142
                                                                                                        Exhibit E
                                                                                                 Core/2002 Service List
                                                                                                Served as set forth below
                   DESCRIPTION                                NAME                                   ADDRESS                                             EMAIL      METHOD AND DATE OF SERVICE
                                                                                ATTN: JOHN H. MADDOCK III
                                                                                GATEWAY PLAZA
COUNSEL TO BANC OF AMERICA LEASING & CAPITAL,                                   800 EAST CANAL STREET
LLC                                           MCGUIREWOODS LLP                  RICHMOND VA 23219                                  JMADDOCK@MCGUIREWOODS.COM       Email on 6/26/2020
                                                                                ATTN: RICHARD D. TRENK
                                                                                75 LIVINGSTON AVENUE 2ND FLOOR                                                     First Class Mail on 6/25/2020 and
COUNSEL TO 104 FOUNDRY STREET REALTY LLC      MCMANIMON SCOTLAND & BAUMANN LLC ROSELAND NJ 07068                                   RTRENK@MSBNJ.COM                Email on 6/26/2020
                                                                                ATTN: NICOLE C. KENWORTHY
                                                                                6801 KENILWORTH AVENUE
                                                                                SUITE 400                                                                          First Class Mail on 6/25/2020 and
COUNSEL TO PRINCE GEORGE'S COUNTY, MARYLAND MEYERS, RODBELL & ROSENBAUM, P.A.   RIVERDALE MD 20737‐1385                            BDEPT@MRRLAW.NET                Email on 6/26/2020
                                                                                ATTN: RYAN C. ZAGARE, ESQ.
                                                                                P. O. BOX 025504                                   RZAGARE@MIAMI‐AIRPORT.COM
COUNSEL TO MIAMI‐DADE COUNTY, FLORIDA         MIAMI‐DADE COUNTY ATTORNEY        MIAMI FL 33102‐5504                                RMARTIN@MIAMI‐AIRPORT.COM       Email on 6/26/2020
                                                                                ATTN: RONALD A. SPINNER MARC N. SWANSON
                                              MILLER CANFIELD PADDOCK AND STONE 150 WEST JEFFERSON SUITE 2500                      SPINNER@MILLERCANFIELD.COM
COUNSEL TO WAYNE COUNTY AIRPORT AUTHORITY P.L.C.                                DETROIT MI 48226                                   SWANSONM@MILLERCANFIELD.COM     Email on 6/26/2020
                                                                                ATTN: ROBERT B. LACHENAUER
                                                                                600 THIRD AVENUE
HFLF ABS NOTES ‐ LORD SECURITIES CORPORATION                                    25TH FLOOR                                                                         First Class Mail on 6/25/2020 and
AS GROUP I BACK‐UP ADMINISTRATOR              MINTZ & GOLD LLP                  NEW YORK NY 10016                                  LACHENAUER@MINTZANDGOLD.COM     Email on 6/26/2020
                                                                                ATTN: STEVEN A. GINTHER
                                                                                301 W. HIGH STREET, ROOM 670
                                              MISSOURI DEPARTMENT OF REVENUE,   PO BOX 475
COUNSEL TO MO DEPARTMENT OF REVENUE           BANKRUPTCY UNIT                   JEFFERSON CITY MO 65105‐0475                       deecf@dor.mo.gov                Email on 6/26/2020
                                                                                ATTN: KEVIN P. MONTEE
                                                                                1250‐I NEWELL AVE
                                                                                SUITE 149                                                                          First Class Mail on 6/25/2020 and
COUNSEL TO FFHS ASSOCIATES GATEWAY LP         MONTEE LAW FIRM APC               WALNUT CREEK CA 94596                              KMONTEE@MONTEEFIRM.COM          Email on 6/26/2020
                                                                                ATTN: MARC J. PHILLIPS, ESQ.
                                              MONTGOMERY MCCRACKEN WALKER &     1105 NORTH MARKET STREET, SUITE 1500
COUNSEL TO FCA US LLC                         RHOADS LLP                        WILMINGTON DE 19801                                MPHILLIPS@MMWR.COM              Email on 6/26/2020

                                                                                    ATTN: RACHEL B. MERSKY & BRIAN J. MCLAUGHLIN
                                               MONZACK MERSKY MCLAUGHLIN AND        1201 N. ORANGE STREET, SUITE 400               RMERSKY@MONLAW.COM
COUNSEL TO KIR SAN RAMON, L.P.                 BROWDER, P.A.                        WILMINGTON DE 19801                            BMCLAUGHLIN@MONLAW.COM          Email on 6/26/2020
                                                                                    ATTN: JAMES YOUNG
COUNSEL TO JEFFREY BROWER AND THE PERSONAL                                          76 SOUTH LAURA STREET, SUITE 1100                                              First Class Mail on 6/25/2020 and
INJURY CLAIMANTS                               MORGAN & MORGAN                      JACKSONVILLE FL 32202                          JYOUNG@FORTHEPEOPLE.COM         Email on 6/26/2020
                                                                                    ATTN: JUAN R. MARTINEZ
COUNSEL TO JEFFREY BROWER AND THE PERSONAL                                          201 N. FRANKLIN STREET, 7TH FLOOR                                              First Class Mail on 6/25/2020 and
INJURY CLAIMANTS                               MORGAN & MORGAN                      TAMPA FL 33602                                 JUANMARTINEZ@FORTHEPEOPLE.COM   Email on 6/26/2020
                                                                                    ATTN: ERIC J. MONZO BRYA M. KEILSON
                                                                                    500 DELAWARE AVENUE SUITE 1500                 EMONZO@MORRISJAMES.COM
COUNSEL TO BOKF NATIONAL ASSOCIATION           MORRIS JAMES LLP                     WILMINGTON DE 19801                            BKEILSON@MORRISJAMES.COM        Email on 6/26/2020
                                                                                    ATTN: DEREK C. ABBOTT ANDREW R. REMMING AND
                                                                                    ERIC W. MOATS
                                                                                    1201 N. MARKET ST. 16TH FLOOR                  DABBOTT@MNAT.COM
COUNSEL TO BARCLAYS BANK PLC AND CRÉDIT                                             P.O. BOX 1347                                  AREMMING@MNAT.COM
AGRICOLE CORPORATE AND INVESTMENT BANK         MORRIS NICHOLS ARSHT & TUNNELL LLP   WILMINGTON DE 19899‐1347                       EMOATS@MNAT.COM                 Email on 6/26/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                        Page 14 of 27
                                                               Case 20-11218-MFW                Doc 645            Filed 07/01/20             Page 92 of 142
                                                                                                          Exhibit E
                                                                                                   Core/2002 Service List
                                                                                                  Served as set forth below
                    DESCRIPTION                                  NAME                                    ADDRESS                                                EMAIL                 METHOD AND DATE OF SERVICE
                                                                                     ATTN: KAREN CORDRY
                                                NATIONAL ASSOCIATION OF ATTORNEYS    1850 M ST. NW 12TH FLOOR
STATE ATTORNEY GENERAL                          GENERAL                              WASHINGTON DC 20036                                 KCORDRY@NAAG.ORG                            Email on 6/26/2020

                                                                                     ATTN: H. JASON GOLD, ESQ. & DYLAN G. TRACHE, ESQ.
                                                NELSON MULLINS RILEY & SCARBOROUGH   101 CONSTITUTION AVENUE, NW, SUITE 900              DYLAN.TRACHE@NELSONMULLINS.COM              First Class Mail on 6/25/2020 and
COUNSEL TO FCA US LLC                           LLP                                  WASHINGTON DC 20001                                 JASON.GOLD@NELSONMULLINS.COM                Email on 6/26/2020
                                                                                     ATTN: JOHN P. STREELMAN, ESQ.
                                                NELSON MULLINS RILEY & SCARBOROUGH   1400 WEWATTA STREET, SUITE 500                                                                  First Class Mail on 6/25/2020 and
COUNSEL TO FCA US LLC                           LLP                                  DENVER CO 80202                                     JOHN.STREELMAN@NELSONMULLINS.COM            Email on 6/26/2020
                                                                                     ATTN: MAKOTO UCHIDA PRESIDENT & CEO
                                                                                     ONE NISSAN WAY
TOP 50 LARGEST UNSECURED CREDITORS              NISSAN                               FRANKLIN TN 37067                                                                               First Class Mail on 6/25/2020
                                                                                     39‐40/F OXFORD HOUSE
                                                                                     TAIKOO PLACE 979 KING’S ROAD
TOP 50 LARGEST UNSECURED CREDITORS              NISSAN CN                            QUARRY BAY HONG KONG                                                                            First Class Mail on 6/25/2020
                                                                                     ATTN: DAVID A. ROSENZWEIG, ESQ. & FRANCISCO
                                                                                     VAZQUEZ, ESQ.
                                                                                     1301 AVENUE OF THE AMERICAS                         DAVID.ROSENZWEIG@NORTONROSEFULBRIGHT.COM    First Class Mail on 6/25/2020 and
COUNSEL TO AT&T CORP. AND ITS AFFILIATES        NORTON ROSE FULBRIGHT US LLP         NEW YORK NY 10019‐6022                              FRANCISCO.VAZQUEZ@NORTONROSEFULBRIGHT.COM   Email on 6/26/2020

                                                                                   ATTN: GREGORY C. NUTI & CHRISTOPHER H. HART
                                                                                   411 30TH STREET, SUITE 408                            GNUTI@NUTIHART.COM
COUNSEL TO LYFT, INC.                          NUTI HART LLP                       OAKLAND CA 94609                                      CHART@NUTIHART.COM                          Email on 6/26/2020
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   590 S. MARINE CORPS DR. SUITE 901
STATE ATTORNEY GENERAL                         OFFICE OF THE ATTORNEY GENERAL GUAM TAMUNING GU 96913                                                                                 First Class Mail on 6/25/2020
                                                                                   ATTN: LINDA RICHENDERFER TRIAL ATTORNEY
                                                                                   844 KING STREET SUITE 2207
                                                                                   LOCKBOX 35                                                                                        First Clas Mail on 6/25/2020 and
OFFICE OF THE UNITED STATES TRUSTEE (REGION 3) OFFICE OF THE UNITED STATES TRUSTEE WILMINGTON DE 19801                                   LINDA.RICHENDERFER@USDOJ.GOV                Email on 6/26/2020

                                                                                     ATTN: J. BRIAN FLETCHER & CHRISTIAN C. ONSAGER
COUNSEL TO CITY AND COUNTY OF SAN FRANCISCO,                                         600 17TH STREET, SUITE 425N                         JBFLETCHER@OFJLAW.COM
SAN FRANCISCO AIRPORT COMMISSION             ONSAGER | FLETCHER | JOHNSON LLC        DENVER CO 80202                                     CONSAGER@OFJLAW.COM                         Email on 6/26/2020
                                                                                     ATTN: ROSA R. ORENSTEIN NATHAN M. NICHOLS           ROSA@ORENSTEIN‐LG.COM
COUNSEL TO DALLAS/FORT WORTH INTERNATIONAL                                           1201 ELM STREET SUITE 4020                          NATHAN@ORENSTEIN‐LG.COM                     First Class Mail on 6/25/2020 and
AIRPORT BOARD                              ORENSTEIN LAW GROUP P.C.                  DALLAS TX 75270                                                                                 Email on 6/26/2020

HERTZ CANADIAN SECURITIZATION NOTES ‐ BNY                                            ATTN: MARC WASSERMAN PETER MILLIGAN
TRUST COMPANY OF CANADA AS INDENTURE                                                 100 KING STREET WEST P.O. BOX 50
TRUSTEE AND COLLATERAL AGENT AND BANK OF                                             SUITE 6200 1 FIRST CANADIAN PLACE                   MWASSERMAN@OSLER.COM                        First Class Mail on 6/25/2020 and
MONTREAL AND THE BANK OF NOVA SCOTIA            OSLER HOSKIN & HARCOURT LLP          TORONTO ON M5X 1B8 CANADA                           PMILLIGAN@OSLER.COM                         Email on 6/26/2020
                                                                                     ATTN: JAHAN C. SAGAFI
                                                                                     ONE CALIFORNIA STREET
COUNSEL TO PETER LEE LATONYA CAMPBELL S.                                             12TH FLOOR                                                                                      First Class Mail on 6/25/2020 and
SHARMA O. MOLINA AND P. BOBADILLO               OUTTEN & GOLDEN LLP                  SAN FRANCISCO CA 94111                              JSAGAFI@OUTTENGOLDEN.COM                    Email on 6/26/2020
                                                                                     ATTN: MANAGER TRANSACTION MANAGEMENT
AUSTRALIAN SECURITIZATION NOTES ‐ PT LIMITED AS                                      LEVEL 12 123 PITT STREET
SECURITY TRUSTEE                                P.T. LIMITED                         SYDNEY NSW 2000 AUSTRALIA                                                                       First Class Mail on 6/25/2020




          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                         Page 15 of 27
                                                           Case 20-11218-MFW                   Doc 645              Filed 07/01/20         Page 93 of 142
                                                                                                          Exhibit E
                                                                                                   Core/2002 Service List
                                                                                                  Served as set forth below
                   DESCRIPTION                                 NAME                                       ADDRESS                                               EMAIL    METHOD AND DATE OF SERVICE
                                                                                     ATTN: COLIN R. ROBINSON
                                                                                     919 N. MARKET STREET
COUNSEL TO AD HOC COMMITTEE OF LITIGATION                                            17TH FLOOR
CREDITORS                                      PACHULSKI STANG ZIEHL & JONES LLP     WILMINGTON DE 19801                              CROBINSON@PSZJLAW.COM             Email on 6/26/2020

COUNSEL TO PRICELINE.COM AND CERTAIN                                                 ATTN: JAMES E. O’NEILL
AFFILIATES, COUNSEL TO BOOKING.COM TRANSPORT                                         919 N. MARKET STREET, 17TH FLOOR
LIMITED, TRADING AS RENTALCARS.COM, AND                                              P.O. BOX 8705                                                                      First Class Mail on 6/25/2020 and
CERTAIN OF ITS AFFILIATES                    PACHULSKI STANG ZIEHL & JONES LLP       WILMINGTON DE 19899‐8705                         JONEILL@PSZJLAW.COM               Email on 6/26/2020

COUNSEL TO PRICELINE.COM AND CERTAIN
AFFILIATES, COUNSEL TO BOOKING.COM TRANSPORT                                         ATTN: JEREMY V. RICHARDS
LIMITED, TRADING AS RENTALCARS.COM, AND                                              10100 SANTA MONICA BLVD., 13TH FLOOR                                               First Class Mail on 6/25/2020 and
CERTAIN OF ITS AFFILIATES                    PACHULSKI STANG ZIEHL & JONES LLP       LOS ANGELES CA 90067                             JRICHARDS@PSZJLAW.COM             Email on 6/26/2020

COUNSEL TO PRICELINE.COM AND CERTAIN
AFFILIATES, COUNSEL TO BOOKING.COM TRANSPORT                                         ATTN: JOHN A. MORRIS
LIMITED, TRADING AS RENTALCARS.COM, AND                                              780 THIRD AVENUE, 34TH FLOOR                                                       First Class Mail on 6/25/2020 and
CERTAIN OF ITS AFFILIATES                    PACHULSKI STANG ZIEHL & JONES LLP       NEW YORK NY 10017‐2024                           JMORRIS@PSZJLAW.COM               Email on 6/26/2020
                                                                                     ATTN: JOHN FIERO
                                                                                     150 CALIFORNIA STREET
COUNSEL TO AD HOC COMMITTEE OF LITIGATION                                            15TH FLOOR
CREDITORS                                      PACHULSKI STANG ZIEHL & JONES LLP     SAN FRANCISCO CA 94111                           JFIERO@PSZJLAW.COM                Email on 6/26/2020
                                                                                     ATTN: PEGAH VAKILI CAROLYN J. LACHMAN AND JACK   VAKILI.PEGAH@PBGC.GOV
COUNSEL TO PENSION BENEFIT GUARANTY                                                  BUTLER                                           EFILE@PBGC.GOV
CORPORATION AND COMMITTEE OF UNSECURED         PENSION BENEFIT GUARANTY              1200 K STREET N.W.                               LACHMAN.CAROLYN@PBGC.GOV
CREDITORS                                      CORPORATION                           WASHINGTON DC 20005‐4026                         JACK@PBGC.GOV                     Email on 6/26/2020
                                                                                     ATTN: BRENT WINDOM PRESIDENT
                                                                                     3118 W ALLEGHENY AVE
TOP 50 LARGEST UNSECURED CREDITORS             PEP BOYS                              PHILADELPHIA PA 19132                                                              First Class Mail on 6/25/2020
COUNSEL TO LA JOYA INDEPENDENT SCHOOL                                                ATTN: JOHN T. BANKS
DISTRICT CITY OF WESLACO WESLACO INDEPENDENT                                         3301 NORTHLAND DRIVE
SCHOOL DISTRICT DELTA LAKE IRRIGATION DISTRICT PERDUE BRANDON FIELDER COLLINS &      SUITE 505                                                                          First Class Mail on 6/25/2020 and
CITY OF LA FERIA                               MOTT L.L.P.                           AUSTIN TX 78731                                  JBANKS@PBFCM.COM                  Email on 6/26/2020
                                                                                     ATTN: LAURA J. MONROE
COUNSEL TO LUBBOCK CENTRAL APPRAISAL DISTRICT PERDUE BRANDON FIELDER COLLINS &       P.O. BOX 817
AND MIDLAND COUNTY                            MOTT L.L.P.                            LUBBOCK TX 79408                                 LMBKR@PBFCM.COM                   Email on 6/26/2020
                                                                                     ATTN: OWEN M. SONIK
                                                                                     1235 NORTH LOOP WEST
COUNSEL TO PASADENA INDEPENDENT SCHOOL         PERDUE BRANDON FIELDER COLLINS &      SUITE 600
DISTRICT                                       MOTT LLP                              HOUSTON TX 77008                                 OSONIK@PBFCM.COM                  Email on 6/26/2020
                                                                                     ATTN: EBONEY COBB
                                               PERDUE, BRANDON, FIELDER, COLLINS &   500 E. BORDER STREET, SUITE 640
COUNSEL TO GRAPEVINE‐COLLEYVILLE ISD           MOTT, L.L.P.                          ARLINGTON TX 76010                               ECOBB@PBFCM.COM                   Email on 6/26/2020
                                                                                     ATTN: JAMES D. TUTON PRESIDENT
                                                                                     1150 N ALMA SCHOOL RD
TOP 50 LARGEST UNSECURED CREDITORS             PLATEPASS LLC                         MESA AZ 85201                                                                      First Class Mail on 6/25/2020
                                                                                     ATTN: CHRISTOPHER A. WARD, SHANTI M. KATONA,
                                                                                     BRENNA A. DOLPHIN                                CWARD@POLSINELLI.COM
                                                                                     222 DELAWARE AVE., SUITE 1101                    SKATONA@POLSINELLI.COM
COUNSEL TO TSD RENTAL, LLC                     POLSINELLI PC                         WILMINGTON DE 19801                              BDOLPHIN@POLSINELLI.COM           Email on 6/26/2020



         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                          Page 16 of 27
                                                           Case 20-11218-MFW                   Doc 645            Filed 07/01/20         Page 94 of 142
                                                                                                         Exhibit E
                                                                                                  Core/2002 Service List
                                                                                                 Served as set forth below
                   DESCRIPTION                                  NAME                                   ADDRESS                                             EMAIL    METHOD AND DATE OF SERVICE

                                                                                    ATTN: CHRISTOPHER M. SAMIS AND D. RYAN SLAUGH
                                                                                    1313 NORTH MARKET STREET, SIXTH FLOOR           CSAMIS@POTTERANDERSON.COM
COUNSEL TO FINES FORD LINCOLN SALES AND                                             P.O. BOX 951
SERVICE LTD.                                   POTTER ANDERSON & CORROON LLP        WILMINGTON DE 19899                             RSLAUGH@POTTERANDERSON.COM     Email on 6/26/2020
                                                                                    ATTN: GERALD P. KENNEDY, ESQ.
                                               PROCOPIO, CORY, HARGREAVES & SAVITCH 525 B STREET, SUITE 2200
COUNSEL TO RIU CALIFORNIA LLC                  LLP                                  SAN DIEGO CA 92101                              GERALD.KENNEDY@PROCOPIO.COM    Email on 6/26/2020

                                                                                    ATTN: ANDRES REINER PRESIDENT CEO & DIRECTOR
                                                                                    OAKLAND CITY CENTER                                                            First Class Mail on 6/25/2020 and
TOP 50 LARGEST UNSECURED CREDITORS             PROS REVENUE MANAGEMENT              OAKLAND CA 94607                                APARRISH@PROS.COM              Email on 6/26/2020
                                                                                    ATTN: IRVE J. GOLDMAN
                                                                                    850 MAIN STREET
                                                                                    P.O. BOX 7006
COUNSEL TO CONNECTICUT AIRPORT AUTHORITY       PULLMAN & COMLEY, LLC                BRIDGEPORT CT 06601‐7006                        IGOLDMAN@PULLCOM.COM           Email on 6/26/2020
                                                                                    ATTN: ANN E. PILLE
COUNSEL TO WELLS FARGO EQUIPMENT FINANCE                                            10 SOUTH WACKER DRIVE 40TH FLOOR                                               First Class Mail on 6/25/2020 and
LLC                                            REED SMITH LLP                       CHICAGO IL 60606‐7507                           APILLE@REEDSMITH.COM           Email on 6/26/2020
                                                                                    ATTN: CHRISTOPHER A. LYNCH
                                                                                    599 LEXINGTON AVENUE
COUNSEL TO WINTHROP RESOURCES CORPORATION                                           24TH FLOOR                                                                     First Class Mail on 6/25/2020 and
& TCF NATIONAL BANK                       REED SMITH LLP                            NEW YORK NY 10022                               CLYNCH@REEDSMITH.COM           Email on 6/26/2020
                                                                                    ATTN: KURT F. GWYNNE, JASON D. ANGELO
COUNSEL TO WELLS FARGO EQUIPMENT FINANCE                                            1201 NORTH MARKET STREET
LLC, WINTHROP RESOURCES CORPORATION, TCF                                            SUITE 1500                                      KGWYNNE@REEDSMITH.COM
NATIONAL BANK & SIGNATURE FINANCIAL LLC        REED SMITH LLP                       WILMINGTON DE 19801                             JANGELO@REEDSMITH.COM          Email on 6/26/2020
                                                                                    ATTN: MARK D. COLLINS JOHN H. KNIGHT BRETT M.   COLLINS@RLF.COM
                                                                                    HAYWOOD CHRISTOPHER M. DE LILLO J. ZACHARY      KNIGHT@RLF.COM
                                                                                    NOBLE & M. LYNZY MCGEE                          HAYWOOD@RLF.COM
                                                                                    ONE RODNEY SQUARE                               DELILLO@RLF.COM
CO‐COUNSEL TO DEBTORS AND DEBTORS‐IN‐                                               920 N. KING STREET                              NOBLE@RLF.COM
POSSESSION                                     RICHARDS LAYTON & FINGER P.A.        WILMINGTON DE 19801                             MCGEE@RLF.COM                  Email on 6/26/2020
                                                                                    ATTN: JOHN J. RUTTER
                                                                                    222 SOUTH MAIN STREET
COUNSEL TO CAM AUTO INVESTMENTS, LLC           ROETZEL & ANDRESS, LPA               AKRON OH 44308                                  JRUTTER@RALAW.COM              Email on 6/26/2020
                                                                                    ATTN: GREGG M. GALARDI MATTHEW M. ROOSE
COUNSEL TO BANK OF MONTREAL AND THE BANK OF                                         1211 6TH AVE                                    GREGG.GALARDI@ROPESGRAY.COM
NOVA SCOTIA                                 ROPES & GRAY LLP                        NEW YORK NY 10036‐8704                          MATTHEW.ROOSE@ROPESGRAY.COM    Email on 6/26/2020
                                                                                    ATTN: ALEX P. ROSENTHAL
                                                                                    2115 NORTH COMMERCE PARKWAY                                                    First Class Mail on 6/25/2020 and
COUNSEL TO MOTORHOUSE HOLDINGS LLC             ROSENTHAL LAW GROUP                  WESTON FL 33326                                 ALEX@ROSENTHALCOUNSEL.COM      Email on 6/26/2020
                                                                                    ATTN: MICHAEL C. FALICK
                                                                                    1201 LOUISIANA ST., SUITE 550                                                  First Class Mail on 6/25/2020 and
COUNSEL TO SIGNAD, LTD.                        ROTHFELDER & FALICK, L.L.P.          HOUSTON TX 77002                                MFALICK@ROTHFELDERFALICK.COM   Email on 6/26/2020
                                                                                    ATTN: THOMAS FEENEY PRESIDENT & CEO
                                                                                    7400 SAFELITE WAY
TOP 50 LARGEST UNSECURED CREDITORS             SAFELITE FULFILLMENT INC             COLUMBUS OH 43235                                                              First Class Mail on 6/25/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                         Page 17 of 27
                                                            Case 20-11218-MFW                     Doc 645            Filed 07/01/20       Page 95 of 142
                                                                                                            Exhibit E
                                                                                                     Core/2002 Service List
                                                                                                    Served as set forth below
                    DESCRIPTION                                  NAME                                      ADDRESS                                            EMAIL    METHOD AND DATE OF SERVICE
                                                                                      ATTN: JOHN D. DEMMY, LUCIAN B. MURLEY
                                                                                      1201 NORTH MARKET STREET, SUITE 2300
COUNSEL TO FACT INC. AND SOUTHWEST AIRLINES                                           P.O. BOX 1266                                  JOHN.DEMMY@SAUL.COM
CO.                                             SAUL EWING ARNSTEIN & LEHR LLP        WILMINGTON DE 19899‐1266                       LUKE.MURLEY@SAUL.COM             Email on 6/26/2020
                                                                                      ATTN: STEPHEN B. RAVIN ESQ.
                                                                                      ONE RIVERFRONT PLAZA
                                                                                      1037 RAYMOND BLVD. SUITE 1520                                                   First Class Mail on 6/25/2020 and
COUNSEL TO FACT INC.                            SAUL EWING ARNSTEIN & LEHR LLP        NEWARK NJ 07102‐5426                           STEPHEN.RAVIN@SAUL.COM           Email on 6/26/2020
                                                                                      ATTN: STEVEN C. REINGOLD
COUNSEL TO DASSAULT FALCON JET CORP. AND                                              131 DARTMOUTH STREET                                                            First Class Mail on 6/25/2020 and
DASSAULT FALCON JET‐WILMINGTON CORP.            SAUL EWING ARNSTEIN & LEHR LLP        BOSTON MA 02116                                STEVEN.REINGOLD@SAUL.COM         Email on 6/26/2020
                                                                                      ATTN: RICHARD A. BARKASY KRISTI J. DOUGHTY
                                                                                      824 N. MARKET STREET
COUNSEL TO THE CITY OF ATLANTA, COUNSEL TO                                            SUITE 800                                      RBARKASY@SCHNADER.COM
ACAA                                            SCHNADER HARRISON SEGAL & LEWIS LLP WILMINGTON DE 19801‐4939                         KDOUGHTY@SCHNADER.COM            Email on 6/26/2020
                                                                                      ATTN: LEGAL DEPARTMENT
                                                                                      BROOKFIELD PLACE
                                                SECURITIES & EXCHANGE COMMISSION ‐ NY 200 VESEY STREET SUITE 400                     BANKRUPTCYNOTICESCHR@SEC.GOV     First Class Mail on 6/25/2020 and
SECURITIES AND EXCHANGE COMMISSION              OFFICE                                NEW YORK NY 10281‐1022                         NYROBANKRUPTCY@SEC.GOV           Email on 6/26/2020
                                                                                      SECRETARY OF THE TREASURY
                                                SECURITIES AND EXCHANGE COMMISSION ‐ 100 F STREET NE                                                                  First Class Mail on 6/25/2020 and
SECURITIES AND EXCHANGE COMMISSION              HEADQUARTERS                          WASHINGTON DC 20549                            SECBANKRUPTCY@SEC.GOV            Email on 6/26/2020
                                                                                      ATTN: LEGAL DEPARTMENT
                                                                                      ONE PENN CENTER
                                                SECURITIES AND EXCHANGE COMMISSION ‐ 1617 JFK BOULEVARD SUITE 520                                                     First Class Mail on 6/25/2020 and
SECURITIES AND EXCHANGE COMMISSION              REGIONAL OFFICE                       PHILADELPHIA PA 19103                          SECBANKRUPTCY@SEC.GOV            Email on 6/26/2020
                                                                                      ATTN: R. KARL HILL
                                                                                      222 DELAWARE AVENUE
COUNSEL TO SCOTT RANDOLPH, ORANGE COUNTY                                              SUITE 1500
FLORIDA TAX COLLECTOR                           SEITZ, VAN OGTROP & GREEN, P.A.       WILMINGTON DE 19801                            KHILL@SVGLAW.COM                 Email on 6/26/2020
                                                                                      ATTN: DUANE M. GECK, DONALD H. CRAM
COUNSEL TO FORD MOTOR COMPANY AND FORD                                                ONE EMBARCADERO CENTER, SUITE 2600             DMG@SEVERSON.COM                 First Class Mail on 6/25/2020 and
MOTOR COMPANY OF CANADA, LIMITED                SEVERSON & WERSON, P.C.               SAN FRANCISCO CA 94111                         DHC@SEVERSON.COM                 Email on 6/26/2020
                                                                                      ATTN: MICHAEL STEINBERG
ALOC FACILITY ‐ SHEARMAN & STERLING LLP AS                                            599 LEXINGTON AVENUE                                                            First Class Mail on 6/25/2020 and
ADMINISTRATIVE AGENT ‐ FINANCE COUNSEL          SHEARMAN & STERLING LLP               NEW YORK NY 10022‐6069                         MICHAEL.STEINBERG@SHEARMAN.COM   Email on 6/26/2020
                                                                                      ATTN: RONALD M. TUCKER, ESQ.
                                                                                      225 WEST WASHINGTON STREET
COUNSEL TO SIMON PROPERTY GROUP, INC.           SIMON PROPERTY GROUP, INC.            INDIANAPOLIS IN 46204                          RTUCKER@SIMON.COM                Email on 6/26/2020

                                                                                       ATTN: SCOTT GREENSTEIN AND PATRICK DONNELLY
TOP 50 LARGEST UNSECURED CREDITORS AND                                                 1221 AVENUE OF THE AMERICAS 36TH FL                                            First Class Mail on 6/25/2020 and
COMMITTEE OF UNSECURED CREDITORS                SIRIUS XM RADIO INC                    NEW YORK NY 10020                             PATRICK.DONNELLY@SIRIUSXM.COM    Email on 6/26/2020
                                                                                       ATTN: DANA S. PLON
                                                                                       123 SOUTH BROAD STREET, SUITE 2100
COUNSEL TO B.A., LLC                            SIRLIN LESSER & BENSON, P.C.           PHILADELPHIA PA 19109                         DPLON@SIRLINLAW.COM              Email on 6/26/2020
                                                                                       ATTN: KATHLEEN M. MILLER
                                                                                       1000 WEST STREET, SUITE 1501
                                                                                       P.O. BOX 410
COUNSEL TO CITY OF MCALLEN TEXAS                SMITH, KATZENSTEIN & JENKINS LLP       WILMINGTON DE 19899                           KMILLER@SKJLAW.COM               Email on 6/26/2020




          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                           Page 18 of 27
                                                        Case 20-11218-MFW                    Doc 645           Filed 07/01/20          Page 96 of 142
                                                                                                       Exhibit E
                                                                                                Core/2002 Service List
                                                                                               Served as set forth below
                   DESCRIPTION                              NAME                                     ADDRESS                                             EMAIL    METHOD AND DATE OF SERVICE

                                                                                  ATTN: GARY C. KELLY CHAIRMAN & JAMES SHEPPARD
                                                                                  2702 LOVE FIELD DRIVE
TOP 50 LARGEST UNSECURED CREDITORS AND                                            HDQ‐4GC                                                                        First Class Mail on 6/25/2020 and
COMMITTEE OF UNSECURED CREDITORS             SOUTHWEST AIRLINES CO                DALLAS TX 75235                                 JAMES.SHEPPARD@WNCO.COM        Email on 6/26/2020
COUNSEL TO AMERICAN TRAFFIC SOLUTIONS                                             ATTN: MARK A. SALZBERG
CONSOLIDATED LLC AND ATS PROCESSING SERVICES                                      2550 M STREET NW
LLC                                          SQUIRE PATTON BOGGS (US) LLP         WASHINGTON DC 20037                             MARK.SALZBERG@SQUIREPB.COM     Email on 6/26/2020
                                                                                  ATTN: IVO KELLER
                                                                                  505 MONTGOMERY STREET
COUNSEL TO ASSOCIATED LIMOUSINE OPERATORS                                         SUITE 620                                                                      First Class Mail on 6/25/2020 and
OF SAN FRANCISCO, INC.                       SSL LAW FIRM LLP                     SAN FRANCISCO CA 94111                          IVO@SSLLAWFIRM.COM             Email on 6/26/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  P.O. BOX 300152
STATE ATTORNEY GENERAL                       STATE OF ALABAMA ATTORNEY GENERAL    MONTGOMERY AL 36130‐0152                                                       First Class Mail on 6/25/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  P.O. BOX 110300                                                                First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                       STATE OF ALASKA ATTORNEY GENERAL     JUNEAU AK 99811‐0300                            ATTORNEY.GENERAL@ALASKA.GOV    Email on 6/26/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  2005 N CENTRAL AVE                                                             First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                       STATE OF ARIZONA ATTORNEY GENERAL    PHOENIX AZ 85004‐2926                           AGINFO@AZAG.GOV                Email on 6/26/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  323 CENTER ST.
                                                                                  SUITE 200
STATE ATTORNEY GENERAL                       STATE OF ARKANSAS ATTORNEY GENERAL LITTLE ROCK AR 72201‐2610                                                        First Class Mail on 6/25/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  P.O. BOX 944255                                                                First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                       STATE OF CALIFORNIA ATTORNEY GENERAL SACRAMENTO CA 94244‐2550                        BANKRUPTCY@COAG.GOV            Email on 6/26/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  RALPH L. CARR COLORADO JUDICIAL CENTER
                                                                                  1300 BROADWAY 10TH FLOOR
STATE ATTORNEY GENERAL                       STATE OF COLORADO ATTORNEY GENERAL DENVER CO 80203                                                                  First Class Mail on 6/25/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                             STATE OF CONNECTICUT ATTORNEY        55 ELM ST.                                                                     First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                       GENERAL                              HARTFORD CT 06106                               ATTORNEY.GENERAL@CT.GOV        Email on 6/26/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  CARVEL STATE OFFICE BLDG.
                                                                                  820 N. FRENCH ST.                                                              First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                       STATE OF DELAWARE ATTORNEY GENERAL WILMINGTON DE 19801                               ATTORNEY.GENERAL@STATE.DE.US   Email on 6/26/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  THE CAPITOL PL 01
STATE ATTORNEY GENERAL                       STATE OF FLORIDA ATTORNEY GENERAL    TALLAHASSEE FL 32399‐1050                                                      First Class Mail on 6/25/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  40 CAPITAL SQUARE SW
STATE ATTORNEY GENERAL                       STATE OF GEORGIA ATTORNEY GENERAL    ATLANTA GA 30334‐1300                                                          First Class Mail on 6/25/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  425 QUEEN ST.                                                                  First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                       STATE OF HAWAII ATTORNEY GENERAL     HONOLULU HI 96813                               HAWAIIAG@HAWAII.GOV            Email on 6/26/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                      Page 19 of 27
                                                        Case 20-11218-MFW                     Doc 645           Filed 07/01/20   Page 97 of 142
                                                                                                        Exhibit E
                                                                                                 Core/2002 Service List
                                                                                                Served as set forth below
                   DESCRIPTION                               NAME                                       ADDRESS                                    EMAIL    METHOD AND DATE OF SERVICE
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  700 W. JEFFERSON STREET
                                                                                  P.O. BOX 83720
STATE ATTORNEY GENERAL                      STATE OF IDAHO ATTORNEY GENERAL       BOISE ID 83720‐1000                                                      First Class Mail on 6/25/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  100 WEST RANDOLPH STREET                                                 First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                      STATE OF ILLINOIS ATTORNEY GENERAL    CHICAGO IL 60601                          WEBMASTER@ATG.STATE.IL.US      Email on 6/26/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  INDIANA GOVERNMENT CENTER SOUTH
                                                                                  302 W. WASHINGTON ST. 5TH FLOOR                                          First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                      STATE OF INDIANA ATTORNEY GENERAL     INDIANAPOLIS IN 46204                     INFO@ATG.IN.GOV                Email on 6/26/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  1305 E. WALNUT STREET                                                    First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                      STATE OF IOWA ATTORNEY GENERAL        DES MOINES IA 50319                       WEBTEAM@AG.IOWA.GOV            Email on 6/26/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  120 SW 10TH AVE. 2ND FLOOR
STATE ATTORNEY GENERAL                      STATE OF KANSAS ATTORNEY GENERAL      TOPEKA KS 66612‐1597                                                     First Class Mail on 6/25/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  700 CAPITOL AVENUE SUITE 118
STATE ATTORNEY GENERAL                      STATE OF KENTUCKY ATTORNEY GENERAL FRANKFORT KY 40601                                                          First Class Mail on 6/25/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  P.O. BOX 94095                                                           First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                      STATE OF LOUISIANA ATTORNEY GENERAL BATON ROUGE LA 70804‐4095                   CONSUMERINFO@AG.STATE.LA.US    Email on 6/26/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  6 STATE HOUSE STATION                                                    First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                      STATE OF MAINE ATTORNEY GENERAL       AUGUSTA ME 04333                          CONSUMER.MEDIATION@MAINE.GOV   Email on 6/26/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  200 ST. PAUL PLACE                                                       First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                      STATE OF MARYLAND ATTORNEY GENERAL BALTIMORE MD 21202‐2202                      OAG@OAG.STATE.MD.US            Email on 6/26/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                            STATE OF MASSACHUSETTS ATTORNEY       ONE ASHBURTON PLACE                                                      First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                      GENERAL                               BOSTON MA 02108‐1698                      AGO@STATE.MA.US                Email on 6/26/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  G. MENNEN WILLIAMS BUILDING 7TH FLOOR
                                                                                  525 W. OTTAWA ST. P.O. BOX 30212                                         First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                      STATE OF MICHIGAN ATTORNEY GENERAL LANSING MI 48909‐0212                        MIAG@MICHIGAN.GOV              Email on 6/26/2020
                                                                                  ATTN: DANA NESSEL, HEATHER L. DONALD
                                                                                  CADILLAC PLACE, STE. 10‐200
COUNSEL TO STATE OF MICHIGAN, DEPARTMENT OF STATE OF MICHIGAN, DEPARTMENT OF      3030 W. GRAND BLVD.
TREASURY                                    TREASURY                              DETROIT MI 48202                          DONALDH@MICHIGAN.GOV           Email on 6/26/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  1400 BREMER TOWER
                                                                                  445 MINNESOTA STREET
STATE ATTORNEY GENERAL                      STATE OF MINNESOTA ATTORNEY GENERAL ST. PAUL MN 55101‐2131                                                     First Class Mail on 6/25/2020
                                                                                  ATTN: BANKRUPTCY DEPARTMENT
                                                                                  WALTER SILLERS BUILDING
                                                                                  550 HIGH STREET SUITE 1200 P.O. BOX 220
STATE ATTORNEY GENERAL                      STATE OF MISSISSIPPI ATTORNEY GENERAL JACKSON MS 39201                                                         First Class Mail on 6/25/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                       Page 20 of 27
                                                          Case 20-11218-MFW                   Doc 645            Filed 07/01/20   Page 98 of 142
                                                                                                        Exhibit E
                                                                                                 Core/2002 Service List
                                                                                                Served as set forth below
                   DESCRIPTION                                NAME                                       ADDRESS                                    EMAIL          METHOD AND DATE OF SERVICE
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                                                                    SUPREME COURT BUILDING
                                                                                    207 W. HIGH ST.                                                               First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         STATE OF MISSOURI ATTORNEY GENERAL   JEFFERSON CITY MO 65102                  ATTORNEY.GENERAL@AGO.MO.GOV          Email on 6/26/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                                                                    215 N SANDERS THIRD FLOOR
                                                                                    PO BOX 201401                                                                 First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         STATE OF MONTANA ATTORNEY GENERAL HELENA MT 59620‐1401                        CONTACTDOJ@MT.GOV                    Email on 6/26/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                                                                    2115 STATE CAPITOL
                                                                                    2ND FL RM 2115                                                                First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         STATE OF NEBRASKA ATTORNEY GENERAL LINCOLN NE 68509‐8920                      AGO.INFO.HELP@NEBRASKA.GOV           Email on 6/26/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                                                                    100 NORTH CARSON STREET                                                       First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         STATE OF NEVADA ATTORNEY GENERAL     CARSON CITY NV 89701                     AGINFO@AG.NV.GOV                     Email on 6/26/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                               STATE OF NEW HAMPSHIRE ATTORNEY      33 CAPITOL ST.                                                                First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         GENERAL                              CONCORD NH 03301                         ATTORNEYGENERAL@DOJ.NH.GOV           Email on 6/26/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                                                                    RJ HUGHES JUSTICE COMPLEX
                                                                                    25 MARKET STREET P.O. BOX 080                                                 First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         STATE OF NEW JERSEY ATTORNEY GENERAL TRENTON NJ 08625‐0080                    ASKCONSUMERAFFAIRS@LPS.STATE.NJ.US   Email on 6/26/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                               STATE OF NEW MEXICO ATTORNEY         P.O. DRAWER 1508
STATE ATTORNEY GENERAL                         GENERAL                              SANTA FE NM 87504‐1508                                                        First Class Mail on 6/25/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                                                                    THE CAPITOL
STATE ATTORNEY GENERAL                         STATE OF NEW YORK ATTORNEY GENERAL ALBANY NY 12224‐0341                                                            First Class Mail on 6/25/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                               STATE OF NORTH CAROLINA ATTORNEY     9001 MAIL SERVICE CENTER
STATE ATTORNEY GENERAL                         GENERAL                              RALEIGH NC 27699‐9001                                                         First Class Mail on 6/25/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                                                                    STATE CAPITOL
                                               STATE OF NORTH DAKOTA ATTORNEY       600 E BOULEVARD AVE DEPT 125                                                  First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         GENERAL                              BISMARCK ND 58505‐0040                   NDAG@ND.GOV                          Email on 6/26/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                                                                    30 E. BROAD ST. 14TH FLOOR
STATE ATTORNEY GENERAL                         STATE OF OHIO ATTORNEY GENERAL       COLUMBUS OH 43215                                                             First Class Mail on 6/25/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                                                                    313 NE 21ST STREET
STATE ATTORNEY GENERAL                         STATE OF OKLAHOMA ATTORNEY GENERAL OKLAHOMA CITY OK 73105                                                          First Class Mail on 6/25/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                                                                    1162 COURT STREET NE                                                          First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         STATE OF OREGON ATTORNEY GENERAL     SALEM OR 97301                           CONSUMER.HOTLINE@DOJ.STATE.OR.US     Email on 6/26/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                                                                    STRAWBERRY SQUARE
                                               STATE OF PENNSYLVANIA ATTORNEY       16TH FLOOR
STATE ATTORNEY GENERAL                         GENERAL                              HARRISBURG PA 17120                                                           First Class Mail on 6/25/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                               STATE OF RHODE ISLAND ATTORNEY       150 SOUTH MAIN STREET
STATE ATTORNEY GENERAL                         GENERAL                              PROVIDENCE RI 02903                                                           First Class Mail on 6/25/2020



         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                        Page 21 of 27
                                                          Case 20-11218-MFW                    Doc 645           Filed 07/01/20     Page 99 of 142
                                                                                                         Exhibit E
                                                                                                  Core/2002 Service List
                                                                                                 Served as set forth below
                   DESCRIPTION                                NAME                                      ADDRESS                                       EMAIL          METHOD AND DATE OF SERVICE
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                               STATE OF SOUTH CAROLINA ATTORNEY    P.O. BOX 11549
STATE ATTORNEY GENERAL                         GENERAL                             COLUMBIA SC 29211‐1549                                                           First Class Mail on 6/25/2020
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   1302 EAST HIGHWAY 14
                                               STATE OF SOUTH DAKOTA ATTORNEY      SUITE 1                                                                          First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         GENERAL                             PIERRE SD 57501‐8501                        CONSUMERHELP@STATE.SD.US             Email on 6/26/2020
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   P.O. BOX 20207                                                                   First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         STATE OF TENNESSEE ATTORNEY GENERAL NASHVILLE TN 37202‐0207                     CONSUMER.AFFAIRS@AG.TN.GOV           Email on 6/26/2020
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   CAPITOL STATION
                                                                                   PO BOX 12548                                                                     First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         STATE OF TEXAS ATTORNEY GENERAL     AUSTIN TX 78711‐2548                        PUBLIC.INFORMATION@OAG.STATE.TX.US   Email on 6/26/2020
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   PO BOX 142320                                                                    First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         STATE OF UTAH ATTORNEY GENERAL      SALT LAKE CITY UT 84114‐2320                UAG@UTAH.GOV                         Email on 6/26/2020
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   109 STATE ST.                                                                    First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         STATE OF VERMONT ATTORNEY GENERAL   MONTPELIER VT 05609‐1001                    AGO.INFO@VERMONT.GOV                 Email on 6/26/2020
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   900 EAST MAIN STREET
STATE ATTORNEY GENERAL                         STATE OF VIRGINIA ATTORNEY GENERAL  RICHMOND VA 23219                                                                First Class Mail on 6/25/2020
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   1125 WASHINGTON ST. SE
                                               STATE OF WASHINGTON ATTORNEY        P.O. BOX 40100
STATE ATTORNEY GENERAL                         GENERAL                             OLYMPIA WA 98504‐0100                                                            First Class Mail on 6/25/2020
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                               STATE OF WEST VIRGINIA ATTORNEY     STATE CAPITOL BLDG 1 ROOM E 26                                                   First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         GENERAL                             CHARLESTON WV 25305                         CONSUMER@WVAGO.GOV                   Email on 6/26/2020
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   WISCONSIN DEPARTMENT OF JUSTICE
                                                                                   STATE CAPITOL ROOM 114 EAST P.O. BOX 7857
STATE ATTORNEY GENERAL                         STATE OF WISCONSIN ATTORNEY GENERAL MADISON WI 53707‐7857                                                            First Class Mail on 6/25/2020
                                                                                   ATTN: BANKRUPTCY DEPARTMENT
                                                                                   123 CAPITOL BUILDING
                                                                                   200 W. 24TH STREET
STATE ATTORNEY GENERAL                         STATE OF WYOMING ATTORNEY GENERAL CHEYENNE WY 82002                                                                  First Class Mail on 6/25/2020
                                                                                   ATTN: PATRICIA A. REDMOND, ESQ.
                                                                                   MUSEUM TOWER, SUITE 2200
                                               STEARNS WEAVER MILLER WEISSLER      150 WEST FLAGLER STREET
COUNSEL TO AA BAKER GROUP LTD                  ALHADEFF & SITTERSON, P.A.          MIAMI FL 33130                              PREDMOND@STEARNSWEAVER.COM           Email on 6/26/2020
                                                                                   ATTN: JOSEPH H. HUSTON, JR.
COUNSEL TO JEFFREY BROWER AND THE PERSONAL                                         919 NORTH MARKET STREET, 13TH FLOOR
INJURY CLAIMANTS                               STEVENS & LEE, P.C.                 WILMINGTON DE 19801                         JHH@STEVENSLEE.COM                   Email on 6/26/2020
                                                                                   ATTN: NICHOLAS F. KAJON
COUNSEL TO JEFFREY BROWER AND THE PERSONAL                                         485 MADISON AVENUE, 20TH FLOOR
INJURY CLAIMANTS                               STEVENS & LEE, P.C.                 NEW YORK NY 10022                           NFK@STEVENSLEE.COM                   Email on 6/26/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                        Page 22 of 27
                                                          Case 20-11218-MFW                   Doc 645            Filed 07/01/20           Page 100 of 142
                                                                                                          Exhibit E
                                                                                                   Core/2002 Service List
                                                                                                  Served as set forth below
                   DESCRIPTION                                  NAME                                 ADDRESS                                                    EMAIL    METHOD AND DATE OF SERVICE
                                                                                ATTN: SABRINA L. STREUSAND
                                                                                1801 S. MOPAC EXPRESSWAY
                                               STREUSAND LANDON OZBURN & LEMMON SUITE 320
COUNSEL TO AUSTIN CONRAC LLC                   LLP                              AUSTIN TX 78746                                       STREUSAND@SLOLLP.COM              Email on 6/26/2020

COUNSEL TO CENTRAL STATES, SOUTHEAST AND
SOUTHWEST AREAS PENSION FUND AND CENTRAL                                             ATTN: WILLIAM D. SULLIVAN, ESQ.
STATES, SOUTHEAST AND SOUTHWEST AREAS                                                919 NORTH MARKET STREET, SUITE 420                                                 First Class Mail on 6/25/2020 and
HEALTH AND WELFARE FUND                        SULLIVAN ꞏ HAZELTINE ꞏ ALLINSON LLC   WILMINGTON DE 19801                              BSULLIVAN@SHA‐LLC.COM             Email on 6/26/2020

COUNSEL TO DALLAS/FORT WORTH INTERNATIONAL                                       ATTN: WILLIAM A. HAZELTINE, WILLIAM D. SULLIVAN
AIRPORT BOARD AND TOMMIE VAUGHN MOTORS,                                          919 NORTH MARKET STREET SUITE 420                    WHAZELTINE@SHA‐LLC.COM            First Class Mail on 6/25/2020 and
INC.                                       SULLIVAN HAZELTINE ALLINSON LLC       WILMINGTON DE 19801                                  BSULLIVAN@SHA‐LLC.COM             Email on 6/26/2020
                                                                                 ATTN: JEFF PURITT PRESIDENT
                                                                                 2251 SOUTH DECATUR BOULEVARD
TOP 50 LARGEST UNSECURED CREDITORS           TELUS INTERNATIONAL US CORP         LAS VEGAS NV 89102                                                                     First Class Mail on 6/25/2020
                                                                                 ATTN: OLIVER RATZESBERGER PRESIDENT & CEO
                                                                                 17095 VIA DEL CAMPO
TOP 50 LARGEST UNSECURED CREDITORS           TERADATA OPERATIONS INC             SAN DIEGO CA 92127                                                                     First Class Mail on 6/25/2020
                                                                                 ATTN: COURTNEY J. HULL, JASON B. BINFORD, LAYLA D.
                                                                                 MILLIGAN
COUNSEL TO COMPTROLLER OF PUBLIC ACCOUNTS                                        BANKRUPTCY & COLLECTIONS DIVISION MC 008             COURTNEY.HULL@OAG.TEXAS.GOV
REVENUE ACCOUNTING DIVISION OF THE STATE OF TEXAS COMPTROLLER OF PUBLIC ACCOUNTS P.O. BOX 12548                                       JASON.BINFORD@OAG.TEXAS.GOV
TEXAS & STATE OF TEXAS                       AND THE STATE OF TEXAS              AUSTIN TX 78711‐2548                                 LAYLA.MILLIGAN@OAG.TEXAS.GOV      Email on 6/26/2020
                                                                                 ATTN: CORPORATE TRUST ADMINISTRATION –
                                                                                 STRUCTURED FINANCE
                                                                                 2 NORTH LASALLE STREET
                                             THE BANK OF NEW YORK MELLON TRUST   SUITE 1020
HVF II U.S. ABS NOTES TRUSTEE                COMPANY N.A.                        CHICAGO IL 60602                                                                       First Class Mail on 6/25/2020
                                                                                 ATTN: CORPORATE TRUST ADMINISTRATION –
HFLF ABS NOTES ‐ BANK OF NEW YORK MELLON                                         STRUCTURED FINANCE
TRUST COMPANY N.A. AS INDENTURE TRUSTEE AND THE BANK OF NEW YORK MELLON TRUST    2 NORTH LASALLE STREET SUITE 1020                                                      First Class Mail on 6/25/2020 and
COLLATERAL AGENT OR “U.S. ABS AGENT”         COMPANY N.A.                        CHICAGO IL 60602                                     DIANE.MOSER@BNYMELLON.COM         Email on 6/26/2020
                                                                                 ATTN: STEVEN F. JACKSON
                                                                                 ONE HARRISON STREET, S.E., 5TH FLOOR                                                   First Class Mail on 6/25/2020 and
COUNSEL TO COUNTY OF LOUDOUN, VIRGINIA       THE COUNTY OF LOUDOUN, VIRGINIA     LEESBURG VA 20177‐7000                               STEVE.JACKSON@LOUDOUN.GOV         Email on 6/26/2020
                                                                                 DIVISION OF CORPORATIONS FRANCHISE TAXES
                                                                                 P.O. BOX 898                                                                           First Class Mail on 6/25/2020 and
THE DELAWARE DEPARTMENT OF STATE             THE DELAWARE DEPARTMENT OF STATE    DOVER DE 19903                                       DOSDOC_FTAX@STATE.DE.US           Email on 6/26/2020
                                                                                 ATTN: MARY E. OLSEN ESQ.
                                                                                 182 ST. FRANCIS STREET
COUNSEL TO ARLEAN GREEN ON BEHALF OF HERSELF                                     SUITE 103                                                                              First Class Mail on 6/25/2020 and
AND ALL OTHERS SIMILARLY‐SITUATED            THE GARDNER FIRM P.C.               MOBILE AL 36602                                      MOLSEN@THEGARDNERFIRM.COM         Email on 6/26/2020
                                                                                 ATTN: JAMES A. HINDS RACHEL M. SPOSATO               JHINDS@HINDSLAWGROUP.COM
                                                                                 21257 HAWTHORNE BLVD. 2ND FLOOR                      RSPOSATO@HINDSLAWGOUP.COM.COM     First Class Mail on 6/25/2020 and
COUNSEL TO SAN DIMAS PARTNERS LLC            THE HINDS LAW GROUP APC             TORRANCE CA 90503                                    MDURAN@HINDSLAWGROUP.COM          Email on 6/26/2020
                                                                                 ATTN: DAVID ASHTON
                                                                                 7200 NE AIRPORT WAY
COUNSEL TO THE PORT OF PORTLAND              THE PORT OF PORTLAND                PORTLAND OR 97218                                    DAVID.ASHTON@PORTOFPORTLAND.COM   Email on 6/26/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                         Page 23 of 27
                                                            Case 20-11218-MFW                     Doc 645            Filed 07/01/20           Page 101 of 142
                                                                                                             Exhibit E
                                                                                                      Core/2002 Service List
                                                                                                     Served as set forth below
                    DESCRIPTION                                   NAME                                     ADDRESS                                                EMAIL      METHOD AND DATE OF SERVICE
                                                                                        ATTN: JASON C. POWELL, THOMAS REICHERT
                                                                                        1201 N. ORANGE STREET
COUNSEL TO THE INDIANAPOLIS AIRPORT                                                     SUITE 500                                         JPOWELL@DELAWAREFIRM.COM
AUTHORITY                                         THE POWELL FIRM, LLC                  WILMINGTON DE 19899                               TREICHERT@DELAWAREFIRM.COM        Email on 6/26/2020

COUNSEL TO THE INTERNATIONAL BROTHERHOOD
OF TEAMSTERS & AFFILIATED LOCALS 20 25 79 89
104 114 117 118 150 175 206 222 272 299 305 317
327 355 385 399 431 449 455 481 492 495 528 529                                        ATTN: FREDERICK PERILLO SARA J. GEENEN
541 618 641 665 667 682 745 769 781 813 830 853                                        310 W WISCONSIN AVE. SUITE 100MW                   FP@PREVIANT.COM
856 886 901 922 926 931 986 988 AND 996           THE PREVIANT LAW FIRM S.C.           MILWAUKEE WI 53203                                 SJG@PREVIANT.COM                  Email on 6/26/2020
                                                                                       ATTN: FREDERICK B. ROSNER ESQ. & JASON A. GIBSON
COUNSEL TO ZURICH AMERICAN INSURANCE                                                   ESQ.
COMPANY AND LIBERTY MUTUAL INSURANCE                                                   824 N. MARKET STREET SUITE 810                     ROSNER@TEAMROSNER.COM
COMPANY                                           THE ROSNER LAW GROUP LLC             WILMINGTON DE 19801                                GIBSON@TEAMROSNER.COM             Email on 6/26/2020
                                                                                       ATTN: BEVERLY CAHILL
                                                                                       3131 MCKINNEY
                                                                                       STE 600                                                                              First Class Mail on 6/25/2020 and
COUNSEL TO M2 AUTO REPARE INC.                    THE SUNDMAKER FIRM, LLC              DALLAS TX 75201                                    BEVERLY@SUNDMAKERFIRM.COM         Email on 6/26/2020
                                                                                       ATTN: JOHN A. BOYD, ESQ.
                                                                                       3610 FOURTEENTH STREET
                                                                                       P.O. BOX 1299                                      JBOYD@TCLAW.NET
COUNSEL TO MARIE J. FRITTS                        THOMPSON & COLEGATE LLP              RIVERSIDE CA 92502                                 FEDNOTICE@TCLAW.NET               Email on 6/26/2020
                                                                                       ATTN: ALBERT F. NASUTI
COUNSEL TO MANSFIELD OIL COMPANY OF                                                    40 TECHNOLOGY PARKWAY SOUTH SUITE 300                                                First Class Mail on 6/25/2020 and
GAINESVILLE                                       THOMPSON O'BRIEN KEMP & NASUTI P.C. PEACHTREE CORNERS GA 30092                          ANASUTI@TOKN.COM                  Email on 6/26/2020
                                                                                       ATTN: D.J. MILLER, DANIEL A. SCHWARTZ AND ADRIAN
                                                                                       VISHEAU
                                                                                       100 WELLINGTON STREET WEST, SUITE 3200             DJMILLER@TGF.CA
COUNSEL TO FINES FORD LINCOLN SALES AND                                                P.O. BOX 329                                       DSCHWARTZ@TGF.CA                  First Class Mail on 6/25/2020 and
SERVICE LTD.                                      THORNTON GROUT FINNIGAN LLP          TORONTO ON M5K 1K7 CANADA                          AVISHEAU@TGF.CA                   Email on 6/26/2020
                                                                                       ATTN: MARK S. GAMELL ESQ. & STEVEN H.
                                                                                       RITTMASTER ESQ.
COUNSEL TO ZURICH AMERICAN INSURANCE                                                   100 JERICHO QUADRANGLE
COMPANY AND LIBERTY MUTUAL INSURANCE              TORRE LENTZ GAMELL GARY & RITTMASTER SUITE 309                                          MGAMELL@TLGGR.COM
COMPANY                                           LLP                                  JERICHO NY 11753                                   SRITTMASTER@TLGGR.COM             Email on 6/26/2020
                                                                                       ATTN: JENNIFER L. PRUSKI
                                                                                       POST OFFICE BOX 255824
COUNSEL TO FOLSOM CENTRAL, LLC                    TRAINOR FAIRBROOK                    SACRAMENTO CA 95865                                JPRUSKI@TRAINORFAIRBROOK.COM      Email on 6/26/2020
                                                                                       ATTN: GREGORY WILLS MANAGING DIRECTOR
                                                                                       FL'S 2‐4 ST GEORGE'S HOUSE 56 PETER STREET
                                                                                       FLS 9‐12 SUNLIGHT HOUSE
TOP 50 LARGEST UNSECURED CREDITORS                TRAVEL JIGSAW                        MANCHESTER M2 3NQ UNITED KINGDOM                                                     First Class Mail on 6/25/2020
                                                                                       ATTN: GORDON WILSON PRESIDENT & CEO
                                                  TRAVELPORT LP C O BANK OF AMERICA    AXIS ONE AXIS PARK 10 HURRICANE WAY
TOP 50 LARGEST UNSECURED CREDITORS                LOCKBOX                              LANGLEY SL3 8AG UNITED KINGDOM                                                       First Class Mail on 6/25/2020
                                                                                       ATTN: JASON A. STARKS
                                                                                       P.O. BOX 1748                                                                        First Class Mail on 6/25/2020 and
COUNSEL TO TRAVIS COUNTY                          TRAVIS COUNTY ATTORNEY               AUSTIN TX 78767                                    JASON.STARKS@TRAVISCOUNTYTX.GOV   Email on 6/26/2020




          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                            Page 24 of 27
                                                            Case 20-11218-MFW                   Doc 645            Filed 07/01/20         Page 102 of 142
                                                                                                           Exhibit E
                                                                                                    Core/2002 Service List
                                                                                                   Served as set forth below
                    DESCRIPTION                                     NAME                                    ADDRESS                                             EMAIL    METHOD AND DATE OF SERVICE
                                                                                      ATTN: CHARLES M. TATELBAUM
                                                                                      110 S.E. 6TH STREET #1500
COUNSEL TO JM&A GROUP                           TRIPP SCOTT, P.A.                     FORT LAUDERDALE FL 33301                        CMT@TRIPPSCOTT.COM                Email on 6/26/2020
                                                                                      ATTN: JENNIFER R. TULLIUS
                                                                                      515 S. FLOWER STREET
                                                TULLIUS LAW GROUP, A PROFESSIONAL     18TH FLOOR
COUNSEL TO ORCHARD TOWN & COUNTRY, LTD.         CORPORATION                           LOS ANGELES CA 90071                            JTULLIUS@TULLIUSLAW.COM           Email on 6/26/2020
                                                                                      ATTN: CINDY WOODWARD
                                                                                      60 LIVINGSTON AVE
                                                                                      EP‐MN‐WS ID                                                                       First Class Mail on 6/25/2020 and
COMMITTEE OF UNSECURED CREDITORS                U.S. BANK                             ST. PAUL MN 55107                               CINDY.WOODWARD@USBANK.COM         Email on 6/26/2020

                                                                                      ATTN: CORPORATE TRUST SERVICES – DONLEN TRUST
HFLF ABS NOTES ‐ BANK OF NEW YORK MELLON                                              190 SOUTH LASALLE STREET 7TH FLOOR
TRUST COMPANY N.A. AS UTI TRUSTEE OR THE                                              MK‐IL‐SL7R
ADMINISTRATIVE TRUSTEE                          U.S. BANK NATIONAL ASSOCIATION        CHICAGO IL 60603                                                                  First Class Mail on 6/25/2020

                                                                                      ATTN: CORPORATE TRUST SERVICES – DONLEN TRUST
HFLF ABS NOTES ‐ BANK OF NEW YORK MELLON                                              300 DELAWARE AVENUE 9TH FLOOR
TRUST COMPANY N.A. AS UTI TRUSTEE OR THE                                              EX‐DE‐WDAW
ADMINISTRATIVE TRUSTEE                          U.S. BANK NATIONAL ASSOCIATION        WILMINGTON DE 19801                                                               First Class Mail on 6/25/2020
                                                                                      ATTN: SCOTT KIRBY CHIEF EXECUTIVE OFFICER
                                                                                      233 S. WACKER DRIVE
TOP 50 LARGEST UNSECURED CREDITORS              UNITED AIRLINES                       CHICAGO IL 60606                                                                  First Class Mail on 6/25/2020
                                                                                      ATTN: DAVID C. WEISS
                                                                                      U.S. ATTORNEY'S OFFICE
UNITED STATES ATTORNEY FOR THE DISTRICT OF      UNITED STATES ATTORNEY FOR THE        1313 N MARKET STREET                                                              First Class Mail on 6/25/2020 and
DELAWARE                                        DISTRICT OF DELAWARE                  WILMINGTON DE 19801                             USADE.ECFBANKRUPTCY@USDOJ.GOV     Email on 6/26/2020
                                                                                      ATTN: BANKRUPTCY DEPARTMENT
                                                                                      US DEPT OF JUSTICE
                                                UNITED STATES OF AMERICA ATTORNEY     950 PENNSYLVANIA AVE NW
STATE ATTORNEY GENERAL                          GENERAL                               WASHINGTON DC 20530‐0001                                                          First Class Mail on 6/25/2020
                                                                                      ATTN: GENERAL COUNSEL
                                                                                      21 SOUTH STREET 3RD FLOOR
                                                                                      MAIL STATION: EX‐NJ‐WSSM
U.S. BANK N.A. AS SUCCESSOR TRUSTEE             US BANK CORPORATE TRUST SERVICES      MORRISTOWN NJ 07960                                                               First Class Mail on 6/25/2020

                                                                                      ATTN: ANDREW CECERE CHAIRMAN PRESIDENT & CEO
                                                                                      21 SOUTH STREET 3RD FL
                                                                                      MS: EX‐NJ‐WSSM
TOP 50 LARGEST UNSECURED CREDITORS              US BANK PROMISSORY NOTES              MORRISTOWN NJ 07960                                                               First Class Mail on 6/25/2020
COUNSEL TO SAFELITE GROUP AND ITS RELATED
ENTITIES,                                                                             ATTN: TIFFANY STRELOW COBB
INCLUDING, WITHOUT LIMITATION, SAFELITE                                               52 EAST GAY STREET
FULFILLMENT, INC.                               VORYS, SATER, SEYMOUR AND PEASE LLP   COLUMBUS OH 43215                               TSCOBB@VORYS.COM                  Email on 6/26/2020

                                                                                      ATTN: DAVID ZHOU DAVID CO‐FOUNDER & CO‐CEO
                                                                                      220 WEST 1ST ST. 3RD FL
TOP 50 LARGEST UNSECURED CREDITORS              VXI GLOBAL SOLUTIONS LLC              LOS ANGELES CA 90012                                                              First Class Mail on 6/25/2020




          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                          Page 25 of 27
                                                         Case 20-11218-MFW                    Doc 645             Filed 07/01/20             Page 103 of 142
                                                                                                         Exhibit E
                                                                                                  Core/2002 Service List
                                                                                                 Served as set forth below
                   DESCRIPTION                                 NAME                                      ADDRESS                                               EMAIL       METHOD AND DATE OF SERVICE
                                                                                                                                        RGMASON@WLRK.COM
                                                                                    ATTN: RICHARD G. MASON AMY R. WOLF MICHAEL S.       ARWOLF@WLRK.COM
                                                                                    BENN ANGELA K. HERRING MICHAEL H. CASSEL            MSBENN@WLRK.COM
                                                                                    51 WEST 52ND STREET                                 AKHERRING@WLRK.COM                First Class Mail on 6/25/2020 and
COUNSEL TO THE MTN STEERING COMMITTEE          WACHTELL LIPTON ROSEN & KATZ         NEW YORK NY 10019                                   MHCASSEL@WLRK.COM                 Email on 6/26/2020
                                                                                    ATTN: MICHAEL R. PASLAY, COURTNEY K. STONE
                                                                                    511 UNION STREET
                                                                                    SUITE 2700                                          MIKE.PASLAY@WALLERLAW.COM
COUNSEL TO NISSAN NORTH AMERICA, INC.          WALLER LANSDEN DORTCH & DAVIS, LLP   NASHVILLE TN 37219                                  COURTNEY.STONE@WALLERLAW.COM      Email on 6/26/2020
                                                                                    ATTN: J. MICHAEL FIELDS
                                                                                    POST OFFICE BOX 8088
COUNSEL TO HJB VENTURES, LLC                   WARD AND SMITH, P.A.                 GREENVILLE NC 27835‐8088                            jmf@wardandsmith.com              Email on 6/26/2020
                                                                                    ATTN: BANKRUPTCY DEPARTMENT
                                                                                    441 4TH STREET NW                                                                     First Class Mail on 6/25/2020 and
STATE ATTORNEY GENERAL                         WASHINGTON DC ATTORNEY GENERAL       WASHINGTON DC 20001                                 OAG@DC.GOV                        Email on 6/26/2020
                                                                                    ATTN: CHAD NEWTON CEO
                                                                                    11050 ROGELL DRIVE #602                                                               First Class Mail on 6/25/2020 and
TOP 50 LARGEST UNSECURED CREDITORS             WAYNE COUNTY                         DETROIT MI 48242                                    KRISTY.EXNER@WCAA.US              Email on 6/26/2020

                                                                                    ATTN: DAVID M. GOODRICH, MICHAEL J. WEILAND
                                                                                    650 TOWN CENTER DRIVE
                                                                                    SUITE 600                                           DGOODRICH@WGLLP.COM
COUNSEL TO RONALD J. MILLS/ MILLS AUTOMOTIVE WEILAND GOLDEN GOODRICH LLP            COSTA MESA CA 92626                                 MWEILAND@WGLLP.COM                Email on 6/26/2020
                                                                                    ATTN: JEFFREY S. CIANCIULLI
                                                                                    824 N. MARKET STREET
COUNSEL TO GBL ENTERPRISES, LUCCA                                                   SUITE 800
INVESTMENTS AND DD&J PROPERTIES, LLC           WEIR & PARTNERS LLP                  WILMINGTON DE 19801                                 JCIANCIULLI@WEIRPARTNERS.COM      Email on 6/26/2020
                                                                                    ATTN: THOMAS M. KORSMAN
                                                                                    600 S. 4TH STREET
                                                                                    6TH FLOOR                                                                             First Class Mail on 6/25/2020 and
COMMITTEE OF UNSECURED CREDITORS               WELLS FARGO BANK                     MINNEAPOLIS MN 55479                                THOMAS.M.KORSMAN@WELLSFARGO.COM   Email on 6/26/2020
                                                                                    ATTN: GENERAL COUNSEL
WELLS FARGO BANK AS INDENTURE TRUSTEE UNDER WELLS FARGO BANK NATIONAL               150 EAST 42ND STREET 40TH FLOOR
THE SENIOR NOTES COLLATERAL AGENT           ASSOCIATION                             NEW YORK NY 10017                                                                     First Class Mail on 6/25/2020
                                            WELLS FARGO BANK NATIONAL               MAC N9303‐121
WELLS FARGO BANK AS INDENTURE TRUSTEE UNDER ASSOCIATION AS TRUSTEE AND NOTE         608 2ND AVENUE SOUTH                                                                  First Class Mail on 6/25/2020 and
THE SENIOR NOTES                            REGISTRAR ‐ DAPS REORG                  MINNEAPOLIS MN 55479                                DAPSREORG@WELLSFARGO.COM          Email on 6/26/2020
                                            WELLS FARGO BANK NATIONAL               MAC N9300‐070
WELLS FARGO BANK AS INDENTURE TRUSTEE UNDER ASSOCIATIONWELLS FARGO CORPORATE        600 FOURTH STREET SOUTH 7TH FLOOR                                                     First Class Mail on 6/25/2020 and
THE SENIOR NOTES                            TRUST‐DAPS REORG                        MINNEAPOLIS MN 55415                                DAPSREORG@WELLSFARGO.COM          Email on 6/26/2020
                                                                                    ATTN: CHARLES W. SCHARF CEO & PRESIDENT
                                               WELLS FARGO NATIONAL ASSOCIATION     600 FOURTH STREET SOUTH 7TH FL
                                               WELLS FARGO CORPORATE TRUST‐DAPS     MAC N9300‐070                                                                         First Class Mail on 6/25/2020 and
TOP 50 LARGEST UNSECURED CREDITORS             REORG                                MINNEAPOLIS MN 55415                                DAPSREORG@WELLSFARGO.COM          Email on 6/26/2020

                                                                                    ATTN: BRANDON J. HILL ESQ. & LUIS A. CABASSA ESQ.
COUNSEL TO ARLEAN GREEN ON BEHALF OF HERSELF                                        1110 NORTH FLORIDA AVENUE SUITE 300                 LCABASSA@WFCLAW.COM               First Class Mail on 6/25/2020 and
AND ALL OTHERS SIMILARLY‐SITUATED            WENZEL FENTON CABASSA P.A.             TAMPA FL 33602                                      BHILL@WFCLAW.COM                  Email on 6/26/2020
                                                                                    ATTN: STEPHANIE DENNYSON AND JO CASSAR
AUSTRALIAN SECURITIZATION NOTES ‐ WESTPAC                                           LEVEL 3 275 KENT STREET                                                               First Class Mail on 6/25/2020 and
BANKING CORP. AS ADMINISTRATIVE AGENT          WESTPAC BANKING CORPORATION          SYDNEY AUSTRALIA                                    STEPHANN@WESTPAC.COM.AU           Email on 6/26/2020



         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                          Page 26 of 27
                                                      Case 20-11218-MFW                   Doc 645            Filed 07/01/20         Page 104 of 142
                                                                                                     Exhibit E
                                                                                              Core/2002 Service List
                                                                                             Served as set forth below
                   DESCRIPTION                             NAME                                        ADDRESS                                       EMAIL        METHOD AND DATE OF SERVICE
                                                                                  ATTN: RONALD K. GORSICH AARON COLODNY DOAH   RGORSICH@WHITECASE.COM
                                                                                  KIM ANDREW MACKINTOSH                        AARON.COLODNY@WHITECASE.COM
CO‐COUNSEL TO DEBTORS AND DEBTORS‐IN‐                                             555 SOUTH FLOWER STREET SUITE 2700           DOAH.KIM@WHITECASE.COM
POSSESSION                                    WHITE & CASE LLP (CA)               LOS ANGELES CA 90071                         ANDREW.MACKINTOSH@WHITECASE.COM   Email on 6/26/2020
                                                                                  ATTN: THOMAS E. LAURIA MATTHEW C. BROWN
                                                                                  AMANDA PARRA CRISTE                          TLAURIA@WHITECASE.COM
CO‐COUNSEL TO DEBTORS AND DEBTORS‐IN‐                                             200 SOUTH BISCAYNE BOULEVARD SUITE 4900      MBROWN@WHITECASE.COM
POSSESSION                                    WHITE & CASE LLP (FL)               MIAMI FL 33131                               APARRACRISTE@WHITECASE.COM        Email on 6/26/2020
                                                                                  ATTN: JASON N. ZAKIA
CO‐COUNSEL TO DEBTORS AND DEBTORS‐IN‐                                             111 SOUTH WACKER DRIVE
POSSESSION                                    WHITE & CASE LLP (IL)               CHICAGO IL 60606                             JZAKIA@WHITECASE.COM              Email on 6/26/2020
                                                                                  ATTN: DAVID M. TURETSKY DOV GOTTLIEB KATE
                                                                                  WARRICK                                      DAVID.TURETSKY@WHITECASE.COM
CO‐COUNSEL TO DEBTORS AND DEBTORS‐IN‐                                             1221 AVENUE OF THE AMERICAS                  DGOTTLIEB@WHITECASE.COM
POSSESSION                                    WHITE & CASE LLP (NY)               NEW YORK NY 10020                            KATE.WARRICK@WHITECASE.COM        Email on 6/26/2020
                                                                                  ATTN: RACHEL C. STRICKLAND DANIEL FORMAN     RSTRICKLAND@WILLKIE.COM
                                                                                  AGUSTINA G. BERRO & ERIN RYAN                DFORMAN@WILLKIE.COM
                                                                                  787 SEVENTH AVENUE                           ABERRO@WILLKIE.COM
COUNSEL TO THE AD HOC NOTEHOLDER GROUP        WILLKIE FARR & GALLAGHER LLP        NEW YORK NY 10019‐6099                       ERYAN@WILLKIE.COM                 Email on 6/26/2020
EUROPEAN VEHICLE NOTES ‐ WILMINGTON TRUST                                         ATTN: ADAM BERMAN
NA AS INDENTURE TRUSTEE ‐ 4.125% SENIOR NOTES WILMINGTON TRUST NATIONAL           166 MERCER STREET SUITE 2 R
DUE 2021                                      ASSOCIATION                         NEW YORK NY 10012                                                              First Class Mail on 6/25/2020
                                                                                  ATTN: HERTZ HOLDINGS NETHERLANDS B.V.
EUROPEAN VEHICLE NOTES ‐ WILMINGTON TRUST                                         ADMINISTRATOR
NA AS INDENTURE TRUSTEE ‐ 5.500% SENIOR NOTES WILMINGTON TRUST NATIONAL           50 SOUTH SIXTH STREET SUITE 1290
DUE 2023                                      ASSOCIATION                         MINNEAPOLIS MN 55402                                                           First Class Mail on 6/25/2020
                                                                                  ATTN: ROBERT S. BRADY EDMON L. MORTON        RBRADY@YCST.COM
                                                                                  MATTHEW B. LUNN & JOSEPH M. MULVIHILL        EMORTON@YCST.COM
                                                                                  RODNEY SQUARE                                MLUNN@YCST.COM
                                                                                  1000 NORTH KING STREET                       JMULVIHILL@YCST.COM
COUNSEL TO THE AD HOC NOTEHOLDER GROUP        YOUNG CONAWAY STARGATT & TAYLOR LLP WILMINGTON DE 19801                          bankfilings@ycst.com              Email on 6/26/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                     Page 27 of 27
Case 20-11218-MFW   Doc 645   Filed 07/01/20   Page 105 of 142




                        Exhibit F
                                                                    Case 20-11218-MFW                                Doc 645                  Filed 07/01/20               Page 106 of 142
                                                                                                                                      Exhibit F
                                                                                                                                  Banks Service List
                                                                                                                              Served as set forth below
MMLID                          NAME                           ADDRESS 1                               ADDRESS 2                       ADDRESS 3                CITY   STATE POSTAL CODE           COUNTRY                      EMAIL                      METHOD AND DATE OF SERVICE
                                                ABN AMRO BANK N.V. GUSTAV MAHLERLAAN                                                                                                                                                                     First Class Mail on 6/26/2020 and
8192142 ABN AMRO BANK N.V.                      10                                                                                                    AMSTERDAM            1082 PP        THE NETHERLANDS   hillary.maessen@nl.abnamro.com               Email on 6/25/2020
                                                                                                                                                                                                                                                         First Class Mail on 6/26/2020 and
8192143 ABU DHABI                               ATTN: SIMON NEWMAN                        2 BROADGATE                                                 LONDON               EC2M 7UR       UNITED KINGDOM    simon.newman@icap.com                        Email on 6/25/2020
                                                                                                                                                                                                            vanessa.martinez@intesasanpaolo.com;         First Class Mail on 6/26/2020 and
8192144 BANCA INTESA SANPAOLO                   VIA ZUCCHELLI, 16                                                                                     ROME                 00187          ITALY             nadia.oliviero@intesasanpaolo.com            Email on 6/25/2020
                                                                                                                                                                                                            michele.parisi@bancobpm.it;                  First Class Mail on 6/26/2020 and
8192145 BANCA POPOLARE DI MILANO                PLE FLAMINIO NO. 1                                                                                    ROME                 00196          ITALY             marco.errico@bpm.it                          Email on 6/25/2020
                                                ATTN: WILLIAM MENDEZ GARCIA, JOSE RULLAN AEROPUERTO BRANCH (501) PO BOX                                                                                     william.mendez@popular.com;                  First Class Mail on 6/26/2020 and
8192104 BANCO POPULAR DE PUERTO‐RICO            FIGUEROA                                 362708                                                       SAN JUAN        PR   00936                            Jose.rullan@popular.com                      Email on 6/25/2020
                                                                                                                                                                                                            soporteoperativaoficina@gruposantander.com
                                                                                                                                                                                                            ; jrgasque@gruposantander.es;                First Class Mail on 6/26/2020 and
8192146 BANCO SANTANDER SA                      OF. 1032 C/MIGUEL ÁNGEL 17                                                                            MADRID               28010          SPAIN             iantolin@gruposantander.com                  Email on 6/25/2020
8192105 BANK OF AMERICA                         901 MAIN STREET, 7TH FLOOR                                                                            DALLAS          TX   75202                                                                         First class Mail on 6/26/2020
                                                                                          1045 AVENUE OF THE AMERICAS,                                                                                                                                   First Class Mail on 6/26/2020 and
8192106 BANK OF CHINA                           ATTN: JING XU, JOHN SHEN                  13TH FLOOR                                                  NEW YORK        NY   10018                            jxu@bocusa.com; jshen@bocusa.com             Email on 6/25/2020
                                                                                          130 MERCHANT STREET, 20TH                                                                                                                                      First Class Mail on 6/26/2020 and
8192107 BANK OF HAWAII                          ATTN: ANNA ANDAYA                         FLOOR                                                       HONOLULU        HI   96813                            anna.andaya@boh.com                          Email on 6/25/2020
                                                                                                                                                                                                                                                         First Class Mail on 6/26/2020 and
8192147 BANK OF IRELAND                         2 BURLINGTON PLAZA, BURLINGTON ROAD                                                                   DUBLIN               4              IRELAND           sarahjane.caul@boi.com                       Email on 6/25/2020
                                                                                                                                                                                                            holly.escudero‐whu@bmo.com;                  First Class Mail on 6/26/2020 and
8192108 BANK OF MONTREAL                        ATTN: HOLLY ESCUDERO, ANNE GUAN           100 KING STREET WEST 18TH FLOOR                             TORONTO         ON   M5X 1A1        CANADA            anne.guan@bmo.com                            Email on 6/25/2020
                                                                                          2 NORTH LASALLE STREET, SUITE                                                                                                                                  First Class Mail on 6/26/2020 and
8192110 BANK OF NEW YORK MELLON                 ATTN: DIANE MOSER                         1020                                                        CHICAGO         IL   60602                            diane.moser@bnymellon.com                    Email on 6/25/2020
                                                                                                                                                                                                            robert.ladley@bnymellon.com;                 First Class Mail on 6/26/2020 and
8192109 BANK OF NEW YORK MELLON                 ATTN: ROBERT LADLEY, ANNA SEGRETI         500 ROSS STREET, MC 154‐1320                                PITTSBURGH      PA   15262‐0001                       anna.segreti@bnymellon.com                   Email on 6/25/2020
8192148 BANK OF NEW ZEALAND                     80 QUEEN STREET                                                                                       Auckland                            New Zealand                                                    First class Mail on 6/26/2020
        BANQUE ET CAISSE D'EPARGNE DE L'ETAT,                                                                                                                                                               b.olsem@bcee.lu; n.brausch@bcee.lu;          First Class Mail on 6/26/2020 and
8192149 LUXEMBOURG                              1 RUE ZITHE                                                                                                                L 2954         LUXEMBOURG        gre.cre@bcee.lu                              Email on 6/25/2020
        BANQUE ET CAISSE D'EPARGNE DE L'ETAT,                                                                                                                                                               b.olsem@bcee.lu; n.brausch@bcee.lu;          First Class Mail on 6/26/2020 and
8192150 LUXEMBOURG                              1, PLACE DE METZ                                                                                                           L 2954         LUXEMBOURG        gre.cre@bcee.lu                              Email on 6/25/2020
8192168 BARCLAYS BANK PLC                       ATTN: GENERAL COUNSEL                     200 PARK AVENUE                                             New York        NY   10166                                                                         First class Mail on 6/26/2020
                                                                                                                                                                                                            internationalcorporateservicing@barclays.com First Class Mail on 6/26/2020 and
8192151 BARCLAYS BANK PLC (UK)                  1 CHURCHILL PLACE                                                                                     LONDON               E14 5HP        UNITED KINGDOM    ; kevin.king@barclays.com                    Email on 6/25/2020
8192111 BB&T                                    15150 PRESTON ROAD, SUITE 100                                                                         DALLAS          TX   78248                                                                         First class Mail on 6/26/2020
8333645 BLACKROCK                               PARK AVENUE PLAZA                         55 EAST 52ND STREET                                         NEW YORK        NY   10055                                                                         First class Mail on 6/26/2020
                                                                                                                                                                                                                                                         First Class Mail on 6/26/2020 and
8192112 BLACKROCK LIQUIDITY FUNDS               P.O. BOX 9889                                                                                         PROVIDENCE      RI   02940                            wilmingtonservicecenter@blackrock.com        Email on 6/25/2020
                                                                                          1301 AVENUE OF THE AMERICAS,
8192170 CALYON NEW YORK BRANCH                  ATTN: GENERAL COUNSEL                     13TH FLOOR                                                  New York        NY   10019                                                                         First class Mail on 6/26/2020
8192169 CALYON NEW YORK BRANCH                  ATTN: TREASURY DEPARTMENT                 1301 AVENUE OF THE AMERICAS                                 New York        NY   10019                                                                         First class Mail on 6/26/2020
                                                                                                                                                                                                                                                         First Class Mail on 6/26/2020 and
8192152 CITIBANK, N.A.                          ATTN: LISA STEVENS HARARY                 388 GREENWICH STREET                                        NEW YORK        NY   10013                            lisa.stevensharary@citi.com                  Email on 6/25/2020

8192171 CITIBANK, N.A.                          ATTN: DIRECTOR DERIVATIVES OPERATIONS     250 WEST STREET, 10TH FLOOR                                 New York        NY   10013                                                                         First class Mail on 6/26/2020
                                                                                          270 MUNOZ RIVERA AVENUE, 6TH                                                                                      felipe.bulla@citi.com;                       First Class Mail on 6/26/2020 and
8192113 CITIBANK‐PUERTO RICO                    ATTN: FELIPE BULLA, CRISTIAN MORENO REYES FLOOR                                                       HATO REY        PR   00918                            cristian.morenoreyes@citi.com                Email on 6/25/2020
                                                                                          PARQUE LAS AMERICAS 1, SUITE 315,                                                                                 felipe.bulla@citi.com;                       First Class Mail on 6/26/2020 and
8192114 CITIBANK‐PUERTO RICO                    ATTN: FELIPE BULLA, CRISTIAN MORENO REYES 235 FEDERICO COSTA STREET                                   SAN JUAN        PR   00918                            cristian.morenoreyes@citi.com                Email on 6/25/2020
                                                                                                                                                                                                            deborah.l.lamonica@citizensbank.com;         First Class Mail on 6/26/2020 and
8192115 CITIZENS                                ATTN: DEBORAH LAMONICA, JOSEPH PEDROTTI 300 AIRBORNE PARKWAY, SUITE 130                               BUFFALO         NY   14225                            joseph.pedrotti@citizensbank.com             Email on 6/25/2020
                                                                                        3212 VESTAL PARKWAY EAST,                                                                                           deborah.l.lamonica@citizensbank.com;         First Class Mail on 6/26/2020 and
8192116 CITIZENS                                ATTN: DEBORAH LAMONICA, JOSEPH PEDROTTI NYA079                                                        VESTAL          NY   13850                            joseph.pedrotti@citizensbank.com             Email on 6/25/2020

8192166 CITIZENS BANK, NATIONAL ASSOCIATION     ATTN: DERIVATIVES OPERATIONS              ONE CITIZENS DRIVE                  Mailstop: ROP480        Riverside,      RI   02915                                                                         First class Mail on 6/26/2020

8192167 CITIZENS BANK, NATIONAL ASSOCIATION     ATTN: LEGAL DEPARTMENT                    28 STATE STREET                                             Boston,         MA   02109                                                                         First class Mail on 6/26/2020
8192153 CREDIT AGRICOLE                         ATTN: GEOFFROY CHOMETTE                   12, PLACE DES ÉTATS‐UNIS                                    MONTROUGE            92217          FRANCE                                                         First class Mail on 6/26/2020
8333652 CREDIT SUISSE FIRST BOSTON NY           11 MADISON AVE                                                                                        NEW YORK        NY   10010                                                                         First class Mail on 6/26/2020
                                                                                                                                                                                                                                                         First Class Mail on 6/26/2020 and
8192117 CREDIT SUISSE FIRST BOSTON‐NY           ATTN: ANNABELLE BUNN                      11 MADISON AVE                                              NEW YORK        NY   10010                            Annabelle.bunn@credit‐suisse.com             Email on 6/25/2020




          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                                                      Page 1 of 3
                                                                        Case 20-11218-MFW                          Doc 645              Filed 07/01/20               Page 107 of 142
                                                                                                                                 Exhibit F
                                                                                                                             Banks Service List
                                                                                                                         Served as set forth below
MMLID                          NAME                             ADDRESS 1                          ADDRESS 2                    ADDRESS 3                CITY   STATE POSTAL CODE           COUNTRY                      EMAIL                        METHOD AND DATE OF SERVICE
                                                ATTTN: OLGA BELENKAYA, ROSEMARY
8192118 DEUTSCHE BANK                           CABRERA, IAN GLENNON, JOHN DENUZZO      60 WALL STREET, 24TH FLOOR                               NEW YORK       NY   10005                                                                            First class Mail on 6/26/2020

                                                                                                                                                                                                      cs.brussels@db.com; ams.london@db.com;          First Class Mail on 6/26/2020 and
8192156 DEUTSCHE BANK AG (BELGIUM)              AV. MARNIXLAAN, 17                                                                                                   B1000          BRUSSELS          sarah.wallington@db.com                         Email on 6/25/2020

                                                                                                                                                                                                      jutta.fenn@db.com; ams.london@db.com;           First Class Mail on 6/26/2020 and
8192155 DEUTSCHE BANK AG (GERMANY)              ROSSMARKT 18                                                                                     FRANKFURT           60311          GERMANY           sarah.wallington@db.com                         Email on 6/25/2020
                                                                                                                                                                                                      ams.london@db.com;                              First Class Mail on 6/26/2020 and
8192154 DEUTSCHE BANK AG (UK)                   6 BISHOPSGATE                                                                                    LONDON              EC2P 2AT       UNITED KINGDOM    sarah.wallington@db.com                         Email on 6/25/2020
                                                                                                                                                                                                      ams.amsterdam@db.com;                           First Class Mail on 6/26/2020 and
8192157 DEUTSCHE BANK NEDERLAND N.V.            DEUTSCHE BANK AG, HERENGRACHT 450                                                                AMSTERDAM           1017 CA        THE NETHERLANDS   sarah.wallington@db.com                         Email on 6/25/2020
                                                                                                                                                                                                      cs.madrid@db.com;
                                                                                                                                                                                                      roberto.schaefer@db.com;
        DEUTSCHE BANK SOCIEDAD ANÓNIMA                                                                                                                                                                ams.london@db.com;                              First Class Mail on 6/26/2020 and
8192158 ESPAÑOLA                                PASEO DE LA CASTELLANA, 18                                                                       MADRID              28046          SPAIN             sarah.wallington@db.com                         Email on 6/25/2020
                                                SPORTELLO BANCARIO 580 DI ROMA, LARGO
8192160 DEUTSCHE BANK SPA (ITALY)               DEL TRITONE 161                                                                                  ROME                00187          ITALY                                                             First class Mail on 6/26/2020
8192159 DEUTSCHE BANK SPA (ITALY)               VIA FILIPPO TURATI, 27                                                                           MILAN               20121          ITALY                                                             First class Mail on 6/26/2020
8333655 DREYFUS                                 200 PARK AVE                                                                                     NEW YORK       NY   10166                                                                            First class Mail on 6/26/2020
                                                                                                                                                                                                                                                      First Class Mail on 6/26/2020 and
8192119 FEDERATED (INVESTMENT)                  ATTN: ALLISON MORRISSEY                 PO BOX 8600, CMS702                                      BOSTON         MA   02266‐8600                       amorrissey@federatedinv.com                     Email on 6/25/2020
8333662 FEDERATED BANK                          107 NORTH CHESTNUT                                                                               ONARGA         IL   60955                                                                            First class Mail on 6/26/2020
8333663 FIDELITY                                82 DEVONSHIRE STREET G10A                                                                        BOSTON         MA   02109                                                                            First class Mail on 6/26/2020
                                                                                                                                                                                                                                                      First Class Mail on 6/26/2020 and
8192120 FIDELITY INVESTMENTS                    100 CROSBY PARKWAY                                                                               COVINGTON      KY   41015                            fidelityFILMS@fmr.com                           Email on 6/25/2020
                                                ATTN: MONSE MATTINGLY, KATHERINE                                                                                                                      monserrat.mattingly@53.com;                     First Class Mail on 6/26/2020 and
8192121 FIFTH THIRD BANK                        HARRISON                                38 FOUNTAIN SQUARE PLAZA                                 CINCINNATI     OH   45263                            katherine.harrison@53.com                       Email on 6/25/2020
8192172 GOLDMAN SACHS BANK USA                  ATTN: SWAP ADMINISTRATION               85 BROAD STREET                                          New York       NY   10004                                                                            First class Mail on 6/26/2020
                                                                                                                                                                                                                                                      First Class Mail on 6/26/2020 and
8192122 HARRIS BANK                             ATTN: KATARINA LUYKEN                   360 MADISON AVENUE, 10TH FLOOR                           NEW YORK       NY   10017                            Katarina.luyken@bmo.com                         Email on 6/25/2020
                                                                                        115 SOUTH LASALLE STREET, 25TH                                                                                                                                First Class Mail on 6/26/2020 and
8192123 HARRIS BANK                             ATTN: THOMAS TRACIDARCHE                FLOOR WEST                                               CHICAGO        IL   60603                            Tracidarche.thomas@bmo.com                      Email on 6/25/2020
8333640 HSBC                                    8 CANADA SQUARE                                                                                  LONDON              E14 5HQ        UNITED KINGDOM                                                    First class Mail on 6/26/2020
                                                                                                                                                                                                                                                      First Class Mail on 6/26/2020 and
8192124 HSBC TREASURY FUND                      2425 STELZER ROAD                                                                                COLUMBUS       OH   43219                            amus.client.services@us.hsbc.com                Email on 6/25/2020
                                                                                                                                                                                                                                                      First Class Mail on 6/26/2020 and
8192161 ING BELGIUM SA/NV                       AV. MARNIXLAAN, 24                                                                                                   B1000          BRUSSELS          DBBC.Wholesale5@ing.com                         Email on 6/25/2020
                                                                                                                                                                                                      Liquidity.client.services.americas@jpmorgan.c   First Class Mail on 6/26/2020 and
8192127 JP MORGAN CHASE BANK                    10 SOUTH DEARBORN STREET, 13TH FLOOR                                                             CHICAGO        IL   60603                            om                                              Email on 6/25/2020
                                                                                                                                                                                                      Liquidity.client.services.americas@jpmorgan.c   First Class Mail on 6/26/2020 and
8192128 JP MORGAN CHASE BANK                    247 HART ROAD                                                                                    WEST MONROE    LA   71291                            om                                              Email on 6/25/2020
                                                                                                                                                                                                      Liquidity.client.services.americas@jpmorgan.c   First Class Mail on 6/26/2020 and
8192129 JP MORGAN CHASE BANK                    383 MADISON AVENUE, 35TH FLOOR                                                                   NEW YORK       NY   10179                            om                                              Email on 6/25/2020
                                                                                                                                                                                                      Liquidity.client.services.americas@jpmorgan.c   First Class Mail on 6/26/2020 and
8192125 JP MORGAN CHASE BANK                    500 STANTON CHRISTINA ROAD                                                                       NEWARK         DE   19713                            om                                              Email on 6/25/2020
                                                                                                                                                                                                      Liquidity.client.services.americas@jpmorgan.c   First Class Mail on 6/26/2020 and
8192126 JP MORGAN CHASE BANK                    611 WOODWARD AVENUE, MI1‐8033                                                                    DETROIT        MI   48226                            om                                              Email on 6/25/2020
                                                                                        TORONTO BRANCH SUITE 400 TD
                                                                                        BANK TOWER, 66 WELLINGTON                                                                                                                                     First Class Mail on 6/26/2020 and
8192130 JP MORGAN CHASE BANK (CANADA)           ATTN: CLAUDETTE EVERT                   STREET WEST                                              TORONTO        ON   M5K 1A1        CANADA            claudette.evert@jpmorgan.com                    Email on 6/25/2020
                                                ATTN: LEGAL DEPARTMENT ‐ DERIVATIVES
8192173 JPMORGAN CHASE BANK, N.A.               PRACTICE GROUP                          270 PARK AVENUE                                          New York       NY   10017‐2070                                                                       First class Mail on 6/26/2020
                                                                                        1301 5TH AVENUE, MC: WA‐31‐13‐                                                                                                                                First Class Mail on 6/26/2020 and
8192131 KEY BANK                                ATTN: BILLIE KAWINSKI                   2512                                                     SEATTLE        WA   98101                            Billie_kawinski@keybank.com                     Email on 6/25/2020
                                                                                                                                                                                                      James.Crew@lloydsbanking.com;
                                                                                                                                                                                                      wayne.huntley@lloydsbanking.com;                First Class Mail on 6/26/2020 and
8192162 LLOYDS                                  LLOYDS BANK, 101 HIGH STREET                                                                     POOLE               BH15 1AJ       UNITED KINGDOM    GRPG5116@lloydsbanking.com                      Email on 6/25/2020
                                                                                                                                                                                                      Carolyn.pollard@mizuhocbus.com;                 First Class Mail on 6/26/2020 and
8192132 MIZUHO BANK                             ATTN: CAROLYN POLLARD                   1251 AVENUE OF THE AMERICAS                              NEW YORK       NY   10020                            Takayuki.shimizu@mizuhocbus.com                 Email on 6/25/2020




          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                                                Page 2 of 3
                                                                      Case 20-11218-MFW                         Doc 645                 Filed 07/01/20                 Page 108 of 142
                                                                                                                                Exhibit F
                                                                                                                            Banks Service List
                                                                                                                        Served as set forth below
MMLID                         NAME                             ADDRESS 1                          ADDRESS 2                    ADDRESS 3                  CITY    STATE POSTAL CODE           COUNTRY                      EMAIL            METHOD AND DATE OF SERVICE
                                                                                      101 WEST WASHINGTON STREET MC:                                                                                                                       First Class Mail on 6/26/2020 and
8192133 PNC BANK                               ATTN: NORMA RAMSEY                     L1‐Y013‐02‐1                                                INDIANAPOLIS    IN   46255                            norma.ramsey@pnc.com               Email on 6/25/2020
                                                                                                                                                  FRANKFURT AM                                          joerg.bergamos@postbank.de;        First Class Mail on 6/26/2020 and
8192163 POSTBANK                               PB FIRMENKUNDEN AG                     GOETHEPLATZ 4                                               MAIN                 60311          GERMANY           kristin.pfautsch@postbank.de       Email on 6/25/2020
                                                                                                                                                                                                        Lara.white@regions.com;            First Class Mail on 6/26/2020 and
8192134 REGIONS BANK                           ATTN: DOUG FRAZIER, LARA WHITE         100 N. TAMPA STREET, SUITE 3100                             TAMPA           FL   33602                            doug.frazier@regions.com           Email on 6/25/2020
                                                                                      303 PEACHTREE STREET NE, 3RD                                                                                                                         First Class Mail on 6/26/2020 and
8192135 SUNTRUST BANK                          ATTN: ARIEL RACELA                     FLOOR, MAILCODE: GA‐ATL‐1963                                ATLANTA         GA   30308                            ariel.c.racela@suntrust.com        Email on 6/25/2020
8333666 TD BANK USA                            2035 LIMESTONE ROAD                                                                                WILMINGTON      DE   19808                                                               First class Mail on 6/26/2020
                                                                                                                                                                                                                                           First Class Mail on 6/26/2020 and
8192136 TD BANK‐USA                            ATTN: BIKIANA CORNIEL VENTURA          111 CHESTNUT RIDGE ROAD                                     MONTVALE        NJ   07645                            Bikiana.CornielVentura@td.com      Email on 6/25/2020
                                                                                                                                                                                                                                           First Class Mail on 6/26/2020 and
8192137 TD BANK‐USA                            ATTN: SELENE PERSAUD‐TYRELL            2005 MARKET STREET, 2ND FLOOR                               PHILADELPHIA    PA   19103                            selene.persaud‐tyrell@td.com       Email on 6/25/2020
                                               ATTN: GLOBAL CAPITAL MARKETS           40 KING STREET WEST, SCOTIA
8192174 THE BANK OF NOVA SCOTIA                DOCUMENTATION                          PLAZA, 55TH FLOOR                                           Toronto         ON   M5H 1H1        Canada                                               First class Mail on 6/26/2020
                                                                                      100 WELLINGTON STREET WEST, COP                                                                                                                      First Class Mail on 6/26/2020 and
8192138 TORONTO DOMINION BANK                  ATTN: KAREN LICORISH                   TOWER 30TH FLOOR                                            TORONTO         ON   M5K 1A2        CANADA            Karen.licorish@td.com              Email on 6/25/2020
                                                                                                                                                                                                        daniel.washam@usbank.com;          First Class Mail on 6/26/2020 and
8192140 U.S. BANK                              ATTN: DANIAL WASHAM, HAYLEY RAFFERTY   800 NICOLLET MALL                                           MINNEAPOLIS     MN   55402                            hayley.rafferty@usbank.com         Email on 6/25/2020
                                                                                                                                                                                                        antonella.molinari@unicredit.eu;   First Class Mail on 6/26/2020 and
8192164 UNICREDIT ‐ BANCA DI ROMA              LARGO ANGELO FOCHETTI, 16                                                                                               00154          ITALY             marco.caggianelli@unicredit.eu     Email on 6/25/2020
                                                                                                                                                                                                                                           First Class Mail on 6/26/2020 and
8192139 UNITED MISSOURI BANK                   ATTN: CHRIS HUNTER                     529 HUMBOLDT STREET                                         MANHATTAN       KS   66502                            chris.hunter@umb.com               Email on 6/25/2020
                                                                                                                                                                                                                                           First Class Mail on 6/26/2020 and
8192141 WELLS FARGO BANK                       ATTN: HEATHER REDMANN                  90 SOUTH 7TH STREET, 7TH FLOOR                              MINNEAPOLIS     MN   55402‐3903                       heather.a.redmann@wellsfargo.com   Email on 6/25/2020
8192176 WELLS FARGO BANK, N.A.                 ATTN: COLLATERAL MANAGEMENT            301 S. COLLEGE ST, 7TH FLOOR      Coll Mgmt MAC D1053 070   Charlotte       NC   28202                                                               First class Mail on 6/26/2020
                                               ATTN: DERIVATIVES DOCUMENTATION
8192175 WELLS FARGO BANK, N.A.                 MANAGER                                45 FREMONT STREET, 30TH FLOOR     MAC A0194‐300             San Francisco   CA   94105                                                               First class Mail on 6/26/2020
8192165 WESTPAC BANKING CORPORATION            341, GEORGE STREET                                                                                 Sydney, NSW          2000           AUSTRALIA                                            First class Mail on 6/26/2020




         In re The Hertz Corporation, et al.
         Case No. 20‐11218 (MFW)                                                                                                Page 3 of 3
Case 20-11218-MFW   Doc 645   Filed 07/01/20   Page 109 of 142




                        Exhibit G
                                                                Case 20-11218-MFW                 Doc 645             Filed 07/01/20              Page 110 of 142
                                                                                                              Exhibit G
                                                                                                      Notice Parties Service List
                                                                                                      Served as set forth below
MMLID                NAME                                ADDRESS 1                        ADDRESS 2               ADDRESS 3       CITY       STATE POSTAL CODE               EMAIL               METHOD AND DATE OF SERVICE

                                                                                                                                                                 andrew.silfen@arentfox.com;    First Class Mail on 6/25/2020 and
8267397 Arent Fox LLP                    Attn: Andrew Silfen, Beth Brownstein   1301 Avenue of the Americas      42nd Floor   New York       NY     10019        beth.brownstein@arentfox.com   Email on 6/26/2020

8127442 BOKF NA DBA MOBANK               Attn: Credit Services Lower Level      1500 S Midwest Blvd                           Midwest City   OK     73110                                       First Class Mail on 6/25/2020
                                                                                                                                                                                                First Class Mail on 6/25/2020 and
8267396 BOKF, N.A.                       Attn: George Kubin                     1600 Broadway                    3rd Floor    Denver         CO     80202        jlewis@bokf.com                Email on 6/26/2020




        In re The Hertz Corporation, et al.
        Case No. 20‐11218 (MFW)                                                                                Page 1 of 1
Case 20-11218-MFW   Doc 645   Filed 07/01/20   Page 111 of 142




                        Exhibit H
                                                            Case 20-11218-MFW                  Doc 645                Filed 07/01/20              Page 112 of 142
                                                                                                              Exhibit H
                                                                                                       Insurance Service List
                                                                                                      Served via first class mail
MMLID                              NAME                                        ADDRESS 1                                ADDRESS 2                           ADDRESS 3                CITY       STATE   POSTAL CODE       COUNTRY
8267557     ACE AMERICAN INSURANCE COMPANY                   ATTN: LEGAL DEPARTMENT                        436 WALNUT STREET                                                   PHILADELPHIA     PA    19106
8192639     ACE FIRE UNDERWRITERS INSURANCE COMPANY          CHUBB                                         436 WALNUT STREET, P.O. BOX 1000                                    PHILADELPHIA     PA    19106

8192640     ACE PROPERTY AND CASUALTY INSURANCE COMPANY      436 WALNUT STREET                                                                                                 PHILADELPHIA     PA    19106
8192641     AIG EUROPE S.A.                                  35D AVENUE JOHN F. KENNEDY                                                                                        LUXEMBOURG             L‐1855          GERMANY
8192642     AIG EUROPE S.A. SUCURSAL EN ESPAÑA               PASEO DE LA CASTELLANA 216                                                                                        MADRID                 28046           SPAIN

8192643     AIG EUROPE S.A., NETHERLANDS BRANCH              CRYSTAL BUILDING B                            RIVIUM BOULEVARD 216‐218               LK CAPPELLE AAN DEN IJSSEL                          2902            NETHERLANDS
8192644     AIG, FOREIGN CASUALTY                            ATTN: GENERAL COUNSEL                         80 PINE STREET, 13TH FLOOR                                          NEW YORK         NY    10005
8192645     ALLIANZ GLOBAL RISKS US INSURANCE COMPANY        2350 W EMPIRE AVE                                                                                                 BURBANK          CA    91504‐3350
8192646     ALLIED WORLD NATIONAL ASSURANCE COMPANY          27 RICHMOND ROAD                                                                                                  PEMBROKE               HM 08           BERMUDA
            AMERICAN GUARANTEE AND LIABILITY INSURANCE
8192647     COMPANY                                          1299 ZURICH WAY                                                                                                   SCHAUMBURG       IL    60196

8192648     AMERICAN INTERNATIONAL GROUP UK LIMITED (AIG)    THE AIG BUILDING                              58 FENCHURCH STREET                                                 LONDON                 EC3M 4AB        UNITED KINGDOM
8192649     ARCH INSURANCE COMPANY                           100 PITTS BAY ROAD                            WATERLOO HOUSE, GROUND FLOOR                                        PEMBROKE               HM 08           BERMUDA

8192688     ARGO GROUP                                       ARGO GROUP INTERNATIONAL HOLDINGS LTD.        90 PITTS BAY ROAD                                                   PEMBROKE               HM 08           BERMUDA
8192650     ARGONAUT INSURANCE COMPANY                       90 PITTS BAY ROAD                                                                                                 PEMBROKE               HM 08           BERMUDA
8192651     ASCOT REINSURANCE COMPANY LIMITED                27 RICHMOND ROAD                                                                                                  PEMBROKE               HM 08           BERMUDA
8192652     AXIS INSURANCE COMPANY                           AXIS CAPITAL                                  92 PITTS BAY ROAD                      AIXS HOUSE                   PEMBROKE               HM 08           BERMUDA
8192653     BEAZLEY INSURANCE COMPANY, INC.                  30 BATTERSON PARK ROAD                                                                                            FARMINGTON       CT    06032
8192654     BERKLEY PROFESSIONAL LIABILITY                   757 THIRD AVENUE, 10TH FLOOR                                                                                      NEW YORK         NY    10017
8192655     BERKSHIRE HATHAWAY SPECIALTY INSURANCE           1 LINCOLN STREET, 23RD FLOOR                                                                                      BOSTON           MA    02111
8192689     CHUBB GROUP                                      150 ALLEN ROAD, SUITE 203                                                                                         BASKING RIDGE    NJ    07920
                                                                                                           P. O. BOX 139, COMMERCE COURT POSTAL
8192656     CHUBB INSURANCE COMPANY OF CANADA                199 BAY STREET, SUITE 2500                    STATION                                                             TORONTO          ON    M5L 1E2         CANADA
8192657     CONTINENTAL CASUALTY COMPANY                     CNA INSURANCE                                 151 N FRANKLIN STREET, FLOOR 9                                      CHICAGO          IL    60606
8333669     Cooperativa De Seguros Multiples                 38 Calle Nevárez                                                                                                  San Juan         PR    00927‐4608
8192658     ENDURANCE ASSURANCE CORPORATION                  SOMPO INTERNATIONAL HOLDINGS LTD.             750 THIRD AVENUE                                                    NEW YORK         NY    10017
8192659     EVEREST NATIONAL INSURANCE COMPANY               477 MARTINSILLE ROAD, P.O. BOX 830                                                                                LIBERTY CORNER   NJ    07938‐0830
8192660     FREEDOM SPECIALTY INSURANCE COMPANY              NATIONWIDE MUTUAL INSURANCE COMPANY           ONE NATIONWIDE PLAZA                                                COLUMBUS         OH    43215‐2220
8192661     GREAT AMERICAN INSURANCE COMPANY                 GREAT AMERICAN INSURANCE GROUP TOWER          PROPERTY & CASUALTY GROUP              301 E FOURTH STREET          CINCINNATI       OH    45202
8192662     GREAT AMERICAN SPIRIT INS. COMPANY               301 EAST FOURTH STREET                                                                                            CINCINNATI       OH    45202
8192663     HISCOX INSURANCE COMPANY INC.                    HISCOX LTD                                    CHESNEY HOUSE                          96 PITTS BAY ROAD            PEMBROKE               HM 08           BERMUDA
8192664     HOMESITE INSURANCE COMPANY                       ONE FEDERAL STREET                                                                                                BOSTON           MA    02110
8192665     ILLINOIS NATIONAL INSURANCE COMPANY              AIG PROPERTY CASUALTY U.S., INC.              175 WATER STREET, 18TH FLOOR                                        NEW YORK         NY    10038

8192666     INDEMNITY INSURANCE COMPANY OF NORTH AMERICA     CHUBB                                         436 WALNUT STREET, P.O. BOX 1000                                    PHILADELPHIA     PA    19106
8192667     INDIAN HARBOR INSURANCE COMPANY                  AXA XL, A DIVISION OF AXA                     ONE BERMUDIANA ROAD                                                 HAMILTON               HM 08           BERMUDA
8192668     ING                                              CEDAR                                         BIJLMERDREEF 106                       1102 CT                      AMSTERDAM                              NETHERLANDS
8192669     IRONSHORE INDEMNITY INC.                         28 LIBERTY STREET, 4TH FLOOR                                                                                      NEW YORK         NY    10005
8192670     LIBERTY MUTUAL PROPERTY                          175 BERKELEY STREET                                                                                               BOSTON           MA    02116
8192671     LLOYD’S OF LONDON                                ONE LIME STREET                                                                                                   LONDON                 EC3M 7HA        UNITED KINGDOM
8192672     MARKEL AMERICAN INSURANCE COMPANY                4521 HIGHWOODS PARKWAY                                                                                            GLEN ALLEN       VA    23060
8267555     MARSH USA INC                                    ATTN: LEGAL DEPARTMENT                        1166 AVENUE OF THE AMERICAS                                         NEW YORK         NY    10036
            NATIONAL UNION FIRE INSURANCE COMPANY OF
8192673     PITTSBURGH, PA.                                  AIG                                           175 WATER STREET, 15TH FLOOR                                        NEW YORK         NY    10038
8192674     NAVIGATORS SPECIALTY INSURANCE COMPANY           1 PENN PLAZA 32ND FLOOR                                                                                           NEW YORK         NY    10119
8192675     OLD REPUBLIC INSURANCE COMPANY                   307 N. MICHIGAN AVENUE                                                                                            CHICAGO          IL    60601



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                              Page 1 of 2
                                                          Case 20-11218-MFW                 Doc 645          Filed 07/01/20           Page 113 of 142
                                                                                                     Exhibit H
                                                                                              Insurance Service List
                                                                                             Served via first class mail
MMLID                             NAME                                       ADDRESS 1                          ADDRESS 2                  ADDRESS 3          CITY    STATE   POSTAL CODE       COUNTRY
8267558     PHILADELPHIA CONSOLIDATED HOLDING CORP         ATTN: LEGAL DEPARTMENT                 ONE BALA PLAZA SUITE 100                              BALA CYNWYD   PA    19004

8192676     PROBUS INSURANCE COMPANY EUROPE DAC            HERTZ EUROPE SERVICE CENTRE            SWORDS BUSINESS PARK, SWORDS, CO.                     DUBLIN                              IRELAND

8192677     PROBUS INSURANCE COMPANY EUROPE DAC / FIATC    JACINTO BENAVENTE 2 ‐ ED. B, 3         TRIPARK                                               LAS ROZAS           28232           SPAIN
            PROBUS INSURANCE COMPANY EUROPE DAC / REALE
8192678     MUTUA                                          VIA DEL CASALE CAVALLARI, 204                                                                ROME                00156           ITALY
8192690     RLI GROUP                                      RLI CORP                               9025 N. LINDBERGH DRIVE                               PEORIA        IL    61615
8192679     RLI INSURANCE COMPANY                          RLI CORP                               9025 N. LINDBERGH DRIVE                               PEORIA        IL    61615
8192680     STARR INDEMNITY & LIABILITY COMPANY            399 PARK AVENUE, 2ND FLOOR                                                                   NEW YORK      NY    10022
8192681     STATE NATIONAL INSURANCE COMPANY, INC.         1900 L. DON DODSON DRIVE                                                                     BEDFORD       TX    76021
8267559     THE HARTFORD                                   ATTN: LEGAL DEPARTMENT                 1 HARTFORD PLZ                                        HARTFORD      CT    06115
            TRAVELERS CASUALTY AND SURETY COMPANY OF
8192682     AMERICA                                        1 TOWER SQUARE                                                                               HARTFORD      CT    06183
8192683     U.S. SPECIALTY                                 13403 NORTHWEST FREEWAY                                                                      HOUSTON       TX    77040
8192684     UNITED STATES AIRCRAFT INSURANCE GROUP         125 BROAD STREET                                                                             NEW YORK      NY    10004
8192685     XL BERMUDA LTD                                 XL HOUSE ONE BERMUDIANA ROAD                                                                 HAMILTON            HM JX           BERMUDA
8192686     XL SPECIALTY INSURANCE COMPANY                 AXA XL                                 ONE BERMUDIANA ROAD                                   HAMILTON            HM 08           BERMUDA
8192691     ZURICH                                         1400 AMERICAN LANE                                                                           SCHAUMBURG    IL    60196
8192687     ZURICH AMERICAN INSURANCE COMPANY              1299 ZURICH WAY                                                                              SCHAUMBURG    IL    60196‐1056




          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                     Page 2 of 2
Case 20-11218-MFW   Doc 645   Filed 07/01/20   Page 114 of 142




                        Exhibit I
                                          Case 20-11218-MFW        Doc 645        Filed 07/01/20      Page 115 of 142

                                                                         Exhibit I
                                                                UCC Lienholders Service List
                                                                 Served via first class mail


MMLID                                   NAME                                                    ADDRESS 1                       CITY        STATE     POSTAL CODE
8192177   BANC OF AMERICA LEASING & CAPITAL, LLC                           133 S. LASALLE STREET                          CHICAGO          IL       60603
8192178   BARCLAYS BANK PLC, AS COLLATERAL AGENT                           745 SEVENTH AVENUE                             NEW YORK         NY       10019
8192179   BARCLAYS BANK PLC, AS COMMON COLLATERAL AGENT                    745 SEVENTH AVENUE                             NEW YORK         NY       10019
8192180   CISCO SYSTEMS CAPITAL CORPORATION                                170 W. TASMAN DRIVE, MS SJ13‐3                 SAN JOSE         CA       95134
8192181   CORPORATION SERVICE COMPANY, AS REPRESENTATIVE                   P.O. BOX 2576                                  SPRINGFIELD      IL       62708
8192182   DAIMLER TRUST                                                    13650 HERITAGE PARKWAY                         FT. WORTH        TX       76177
          DEUSTCHE BANK TRUST COMPANY AMERICAS, AS MASTER COLLATERAL
8192183   AGENT                                                            60 WALL STREET                                 NEW YORK         NY       10005
          DEUTSCHE BANK AG NEW YORK BRANCH, AS COLLATERAL AGENT
8192184   PURSUANT TO THE ABL CREDIT AGREEMENT                             60 WALL STREET                                 NEW YORK         NY       10005
          DEUTSCHE BANK AG NEW YORK BRANCH, AS COLLATERAL AGENT
8192185   PURSUANT TO THE TERM CREDIT AGREEMENT                            60 WALL STREET                                 NEW YORK         NY       10005
8192186   DNRS II LLC                                                      2315 SANDERS ROAD, SUITE 252                   NORTHBROOK       IL       60062
          GELCO CORPORATION D/B/A GE FLEET SERVICES, AS DOMESTIC
8192187   COLLATERAL AGENT                                                 3 CAPITAL DRIVE                                EDEN PRAIRIE     MN       55344
8192188   GELCO CORPORATION, AS PRUSVI COLLATERAL AGENT                    3 CAPITAL DRIVE                                EDEN PRAIRIE     MN       55344
8192189   HEWLETT‐PACKARD FINANCIAL SERVICES COMPANY                       200 CONNELL DRIVE                              BERKELEY HEIGHTS NJ       07922
8192190   IBM CREDIT LLC                                                   ONE NORTH CASTLE DRIVE                         ARMONK           NY       10504
8192191   INSIGHT INVESTMENTS, LLC                                         600 CITY PARKWAY WEST, SUITE 500               ORANGE           CA       92868
8192192   INSIGHT INVESTMENTS, LLC                                         611 ANTON BLVD. SUITE 700                      COSTA MESA       CA       92868
8192193   LEASE CORPORATION OF AMERICA                                     3150 LIVERNOIS RD, SUITE 300                   TROY             MI       48083
8192194   NEXTGEAR CAPITAL, INC.                                           1320 CITY CENTER DR., STE 100                  CARMEL           IN       46032
8192195   PACIFIC WESTERN BANK                                             30 SOUTH WACKER DRIVE, 35TH FLOOR              CHICAGO          IL       60606
8192196   SIGNATURE FINANCIAL LLC                                          68 S. SERVICE RD.                              MELVILLE         NY       11747
          THE BANK OF NEW YORK MELLON TRUST COMPANY, N.A., AS COLLATERAL
8192197   AGENT                                                            2 NORTH LASALLE STREET, SUITE 1020             CHICAGO          IL       60602
          WELLS FARGO BANK NORTHWEST, NATIONAL ASSOCIATION, NOTIN ITS
          INDIVIDUAL CAPACITY BUT SOLELY AS OWNER TRUSTEEUNDER THAT
          CERTAIN TRUST AGREEMENT DATED AS OF DECEMBER 30, 2011 WITH THE
8192198   TRUSTORS NAMED                                                   260 N. CHARLES LINDBERGH DR., MAC: U1240‐026   SALT LAKE CITY   UT       84116
          WELLS FARGO BANK, NATIONAL ASSOCIATION, AS NOTE COLLATERAL
8192199   AGENT                                                            1 INDEPENDENT DRIVE, SUITE 620                 JACKSONVILLE     FL       32202
8192200   WELLS FARGO EQUIPMENT FINANCE, INC.                              733 MARQUETTE AVENUE, SUITE 700                MINNEAPOLIS      MN       55402


    In re The Hertz Corporation, et al.
    Case No. 20‐11218 (MFW)                                                 Page 1 of 2
                                          Case 20-11218-MFW          Doc 645    Filed 07/01/20      Page 116 of 142

                                                                         Exhibit I
                                                                UCC Lienholders Service List
                                                                 Served via first class mail


MMLID                                 NAME                                                  ADDRESS 1                     CITY    STATE     POSTAL CODE
          WINTRUST EQUIPMENT FINANCE, A DIVISION OF WINTRUST ASSET
8192201   FINANCE INC.                                                   3665 PARK PLACE WEST, SUITE 150              MISHAWAKA   IN      46545




    In re The Hertz Corporation, et al.
    Case No. 20‐11218 (MFW)                                               Page 2 of 2
Case 20-11218-MFW   Doc 645   Filed 07/01/20   Page 117 of 142




                        Exhibit J
                                                       Case 20-11218-MFW                   Doc 645         Filed 07/01/20      Page 118 of 142
                                                                                                    Exhibit J
                                                                                             Utilities Service List
                                                                                           Served via first class mail
MMLID                                  NAME                           ADDRESS 1                         ADDRESS 2               ADDRESS 3                  CITY     STATE POSTAL CODE COUNTRY
8264534     ACS                                          1155 SIXTEENTH STREET, NW                                                                WASHINGTON        DC    20036

8295540     AEP OF IN (INDIANA MICHIGAN POWER COMPANY)   PO BOX 6329                                                                              CAROL STREAM      IL   60197‐6392
8295541     AEP OF LA (SWEPCO)                           428 TRAVIS STREET                                                                        SHREVEPORT        LA   71101
8295542     AEP OF OH (COLUMBUS SOUTHERN)                1 RIVERSIDE PLAZA                                                                        COLUMBUS          OH   43215‐2372
8295543     AEP OF OH (OHIO POWER)                       1 RIVERSIDE PLAZA                                                                        COLUMBUS          OH   43215‐2372
8295544     AEP OF OK (PUBLIC SERVICE OF OKLAHOMA)       PO BOX 201                                                                               TULSA             OK   74102‐0201
8295545     AEP OF TX (SWEPCO)                           1201 ELM STREET, SUITE 4100                                                              DALLAS            TX   75270
8295546     AEP OF VA (APPALACHIAN POWER)                80 RIVER RD, 01                                                                          FIELDALE          VA   24089‐0129
8295547     AEP OF WV (APPALACHIAN POWER)                80 RIVER RD, 01                                                                          FIELDALE          VA   24089‐0129

8295548     AEP TEXAS CENTRAL COMPANY (FORMERLY CP&L)    539 N CARANCAHUA                                                                         CORPUS CHRISTI    TX   78401

8295549     AEP TEXAS NORTH COMPANY (FORMERLY WTU)       539 N CARANCAHUA                                                                         CORPUS CHRISTI    TX   78401
8264568     AIRLINK INTENET INC                          1746F S. VICTORIA AVE.               SUITE #104                                          VENTURA           CA   93003
8295550     ALABAMA POWER                                600 18TH ST N                                                                            BIRMINGHAM        AL   35203
8295551     ALAMEDA COUNTY WATER DISTRICT                43885 S GRIMMER BOULEVARD                                                                FREMONT           CA   94538

8295552     ALASKA ELECTRIC LIGHT AND POWER COMPANY      5601 TONGSGARD COURT                                                                     JUNEAU            AK   99801‐7201
                                                                                              ADMINISTRATION BUILDING‐
8264583     ALBANY COUNTY AIRPORT AUTHORITY              ALBANY INTERNATIONAL AIRPORT         SUITE 200                  737 ALBANY‐SHAKER ROAD   ALBANY            NY   12211
8295553     ALBEMARLE COUNTY SERVICE AUTHORITY           168 SPOTNAP ROAD                                                                         CHARLOTTESVILLE   VA   22911
            ALBUQUERQUE BERNALILLO COUNTY WATER
8295554     UTILITY AUTHORITY                            ONE CIVIC PLAZA NW                   ROOM 5027                                           ALBUQUERQUE       NM   87102
            ALECTRA UTILITIES (FKA ENERSOURCE/ HYDRO
8295555     MISSISSAUGA)                                 2185 DERRY ROAD WEST                                                                     MISSISSAUGA       ON   L5N 7A6      CANADA

8295556     ALECTRA UTILITIES (FKA HYDRO ONE BRAMPTON)   2185 DERRY ROAD WEST                                                                     MISSISSAUGA       ON   L5N 7A6      CANADA
8295557     ALECTRA UTILITIES (FKA POWERSTREAM)          2185 DERRY ROAD WEST                                                                     MISSISSAUGA       ON   L5N 7A6      CANADA
8295558     ALEXANDRIA RENEW ENTERPRISES                 1800 LIMERICK STREET                                                                     ALEXANDRIA        VA   22314
8264594     ALLEGHENY COUNTY APO                         436 GRANT STREET, ROOM 119                                                               PITTSBURGH        PA   15219
8295559     ALLIANT ENERGY OF IA (IP&L)                  201 S 7 ST #2307                                                                         CLARINDA          IA   51632
                                                         18110 SE 34TH STREET, BLDG. ONE
8264598     ALLSTREAM INC                                SUITE 100                                                                                VANCOUVER         WA   98683
                                                         18110 SE 34TH STREET, BLDG. ONE
8264599     ALLSTREAM US                                 SUITE 100                                                                                VANCOUVER         WA   98683
8295560     ALVIN HOLLIS                                 1 HOLLIS STREET                                                                          SOUTH WEYMOUTH    MA   02190‐9921
8295561     AMEREN ILLINOIS (CILCO ‐ ZONE II)            300 LIBERTY                                                                              PEORIA            IL   61602
8295562     AMEREN ILLINOIS (CIPS ‐ ZONE I)              300 LIBERTY                                                                              PEORIA            IL   61602
8295563     AMEREN ILLINOIS (IP ‐ ZONE III)              300 LIBERTY                                                                              PEORIA            IL   61602
8295564     AMEREN UE OF MO                              PO BOX 790098                                                                            ST. LOUIS         MO   63179‐0098
8295565     AMERICAN WASTE CONTROL                       1420 W 35TH ST                                                                           TULSA             OK   74107
8295566     AMERIGAS (ID)                                825 HOWARD LANE                                                                          FRUITLAND         ID   83619
8295567     ANAHEIM PUBLIC UTILITIES                     201 SOUTH ANAHEIM BLVD                                                                   ANAHEIM           CA   92805


          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                  Page 1 of 25
                                                       Case 20-11218-MFW                  Doc 645         Filed 07/01/20        Page 119 of 142
                                                                                                   Exhibit J
                                                                                            Utilities Service List
                                                                                          Served via first class mail
MMLID                           NAME                                  ADDRESS 1                          ADDRESS 2               ADDRESS 3             CITY    STATE   POSTAL CODE COUNTRY
8295568     ANCHORAGE WATER & WASTEWATER UTILITY         3000 ARTIC BOULEVARD                                                                ANCHORAGE        AK       99503‐3813
8295569     APEX (TOWN OF NC)                            73 HUNTER STREET                                                                    APEX             NC       27502
8295570     APPALACHIAN ELECTRIC COOPERATIVE (TVA)       1109 HILL DR                                                                        NEW MARKET       TN       37820
8295571     AQUA (IL)                                    1000 S SCHUYLER AVE                                                                 KANKAKEE         IL       60901‐5026
8295572     AQUA (PA)                                    762 LANCASTER AVE                                                                   BRYN MAWR        PA       19010‐3489
8295573     AQUA NEW JERSEY                              10 BLACK FOREST RD                                                                  TRENTON          NJ       08691‐1810
8295574     AQUA OHIO                                    5481 BUENOS AIRES BLVD                                                              WESTERVILLE      OH       43081‐4203
8295575     AQUARION WATER COMPANY (CT)                  200 MONROE TURNPIKE                                                                 MONROE           CT       06468
8295576     ARCUDI ENERGY/TRIBORO OIL                    7 MORRISON DR                                                                       MENDON           MA       01757
8295577     ARIZONA PUBLIC SERVICE                       6672 CORSAIR AVE                                                                    PRESCOTT         AZ       86301
8295578     ARLINGTON COUNTY TREASURER                   2100 CLARENDON BLVD                 SUITE 201                                       ARLINGTON        VA       22201
                                                                                             208 S. AKARD STREET, SUITE
8264647     AT&T                                         AT&T INC                            2954                                            DALLAS           TX       75202
                                                                                             208 S. AKARD STREET, SUITE
8264648     AT&T CONFERENCING                            AT&T INC                            2954                                            DALLAS           TX       75202
                                                                                             208 S. AKARD STREET, SUITE
8264649     AT&T GLOBAL SERVICES INC                     AT&T INC                            2954                                            DALLAS           TX       75202
                                                                                             208 S. AKARD STREET, SUITE
8264650     AT&T MOBILITY                                AT&T INC                            2954                                            DALLAS           TX       75202
                                                                                             208 S. AKARD STREET, SUITE
8264651     AT&T THRIFTY                                 AT&T INC                            2954                                            DALLAS           TX       75202
                                                                                             208 S. AKARD STREET, SUITE
8264652     AT&T U‐VERSE                                 AT&T INC                            2954                                            DALLAS           TX       75202
8295579     ATCO GAS (AB)                                5302 FORAND STREET S.W.                                                             CALGARY          AB       T3E 8B4      CANADA
8295580     ATLANTA GAS & LIGHT                          2502 LANDRUM CT                                                                     MARTINEZ         GA       30907
8264677     ATLANTIC BROADBAND                           2 BATTERYMARCH PARK, SUITE 205                                                      QUINCY           MA       02169
8264678     ATMC                                         640 WHITEVILLE RD. NW                                                               SHALLOTTE        NC       28470
8295581     ATMOS ENERGY OF CO                           5430 LBJ FREEWAY                    SUITE 160                                       DALLAS           TX       75240
8295582     ATMOS ENERGY OF KS                           5430 LBJ FREEWAY                    SUITE 160                                       DALLAS           TX       75240
8295583     ATMOS ENERGY OF KY                           5430 LBJ FREEWAY                    SUITE 160                                       DALLAS           TX       75240
            ATMOS ENERGY OF MS (FORMERLY MISSISSIPPI
8295584     VALLEY GAS)                                  5430 LBJ FREEWAY                    SUITE 160                                       DALLAS           TX       75240
8295585     ATMOS ENERGY OF TN                           5430 LBJ FREEWAY                    SUITE 160                                       DALLAS           TX       75240
8295586     ATMOS ENERGY OF TX (MID‐TEXAS)               5430 LBJ FREEWAY                    SUITE 160                                       DALLAS           TX       75240
8295587     ATMOS ENERGY OF TX (WEST TEXAS)              5430 LBJ FREEWAY                    SUITE 160                                       DALLAS           TX       75240
8295588     AUBURN WATER DISTRICT                        268 COURT STREET                                                                    AUBURN           ME       04212‐0414
8295589     AUGUSTA UTILITIES DEPARTMENT                 452 WALKER STREET                                                                   AUGUSTA          GA       30901
8295590     AUSTELL NATURAL GAS SYSTEM                   2838 JOE JERKINS BOULEVARD                                                          AUSTELL          GA       30106
8295591     AUSTIN ENERGY (F.K.A. CITY OF AUSTIN)        721 BARTON SPRINGS ROAD                                                             AUSTON           TX       78704‐1194

            AUTORIDAD DE ACUEDUCTOS Y ALCANTARILLADOS                                        EDIF. SERGIO CUEVAS
8295592     GOBIERNO DE PUERTO RICO                      604 AVENIDA BARBOSA                 BUSTAMANTE                   HATO REY           SAN JUAN         PR       00916‐7066
8264719     AVAYA                                        4655 GREAT AMERICA PARKWAY                                                          SANTA CLARA      CA       95054
8264720     AWARE SOFTWARE                               C/O SAGENET                         10205 E. 61ST STREET                            TULSA            OK       74133


          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                 Page 2 of 25
                                                      Case 20-11218-MFW                   Doc 645        Filed 07/01/20       Page 120 of 142
                                                                                                   Exhibit J
                                                                                            Utilities Service List
                                                                                          Served via first class mail
MMLID                            NAME                                ADDRESS 1                         ADDRESS 2                ADDRESS 3             CITY      STATE   POSTAL CODE COUNTRY
8295593     BALDWIN COUNTY SEWER SERVICE                14747 UNDERWOOD RD (CO RD 24)                                                       SUMMERDALE         AL       36580
8295594     BALDWIN EMC (AL)                            19600 AL‐59                                                                         SUMMERDALE         AL       36580
8295595     BALTIMORE GAS & ELECTRIC                    2 CENTER PLAZA 110 W FAYETTE ST      STE 200                                        BALTIMORE          MD       21201‐3708
8295596     BARGERSVILLE UTILITIES                      24 MAIN STREET                                                                      BARGERSVILLE       IN       46106
            BATON ROUGE WATER COMPANY (CITY OF BATON
8295597     ROUGE)                                      8755 GOODWOOD BLVD                                                                  BATON ROUGE        LA       70806‐7916
8295598     BC HYDRO                                    333 DUNSMUIR ST                                                                     VANCOUVER          BC       V6B 5R3      CANADA
                                                        1 CARREFOUR ALEXANDER‐GRAHAM‐
8264746     BELL ALIANT                                 BELL                                 BUILDING A, 4TH FLOOR                          VERDUN             QC       H3E 3B3      CANADA
                                                        1 CARREFOUR ALEXANDER‐GRAHAM‐
8264747     BELL CANADA                                 BELL                                 BUILDING A, 4TH FLOOR                          VERDUN             QC       H3E 3B3      CANADA
8295599     BELMONT CO SANITARY SEWER DIST.             67711 OAKVIEW DRIVE                                                                 CLAIRSVILLE        OH       43950
                                                                                             210 INTERSTATE NORTH
8264749     BIRCH TELECOM                               C/O FUSION                           PARKWAY, SUITE 300                             ATLANTA            GA       30339
8295600     BLACK HILLS ENERGY (CO)                     7001 MOUNT RUSHMORE RD                                                              RAPID CITY         SD       57702‐8752
8295601     BLACK HILLS ENERGY (IA)                     7001 MOUNT RUSHMORE RD                                                              RAPID CITY         SD       57702‐8752
8295602     BLACK HILLS ENERGY (NE)                     7001 MOUNT RUSHMORE RD                                                              RAPID CITY         SD       57702‐8752
8295603     BOARD OF WATER SUPPLY HI                    630 SOUTH BERETANIA STREET                                                          HONOLULU           HI       96843
8264757     BOCA RATON RESORT & CLUB                    501 EAST CAMINO REAL                                                                BOCA RATON         FL       33432
8295604     BOISE CITY UTILITY BILLING                  150 N CAPITOL BLVD                                                                  BOISE              ID       83702
8295605     BONITA SPRINGS UTILITIES, INC.              11900 E. TERRY STREET                                                               BONITA SPRINGS     FL       34135
8295606     BOROUGH OF PARAMUS                          1 WEST JOCKISH SQUARE                                                               PARAMUS            NJ       07652
8295607     BOROUGH OF POTTSTOWN                        BOROUGH HALL                         100 E. HIGH STREET         2ND FLOOR           POTTSTOWN          PA       19464
8295608     BOSTON WATER                                980 HARRISON AVENUE                                                                 BOSTON             MA       02119
8295609     BOTTINI FUEL                                2785 WEST MAIN STREET                                                               WAPPINGERS FALLS   NY       12590
8295610     BOWLING GREEN MUNICIPAL UTILITIES (TVA)     801 CENTER STREET                                                                   BOWLING GREEN      KY       42102
8264767     BRIGHT HOUSE NETWORK                        5000 CAMPUSWOOD DRIVE SUITE 1                                                       SYRACUSE           NY       13057
8264768     BROADVIEW NETWORKS                          800 WESTCHESTER AVE.                                                                RYE BROOK          NY       10573
8295611     BROWARD COUNTY WWS                          2555 WEST COPANS ROAD                                                               POMPANO BEACH      FL       33069
8295612     BROWNSVILLE PUBLIC UTILITIES BOARD          1425 ROBINHOOD DR                                                                   ROBINHOOD          TX       78520

8295613     BURBANK WATER AND POWER (CITY OF BURBANK)   164 W. MAGNOLIA BLVD                                                                BURBANK            CA       91502‐1720
8295614     BURLINGTON ELECTRIC DEPARTMENT              585 PINE STREET                                                                     BURLINGTON         VT       05401
8295615     BUSINESS SERVICES HAWAII                    16‐630 KIPIMANA ST                                                                  KEAAU              HI       96749
8264776     CABLE ONE                                   210 E. EARLL DRIVE                                                                  PHOENIX            AZ       85012
8295616     CALIFORNIA AMERICAN WATER                   655 W BROADWAY, #1410                                                               SAN DIEGO          CA       92101
8295617     CALIFORNIA WATER SERVICE CO                 1720 NORTH FIRST STREET                                                             SAN JOSE           CA       95112‐4508
8295618     CAPE FEAR PUBLIC UTILITY AUTHORITY          235 GOVERNMENT CENTER DRIVE                                                         WILMINGTON         NC       28403
8267259     CASS INFORMATION SYSTEMS, INC.              ATTN: VICE PRESIDENT, IFS            12412 POWERSCOURT DRIVE    SUITE 100           ST. LOUIS          MO       63131
8295619     CEDAR FALLS UTILITIES                       P.O. BOX 769                                                                        CEDAR FALLS        IA       50613
8295620     CEDAR RAPIDS MUNICIPAL UTILITIES            1111 SHAVER RD NE                                                                   CEDAR RAPIDS       IA       52402
8295621     CENTERPOINT ENERGY ARKLA OF AR              CENTERPOINT ENERGY, INC.             P.O. BOX 4583                                  HOUSTON            TX       77210‐4583
8295622     CENTERPOINT ENERGY ARKLA OF OK              CENTERPOINT ENERGY, INC.             P.O. BOX 4583                                  HOUSTON            TX       77210‐4583
8295623     CENTERPOINT ENERGY ENTEX OF MS              CENTERPOINT ENERGY, INC.             P.O. BOX 4671                                  HOUSTON            TX       77210‐4671



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                 Page 3 of 25
                                                          Case 20-11218-MFW                   Doc 645        Filed 07/01/20       Page 121 of 142
                                                                                                       Exhibit J
                                                                                                Utilities Service List
                                                                                              Served via first class mail
MMLID                           NAME                                       ADDRESS 1                       ADDRESS 2                ADDRESS 3               CITY    STATE   POSTAL CODE COUNTRY
8295624     CENTERPOINT ENERGY MINNEGASCO                     CENTERPOINT ENERGY, INC.           1111 LOUISIANA STREET                          HOUSTON            TX       77002
8295625     CENTERPOINT ENERGY OF TX                          CENTERPOINT ENERGY, INC.           P.O. BOX 4981                                  HOUSTON            TX       77210‐4981
8295626     CENTRAL ARKANSAS WATER                            221 EAST CAPITOL AVE                                                              LITTLE ROCK        AR       72203
8295627     CENTRAL HUDSON GAS & ELECTRIC                     284 SOUTH AVENUE                                                                  POUGHKEEPSIE       NY       12601
8295628     CENTRAL MAINE POWER                               83 EDISON DRIVE                                                                   AUGUSTA            ME       04336
8264828     CENTURYLINK                                       100 CENTURYLINK DRIVE                                                             MONROE             LA       71203
            CHARLESTON COUNTY DEPARTMENT OF REVENUE
8295629     COLLECTIONS                                       4045 BRIDGE VIEW DRIVE                                                            NORTH CHARLESTON   SC       29405
8295630     CHARLESTON SANITARY BOARD (WV)                    208 26TH STREET W                                                                 CHARLESTON         WV       25387
8295631     CHARLESTON WATER SYSTEM (SC)                      103 ST. PHILIP STREET                                                             CHARLESTON         SC       29403
8264833     CHARTER COMMUNICATIONS                            C/O SPECTRUM                       400 ATLANTIC STREET        10TH FLOOR          STAMFORD           CT       06901
8296474     CHARTER TOWNSHIP OF CLINTON                       40700 ROMEO PLANK RD                                                              CLINTON TOWNSHIP   MI       48038
8295632     CHATTANOOGA GAS COMPANY                           6125 PRESERVATION DRIVE                                                           CHATTANOOGA        TN       37416
8264837     CHATTANOOGA METRO AIRPORT                         1001 AIRPORT ROAD                  SUITE 14                                       CHATTANOOGA        TN       37421
8295633     CHESTERFIELD CNTY DEPT OF UTILITIES               115 E DEPOT ST                                                                    CHESTERFIELD       IL       62630
8295634     CHUGACH ELECTRIC ASSOCIATION                      5601 ELECTRON DRIVE                                                               ANCHORAGE          AK       99518
8264840     CINCINNATI BELL                                   221 EAST 4TH STREET                103‐710                                        CINCINNATI         OH       45202
8295635     CINCINNATI PROPANE                                260 CENTER ST                                                                     MIAMIVILLE         OH       45147
8295636     CITIZENS ENERGY GROUP                             2020 NORTH MERIDIAN ST.                                                           INDIANAPOLIS       IN       46207‐7056
8295637     CITY AND BOROUGH OF JUNEAU                        155 S. SEWARD STREET                                                              JUNEAU             AK       99801
8295638     CITY AND COUNTY OF DENVER                         101 W. COLFAX AVE                                                                 DENVER             CO       80204

8295639     CITY AND COUNTY OF HONOLULU                       HAWAI'I INFORMATION CONSORTIUM     201 MERCHANT ST            SUITE 1805          HONOLULU           HI       96813
8295640     CITY FUEL                                         67 WILLOW ST.                                                                     MANCHESTER         NH       03103
8295641     CITY OF ABILENE (TX)                              555 WALNUT STREET                                                                 ABILENE            TX       79601
8295642     CITY OF ALABAMA                                   2218 JUDGE ROAD                                                                   OAKFIELD           NY       14125
8295643     CITY OF ALCOA UTILITIES (TVA)                     725 UNIVERSAL STREET                                                              ALCOA              TN       37701
8295644     CITY OF ALEXANDRIA UTILITIES                      301 KING STREET                                                                   ALEXANDRIA         VA       22314
8295645     CITY OF AMARILLO                                  601 S. BUCHANAN                                                                   AMARILLO           TX       79101

8295646     CITY OF ANDERSON ‐ ELECTRIC CITY UTILITIES (SC)   601 S. MAIN ST                                                                    ANDERSON           SC       29624
8295647     CITY OF ANNAPOLIS                                 160 DUKE OF GLOUCESTER STREET                                                     ANNAPOLIS          MD       21401
8295648     CITY OF ANTIOCH                                   200 H STREET                                                                      ANTIOCH            CA       94509‐1285
8295649     CITY OF ARLINGTON                                 101 W. ABRAM ST.                                                                  ARLINGTON          TX       76010
8295650     CITY OF ASPEN UTILITIES                           130 SOUTH GALENA STREET                                                           ASPEN              CO       81611
8295651     CITY OF ATLANTA                                   55 TRINITY AVE SW                                                                 ATLANTA            GA       30303
8295652     CITY OF AURORA ‐ AURORA WATER                     44 E DOWNER PLACE                                                                 AURORA             IL       60505
8264864     CITY OF AUSTIN DEPT OF AVIATION                   ATTN: GENERAL COUNSEL              2006 EAST 4TH STREET                           AUSTIN             TX       78702
8295653     CITY OF BAKER                                     3325 GROOM ROAD                                                                   BAKER              LA       70714
8295654     CITY OF BANGOR WASTEWATER                         760 MAIN                                                                          BANGOR             ME       04401
8295655     CITY OF BATON ROUGE                               222 SAINT LOUIS STREET                                                            BATON ROUGE        LA       70802
8295656     CITY OF BAYTOWN                                   2123 MARKET ST.                                                                   BAYTOWN            TX       77520
8295657     CITY OF BEAUMONT                                  1350 LANGHAM                                                                      BEAUMONT           TX       77707
8295658     CITY OF BEAVERTON (OR)                            12725 SW MILLIKAN WAY              2ND FLOOR                                      BEAVERTON          OR       97005



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                     Page 4 of 25
                                                  Case 20-11218-MFW               Doc 645        Filed 07/01/20          Page 122 of 142
                                                                                           Exhibit J
                                                                                    Utilities Service List
                                                                                  Served via first class mail
MMLID                            NAME                              ADDRESS 1                   ADDRESS 2                   ADDRESS 3               CITY    STATE   POSTAL CODE COUNTRY
8295659     CITY OF BETHLEHEM                       10 EAST CHURCH STREET                                                              BETHLEHEM          PA       18018
8295660     CITY OF BLOOMINGTON UTILITIES           109 E OLIVE ST                                                                     BLOOMINGTON        IL       61701
8295661     CITY OF BLUE ISLAND                     13051 GREENWOOD AVENUE                                                             BLUE ISLAND        IL       60406
8295662     CITY OF BOCA RATON                      201 WEST PALMETTO PARK ROAD                                                        BOCA RATON         FL       33432
8295663     CITY OF BOULDER (CO)                    1777 BROADWAY                                                                      BOULDER            CO       80302
8295664     CITY OF BREMERTON                       345 6TH STREET                                                                     BREMERTON          WA       98337
8295665     CITY OF BUFORD                          2300 BUFORD HIGHWAY                                                                BUFORD             GA       30518
8295666     CITY OF BURLINGAME WATER DEPARTMENT     501 PRIMROSE ROAD                                                                  BURLINGAME         CA       94010
8295667     CITY OF BURNSVILLE                      13713 FRONTIER COURT                                                               BURNSVILLE         MN       55337
8295668     CITY OF CAYCE (SC)                      1800 12TH STREET                                                                   CAYCE              SC       29033
8295669     CITY OF CENTER LINE                     7070 EAST TEN MILE ROAD                                                            CENTER LINE        MI       48015
                                                    CHARLOTTE‐MECKLENBURG
8295670     CITY OF CHARLOTTE (NC)                  GOVERNMENT CENTER                600 EAST 4TH STREET                               CHARLOTTE          NC       28202
8295671     CITY OF CHARLOTTESVILLE                 PO BOX 911                                                                         CHARLOTTESVILLE    VA       22902
8295672     CITY OF CHATTANOOGA                     1250 MARKET STREET                                                                 CHATTANOOGA        TN       37402
8295673     CITY OF CHICAGO                         121 N. LASALLE STREET                                                              CHICAGO            IL       60602

8295674     CITY OF CLEARWATER                      ONE CLEARWATER TOWER             6TH FLOOR 600 CLEVELAND ST.                       CLEARWATER         FL       33756
8295675     CITY OF CLERMONT                        400 12TH STREET                                                                    CLERMONT           FL       34711
8295676     CITY OF CLEVELAND DIVISION OF WATER     1201 LAKESIDE AVE.                                                                 CLEVELAND          OH       44114
8295677     CITY OF COCOA                           65 STONE STREET                                                                    COCOA              FL       32922
8295678     CITY OF COLLEGE PARK                    3667 MAIN ST.                                                                      COLLEGE PARK       GA       30337
8295679     CITY OF COLUMBIA (SC)                   1136 WASHINGTON ST.                                                                COLUMBIA           SC       29201
8295680     CITY OF COLUMBIA MISSOURI               FINANCE DEPARTMENT               CITY OF COLUMBIA              P.O. BOX 1676       COLUMBIA           MO       65205
8295681     CITY OF CONCORD (NC)                    35 CABARRUS AVE.                                                                   W CONCORD          NC       28025
8295682     CITY OF CONROE                          300 W. DAVIS                                                                       CONROE             TX       77301
8295683     CITY OF CONYERS                         1184 SCOTT STREET                                                                  CONYERS            GA       30012
8295684     CITY OF COOKEVILLE (TVA)                45 E BROAD STREET                                                                  COOKEVILLE         TN       38501
8295685     CITY OF CORAL SPRINGS                   9500 WEST SAMPLE ROAD                                                              CORAL SPRINGS      FL       33065
8295686     CITY OF CORPUS CHRISTI                  1201 LEOPARD STREET                                                                CORPUS CHRISTI     TX       78401
8295687     CITY OF DALLAS (TX)                     1500 MARILLA STREET                                                                DALLAS             TX       75201
8295688     CITY OF DALY CITY                       333 90TH STREET                                                                    DALY CITY          CA       94015
8295689     CITY OF DANIA BEACH                     100 W DANIA BEACH BOULEVARD                                                        DANIA BEACH        FL       33004
8295690     CITY OF DAVENPORT                       226 WEST 4TH STREET                                                                DAVENPORT          IA       52801
8295691     CITY OF DAYTONA BEACH                   301 S. RIDGEWOOD AVENUE                                                            DAYTONA BEACH      FL       32114
8295692     CITY OF DEARBORN                        16901 MICHIGAN AVE.                                                                DEARBORN           MI       48126
8295693     CITY OF DECATUR (IL)                    1 GARY K. ANDERSON PLAZA                                                           DECATUR            IL       62523
8295694     CITY OF DEKALB                          200 S 4TH STREET                                                                   DEKALB             IL       60115
8295695     CITY OF DELRAY BEACH                    100 NW FIRST AVENUE                                                                DELRAY BEACH       FL       33444
8295696     CITY OF DES PLAINES                     1420 MINER STREET                                                                  DES PLAINES        IL       60016
8295697     CITY OF DIEPPE (NB)                     333 ACADIE AVENUE                                                                  DIEPPE             NB       E1A 1G9   CANADA
8295698     CITY OF DURANGO                         949 E. 2ND AVENUE                                                                  DURANGO            CO       81301
8295699     CITY OF ELMHURST                        209 N. YORK ST.                                                                    ELMHURST           IL       60126
8295700     CITY OF ENGLEWOOD                       1000 ENGLEWOOD PARKWAY                                                             ENGLEWOOD          CO       80110



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                         Page 5 of 25
                                                  Case 20-11218-MFW              Doc 645          Filed 07/01/20   Page 123 of 142
                                                                                          Exhibit J
                                                                                   Utilities Service List
                                                                                 Served via first class mail
MMLID                              NAME                           ADDRESS 1                     ADDRESS 2          ADDRESS 3               CITY     STATE   POSTAL CODE COUNTRY
8295701     CITY OF FAIRFIELD (OH)                  5021 GROH LANE                                                             FAIRFEILD           OH       45014
8295702     CITY OF FERNDALE                        2095 MAIN ST.                                                              FERNDALE            WA       98248
8295703     CITY OF FLORENCE (SC)                   324 W. EVANS STREET                                                        FLORENCE            SC       29501
8295704     CITY OF FORT COLLINS                    281 NORTH COLLEGE                                                          FORT COLLINS        CO       80524
8295705     CITY OF FORT LAUDERDALE                 100 N. ANDREWS AVENUE           FIRST FLOOR                                FORT LAUDERDALE     FL       33301
8295706     CITY OF FORT MYERS                      2200 SECOND STREET                                                         FORT MYERS          FL       33901
8295707     CITY OF FORT WALTON BEACH               107 MIRACLE STRIP PKWY SW                                                  FORT WALTON BEACH   FL       32548
8295708     CITY OF FRESNO                          2600 FRESNO STREET                                                         FRESNO              CA       93721
8295709     CITY OF GAINESVILLE (GA)                300 HENRY WARD WAY              SUITE 303                                  GAINESVILLE         GA       30501
8295710     CITY OF GARDEN GROVE                    11222 ACACIA PARKWAY                                                       GARDEN GROVE        CA       92840
8295711     CITY OF GEORGETOWN (SC)                 2377 ANTHUAN MAYBANK DR                                                    GEORGETOWN          SC       29440
8295712     CITY OF GRAND JUNCTION (CO)             250 NORTH 5TH STREET                                                       GRAND JUNCTION      CO       81501
8295713     CITY OF GRAND RAPIDS                    300 MONROE AVENUE NW                                                       GRAND RAPIDS        MI       49503
8295714     CITY OF GRASS VALLEY                    125 EAST MAIN ST.                                                          GRASS VALLEY        CA       95945
8295715     CITY OF GREENSBORO (NC)                 300 WEST WASHINGTON STREET                                                 GREENSBORO          NC       27401
8295716     CITY OF GRESHAM                         1333 NW EASTMAN PARKWAY                                                    GRESHAM             OR       97030
8295717     CITY OF GUNNISON                        200 EAST SPENCER AVENUE                                                    GUNNISON            CO       81230
8295718     CITY OF HAMMOND UTILITY DEPARTMENT      310 E. CHARLES ST.                                                         HAMMOND             LA       70401
8295719     CITY OF HAPEVILLE                       3468 NORTH FULTON AVENUE                                                   HAPEVILLE           GA       30354
8295720     CITY OF HAVERHILL                       4 SUMMER STREET                                                            HAVERHILL           MA       01830
8295721     CITY OF HAYS                            1507 MAIN STREET                                                           HAYS                KS       67601
8295722     CITY OF HENDERSON (KY)                  134 ROSE AVE.                                                              HENDERSON           NC       27536
8295723     CITY OF HICKORY                         1441 9TH AVENUE                                                            HICKORY             NC       28601
8295724     CITY OF HIGH POINT (NC)                 211 S HAMILTON ST                                                          HIGH POINT          NC       27260
8295725     CITY OF HOLLY HILL                      1065 RIDGEWOOD AVENUE                                                      HOLLY HILL          FL       32117
            CITY OF HOLLYWOOD ‐ WATER AND SEWER
8295726     DEPARTMENT                              1621 N. 14 AVENUE                                                          HOLLYWOOD           FL       33022
8295727     CITY OF HOUSTON WATER DEPARTMENT        611 WALKER                                                                 HOUSTON             TX       77002
8295728     CITY OF HUNTINGTON BEACH                2000 MAIN STREET                                                           HUNTINGTON BEACH    CA       92648
8295729     CITY OF INDEPENDENCE (MO)               111 E MAPLE AVE                                                            INDEPENDENCE        MO       64050
8295730     CITY OF INGLEWOOD                       ONE MANCHESTER BOULEVARD                                                   INGLEWOOD           CA       90301
8295731     CITY OF IRVING MUNICIPAL SERVICES       825 W IRVING BOULEVARD                                                     IRVING              TX       75060
8295732     CITY OF JACKSON (MS)                    219 S. PRESIDENT ST.                                                       JACKSON             MS       39205
8295733     CITY OF JOLIET MUNICIPAL SERVICES       150 W. JEFFERSON ST                                                        JOLIET              IL       60432
8295734     CITY OF KELOWNA                         1435 WATER ST                                                              KELOWNA             BC       V1Y 1J4      CANADA
8295735     CITY OF KENT                            220 FOURTH AVE. S.                                                         KENT                WA       98032
8264986     CITY OF KILLEEN                         101 N COLLEGE STREET                                                       KILLEEN             TX       76541
8295736     CITY OF KOKOMO WASTEWATER UTILITY       100 S. UNION ST.                                                           KOKOMO              IN       46901
8295737     CITY OF LA CROSSE (WI)                  400 LA CROSSE ST                                                           LA CROSSE           WI       54601
8295738     CITY OF LAFAYETTE (IN)                  20 N 6TH STREET                                                            LAFAYETTE           IN       47901
8295739     CITY OF LAKE CHARLES                    326 PUJO ST                                                                LAKE CHARLES        LA       70601‐4269
8295740     CITY OF LAKE CITY (FL)                  205 N. MARION AVE                                                          LAKE CITY           FL       32055
8295741     CITY OF LAKEWOOD                        480 S. ALLISON PARKWAY                                                     LAKEWOOD            CO       80226
8295742     CITY OF LAREDO UTILITIES                5816 DAUGHERTY                                                             LAREDO              TX       78041



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                        Page 6 of 25
                                                    Case 20-11218-MFW               Doc 645          Filed 07/01/20          Page 124 of 142
                                                                                              Exhibit J
                                                                                       Utilities Service List
                                                                                     Served via first class mail
MMLID                                  NAME                        ADDRESS 1                      ADDRESS 2                  ADDRESS 3             CITY    STATE POSTAL CODE COUNTRY
8295743     CITY OF LAWTON                            212 SW 9TH STREET                                                                  LAWTON            OK    73501

8295744     CITY OF LEBANON (TN)                      200 NORTH CASTLE HEIGHTS AVENUE                                                    LEBANON           TN   37087
8295745     CITY OF LIBERTY (MO)                      101 E. KANSAS ST.                                                                  LIBERTY           MO   64068
8295746     CITY OF LIVONIA                           33000 CIVIC CENTER DRIVE                                                           LIVONIA           MI   48154
8295747     CITY OF LONG BEACH (CA)                   411 WEST OCEAN BOULEVARD           5TH FLOOR                                       LONG BEACH        CA   90802
8295748     CITY OF LONGMONT                          350 KIMBARK ST.                                                                    LONGMONT          CO   80501
8295749     CITY OF LONGWOOD                          175 WEST WARREN AVENUE                                                             LONGWOOD          FL   32750
8295750     CITY OF LOS ANGELES                       200 N SPRING ST                                                                    LOS ANGELES       CA   90012
8295751     CITY OF LOVELAND                          500 EAST THIRD STREET, SUITE 100                                                   LOVELAND          CO   80537
8295752     CITY OF LOWELL                            101 W FIRST STREET                                                                 LOWELL            NC   28098
8295753     CITY OF LYNCHBURG                         525 TAYLOR STREET                                                                  LYNCHBURG         VA   24501
8295754     CITY OF MADISON (WI)                      210 MARTIN LUTHER KING JR. BLVD                                                    MADISON           WI   53703
8296476     CITY OF MADISON HEIGHTS                   300 WEST THIRTEEN MILE ROAD                                                        MADISON HEIGHTS   MI   48071
8295755     CITY OF MARLBOROUGH                       140 MAIN STREET                                                                    MARLBOROUGH       MA   01752
8295756     CITY OF MARY ESTHER                       195 CHRISTOBAL ROAD N                                                              MARY ESTHER       FL   32569
8295757     CITY OF MEDFORD (MA)                      200 S. IVY STREET                                                                  MEDFORD           OR   97501
8295758     CITY OF MEDINA                            132 N ELMWOOD AVENUE                                                               MEDINA            OH   44256
8295759     CITY OF MELBOURNE                         900 E. STRAWBRIDGE AVE                                                             MELBOURNE         FL   32901
8295760     CITY OF MESA                              20 E. MAIN STREET                                                                  MESA              AZ   85201
8295761     CITY OF MIDLAND (TX)                      300 N LORAINE                                                                      MIDLAND           TX   79701
8295762     CITY OF MILWAUKEE                         841 NORTH BROADWAY, 3RD FLOOR                                                      MILWAUKEE         WI   53202
8295763     CITY OF MODESTO                           1010 10TH STREET                   4TH FLOOR                                       MODESTO           CA   95354
8295764     CITY OF MOUNTAIN VIEW                     500 CASTRO ST                                                                      MOUNTAIN VIEW     CA   94041
8295765     CITY OF MYRTLE BEACH                      937 BROADWAY STREET                                                                MYRTLE BEACH      SC   29578
8295766     CITY OF NAPLES                            380 RIVERSIDE CIRCLE                                                               NAPLES            FL   34102
8295767     CITY OF NATCHITOCHES UTILITIES            806 SECOND STREET                                                                  NATCHITOCHES      LA   71457
8295768     CITY OF NEDERLAND                         207 N 12TH ST                                                                      NEDERLAND         TX   77627
8295769     CITY OF NEW BERN (NC)                     300 POLLOCK ST.                                                                    NEW BERN          NC   28560
8295770     CITY OF NEWARK (DE)                       220 S MAIN STREET                                                                  NEWARK            DE   19711
8295771     CITY OF NEWARK WATER                      920 BROAD STREET                                                                   NEWARK            NJ   07102
8295772     CITY OF NEWPORT BEACH                     100 CIVIC CENTER DRIVE                                                             NEWPORT BEACH     CA   92660
8295773     CITY OF NORTH CANTON PUBLIC UTILITIES     145 NORTH MAIN STREET                                                              NORTH CANTON      OH   44720

8295774     CITY OF NORTH LAS VEGAS                   CNLV UTILITIES DEPT.               2250 LAS VEGAS BLVD. NORTH   #250               NORTH LAS VEGAS   NV   89030
8295775     CITY OF OCALA                             110 SE WATULA AVENUE                                                               OCALA             FL   34471
8295776     CITY OF OKLAHOMA CITY                     200 N WALKER AVE STE 320                                                           OKLAHOMA CITY     OK   73102‐2232
8295777     CITY OF OLATHE                            135 S ROBINSON DR.                                                                 OLATHE            KS   66061
8295778     CITY OF PALM SPRINGS                      4690 E. MESQUITE AVE.                                                              PALM SPRINGS      CA   92264
8295779     CITY OF PALO ALTO                         250 HAMILTON AVENUE                                                                PALO ALTO         CA   94301
8295780     CITY OF PANAMA CITY                       501 HARRISON AVENUE                                                                PANAMA CITY       FL   32401
            CITY OF PASADENA (PASADENA WATER AND
8295781     POWER) (CA)                               1149 ELLSWORTH DRIVE                                                               PASADENA          TX   77506
8295782     CITY OF PEMBROKE PINES                    61 CITY CENTER WAY                                                                 PEMBROKE PINES    FL   33025



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                            Page 7 of 25
                                                       Case 20-11218-MFW             Doc 645         Filed 07/01/20     Page 125 of 142
                                                                                              Exhibit J
                                                                                       Utilities Service List
                                                                                     Served via first class mail
MMLID                              NAME                              ADDRESS 1                    ADDRESS 2              ADDRESS 3               CITY   STATE POSTAL CODE COUNTRY
8295783     CITY OF PENSACOLA (ESP)                      222 W MAIN STREET                                                           PENSACOLA          FL    32502
            CITY OF PHILADELPHIA (PHILADELPHIA WATER
8295784     DEPARTMENT)                                  1515 ARCH ST.                  17TH FLOOR                                   PHILADELPHIA       PA   19102‐1595
8295785     CITY OF PHOENIX                              200 W. WASHINGTON STREET                                                    PHOENIX            AZ   85003
8295786     CITY OF PITTSFIELD (MA)                      201 W. 4TH ST.                                                              PITTSBURG          KS   66762
8295787     CITY OF PLANO UTILITIES                      PLANO MUNICIPAL CENTER         1520 K AVENUE                                PLANO              TX   75074
8295788     CITY OF PLAQUEMINE                           23640 RAILROAD AVENUE                                                       PLAQUEMINE         LA   70764
8295789     CITY OF PLEASANTON                           123 MAIN STREET                                                             PLEASANTON         CA   94566
8295790     CITY OF PLYMOUTH                             900 OAKHILL AVENUE                                                          PLYMOUTH           IN   46563
8295791     CITY OF POMPANO BEACH                        100 WEST ATLANTIC BLVD                                                      POMPANO BEACH      FL   33060
8295792     CITY OF PORTLAND WATER BUREAU                664 N. TILLAMOOK ST.                                                        PORTLAND           OR   97227
8295793     CITY OF POWAY                                13325 CIVIC CENTER DRIVE                                                    POWAY              CA   92064
8295794     CITY OF RALEIGH (NC)                         222 W. HARGETT STREET          1ST FLOOR                                    RALEIGH            NC   27601
8295795     CITY OF REDLANDS                             35 CAJON ST SUITE 15A                                                       REDLANDS           CA   92373
8295796     CITY OF RENO                                 1 E. FIRST STREET                                                           RENO               NV   89501
8295797     CITY OF RENTON                               1055 S. GRADY WAY                                                           RENTON             WA   98057
8295798     CITY OF REVERE                               REVERE CITY HALL               281 BROADWAY               BASEMENT          REVERE             MA   02151
8295799     CITY OF RICHARDSON                           411 W. ARAPAHO RD                                                           RICHARDSON         TX   75080‐4551
8295800     CITY OF RICHMOND (VA)                        900 E. BROAD ST.               ROOM 115                                     RICHMOND           VA   23219
8295801     CITY OF ROCHESTER HILLS WATER                1000 ROCHESTER HILLS DR.                                                    ROCHESTER HILLS    MI   48309
8295802     CITY OF ROCK HILL (SC)                       155 JOHNSTON STREET                                                         ROCK HILL          SC   29730
8295803     CITY OF ROCKFORD                             425 E. STATE STREET                                                         ROCKFORD           IL   61104
8295804     CITY OF ROCKY MOUNT                          331 S. FRANKLIN ST.                                                         ROCKY MOUNT        NC   27802‐1180
8296477     CITY OF ROMULUS                              11111 WAYNE ROAD                                                            ROMULUS            MI   48174
8295805     CITY OF ROSEVILLE                            311 VERNON ST.                                                              ROSEVILLE          CA   95678
8295806     CITY OF ROSWELL                              425 N RICHARDSON                                                            ROSWELL            NM   88201
8295807     CITY OF ROYAL OAK                            211 S WILLIAMS STREET                                                       ROYAL OAK          MI   48067
8295808     CITY OF SACRAMENTO                           915 I STREET                                                                SACRAMENTO         CA   95814
8295809     CITY OF SALEM (VA)                           114 N. BROAD ST.                                                            SALEM              VA   24153
8295810     CITY OF SAN BRUNO                            567 EL CAMINO REAL                                                          SAN BRUNO          CA   94066
8295811     CITY OF SAN DIEGO                            202 C ST.                                                                   SAN DIEGO          CA   92101
8295812     CITY OF SANFORD (FL)                         225 E WEATHERSPOON STREET                                                   SANFORD            NC   27331
8295813     CITY OF SANTA ANA                            20 CIVIC CENTER PLAZA                                                       SANTA ANA          CA   92701
8295814     CITY OF SANTA CLARA SILICON VALLEY POWER     1500 WARBURTON AVENUE                                                       SANTA CLARA        CA   95050
8295815     CITY OF SANTA MONICA                         1685 MAIN ST                                                                SANTA MONICA       CA   90401
8295816     CITY OF SANTA ROSA                           100 SANTA ROSA AVENUE                                                       SANTA ROSA         CA   95404
8295817     CITY OF SASKATOON                            222 3RD AVE NORTH                                                           SASKATOON          SK   S7K OJ5      CANADA
8295818     CITY OF SAVANNAH                             2 EAST BAY ST.                                                              SAVANNAH           GA   31401
8295819     CITY OF SCOTTSDALE                           3939 N. DRINKWATER BLVD                                                     SCOTTSDALE         AZ   85251
8295820     CITY OF SHREVEPORT ‐ DOWAS                   505 TRAVIS STREET                                                           SHREVEPORT         LA   71101
8295821     CITY OF SIGNAL HILL                          CITY HALL                      2175 CHERRY AVENUE                           SIGNAL HILL        CA   90775
8295822     CITY OF SIOUX CITY                           405 6TH STREET                                                              SIOUX CITY         IA   51102
8295823     CITY OF SOMERVILLE                           150 8TH STREET                                                              SOMERVILLE         TX   77879
8295824     CITY OF SOUTHAVEN (MS)                       8710 NORTHWEST DRIVE                                                        SOUTHAVEN          MS   38671



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                            Page 8 of 25
                                                      Case 20-11218-MFW                Doc 645            Filed 07/01/20   Page 126 of 142
                                                                                                    Exhibit J
                                                                                             Utilities Service List
                                                                                           Served via first class mail
MMLID                             NAME                                   ADDRESS 1                     ADDRESS 2           ADDRESS 3               CITY    STATE   POSTAL CODE COUNTRY
8295825     CITY OF SOUTHFIELD                            26000 EVERGREEN ROAD                PO BOX 2055                              SOUTHFIELD         MI       48037
8295826     CITY OF ST CLOUD (FL)                         1300 9TH STREET                                                              ST. CLOUD          FL       34769
8295827     CITY OF ST. CHARLES                           2 E. MAIN STREET                                                             ST. CHARLES        IL       60174
8295828     CITY OF ST. JOHN'S                            70 EAST COMMERCIAL                                                           ST. JOHNS          AZ       85936
8295829     CITY OF ST. PETERSBURG                        325 CENTRAL AVE                                                              ST. PETERSBURG     FL       33701
8295830     CITY OF STATESBORO                            50 E. MAIN STREET                                                            STATESBORO         GA       30458
8295831     CITY OF STERLING (CO)                         421 N. 4TH ST.                      P.O. BOX 4000                            STERLING           CO       80751‐0400
8295832     CITY OF STERLING HEIGHTS WATER                7200 18 MILE ROAD                                                            STERLING HEIGHTS   MI       48314
8295833     CITY OF STOCKTON (CA)                         425 N. EL DORADO ST                                                          STOCKTON           CA       95202
8295834     CITY OF TACOMA PUBLIC UTILITIES               3628 SOUTH 35TH STREET                                                       TACOMA             WA       98409
8295835     CITY OF TALLAHASSEE                           300 S. ADAMS ST.                                                             TALLAHASSEE        FL       32301
8295836     CITY OF TAMPA UTILITIES                       306 EAST JACKSON STREET                                                      TAMPA              FL       33602
8295837     CITY OF TEMPLE (TX)                           2 NORTH MAIN STREET                                                          TEMPLE             TX       76501
8295838     CITY OF THE VILLIAGE (OK)                     2304 MANCHESTER DRIVE                                                        THE VILLAGE        OK       73120
8295839     CITY OF THOUSAND OAKS                         2100 THOUSAND OAKS BLVD.                                                     THOUSAND OAKS      CA       91362
8295840     CITY OF TORRANCE UTILITIES                    3031 TORRANCE BLVD.                                                          TORRANCE           CA       90503
8295841     CITY OF TUCSON                                255 WEST ALAMEDA                                                             TUCSON             AZ       85701
8295842     CITY OF TULSA                                 175 EAST 2ND STREET                                                          TULSA              OK       74103
8295843     CITY OF TURLOCK                               156 S. BROADWAY                     STE. 270                                 TURLOCK            CA       95380
8295844     CITY OF TWIN FALLS                            203 MAIN AVENUE EAST                                                         TWIN FALLS         ID       83301
8295845     CITY OF UKIAH                                 300 SEMINARY AVENUE                                                          UKIAH              CA       95482
8295846     CITY OF UNION CITY (GA)                       5047 UNION STREET                                                            UNION CITY         GA       30291
8295847     CITY OF VALDOSTA                              1016 MYRTLE STREET                                                           VALDOSTA           GA       31601
8295848     CITY OF VANDALIA                              333 JAMES BOHANAN DR.                                                        VANDALIA           OH       45377

8295849     CITY OF VICKSBURG                             VICKSBURG WATER AND GAS OFFICE      2111 DRUMMOND STREET                     VICKSBURG          MS       39180
8295850     CITY OF VICTORIA                              700 MAIN CENTER                     SUITE 110                                VICTORIA           TX       77901
8295851     CITY OF WARNER ROBINS                         700 WATSON BOULEVARD                P.O. BOX 8629                            WARNER ROBINS      GA       31093
8295852     CITY OF WARR ACRES (OK)                       5930 NW 49TH STREET                                                          WARR ACRES         OK       73122
8295853     CITY OF WARREN UTILITY DEPARTMENT             580 LAIRD AVENUE S.E.                                                        WARREN             OH       44484
8295854     CITY OF WATERBURY                             236 GRAND STREET                    4TH FLOOR                                WATERBURY          CT       06702
8295855     CITY OF WESTMINSTER (MD)                      8200 WESTMINSTER BLVD.                                                       WESTMINSTER        CA       92683‐3366
8295856     CITY OF WICHITA                               1300 7TH STREET                                                              WICHITA FALLS      TX       76307‐7531
8295857     CITY OF WILKES‐BARRE SEWER                    40 EAST MARKET STREET                                                        WILKES‐BARRE       PA       18711
8295858     CITY OF WILLIAMSBURG (VA)                     401 LAFAYETTE STREET                                                         WILLIAMSBURG       VA       23185‐3617
8295859     CITY OF WINSTON SALEM                         100 EAST FIRST STREET                                                        WINSTON‐SALEM      NC       27101
8295860     CITY OF WINTER HAVEN                          451 THIRD ST. NW                                                             WINTER HAVEN       FL       33881
8295861     CITY OF WINTER PARK                           401 SOUTH PARK AVENUE                                                        WINTER PARK        FL       32789
8295862     CITY OF WOODSTOCK                             12453 HWY 92                                                                 WOODSTOCK          GA       30188
8295863     CITY UTILITIES FORT WAYNE                     200 EAST BERRY ST.                  SUITE 425                                FORT WAYNE         IN       46802
8295864     CITY WASTE SERVICES OF NEW YORK               529 COSTER ST                                                                BRONX              NY       10474

8295865     CITY WATER LIGHT AND POWER OF SPRINGFIELD (IL) 800 E. MONROE STREET               4TH FLOOR                                SPRINGFIELD        IL       62701




          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                  Page 9 of 25
                                                         Case 20-11218-MFW              Doc 645         Filed 07/01/20   Page 127 of 142
                                                                                                 Exhibit J
                                                                                          Utilities Service List
                                                                                        Served via first class mail
MMLID                                  NAME                            ADDRESS 1                       ADDRESS 2         ADDRESS 3                 CITY   STATE POSTAL CODE COUNTRY

8295866     CLARK COUNTY WATER RECLAMATION DISTRICT        5857 EAST FLAMINGO ROAD                                                   LAS VEGAS            NV   89122
8295867     CLARK PUBLIC UTILITIES                         1200 FORT VANCOUVER WAY                                                   VANCOUVER            WA   98663‐3527
            CLARKSVILLE DEPARTMENT OF ELECTRICITY (CDE
8295868     LIGHTBAND) (TVA)                               2021 WILMA RUDOLPH BLVD.                                                  CLARKSVILLE          TN   37040
8295869     CLARKSVILLE GAS AND WATER                      2215 MADISON STREET                                                       CLARKSVILLE          TN   37043
            CLARKSVILLE WASTEWATER TREATMENT
8295870     DEPARTMENT                                     2000 BROADWAY STREET                                                      CLARKSVILLE          IN   47129
8295871     CLAY COUNTY UTILITY AUTHORITY                  3176 OLD JENNINGS ROAD                                                    MIDDLESBURG          FL   32068
8295872     CLAY ELECTRIC COOPERATIVE INC.                 10 CITRUS DRIVE                                                           KEYSTONE HEIGHTS     FL   32656‐0308
8295873     CLAYTON COUNTY WATER AUTHORITY                 1600 BATTLE CREEK ROAD                                                    MORROW               GA   30260‐4302
8295874     CLECO POWER LLC                                2030 DONAHUE FERRY ROAD                                                   PINEVILLE            LA   71361‐5000
8295875     CLEVELAND UTILITIES (TVA)                      2450 GUTHRIE AVENUE NW                                                    CLEVELAND            TN   37311
8295876     COBB COUNTY WATER SYSTEM                       660 SOUTH COBB DRIVE                                                      MARIETTA             GA   30060
8295877     COBB EMC                                       1000 EMC PARKWAY                                                          MARIETTA             GA   30060
8295878     COLLEGE STATION UTILITIES                      1101 TEXAS AVE.                                                           COLLEGE STATION      TX   77840
8295879     COLLEGE UTILITIES CORPORATION                  3691 CAMERON ST                 SUITE 201                                 FAIRBANKS            AK   99709
8295880     COLORADO SPRINGS UTILITIES                     111 S. CASCADE AVE.                                                       COLORADO SPRINGS     CO   80903
8295881     COLUMBIA GAS OF KY                             2001 MERCER RD                                                            LEXINGTON            KY   40511‐1018
8295882     COLUMBIA GAS OF MA (FKA BAY STATE GAS)         P.O. BOX 2025                                                             SPRINGFIELD          MA   01102‐2025
8295883     COLUMBIA GAS OF OH                             P.O. BOX 117                                                              COLUMBUS             OH   43216
8295884     COLUMBIA GAS OF PA                             P.O. BOX 117                                                              COLUMBUS             OH   43217
8295885     COLUMBIA GAS OF VA                             P.O. BOX 118                                                              COLUMBUS             OH   43218
8295886     COLUMBIA POWER & WATER SYSTEMS (TVA)           201 PICKENS LN                                                            COLUMBIA             TN   38401
8295887     COLUMBUS CITY UTILITIES                        1111 MCCLURE ROAD                                                         COLUMBUS             IN   47201
8265219     COLUMBUS REGIONAL AIRPORT                      4600 INTERNATIONAL GATEWAY                                                COLUMBUS             OH   43219
8265220     COMCAST                                        COMCAST CENTER                  1701 JFK BOULEVARD                        PHILADELPHIA         PA   19103
8265221     COMCAST CORPORATION                            COMCAST CENTER                  1701 JFK BOULEVARD                        PHILADELPHIA         PA   19103
8265222     COMPORIUM COMMUNICATIONS                       332 EAST MAIN STREET                                                      ROCK HILL            SC   29730
8295888     CONNECTICUT NATURAL GAS                        76 MEADOW ST                                                              EAST HARTFORD        CT   06108‐3218
8295889     CONNECTICUT WATER                              93 WEST MAIN STREET                                                       CLINTON              CT   06413
8295890     CONSERVICE (TX)                                750 SOUTH GATEWAY DRIVE                                                   RIVER HEIGHTS        UT   84321
8265230     CONSOLIDATED COMMUNICATIONS                    121 S. 17TH STREET                                                        MATTOON              IL   61938
8295891     CONSOLIDATED EDISON                            4 IRVING PLACE                                                            NEW YORK             NY   10003
8295892     CONSOLIDATED MUTUAL WATER                      12700 W. 27TH AVENUE                                                      LAKEWOOD             CO   80215
8295893     CONSOLIDATED WATERWORKS DISTRICT               8814 MAIN STREET                                                          HOUMA                LA   70361
8295894     CONSTELLATION NEW ENERGY                       750 EAST PRATT STREET                                                     BALTIMORE            MD   21202
8295895     CONSUMERS ENERGY                               1 ENERGY PLAZA DR                                                         JACKSON              MI   49201
8295896     CONTRA COSTA WATER DISTRICT                    1331 CONCORD AVENUE                                                       CONCORD              CA   94520
8295897     CORN BELT ENERGY                               1 ENERGY WAY                                                              BLOOMINGTON          IL   61705
8295898     COUNTRY GAS                                    1281 NM‐333                                                               TIJERAS              NM   87059
8295899     COUNTY OF HAWAII                               345 KEKUANAOA STREET            SUITE 20                                  HILO                 HI   96720
8295900     COUNTY OF HENRICO                              4301 EAST PARHAM ROAD                                                     HENRICO              VA   23228
8295901     COUNTY OF KAUAI                                4444 RICE ST                    SUITE 220                                 LIHUE                HI   96766



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                               Page 10 of 25
                                                          Case 20-11218-MFW                 Doc 645         Filed 07/01/20   Page 128 of 142
                                                                                                     Exhibit J
                                                                                              Utilities Service List
                                                                                            Served via first class mail
MMLID                                  NAME                               ADDRESS 1                        ADDRESS 2         ADDRESS 3                CITY   STATE POSTAL CODE COUNTRY
8295902     COUNTY OF MAUI                                  200 S. HIGH ST.                                                              WAILUKU             HI    96793

8265346     COX BUSINESS SERVICES                           6205‐B PEACHTREE DUNWOODY ROAD                                               ATLANTA             GA   30328

8265347     COX COMMUNICATIONS INC                          6205‐B PEACHTREE DUNWOODY ROAD                                               ATLANTA             GA   30328
            CPS ENERGY (FKA CITY PUBLIC SERVICE OF SAN
8295903     ANTONIO)                                        145 NAVARRO                        MAIL DROP 110910                          SAN ANTONIO         TX   78205
8295904     DAKOTA ELECTRIC ASSOCIATION                     4300 220TH STREET WEST                                                       FARMINGTON          MN   55024
8295905     DALTON UTILITIES                                1200 V.D. PARROTT JR. PKWY.                                                  DALTON              GA   30721
8295906     DAPHNE UTILITIES                                900 DAPHNE AVENUE                                                            DAPHNE              AL   36526
8295907     DAVENEY ENERGY (MA)                             177 WELLS AVENUE                                                             NEWTON              MA   02459‐9120
8295908     DEAD RIVER CO (ME)                              80 EXCHANGE STREET SUITE 300                                                 HEBRON              ME   04401
8295909     DEKALB COUNTY                                   1300 COMMERCE DRIVE                                                          DECATUR             GA   30030
8295910     DELMARVA POWER OF MD                            500 NORTH WAKEFIELD DRIVE                                                    NEWARK              DE   19702
8295911     DELTA‐MONTROSE ELECTRIC ASSOCIATION             11925 6300 ROAD                                                              MONTROSE            CO   81401
8295912     DENVER PUBLIC WORKS                             2000 W. 3RD AVENUE                                                           DENVER              CO   80223
8295913     DENVER WATER                                    1600 W. 12TH AVE                                                             DENVER              CO   80204‐3412
            DEPARTMENT OF PUBLIC UTILITIES (ORANGEBURG
8295914     SC)                                             1016 RUSSELL STREET                                                          ORANGEBURG          SC   29115
8295915     DEPARTMENT OF WATER COUNTY OF KAUAI             4398 PUA LOKE ST.                                                            LIHUE               HI   96766

8295916     DEPARTMENT OF WATER COUNTY OF MAUI (HI)         200 S. HIGH ST.                                                              WAILUKU             HI   96793
8265378     DES MOINES INTERNATIONAL AIRPORT                5800 FLEUR DRIVE                   SUITE 207                                 DES MOINES          IA   50321‐2854
8295917     DES MOINES WATER WORKS                          2201 GEORGE FLAGG PARKWAY                                                    DES MOINES          IA   50321
8295918     DESERT WATER AGENCY                             1200 S GENE AUTRY TRAIL                                                      PALM SPRINGS        CA   92264
8295919     DESTIN WATER USERS, INC.                        218 MAIN STREET                                                              DESTIN              FL   32541
8295920     DILEO GAS, INC.                                 630 SUNDERLAND RD                                                            WORCESTER           MA   01604
8295921     DOMINION ENERGY (DOMINION HOPE)                 120 TREDEGAR ST                                                              RICHMOND            VA   23219‐4306
            DOMINION ENERGY (FKA QUESTAR GAS COMPANY
8295922     OF UT)                                          333 S STATE ST                                                               SALT LAKE CITY      UT   84111‐2302
            DOMINION ENERGY NORTH CAROLINA (FKA PSNC
8295923     ENERGY)                                         400 OTARRE PKWY                                                              CAYCE               SC   29033‐3751
            DOMINION ENERGY OHIO (FKA DOMINION EAST
8295924     OHIO GAS)                                       120 TREDEGAR STREET 6TH FLOOR                                                RICHMOND            VA   23219
            DOMINION ENERGY VIRGINIA (FKA. DOMINION
8295925     VIRGINIA POWER)                                 120 TREDEGAR ST                                                              RICHMOND            VA   23219‐4306
8295926     DOMINION SOUTH CAROLINA (FKA SCE&G)             220 OPERATIONS WAY                                                           CAYCE               SC   29033
8295927     DOWNERS GROVE SANITARY DISTRICT                 2710 CURTISS STREET                                                          DOWNERS GROVE       IL   60515‐0703
8295928     DTE ENERGY                                      ONE ENERGY PLAZA                                                             DETROIT             MI   48226
8295929     DUKE ENERGY FLORIDA                             299 1ST AVE N                                                                SAINT PETERSBURG    FL   33701‐3308
8295930     DUKE ENERGY INDIANA (DEI)                       1000 E MAIN ST                                                               PLAINFIELD          IN   46168‐1765

8295931     DUKE ENERGY KENTUCKY (F.K.A. CINERGY OF KY)     139 E 4TH ST                                                                 CINCINNATI          OH   45202‐4034
8295932     DUKE ENERGY OF NC (DEC NC)                      526 SOUTH CHURCH STREET                                                      CHARLOTTE           NC   28202


          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                   Page 11 of 25
                                                          Case 20-11218-MFW                Doc 645            Filed 07/01/20   Page 129 of 142
                                                                                                       Exhibit J
                                                                                                Utilities Service List
                                                                                              Served via first class mail
MMLID                           NAME                                     ADDRESS 1                           ADDRESS 2         ADDRESS 3                 CITY   STATE   POSTAL CODE COUNTRY
8295933     DUKE ENERGY OF SC (DEC SC)                      526 SOUTH CHURCH STREET                                                        CHARLOTTE            NC      28202
8295934     DUKE ENERGY OHIO                                139 E 4TH ST                                                                   CINCINNATI           OH      45202‐4034
8295935     DUKE PROGRESS OF NC (DEP NC)                    550 SOUTH TRYON STREET                                                         CHARLOTTE            NC      28202
8295936     DUKE PROGRESS OF SC (DEP SC)                    550 SOUTH TRYON STREET                                                         CHARLOTTE            NC      28202
8295937     DUQUESNE LIGHT COMPANY                          411 SEVENTH AVENUE (6‐1)                                                       PITTSBURGH           PA      15219
8265537     EARTHLINK                                       980 HAMMOND DR. NE                   SUITE 400                                 ATLANTA              GA      30328

8295938     EAST BAY MUNICIPAL UTILITY DISTRICT (EBMUD)     375 11TH STREET                                                                OAKLAND              CA      94607
8295939     EAST BRUNSWICK WATER/SEWER UTILITIES            25 HARTS LANE                                                                  EAST BRUNSWICK       NJ      08816
8295940     EASTERN PROPANE & OIL (MA)                      28 INDUSTRIAL WAY                                                              ROCHESTER            NH      03867
8265545     EATEL                                           913 S. BURNSIDE AVENUE                                                         GONZALES             LA      70737
8295941     EL PASO DISPOSAL                                5539 EL PASO DRIVE                                                             EL PASO              TX      79905
8295942     EL PASO ELECTRIC COMPANY OF TX                  STANTON TOWER                        100 NORTH STANTON                         EL PASO              TX      79901
8295943     EL PASO WATER UTILITIES                         6400 BOEING DRIVE                                                              EL PASO              TX      79925

8295944     ELECTRIC POWER BOARD OF CHATTANOOGA (TVA)       10 MARTIN LUTHER KING BLVD                                                     CHATTANOOGA          TN      37402‐1813
8295945     ELEXICON ENERGY (FKA WHITBY HYDRO)              100 TAUNTON ROAD EAST                                                          WHITBY               ON      L1R 3L5      CANADA
8295946     EMERA MAINE (FKA BANGOR HYDRO)                  21 TELCOM DR                                                                   BANGOR               ME      04401‐3392
8295947     ENBRIDGE (ON)                                   500 CONSUMERS ROAD                                                             NORTH YORK           ON      M2J 1P8      CANADA
8295948     ENERGIE NB POWER                                515 KING STREET                                                                FREDERICTON          NB      E3B 4X1      CANADA
8295949     ENERGIR (FKA GAZ METROPOLITAIN)                 1717, DU HAVRE                                                                 MONTRÉAL             QC      H2K 2X3      CANADA
8295950     ENERGY UNITED                                   567 MOCKSVILLE HIGHWAY                                                         STATESVILLE          NC      28687
8295951     ENMAX POWER CORPORATION                         141 50 AVENUE S.E.                                                             CALGARY              AB      T2G 4S7      CANADA
8295952     ENSTAR NATURAL GAS COMPANY                      3000 SPENARD RD                                                                ANCHORAGE            AK      99503‐3606
8295953     ENTERGY (MISSISSIPPI)                           308 EAST PEARL STREET                                                          JACKSON              MS      39201
8295954     ENTERGY ARKANSAS INC.                           425 W CAPITOL AVE FL 40                                                        LITTLE ROCK          AR      72201‐3488
8295955     ENTERGY GULF STATES LOUISIANA INC.              4809 JEFFERSON HWY                                                             JEFFERSON            LA      70121‐3122
8295956     ENTERGY GULF STATES TEXAS INC.                  10055 GROGANS MILL RD                                                          THE WOODLANDS        TX      77380‐1059
8295957     ENTERGY LOUISIANA INC.                          4809 JEFFERSON HWY                                                             JEFFERSON            LA      70121‐3122
8295958     ENTERGY NEW ORLEANS INC.                        1600 PERDIDO STREET L‐ENT‐6H                                                   NEW ORLEANS          LA      70112
8295959     EPCOR DISTRIBUTION INC.                         15626 N DEL WEBB BLVD                                                          SUN CITY             AZ      85351
8295960     ERIE COUNTY WATER AUTHORITY                     554 RIVER ROAD                                                                 HURON                OH      44839
8295961     EUGENE WATER & ELECTRIC BOARD                   500 EAST FOURTH AVENUE                                                         EUGENE               OR      97401
                                                                                                 CIVIC CENTER COMPLEX, ROOM
8295962     EVANSVILLE IN WATERWORKS DEPT                   1 NW MARTIN LUTHER KING JR BLVD      104                                       EVANSVILLE           IN      47708
                                                                                                 CIVIC CENTER COMPLEX, ROOM
8295963     EVANSVILLE WATER AND SEWER UTILITY              1 NW MARTIN LUTHER KING JR BLVD      104                                       EVANSVILLE           IN      47708
8295964     EVERETT UTILITIES                               3101 CEDAR STREET                                                              EVERETT              WA      98201

8295965     EVERGY (FKA KANSAS CITY POWER & LIGHT OF KS)    1200 MAIN STREET                                                               KANSAS CITY          MO      64105
            EVERGY (FKA KANSAS CITY POWER & LIGHT OF MO
8295966     (KCPL))                                         1200 MAIN STREET                                                               KANSAS CITY          MO      64106
8295967     EVERGY (FKA WESTAR ENERGY)                      818 SOUTH KANSAS AVENUE                                                        TOPEKA               KS      66612
8295968     EVERSOURCE (CONNECTICUT LIGHT & POWER)          107 SELDEN STREET                                                              BERLIN               CT      06037



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                     Page 12 of 25
                                                     Case 20-11218-MFW                     Doc 645         Filed 07/01/20   Page 130 of 142
                                                                                                    Exhibit J
                                                                                             Utilities Service List
                                                                                           Served via first class mail
MMLID                           NAME                                 ADDRESS 1                          ADDRESS 2           ADDRESS 3               CITY   STATE POSTAL CODE COUNTRY
8295969     EVERSOURCE (NSTAR ‐ BOSTON EDISON)           800 BOYLSTON ST                                                                BOSTON             MA    02199‐8108
            EVERSOURCE (NSTAR ‐ CAMBRIDGE ELECTRIC LIGHT
8295970     COMPANY)                                     800 BOYLSTON ST                                                                BOSTON             MA   02199‐8108

8295971     EVERSOURCE (NSTAR ‐ COMMONWEALTH ELECTRIC) 800 BOYLSTON ST                                                                  BOSTON             MA   02199‐8108
8295972     EVERSOURCE (NSTAR GAS COMPANY)             300 CADWELL DR                                                                   SPRINGFIELD        MA   01104‐1742

8295973     EVERSOURCE (WESTERN MASSACHUSETTS ELECTRIC) 800 BOYLSTON ST                                                                 BOSTON             MA   02199‐8108

8295974     EVERSOURCE (YANKEE GAS SERVICES COMPANY)      107 SELDEN ST                                                                 BERLIN             CT   06037‐1616
            EVERSOURCE ENERGY OF NH (FKA PUBLIC SERVICE
8295975     OF NEW HAMPSHIRE)                             780 NORTH COMMERCIAL ST                                                       MANCHESTER         NH   03101‐1134
8295976     EXELON (COMMONWEALTH EDISON)                  P.O. BOX 805379                                                               CHICAGO            IL   60680‐5379
8295977     FAIRFAX WATER                                 8570 EXECUTIVE PARK AVE.                                                      FAIRFAX            VA   22031
8295978     FAIRFIELD MUNICIPAL UTILITIES                 1000 WEBSTER ST.                                                              FAIRFIELD          CA   94533
8295979     FAYETTEVILLE PWC (NC)                         PO BOX 1089                                                                   FAYETTEVILLE       NC   28302
8265714     FIBERNETICS                                   605 BOXWOOD DRIVE                                                             CAMBRIDGE          ON   N3E 1A5      CANADA
8265715     FIRESERVE LLC                                 900 MAIN ST.                        SUITE B                                   KLAMATH FALLS      OR   97601
8295980     FISHER‐CHURCHILL COMPANY                      271 MILTON STREET                                                             DEDHAM             MA   02026
8295981     FIVE STAR CARTING INC                         5835 47TH STREET                                                              FLUSHING           NY   11378

8295982     FLORIDA GOVERNMENTAL UTILITY AUTHORITY        280 WEKIVA SPRINGS ROAD, SUITE 2070                                           LONGWOOD           FL   32779‐6026
8296478     FLORIDA KEYS AQUEDUCT AUTHORITY               1100 KENNEDY DRIVE                                                            KEY WEST           FL   33040
8295983     FLORIDA POWER & LIGHT                         700 UNIVERSE BLVD                                                             JUNO BEACH         FL   33408
8295984     FORTIS ALBERTA                                320 – 17 AVENUE SW                                                            CALGARY            AB   T2S 2V1      CANADA
8295985     FORTISBC (FORMERLY TERASEN GAS)               16705 FRASER HIGHWAY                                                          SURREY             BC   V4N 0E8      CANADA
8265804     FRANKFORT PLANT BOARD                         151 FLYNN AVENUE                                                              FRANKFORT          KY   40601
8295986     FRANKFORT PLANT BOARD                         317 WEST 2ND STREET                                                           FRANKFORT          KY   40601
8295987     FREEPORT ELECTRIC                             46 N OCEAN AVENUE                                                             FREEPORT           NY   11520
8265806     FRONTIER                                      401 MERRITT 7                                                                 NORWALK            CT   06851
8265807     FTC                                           600 PENNSYLVANIA AVENUE, NW                                                   WASHINGTON         DC   20580
8295988     GAINESVILLE REGIONAL UTILITIES                P.O. BOX 147051                     STATION A110                              GAINESVILLE        FL   32614‐7051
            GEORGETOWN MUNICIPAL WATER AND SEWER
8295989     SERVICE                                       1000 W. MAIN ST                                                               GEORGETOWN         KY   40324
8265810     GEORGIA BUILDING AUTHORITY                    1 MARTIN LUTHER KING JR. DRIVE                                                ATLANTA            GA   30334
8295990     GEORGIA POWER                                 75 5TH ST NW                        STE 150                                   ATLANTA            GA   30308
            GERALD R FORD INTERNATIONAL AIRPORT
8265840     AUTHORITY                                     5500 44TH STREET SE                                                           GRAND RAPIDS       MI   49512
8295991     GLENDALE WATER AND POWER                      141 N. GLENDALE AVE                                                           GLENDALE           CA   91206

8295992     GLENMORE‐ELLISON IMPROVEMENT DISTRICT (BC)    445 GLENMORE ROAD                                                             KELOWNA            BC   V1V 1Z6      CANADA
8295993     GOLD MEDAL DISPOSAL, INC                      309 SALINA ROAD                                                               SEWELL             NJ   08080
8295994     GOLDEN STATE WATER CO                         115‐121 EXCHANGE PLACE                                                        SAN DIMAS          CA   91773
8295995     GOLDEN VALLEY ELECTRIC ASSOCIATION            PO BOX 71249                                                                  FAIRBANKS          AK   99707‐1249


          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                  Page 13 of 25
                                                  Case 20-11218-MFW                    Doc 645           Filed 07/01/20   Page 131 of 142
                                                                                                  Exhibit J
                                                                                           Utilities Service List
                                                                                         Served via first class mail
MMLID                             NAME                               ADDRESS 1                        ADDRESS 2           ADDRESS 3                CITY    STATE POSTAL CODE COUNTRY
8265851     GRANITE                                     100 NEWPORT AVENUE EXTENSION                                                  QUINCY               MA    02171
8296479     GREATER CINCINNATI WATER WORKS              4747 SPRING GROVE AVE                                                         CINCINNATI           OH    45232
            GREATER NEW HAVEN WATER POLLUTION CONTROL
8295996     AUTHORITY                                   260 EAST STREET                                                               NEW HAVEN            CT   06511
8265856     GREATER ORLANDO AVIATION                    ONE JEFF FUQUA BOULEVARD                                                      ORLANDO              FL   32827
8265857     GREENVILLE SPARTANBURG AIRPORT              2000 GSP DR STE 1                                                             GREER                SC   29651
8295997     GREENVILLE UTILITIES COMMISSION (NC)        200 WEST FIFTH STREET                                                         GREENVILLE           NC   27858
8295998     GREENVILLE WATER SYSTEM (SC)                407 WEST BROAD STREET                                                         GREENVILLE           SC   29601

8295999     GREENWOOD COMMISSIONERS OF PUBLIC WORKS     PO BOX 549                                                                    GREENWOOD            SC   29648‐0549
8296000     GREENWOOD SANITATION DEPARTMENT             367 S. WASHINGTON STREET                                                      GREENWOOD            IN   46143
8296001     GREER COMMISSION OF PUBLIC WORKS (SC)       PO BOX 216                                                                    GREER                SC   29652
8296002     GROTON DEPARTMENT OF UTILITIES              295 MERIDIAN STREET                                                           GROTON               CT   06340
8265865     GTT AMERICAS LLC                            7900 TYSONS ONE PLACE               SUITE 1450                                MCLEAN               VA   22102
8296003     GULF POWER                                  1 ENERGY PL                                                                   PENSACOLA            FL   32501
            GWINNETT COUNTY DEPARTMENT OF WATER
8296004     RESOURCES                                   75 LANGLEY DRIVE                                                              LAWRENCEVILLE        GA   30046
8296005     HALIFAX WATER                               P.O. BOX 51030                                                                HALIFAX              NS   B3M 4R8      CANADA
8296006     HAMPTON ROADS UTILITY BILLING SERVICE       1434 AIR RAIL AVENUE                                                          VIRGINIA BEACH       VA   23455
8265880     HARGRAY TELEPHONE CO                        862‐A WILLIAM HILTON PARKWAY                                                  HILTON HEAD ISLAND   SC   29938
8296007     HARRIS COUNTY MUD #216                      201 CAROLINE                        SUITE 310                                 HOUSTON              TX   77002
8265882     HARRISONVILLE TELEPHONE COMPANY             213 S. MAIN ST.                     P.O. BOX 149                              WATERLOO             IL   62298
8296008     HAWAII ELECTRIC LIGHT CO. (HELCO)           1001 BISHOP STREET                  1ST FLOOR LOBBY                           HONOLULU             HI   96813
8296009     HAWAIIAN ELECTRIC CO. (HECO)                1001 BISHOP STREET                  1ST FLOOR LOBBY                           HONOLULU             HI   96813
8265895     HAWAIIAN TELCOM                             1177 BISHOP STREET                                                            HONOLULU             HI   96813
8296010     HAYWARD WATER SYSTEM                        7811 UNIVERSITY AVENUE                                                        LA MESA              CA   91942‐0427
8265897     HCI                                         1130 MAIN ST                                                                  CINCINNATI           OH   45202
8296011     HENDERSONVILLE UTILITY DISTRICT (TN)        125 INDIAN LAKE ROAD                                                          HENDERSONVILLE       TN   37077
8296012     HICKSVILLE WATER DISTRICT                   P.O. BOX 9065                                                                 HICKSVILLE           NY   11802‐9065
8296013     HIGHLINE WATER DISTRICT                     23828 30TH AVE S.                                                             KENT                 WA   98032
8296014     HILTON HEAD PSD (SC)                        21 OAK PARK DRIVE                                                             ST. HELENA ISLAND    SC   29920
8296015     HOLTZMAN PROPANE                            845‐A S. CHURCH LANE #2155                                                    TAPPAHANNOCK         VA   22560
8296016     HOLY CROSS ENERGY                           3799 HIGHWAY 82                                                               GLENWOOD SPRINGS     CO   81602
8296017     HONOLULU DISPOSAL SERVICE                   1169 MIKOLE ST                                                                HONOLULU             HI   96819
8265910     HORRY TELEPHONE COORPERATIVE INC            3480 HIGHWAY 701 NORTH                                                        CONWAY               SC   29526
8265911     HOUSTON AIRPORT                             16930 JFK BOULEVARD                                                           HOUSTON              TX   77032
8296018     HRSD                                        1434 AIR RAIL AVENUE                                                          VIRGINIA BEACH       VA   23455
                                                        75 BOUL RENÉ‐LÉVESQUE O BUREAU
8296019     HYDRO QUEBEC                                101                                                                           MONTRÉAL             QC   H2Z 1A4      CANADA

8267261     IBM                                         ATTN: ASSOCIATE GENERAL COUNSEL     294 ROUTE 100                             SOMERS               NY   10589
8267260     IBM PROJECT EXECUTIVE                       5601 NORTHWEST EXPRESSWAY                                                     OKLAHOMA CITY        OK   73132
8296020     IDAHO POWER (ID)                            1221 WEST IDAHO ST.                                                           BOISE                ID   83702
8296021     ILLINOIS AMERICAN WATER                     300 N WATER WORKS DR                                                          BELLEVILLE           IL   62223‐8601



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                Page 14 of 25
                                                        Case 20-11218-MFW                    Doc 645         Filed 07/01/20   Page 132 of 142
                                                                                                      Exhibit J
                                                                                               Utilities Service List
                                                                                             Served via first class mail
MMLID                                  NAME                            ADDRESS 1                            ADDRESS 2         ADDRESS 3             CITY   STATE POSTAL CODE COUNTRY

8296022     ILLUMINATING COMPANY (FIRSTENERGY OF OH)       76 S MAIN ST                                                                   AKRON            OH   44308‐1812
8296023     IMPERIAL IRRIGATION DISTRICT                   333 E. BARIONI BLVD                                                            IMPERIAL         CA   92251
8296024     INDIANA AMERICAN WATER                         153 N. EMERSON AVENUE                                                          GREENWOOD        IN   46143
8296025     INDIANAPOLIS POWER & LIGHT                     2102 N. ILLINOIS ST.                                                           INDIANAPOLIS     IN   46202
8265937     INDUSTRIAL COMMUNICATIONS                      40 LONE STREET                                                                 MARSHFIELD       MA   02050
8296026     INTERMOUNTAIN GAS COMPANY (ID)                 555 S. COLE ROAD                                                               BOISE            ID   83709
8296027     INTERMOUNTAIN RURAL ELECT ASSN                 5496 N US HIGHWAY 85                                                           SEDALIA          CO   80135‐8600
8296028     IOWA AMERICAN WATER                            5201 GRAND AVENUE                                                              DAVENPORT        IA   52807
8296029     IRVINE RANCH WATER DISTRICT                    15600 SAND CANYON AVENUR                                                       IRVINE           CA   92618

8296030     IRVING ENERGY DISTRIBUTION MARKETING (NB)      201 CROWN STREET                                                               SAINT JOHN       NB   E2L 5E5      CANADA
8296031     JACKSON EMC                                    850 COMMERCE ROAD                                                              JEFFERSON        GA   30549
8296032     JACKSONVILLE ELECTRIC AUTHORITY                21 W CHURCH STREET                                                             JACKSONVILLE     FL   32202
                                                           716 RICHARD ARRINGTON JR. BLVD.
8296033     JEFFERSON COUNTY ALABAMA                       NORTH                                                                          BIRMINGHAM       AL   35203
8296034     JEFFERSON PARISH DEPT. OF WATER (LA)           1221 ELMWOOD PARK BLVD.              SUITE 403                                 JEFFERSON        LA   70123
            JERSEY CENTRAL POWER & LIGHT (FIRSTENERGY OF
8296035     NJ)                                            300 MADISON AVE                                                                MORRISTOWN       NJ   07960‐6169
8265961     JKA ENTERPRISES LLC                            2030 STONEBRIDGE ROAD                                                          WEST BEND        WI   53095
8296036     JOHNSON COUNTY WASTEWATER                      723 PCA RD                           SUITE 2500                                WARRENSBURG      MO   64093
8296037     KANSAS GAS SERVICE                             7421 W. 129TH ST                                                               OVERLAND PARK    KS   66213
8296038     KAUA'I ISLAND UTILITY COOPERATIVE              4463 PAHE'E STREET                   SUITE 1                                   LIHUE            HI   96766
8296039     KC WATER SERVICES                              4800 EAST 63RD STREET                                                          KANSAS CITY      MO   64130
8296040     KCMO WATER SERVICES INC.                       4800 EAST 63RD STREET                                                          KANSAS CITY      MO   64130
            KCP&L GREATER MISSOURI OPERATIONS COMPANY
8296041     (FORMERLY AQUILA INC. OF MO)                   1201 WALNUT                                                                    KANSAS CITY      MO   64106
8296042     KENERGY CORPORATION                            3111 FAIRVIEW DRIVE                                                            OWENSBORO        KY   42302‐1389
8296043     KENTON CO AIRPORT BOARD                        77 COMAIR BLVD                                                                 ERLANGER         KY   41018
8296044     KENTUCKY AMERICAN WATER                        2300 RICHMOND ROAD                                                             LEXINGTON        KY   40502
8296045     KENTUCKY UTILITIES                             1 QUALITY STREET                                                               LEXINGTON        KY   40507
8296046     KEYS ENERGY SERVICES                           1001 JAMES STREET                                                              KEY WEST         FL   33040
8296047     KING COUNTY WATER DISTRICT NO. 49              415 SW 153RD STREET                                                            BURIEN           WA   98166‐2214
8296048     KISSIMMEE UTILITY AUTHORITY                    1701 W. CARROLL ST.                                                            KISSIMMEE        FL   34741
8296049     KNOXVILLE UTILITIES BOARD (TVA)                445 SOUTH GAY ST.                                                              KNOXVILLE        TN   37902‐1109
8296050     LAFAYETTE UTILITIES SYSTEM (LUS)               1875 W. PINHOOK RD.                  SUITE B                                   LAFAYETTE        LA   70508
8296051     LAKELAND ELECTRIC                              501 EAST LEMON STREET                                                          LAKELAND         FL   33801‐5079
8296052     LAKEWOOD WATER UTILITY                         480 S. ALLISON PARKWAY                                                         LAKEWOOD         CO   80226
8296053     LANSING BOARD OF WATER AND LIGHT               1232 HACO DRIVE                                                                LANSING          MI   48912
8296054     LAS VEGAS VALLEY WATER DISTRICT                1001 SOUTH VALLEY VIEW BLVD.                                                   LAS VEGAS        NV   89153
8296055     LATHAM WATER DISTRICT                          347 OLD NISKAYUNA ROAD                                                         LATHAM           NY   12110‐2290
8296056     LEE COUNTY UTILITIES                           7391 COLLEGE PARKWAY                                                           FORT MYERS       FL   33907
8296057     LEHI CITY COPORATION                           153 NORTH 100 EAST                                                             LEHI             UT   84043
8296058     LEHIGH COUNTY AUTHORITY                        1053 SPRUCE ROAD                                                               ALLENTOWN        PA   18106



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                    Page 15 of 25
                                                          Case 20-11218-MFW              Doc 645         Filed 07/01/20   Page 133 of 142
                                                                                                  Exhibit J
                                                                                           Utilities Service List
                                                                                         Served via first class mail
MMLID                              NAME                               ADDRESS 1                       ADDRESS 2           ADDRESS 3                CITY   STATE POSTAL CODE COUNTRY
            LEXINGTON FAYETTE URBAN COUNTY GOVERNMENT
8296059     (LEXSERV)                                   218 E. MAIN ST.                                                               LEXINGTON           KY   40507
            LIBERTY UTILITIES ‐ NEW ENGLAND GAS COMPANY
8296060     OF MA                                       36 5TH ST                                                                     FALL RIVER          MA   02721‐2846
8296061     LIBERTY UTILITIES (FKA ATMOS ENERGY OF GA)  2300 VICTORY DR                                                               COLUMBUS            GA   31901‐3455

8296062     LIBERTY UTILITIES (FKA NATIONAL GRID OF NH)     15 BUTTRICK ROAD                                                          LONDONDERRY         NH   03053
8296063     LINCOLN ELECTRIC SYSTEM                         1040 O ST.                                                                LINCOLN             NE   68508‐3609
8296064     LINCOLN WATER & WASTEWATER SYSTEM               555 S 10TH ST, STE 203                                                    LINCOLN             NE   68508
8296065     LOS ANGELES COUNTY PUBLIC WORKS                 900 S. FREMONT AVE                                                        ALHAMBRA            CA   91803
8296066     LOS ANGELES DEPT. OF WATER AND POWER            PO BOX 51111                                                              LOS ANGELES         CA   90051‐0100
8296067     LOUDOUN WATER                                   44865 LOUDOUN WATER WAY                                                   ASHBURN             VA   20147
8296068     LOUISVILLE GAS & ELECTRIC CO.                   220 WEST MAIN STREET                                                      LOUISVILLE          KY   40202
8296069     LOUISVILLE WATER COMPANY                        550 SOUTH THIRD STREET                                                    LOUISVILLE          KY   40202
            LOUISVILLE WATER COMPANY (METROPOLITAN
8296070     SEWER DISTRICT)                                 550 SOUTH THIRD STREET                                                    LOUISVILLE          KY   40202
8296071     LOWER LACKAWANNA VALLEY                         398 COXTON ROAD                                                           DURYEA              PA   18642
8296072     LUBBOCK POWER AND LIGHT                         1301 BROADWAY                                                             LUBBOCK             TX   79401
8296073     LYNN WATER SEWER COMMISSION                     400 PARKLAND AVE                                                          LYNN                MA   01905‐1138
8296074     LYNNFIELD WATER DISTRICT                        842 SALEM STREET                                                          LYNNFIELD           MA   01940
8296075     M&M SANITATION                                  480 WILSON AVE                                                            NEWARK              NJ   07105
8296076     MADISON GAS & ELECTRIC (WI)                     623 RAILROAD ST                                                           MADISON             WI   53703
8296077     MADISON MUNICIPAL SERVICES                      119 EAST OLIN AVENUE                                                      MADISON             WI   53713
8296078     MADISON SUBURBAN UTILITY DIST                   108 WEST WEBSTER STREET                                                   MADISON             TN   37115
8296079     MAHONING COUNTY SANITARY ENGRG                  120 MARKET STREET                                                         YOUNGSTOWN          OH   44503
8296080     MANATEE COUNTY UTILITIES                        1112 MANATEE AVENUE WEST                                                  BRADENTON           FL   34205
8296081     MANCHESTER WATER WORKS                          281 LINCOLN STREET                                                        MANCHESTER          NH   03103
8296082     MANHASSET‐LAKEVILLE WATER DISTRICT              170 EAST SHORE ROAD                                                       GREAT NECK          NY   11023
8296083     MANITOBA HYDRO                                  360 PORTAGE AVENUE                                                        WINNIPEG            MB   R3C 0G8      CANADA
8296084     MARIETTA POWER & WATER                          675 NORTH MARIETTA PKWY                                                   MARIETTA            GA   30060
8296085     MARIN MUNICIPAL WATER DISTRICT                  220 NELLEN AVE.                                                           CORTE MADERA        CA   94925
8296086     MAUI DISPOSAL                                   280 IMI KALA STREET                                                       WAILUKU             HI   96793
8296087     MAUI ELECTRIC CO. (MECO)                        210 WEST KAMEHAMEHA AVENUE                                                KAHULUI             HI   96732
8296088     MCALLEN PUBLIC UTILITIES                        1300 HOUSTON AVE                                                          MCALLEN             TX   78501
8296089     MCLAUGHLIN OIL CO.                              20 PROGRESS AVENUE                                                        NASHUA              NH   03062
8296090     MEDINA COUNTY SANITARY ENG                      791 W. SMITH RD                                                           MEDINA              OH   44256
8296091     MEMPHIS LIGHT GAS AND WATER (TVA)               220 SOUTH MAIN STREET                                                     MEMPHIS             TN   38103
8296092     MESA CONSOLIDATED WATER DISTRICT                1965 PLACENTIA AVENUE                                                     COSTA MESA          CA   92627
8266229     METRO WASHINGTON AP AUTH                        600 5TH STREET, NW                                                        WASHINGTON          DC   20001
8296093     METRO WATER SERVICES                            1700 3RD AVE NORTH                                                        NASHVILLE           TN   37208

8266235     METROPOLITAN KNOXVILLE AIRPORT AUTHORITY        2055 ALCOA HWY                                                            ALCOA               TN   37701
8296094     METROPOLITAN ST. LOUIS SEWER DIST.              2350 MARKET STREET                                                        ST. LOUIS           MO   63103‐2555




          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                Page 16 of 25
                                                      Case 20-11218-MFW                 Doc 645         Filed 07/01/20   Page 134 of 142
                                                                                                 Exhibit J
                                                                                          Utilities Service List
                                                                                        Served via first class mail
MMLID                                  NAME                          ADDRESS 1                       ADDRESS 2           ADDRESS 3                CITY   STATE POSTAL CODE COUNTRY

8296095     METROPOLITAN UTILITIES DISTRICT              7350 WORLD COMMUNICATIONS DR.                                               OMAHA               NE   68122‐4041
8296096     METROPOLITAN‐EDISON (FIRSTENERGY OF PA)      2800 CENTRE AVE                                                             READING             PA   19605‐2459
8266249     METTEL                                       55 WATER STREET, 32ND FLOOR                                                 NEW YORK            NY   10041
8266250     MGAGE LLC                                    470 7TH AVENUE, 7TH FLOOR                                                   NEW YORK            NY   10018
8296097     MIAMI DADE CO STORMWATER UTILITY (FL)        701 NW 1ST COURT                                                            MIAMI               FL   33136

8296098     MIAMI‐DADE WATER AND SEWER DEPARTMENT        3071 SW 38TH AVE                                                            MIAMI               FL   33146
8296099     MIDAMERICAN ENERGY COMPANY OF IA             500 E. COURT AVE.                                                           DES MOINES          IA   50309
8296100     MIDAMERICAN ENERGY COMPANY OF IL             320 LECLAIRE                                                                DAVENPORT           IA   52808‐4290
8296101     MID‐CAROLINA ELECTRIC COOPERATIVE            254 LONGS POND ROAD                                                         LEXINGTON           SC   29072

8296102     MIDDLE TENNESSEE ELECTRIC MEMBERSHIP (TVA)   555 NEW SALEM HIGHWAY                                                       MURFREESBORO        TN   37129
8296103     MIDWAY SEWER DISTRICT                        3030 S 240TH ST                                                             KENT                WA   98032
8296104     MIDWEST ENERGY                               1330 CANTERBURY DR                                                          HAYS                KS   67601
8296105     MILFORD WATER COMPANY                        66 DILLA STREET                                                             MILFORD             MA   01757‐1104

8296106     MINNESOTA ENERGY RESOURCES CORPORATION       2665 145TH STREET WEST                                                      ROSEMOUNT           MN   55068
8296107     MISHAWAKA UTILITIES                          126 N CHURCH STREET                                                         MISHAWAKA           IN   46544
8296108     MISSISSIPPI POWER                            2992 W BEACH BLVD                                                           GULFPORT            MS   39501‐1907
8296109     MISSOURI AMERICAN WATER                      727 CRAIG ROAD                                                              ST. LOUIS           MO   63141

8296110     MOBILE AREA WATER AND SEWER SYSTEM (MAWSS)   MAWSS PARK FOREST PLAZA           4725 MOFFETT ROAD                         MOBILE              AL   36618
8296111     MODESTO IRRIGATION DISTRICT                  1231 11TH STREET                                                            MODESTO             CA   95354
8296112     MONROE COUNTY WATER AUTHORITY                475 NORRIS DRIVE                                                            ROCHESTER           NY   14610‐0999
8296113     MONTEREY REGIONAL WATER                      5 HARRIS CT # D                                                             MONTEREY            CA   93940
            MONTGOMERY WATER WORKS & SANITARY SEWER
8296114     BOARD                                        2000 INTERSTATE PARK DRIVE                                                  MONTGOMERY          AL   36109
8266294     MOODMEDIA                                    2100 S. IH 35, SUITE 200                                                    AUSTIN              TX   78704
8296115     MOON TWP MUNICIPAL AUTHORITY                 1700 BEAVER GRADE RD STE 200                                                MOON TOWNSHIP       PA   15108
8296116     MORRISTOWN UTILITY SYSTEMS (TVA)             441 WEST MAIN ST.                                                           MORRISTOWN          TN   37814
8296117     MOUNT PLEASANT SEWER UTILITY                 8811 CAMPUS DRIVE                                                           MOUNT PLEASANT      WI   53406
8296118     MOUNT PLEASANT WATERWORKS                    1619 RIFLE RANGE ROAD                                                       MOUNT PLEASANT      SC   29464
8296119     MOUNTAINEER GAS COMPANY                      501 56TH ST SE                                                              CHARLESTON          WV   25304
8296120     MURFREESBORO ELECTRIC (TVA)                  205 NORTH WALNUT STREET                                                     MURFREESBORO        TN   37130

8296121     MURFREESBORO WATER & SEWER DEPARTMENT        300 NW BROAD STREET                                                         MURFREESBORO        TN   37130
8296122     NASHUA WASTE WATER SYSTEM (NH)               2 SAWMILL ROAD                                                              NASHUA              NH   03060
8296123     NASHVILLE ELECTRIC SERVICE (TVA)             1214 CHURCH STREET                                                          NASHVILLE           TN   37246
8296124     NATCHEZ WATER WORKS                          150 NORTH SHIELDS LANE                                                      NATCHEZ             MS   39120
8296125     NATIONAL FUEL GAS DISTRIBUTION CO OF NY      6363 MAIN STREET                                                            WILLIAMSVILLE       NY   14221
            NATIONAL GAS & OIL (AKA THE ENERGY
8296126     COOPERATIVE)                                 1500 GRANVILLE ROAD                                                         NEWARK              OH   43058
8296127     NATIONAL GRID OF MA                          P.O. BOX 960                                                                NORTHBOROUGH        MA   01532


          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                               Page 17 of 25
                                                       Case 20-11218-MFW                Doc 645           Filed 07/01/20   Page 135 of 142
                                                                                                   Exhibit J
                                                                                            Utilities Service List
                                                                                          Served via first class mail
MMLID                                  NAME                               ADDRESS 1                      ADDRESS 2         ADDRESS 3               CITY     STATE POSTAL CODE COUNTRY

8296128     NATIONAL GRID OF MA (KEYSPAN ‐ BOSTON GAS)     P.O. BOX 960                                                                NORTHBOROUGH         MA   01532

8296129     NATIONAL GRID OF MA (KEYSPAN ‐ COLONIAL GAS)   P.O. BOX 960                                                                NORTHBOROUGH         MA   01532
8296130     NATIONAL GRID OF MA (KEYSPAN ‐ ESSEX)          P.O. BOX 960                                                                NORTHBOROUGH         MA   01532
8296131     NATIONAL GRID OF NY (KEYSPAN ‐ LI ‐ GEC)       P.O. BOX 11741                                                              NEWARK               NJ   07101
8296132     NATIONAL GRID OF NY (KEYSPAN ‐ NYC ‐ BUG)      P.O. BOX 11741                                                              NEWARK               NJ   07101
8296133     NATIONAL GRID OF NY (UPSTATE)                  P.O. BOX 11742                                                              NEWARK               NJ   07101
                                                           NATIONAL GRID CUSTOMER CONTACT
8296134     NATIONAL GRID OF RI                            CENTER                            C‐3 300 ERIE BOULEVARD                    WEST SYRACUSE        NY   13202
8296135     NEVADA IRRIGATION DISTRICT                     1036 WEST MAIN STREET                                                       GRASS VALLEY         CA   95945
8296136     NEW ENGLAND WATER HEATER CO., INC. (MA)        60 NICHOLAS ROAD STE 3                                                      FRAMINGHAM           MA   01701‐3487
8296137     NEW JERSEY AMERICAN WATER                      1 WATER STREET                                                              CAMDEN               NJ   08102
8296138     NEW JERSEY NATURAL GAS                         1415 WYCKOFF ROAD                                                           WALL                 NJ   07719
8296139     NEW MEXICO GAS COMPANY                         P.O. BOX 97500                                                              ALBUQUERQUE          NM   87199‐7500
8296140     NEW YORK AMERICAN WATER                        60 BROOKLYN AVENUE                                                          MERRICK              NY   11566
8296141     NEWARK WATER OFFICE                            34 S. FIFTH ST.                                                             NEWARK               OH   43055
8296142     NEWFOUNDLAND POWER INC                         PO BOX 8910                                                                 ST. JOHN'S           NL   A1B 3P6      CANADA
8296143     NEWNAN UTILITIES                               70 SEWELL ROAD                                                              NEWNAN               GA   30263
8296144     NEWPORT NEWS WATERWORKS                        700 TOWN CENTER DRIVE                                                       NEWPORT NEWS         VA   23606
8296145     NICOR GAS                                      1844 FERRY ROAD                                                             NAPERVILLE           IL   60563

8266429     NOBLE SYSTEMS CORPORATION                      1200 ASHWOOD PARKWAY, SUITE 300                                             ATLANTA              GA   30338‐4747
8266430     NORFOLK AIRPORT AUTHORITY                      2200 NORVIEW AVENUE                                                         NORFOLK              VA   23518

8296146     NORTH ATTLEBOROUGH ELECTRIC DEPARTMENT         275 LANDRY AVENUE                                                           NORTH ATTLEBOROUGH   MA   02760
8296147     NORTH HUDSON SEWERAGE AUTHORITY                1600 ADAMS STREET                                                           HOBOKEN              NJ   07030
8266434     NORTH STATE COMMUNICATIONS                     4100 MENDENHALL OAKS PARKWAY      SUITE 300                                 HIGH POINT           NC   27265
8296148     NORTHEAST OHIO REGIONAL SEWER DISTRICT         3900 EUCLID AVENUE                                                          CLEVELAND            OH   44115

8296149     NORTHERN INDIANA PUBLIC SERVICE (NIPSCO)       801 E. 86TH AVENUE                                                          MERRILLVILLE         IN   46410
8296150     NORTHERN KENTUCKY WATER DISTRICT               2835 CRESCENT SPRINGS ROAD                                                  ERLANGER             KY   41018
8296151     NORTHERN VIRGINIA ELECTRIC COOPERATIVE         10323 LOMOND DRIVE                                                          MANASSAS             VA   20109
8296152     NORTHWEST NATURAL GAS COMPANY OF OR            250 SW TAYLOR STREET                                                        PORTLAND             OR   97204
8296153     NORTHWESTERN ENERGY (MT)                       11 E. PARK ST.                                                              BUTTE                MT   59701
8296154     NORWOOD MUNICIPAL LIGHT DEPT.                  136 ACCESS ROAD                                                             NORWOOD              MA   02062
8296155     NOVA SCOTIA POWER                              1223 LOWER WATER STREET                                                     HALIFAX              NS   B3J 3S8      CANADA
8296156     NUI ELIZABETHTOWN GAS                          520 GREEN LANE                                                              UNION                NJ   07083

8296157     NV ENERGY (NORTHERN NEVADA ‐ SIERRA PACIFIC)   6226 W. SAHARA AVE.                                                         LAS VEGAS            NV   89146

8296158     NV ENERGY (SOUTHERN NEVADA ‐ NEVADA POWER) 6226 W. SAHARA AVE.                                                             LAS VEGAS            NV   89146
8296159     NYC WATER BOARD                            59‐17 JUNCTION BOULEVARD              8TH FLOOR                                 FLUSHING             NY   11373
8296160     NYSEG                                      18 LINK DRIVE                                                                   BINGHAMTON           NY   13904


          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                 Page 18 of 25
                                                      Case 20-11218-MFW               Doc 645             Filed 07/01/20   Page 136 of 142
                                                                                                Exhibit J
                                                                                         Utilities Service List
                                                                                       Served via first class mail
MMLID                           NAME                                ADDRESS 1                            ADDRESS 2         ADDRESS 3                CITY   STATE POSTAL CODE COUNTRY
            OAKLAND COUNTY WATER RESOURCES
8296161     COMMISSIONER                                ONE PUBLIC WORKS DRIVE               BUILDING 95W                              WATERFORD           MI   48328‐1907
8296162     O'CONNELL OIL                               545 MERRILL ROAD                                                               PITTSFIELD          MA   01201
8296163     OHIO EDISON (FIRSTENERGY OF OH)             76 S MAIN ST                                                                   AKRON               OH   44308‐1812
8296164     OKALOOSA GAS DISTRICT                       ?364 VALPARAISO PARKWAY                                                        VALPARAISO          FL   32580
8296165     OKLAHOMA ELECTRIC COOPERATIVE               242 24TH AVE NW                                                                NORMAN              OK   73069
8296166     OKLAHOMA GAS & ELECTRIC OF OK               321 N HARVEY AVE                                                               OKLAHOMA CITY       OK   73102‐3405
8296167     OKLAHOMA NATURAL GAS (OK)                   100 WEST 5TH STREET                                                            TULSA               OK   74103
8296168     OMAHA PUBLIC POWER DISTRICT (NE)            444 S 16TH ST. MALL                                                            OMAHA               NE   68102‐2247
            ONCOR (FORMERLY TXU ELECTRIC DELIVERY       1616 WOODALL RODGERS FWY STE 5E‐
8296169     COMPANY)                                    003                                                                            DALLAS              TX   75202‐1234
8296170     ONEPOINT TECHNOLOGIES INC.                  3380 TRICKUM RD BLDG 300‐100                                                   WOODSTOCK           GA   30188‐3683
8296171     ONONDAGA COUNTY WATER AUTHORITY             200 NORTHERN CONCOURSE                                                         SYRACUSE            NY   13212
8296172     ONSLOW WATER & SEWER AUTHORITY              228 GEORGETOWN RD.                                                             JACKSONVILLE        NC   28540
                                                        SCOTT BURTON, UTILITIES GENERAL
8296173     ONTARIO MUNICIPAL UTILITIES COMPANY         MANAGER                              1425 SOUTH BON VIEW AVE                   ONTARIO             CA   91761
8266556     OPTIMUM                                     ONE COURT SQUARE WEST                                                          LONG ISLAND CITY    NY   11101
8296174     ORANGE & ROCKLAND UTILITIES NJ              390 W. ROUTE 59                                                                SPRING VALLEY       NY   10977
8296175     ORANGE & ROCKLAND UTILITIES NY              390 W. ROUTE 59                                                                SPRING VALLEY       NY   10977
8296176     ORLANDO UTILITIES COMMISSION                100 WEST ANDERSON STREET                                                       ORLANDO             FL   32801
8296177     OSTERMAN PROPANE INC (MA)                   PO BOX 150 WHITINSVILLE                                                        WHITINSVILLE        MA   01588
8296178     PACIFIC GAS & ELECTRIC                      5555 FLORIN PERKINS RD                                                         SACRAMENTO          CA   95826
8296179     PACIFIC WASTE, INC.                         74‐5610 ALAPA ST.                                                              KAILUA KONA         HI   96740
8296180     PACIFICORP OF OR (PACIFIC POWER)            825 NE MULTNOMAH STREET                                                        PORTLAND            OR   97232

8296181     PACIFICORP OF UT (ROCKY MOUNTAIN POWER)     1407 W NORTH TEMPLE                                                            SALT LAKE CITY      UT   84116
8296182     PALM BEACH COUNTY UTILITY DEPT.             301 N. OLIVE AVENUE                                                            WEST PALM BEACH     FL   33401
8296183     PALMETTO ELECTRIC COOP INC (SC)             4063 GRAYS HIGHWAY                                                             RIDGELAND           SC   29936
8266660     PCS COMMUNICATIONS                          1726 RICHEY ST                                                                 PASADENA            TX   77502
8296184     PEABODY MUNICIPAL LIGHT PLANT               201 WARREN STREET EXTENSION                                                    PEABODY             MA   01960
8296185     PEARL RIVER VALLEY EPA                      1422 MS‐13                                                                     COLUMBIA            MS   39429
8296186     PECO ENERGY COMPANY                         1409 TANGIER DRIVE                                                             MIDDLE RIVER        MD   21220
8296187     PEDERNALES ELECTRIC COOPERATIVE INC.        PO BOX 1                                                                       JOHNSON CITY        TX   78636‐0001
8296188     PENN POWER (FIRSTENERGY OF PA)              76 MAIN STREET                                                                 AKRON               OH   44308‐1890
8296189     PENNICHUCK                                  25 MANCHESTER STREET                                                           MERRIMACK           NH   03054
8296190     PENNSYLVANIA AMERICAN WATER                 825 WESLEY DRIVE                                                               MECHANICSBURG       PA   17055

8296191     PEOPLES ENERGY (NORTH SHORE)                130 EAST RANDOLPH DRIVE 24TH FLOOR                                             CHICAGO             IL   60601
8296192     PEOPLES GAS LIGHT & COKE CO.                702 NORTH FRANKLIN STREET                                                      TAMPA               FL   33602
            PEOPLES NATURAL GAS (FKA DOMINION PEOPLES
8296193     GAS OF PA)                                  375 NORTH SHORE DRIVE                SUITE 600                                 PITTSBURGH          PA   15212
            PEOPLES NATURAL GAS (FKA EQUITABLE GAS
8296194     COMPANY)                                    375 NORTH SHORE DRIVE                SUITE 600                                 PITTSBURGH          PA   15212
8296195     PEPCO OF MD                                 PO BOX 97274                                                                   WASHINGTON          DC   20090‐7274


          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                Page 19 of 25
                                                      Case 20-11218-MFW                  Doc 645           Filed 07/01/20   Page 137 of 142
                                                                                                    Exhibit J
                                                                                             Utilities Service List
                                                                                           Served via first class mail
MMLID                          NAME                                    ADDRESS 1                        ADDRESS 2           ADDRESS 3              CITY   STATE   POSTAL CODE COUNTRY
8296196     PETERBOROUGH UTILITIES SERVICES              PO BOX 4125, STATION MAIN             1867 ASHBURHAM DRIVE                     PETERBOROUGH      ON      K9J 6Z5    CANADA
8296197     PETRO COMMERCIAL SERVICES                    55‐60 58TH STREET                                                              MASPETH           NY      11378
8296198     PETROLEUM SERVICE CO (PA)                    454 S MAIN ST                                                                  WIKES‐BARRE       PA      18703
8296199     PHILADELPHIA GAS WORKS                       800 W. MONTGOMERY AVENUE                                                       PHILADELPHIA      PA      19122

8266708     PHOENIX‐ MESA GATEWAY AIRPORT AUTHORITY      6033 S SOSSAMAN RD                                                             MESA              AZ      85212
8296200     PICO WATER DISTRICT                          4843 S. CHURCH ST.                                                             PICO RIVERA       CA      90660‐2102
8296201     PIEDMONT NATURAL GAS COMPANY OF NC           4720 PIEDMONT ROW DRIVE                                                        CHARLOTTE         NC      28233
8296202     PIEDMONT NATURAL GAS COMPANY OF SC           4720 PIEDMONT ROW DRIVE                                                        CHARLOTTE         NC      28233

8296203     PIEDMONT NATURAL GAS OF TN (NASHVILLE GAS)   4720 PIEDMONT ROW DRIVE                                                        CHARLOTTE         NC      28233
8296204     PINELLAS COUNTY UTILITIES                    14 SOUTH FORT HARRISON AVE                                                     CLEARWATER        FL      33756
8296205     PITTSBURGH WATER & SEWER AUTHORITY           1200 PENN AVENUE                                                               PITTSBURGH        PA      15222
8296206     PITTSFIELD CHARTER TOWNSHIP                  6201 W. MICHIGAN AVE                                                           ANN ARBOR         MI      48108‐9721
8296207     POINT BAY FUEL, INC.                         71 IRONS STREET                                                                TOMS RIVER        NJ      08753
8296208     PORT OF OAKLAND                              530 WATER STREET                                                               OAKLAND           CA      94607
8296209     PORTLAND GENERAL ELECTRIC                    121 SW SALMON ST.                                                              PORTLAND          OR      97204
8296210     PORTLAND WATER DISTRICT                      225 DOUGLASS STREET                                                            PORTLAND          ME      04104
            POTOMACEDISON FKA ALLEGHENY POWER OF MD
8296211     (FIRSTENERGY OF MD)                          10435 DOWNSVILLE PIKE                                                          HAGERSTOWN        MD      21740
8296212     PPL ELECTRIC UTILITIES                       827 HAUSMAN ROAD                                                               ALLENTOWN         PA      18104‐9392
8296213     PREPA                                        PO BOX 364267                                                                  SAN JUAN          PR      00936‐4267
8296214     PROGRESSIVE WASTE SOLUTIONS (AB)             2301 EAGLE PARKWAY SUITE 200                                                   FORT WORTH        TX      76177
8296215     PROGRESSIVE WASTE SOLUTIONS OF FL, INC       17953 HUNTING BOW CIRCLE              SUITE 102                                LUTZ              FL      33558
8296216     PROVIDENCE WATER                             125 DUPONT DRIVE                                                               PROVIDENCE        RI      02907
8296217     PSE&G                                        80 PARK PLAZA                                                                  NEWARK            NJ      07102

8296218     PSE&G LONG ISLAND (FKA LIPA)                 333 EARLE OVINGTON BLVD SUITE 403                                              UNIONDALE         NY      11553
8296219     PUBLIC SERVICE OF NEW MEXICO (PNM)           414 SILVER AVENUE SOUTHWEST                                                    ALBUQUERQUE       NM      87102
8296220     PUGET SOUND ENERGY                           355 110TH AVENUE NORTHEAST                                                     BELLEVUE          WA      98004
8266800     QWEST                                        100 CENTURYLINK DRIVE                                                          MONROE            LA      71203
8296221     RACINE WATER & WASTEWATER UTILITIES          CITY HALL ANNEX ROOM 227              800 CENTER STREET                        RACINE            WI      53403
8296222     RADIO OIL CO. INC.                           34 ALBANY ST                                                                   WORCESTER         MA      01604
8296223     RAYNHAM CENTER WATER DISTRICT                280 PLEASANT STREET                                                            RAYNHAM           MA      02767
8296224     READING AREA WATER AUTHORITY                 1801 KUTZTOWN ROAD                                                             READING           PA      19604
8296225     RECOLOGY GOLDEN GATE                         900 SEVENTH STREET                                                             SAN FRANCISCO     CA      94107
8296226     RECOLOGY SAN MATEO COUNTY                    225 SHOREWAY ROAD                                                              SAN CARLOS        CA      94070
8296227     RECOLOGY VACAVILLE SOLANO                    1 TOWN SQUARE PLACE SUITE 200                                                  VACAVILLE         CA      95688

8296228     REGION OF PEEL                               10 PEEL CENTRE DRIVE, SUITE A AND B                                            BRAMPTON          ON      L6T 4B9      CANADA
8296229     REGIONAL WATER AUTHORITY                     90 SARGENT DRIVE                                                               NEW HAVEN         CT      06511
8296230     REPUBLIC SERVICES (MA)                       18500 NORTH ALLIED WAY                                                         PHOENIX           AZ      85054
8296231     REPUBLIC SERVICES (MO)                       18500 NORTH ALLIED WAY                                                         PHOENIX           AZ      85054
8296232     REPUBLIC SERVICES (NC)                       18500 NORTH ALLIED WAY                                                         PHOENIX           AZ      85054



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                  Page 20 of 25
                                                     Case 20-11218-MFW                     Doc 645         Filed 07/01/20   Page 138 of 142
                                                                                                    Exhibit J
                                                                                             Utilities Service List
                                                                                           Served via first class mail
MMLID                              NAME                                 ADDRESS 1                         ADDRESS 2         ADDRESS 3              CITY    STATE   POSTAL CODE COUNTRY
8296233     REPUBLIC SERVICES (NV)                         18500 NORTH ALLIED WAY                                                       PHOENIX           AZ       85054
8296234     REPUBLIC SERVICES (RI)                         18500 NORTH ALLIED WAY                                                       PHOENIX           AZ       85054
8296235     REPUBLIC SERVICES (TX)                         1450 EAST CLEVELAND STREET                                                   HUTCHINS          TX       75141
8296236     REPUBLIC SERVICES (VA)                         18500 NORTH ALLIED WAY                                                       PHOENIX           AZ       85054
8296237     REVOLUTION RESOURCE RECOVERY INC (BC)          19500 56TH AVE                                                               SURREY            BC       V5X 2X7    CANADA
8296238     RIVERSIDE PUBLIC UTILITIES                     3901 ORANGE ST                                                               RIVERSIDE         CA       92501
8296239     RIVIERA UTILITIES                              413 EAST LAUREL AVE.                                                         FOLEY             AL       36535
8266829     ROADPOST                                       4746 44TH AVE SW, SUITE #201                                                 SEATTLE           WA       98116‐4476
8296240     ROANOKE GAS COMPANY                            519 KIMBALL AVENUE NORTHEAST                                                 ROANOKE           VA       24016
8296241     ROCHESTER GAS & ELECTRIC (RG&E)                89 EAST AVENUE                                                               ROCHESTER         NY       14649
8296242     ROCHESTER PUBLIC UTILITIES                     4000 EAST RIVER ROAD NE                                                      ROCHESTER         MN       55906
8296243     ROCK RIVER WATER RECLAMATION                   3501 KISHWAUKEE STREET                                                       ROCKFORD          IL       61109
8296244     ROCKDALE WATER RESOURCES                       958 MILSTEAD AVE                                                             CONYERS           GA       30012
8296245     ROWLAND WATER DISTRICT                         3021 FULLERTON ROAD                                                          ROWLAND HEIGHTS   CA       91748
8296246     ROY CITY UTILITIES (UT)                        5051 S 1900 W                                                                ROY CITY          UT       84067
8296247     RUMPKE CONSOLIDATED COMPANIES (OH)             3990 GENERATION DR                                                           CINCINNATI        OH       45251
8296248     SACRAMENTO COUNTY UTILITIES                    9700 GOETHE ROAD SUITE C                                                     SACRAMENTO        CA       95827‐3500

8296249     SACRAMENTO MUNICIPAL UTILITY DISTRICT (SMUD)   6301 S ST.                                                                   SACRAMENTO        CA       95817
8296250     SACRAMENTO SUBURBAN WATER DISTRICT             3701 MARCONI AVENUE                SUITE 100                                 SACRAMENTO        CA       95821
8296251     SAINT JOHN ENERGY                              325 SIMMS STREET                                                             SAINT JOHN        NB       E2M 3LB      CANADA
8296252     SAINT PAUL REGIONAL WATER SERVICES             1900 RICE ST.                                                                SAINT PAUL        MN       55113
8266855     SALT LAKE CITY A/P AUTHORITY                   776 NORTH TERMINAL DRIVE                                                     SALT LAKE CITY    UT       84122

8296253     SALT LAKE CITY CORPORATION                     451 SOUTH STATE STREET, ROOM 306                                             SALT LAKE CITY    UT       84111
8296254     SALT RIVER PROJECT (SRP)                       1500 N. MILL AVE.                                                            TEMPE             AZ       85281
8296255     SAN ANTONIO WATER SYSTEM                       2800 US HWY 281 N                                                            SAN ANTONIO       TX       78212
8296256     SAN DIEGO GAS & ELECTRIC                       8330 CENTURY PARK COURT                                                      SAN DIEGO         CA       92123
8266877     SAN FRANCISCO AIRPORT COMMISSION               P.O. BOX 8097                                                                SAN FRANCISCO     CA       94128‐8097
            SAN FRANCISCO WATER POWER AND SEWER
8296257     (SFPUC)                                        525 GOLDEN GATE AVENUE                                                       SAN FRANCISCO     CA       94102
8296258     SAN GABRIEL VALLEY WATER CO                    11142 GARVEY AVENUE                                                          EL MONTE          CA       91733
8296259     SAN JOSE WATER COMPANY                         110 WEST TAYLOR ST.                                                          SAN JOSE          CA       95110
8266884     SANFORD AIRPORT AUTHORITY                      1200 RED CLEVELAND BLVD.                                                     SANFORD           FL       32773
8296260     SANITATION DISTRICT (KY) SD1                   1045 EATON DR                                                                FT. WRIGHT        KY       41017
8296261     SANTA CRUZ MUNICIPAL UTILITIES                 212 LOCUST ST                                                                SANTA CRUZ        CA       95060
8296262     SANTEE COOPER POWER                            1 RIVERWOOD DRIVE                                                            MONCKS CORNER     SC       29461
            SARASOTA COUNTY ENVIRONMENTAL
8296263     SERVICES/UTILITIES                             1001 SARASOTA CENTER BLVD.                                                   SARASOTA          FL       34240
8296264     SASK ENERGY                                    1000 ‐ 1777 VICTORIA AVENUE                                                  REGINA            SK       S4P 4K5      CANADA
8296265     SASK POWER                                     4291 5TH AVE EAST                                                            PRINCE ALBERT     SK       S6W 0A5      CANADA
8296266     SAWNEE EMC                                     543 ATLANTA HIGHWAY                                                          CUMMING           GA       30040
8296267     SCANA ENERGY MARKETING                         3344 PEACHTREE RD NE STE 2150                                                ATLANTA           GA       30326
8296268     SEATTLE CITY LIGHT                             700 5TH AVENUE SUITE 3200                                                    SEATTLE           WA       98124



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                  Page 21 of 25
                                                    Case 20-11218-MFW                       Doc 645         Filed 07/01/20   Page 139 of 142
                                                                                                     Exhibit J
                                                                                              Utilities Service List
                                                                                            Served via first class mail
MMLID                           NAME                                   ADDRESS 1                           ADDRESS 2         ADDRESS 3             CITY        STATE   POSTAL CODE COUNTRY
8296269     SHAKOPEE PUBLIC UTILITIES COMMISSION          255 SARAZIN ST.                                                                SHAKOPEE             MN       55379
8296270     SHENANDOAH VALLEY ELECTRIC CO‐OP (VA)         180 OAKWOOD DRIVE                                                              ROCKINGHAM           VA       22801
8266900     SIERRA TELEPHONE                              49150 ROAD 426                                                                 OAKHURST             CA       93644
8266901     SMART CITY TELECOM                            3100 BONNET CREEK ROAD                                                         LAKE BUENA VISTA     FL       32830‐2555
8296271     SNOHOMISH COUNTY PUD                          2320 CALIFORNIA STREET                                                         EVERETT              WA       98201
8266904     SO JERSEY TRANSPORTATION AUTHY                512 LAKELAND RD                                                                BLACKWOOD            NJ       08012
8296272     SOLID WASTE AUTHORITY (FL)                    7501 N. JOG ROAD                                                               WEST PALM BEACH      FL       33412
8296273     SOUTH BEND MUNICIPAL UTILITY                  125 W. COLFAX AVENUE                                                           SOUTH BEND           IN       46601
8296274     SOUTH BURLINGTON WATER DEPARTMENT             403 QUEEN CITY PARK ROAD                                                       SOUTH BURLINGTON     VT       05403
8266908     SOUTH CENTRAL A/V MEMPHIS                     1665 SHELBY OAKS DRIVE               SUITE 104                                 MEMPHIS              TN       38134

8266909     SOUTH CENTRAL RURAL TELEPHONE COOPERATIVE     SCRTC OR SC TELCOM                   1399 HAPPY VALLEY RD.                     GLASGOW              KY       42141
8296275     SOUTH HUNTINGTON WATER DISTRICT               75 FIFTH AVENUE                                                                HUNTINGTON STATION   NY       11746
8296276     SOUTH JERSEY GAS COMPANY                      1 SOUTH JERSEY PLAZA                                                           FOLSOM               NJ       08037
            SOUTH LOUISIANA ELECTRIC COOPERATIVE
8296277     ASSOCIATIONS (SLECA)                          2028 COTEAU ROAD                                                               HOUMA                LA       70364
8296278     SOUTH STICKNEY SANITARY DISTRICT              7801 LAVERGNE AVENUE                                                           BURBANK              IL       60459
8296279     SOUTHERN CALIFORNIA EDISON (SCE)              PO BOX 800                                                                     ROSEMEAD             CA       91770
8296280     SOUTHERN CALIFORNIA GAS COMPANY               1801 S. ATLANTIC BLVD.                                                         MONTEREY PARK        CA       91754
8296281     SOUTHERN CONNECTICUT GAS                      60 MARSH HILL ROAD                                                             ORANGE               CT       06477
8296282     SOUTHERN MONTGOMERY COUNTY MUD                25212 I‐45 NORTH                                                               SPRING               TX       77386
8296283     SOUTHWEST GAS CORPORATION OF AZ               1600 E. NORTHERN AVENUE                                                        PHOENIX              AZ       85020‐3982
8296284     SOUTHWEST GAS CORPORATION OF NV               400 EAGLE STATION LANE                                                         CARSON CITY          NV       89701‐6493

8296285     SOUTHWEST SUBURBAN SEWER DISTRICT             17840 DES MOINES MEMORIAL DR SO                                                BURIEN               WA       98148‐1706
8296286     SOUTHWESTERN VIRGINIA GAS                     208 LESTER STREET                                                              MARTINSVILLE         VA       24112
8296287     SPARTANBURG WATER COMPANY                     200 COMMERCE STREET                                                            SPARTANBURG          SC       29306
8267010     SPECTRUM BUSINESS                             400 ATLANTIC STREET                  10TH FLOOR                                STAMFORD             CT       06901

8296288     SPIRE ALABAMA (FKA ALABAMA GAS CORPORATION)   700 MARKET ST.                                                                 ST. LOUIS            MO       63101
8296289     SPIRE GULF (FKA MOBILE GAS)                   700 MARKET ST.                                                                 ST. LOUIS            MO       63101
8296290     SPIRE MISSOURI EAST (FKA LACLEDE GAS)         700 MARKET ST.                                                                 ST. LOUIS            MO       63101
8296291     SPIRE MISSOURI WEST (FKA MISSOURI GAS)        700 MARKET ST.                                                                 ST. LOUIS            MO       63101
8296292     SPRINGFIELD WATER AND SEWER COMMISION         250 M STREET EXTENSION                                                         AGAWAM               MA       01001
8296293     ST. LUCIE WEST SERVICES DISTRICT (SLWSD)      450 SW UTILITY DRIVE                                                           PORT SAINT LUCIE     FL       34986
8267032     STAN WOLFSON                                  3947 S PEACH WAY                                                               DENVER               CO       80237
8267033     STARCOMM WIRELESS                             275 PUHALE ROAD                                                                HONOLULU             HI       96819
8296294     STARK COUNTY SANITARY & SEWER                 1701 MAHONING ROAD N.E.                                                        CANTON               OH       44711‐0972
8296295     SUBURBAN PROPANE (FKA ARROW GAS)              240 ROUTE 10 WEST                    P.O. BOX 206                              WHIPPANY             NJ       07981
8296296     SUBURBAN PROPANE (MI)                         240 ROUTE 10 WEST                    P.O. BOX 206                              WHIPPANY             NJ       07981
8296297     SUBURBAN PROPANE (NY)                         240 ROUTE 10 WEST                    P.O. BOX 206                              WHIPPANY             NJ       07981
8296298     SUBURBAN PROPANE (OH)                         240 ROUTE 10 WEST                    P.O. BOX 206                              WHIPPANY             NJ       07981
8296299     SUBURBAN PROPANE (PA)                         240 ROUTE 10 WEST                    P.O. BOX 206                              WHIPPANY             NJ       07981
8296300     SUBURBAN WATER SYSTEMS                        1325 N. GRAND AVENUE, SUITE 100                                                COVINA               CA       91724



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                   Page 22 of 25
                                                        Case 20-11218-MFW             Doc 645           Filed 07/01/20   Page 140 of 142
                                                                                                Exhibit J
                                                                                         Utilities Service List
                                                                                       Served via first class mail
MMLID                          NAME                                     ADDRESS 1                      ADDRESS 2         ADDRESS 3                CITY   STATE   POSTAL CODE COUNTRY
8296301     SUEZ WATER NEW YORK                           461 FROM ROAD, SUITE 400                                                   PARAMUS             NJ      07652
8296302     SUFFOLK COUNTY WATER AUTHORITY (SCWA)         4060 SUNRISE HIGHWAY                                                       OAKDALE             NY      11769
8267044     SUMMIT BROADBAND                              4558 35TH ST.                                                              ORLANDO             FL      32811
            SUMMIT ENERGY SERVICES, INC. (A SCHNEIDER
8267258     ELECTRIC COMPANY)                             10350 ORMSBY PARK PLACE          SUITE 400                                 LOUISVILLE          KY      40223

8296303     SUPER SAVE ENTERPRISES (DISPOSAL & PROPANE)   19395 LANGLEY BYPASS                                                       SURREY              BC      V3S 6K1      CANADA

8296304     SUPERIOR PLUS ENERGY SERVICES                 1870 SOUTH WINTON ROAD, SUITE 200                                          ROCHESTER           NY      14618
8296305     SUPERIOR PROPANE (NB)                         4846 ATHALMER ROAD                                                         INVERMERE           BC      V0A 1K3      CANADA
8296306     SUPERIOR PROPANE (NS)                         4846 ATHALMER ROAD ,                                                       INVERMERE           BC      V0A 1K3      CANADA
8296307     SWEETWATER AUTHORITY                          505 GARRETT AVE                                                            CHULA VISTA         CA      91912
8296308     TALQUIN ELECTRIC COOPERATIVE INC.             1640 W JEFFERSON STREET                                                    QUINCY              FL      32351
8267051     TASCO                                         9200 CODY                                                                  OVERLAND PARK       KS      66214‐1734
8296309     TAUNTON MUNICIPAL LIGHT PLANT                 33 WEIR STREET                                                             TAUNTON             MA      02780
8267053     TDS TELECOM                                   525 JUNCTION ROAD                                                          MADISON             WI      53717
8296310     TECO (PEOPLES GAS)                            1229 N FRANKLIN ST PLAZA 7                                                 TAMPA               FL      33602
8296311     TECO (TAMPA ELECTRIC)                         1229 N FRANKLIN ST PLAZA 7                                                 TAMPA               FL      33602
                                                          1 TEMASEK AVENUE #33‐01 MILLENIA
8267063     TELEMEDIA TECHNOLOGIES                        TOWER                                                                      SINGAPORE                   039192       SINGAPORE
8267064     TELUS COMMUNICATIONS INC                      510 GEORGIA STREET WEST #100                                               VANCOUVER           BC      V6B 0M3      CANADA
8296312     TENNESSEE AMERICAN WATER                      109 WIEHL STREET                                                           CHATTANOOGA         TN      37403
8296313     TEXAS GAS SERVICE                             200 SOUTHWEST 6TH AVENUE                                                   TOPEKA              KS      66603
8296314     TEXAS NEW MEXICO POWER COMPANY                577 NORTH GARDEN RIDGE BLVD                                                LEWISVILLE          TX      75067
8296315     THE CITY OF COLUMBUS                          77 N. FRONT STREET, 2ND FLOOR                                              COLUMBUS            OH      43215
8296316     THE ENERGY COOPERATIVE (OH)                   790 B WINDMILLER DRIVE                                                     PICKERINGTON        OH      43147
8296317     THE METROPOLITAN DISTRICT (MDC)               555 MAIN STREET                                                            HARTFORD            CT      06142
8296318     THE NARRAGANSETT BAY COMM                     1 SERVICE RD                                                               PROVIDENCE          RI      02905
8267081     THE VENETIAN                                  3355 LAS VEGAS BLVD               SOUTH ROOM 1A                            LAS VEGAS           NV      89109
8296319     THE VILLAGES OF LAKE SUMTER INC               1000 LAKE SUMTER LANDING                                                   THE VILLAGES        FL      32162
8296320     THE YORK WATER CO                             1070 HECKLE BLVD                  SUITE 101                                ROCK HILL           SC      29732
8267084     TIME WARNER CABLE                             60 COLUMBUS CIRCLE                                                         NEW YORK            NY      10023
8296321     TORONTO HYDRO                                 14 CARLTON STREET                                                          TORONTO             ON      M5B 1K5      CANADA
8296322     TORONTO REVENUE SERVICES                      5100 YONGE ST.                    LOWER FLOOR                              TORONTO             ON      M2N 5V7      CANADA

8296323     TOWN OF BARNSTABLE (HYANNIS WATER SYSTEM)     47 OLD YARMOUTH ROAD                                                       HYANNIS             MA      02601
8296324     TOWN OF FRONT ROYAL                           102 E MAIN ST                                                              FRONT ROYAL         VA      22630
8296325     TOWN OF GROTON                                173 MAIN ST.                                                               GROTON              MA      01450
8296326     TOWN OF JACKSON                               106 MAIN STREET                                                            JACKSON             SC      29831
8296327     TOWN OF LEESBURG                              25 W MARKET ST                                                             LEESBURG            VA      20176
8296328     TOWN OF LONDONDERRY                           268B MAMMOTH ROAD                                                          LONDONDERRY         NH      03053
8296329     TOWN OF POUGHKEEPSIE                          1 OVEROCKER ROAD                                                           POUGHKEEPSIE        NY      12603
8296330     TOWN OF SALEM (NH)                            93 WASHINGTON STREET                                                       SALEM               MA      01970
8296331     TOWN OF TISBURY WATER WORKS (MA)              51 SPRING ST.                                                              VINEYARD HAVEN      MA      02568



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                              Page 23 of 25
                                                     Case 20-11218-MFW                   Doc 645         Filed 07/01/20      Page 141 of 142
                                                                                                  Exhibit J
                                                                                           Utilities Service List
                                                                                         Served via first class mail
MMLID                           NAME                                    ADDRESS 1                     ADDRESS 2                ADDRESS 3             CITY             STATE   POSTAL CODE COUNTRY
8296332     TOWN OF WEYMOUTH                              75 MIDDLE STREET                                                                 WEYMOUTH                   MA      02189
8296333     TOWN OF WINDSOR LOCKS                         50 CHURCH STREET                                                                 WINDSOR LOCKS              CT      06096
8296334     TOWNSHIP OF NORTH BRUNSWICK                   710 HERMANN ROAD                                                                 NORTH BRUNSWICK            NJ      08902
8296335     TRUCKEE MEADOWS WATER AUTHORITY               1355 CAPITAL BLVD                                                                RENO                       NV      89502
8296336     TRUMBULL COUNTY WATER & SEWER                 842 YOUNGSTOWN KINGSVILLE RD                                                     VIENNA                     OH      44473
8296337     TUCSON ELECTRIC POWER                         88 E BROADWAY BLVD                                                               TUCSON                     AZ      85701
8296338     TURLOCK IRRIGATION DISTRICT                   333 E. CANAL DRIVE                                                               TURLOCK                    CA      95381

8296339     U.S. VIRGIN ISLANDS WATER & POWER AUTHORITY   ST. CROIX DISTRICT                 P.O. BOX 5997                                 CHRISTIANSTED, ST. CROIX   VI      00823
8296340     UGI ‐ PENN NATURAL GAS (FKA PG ENERGY)        1263 W 3RD ST                                                                    WILLIAMSPORT               PA      17701
8296341     UGI UTILITIES INC.                            1 UGI DRIVE                                                                      DENVER                     PA      17517
8296342     UNION GAS COMPANY                             P.O. BOX 2001                                                                    CHATHAM                    ON      N7M 5M1      CANADA
8296343     UNISOURCE ENERGY SERVICES                     2901 W. SHAMRELL BLVD.                                                           FLAGSTAFF                  AZ      86005
8296344     UNITED ILLUMINATING COMPANY                   180 MARSH HILL RD                                                                ORANGE                     CT      06477
8296345     UNITED WATER NEW JERSEY                       69 DEVOE PL                                                                      HACKENSACK                 NJ      07601
8296346     UNITED WATER NEW YORK                         360 W NYACK RD                                                                   WEST NYACK                 NY      10994
8296347     UNITIL MA                                     357 ELECTRIC AVE                                                                 LUNENBURG                  MA      01462

8296348     UNITIL ME (NORTHERN UTILITIES OF ME)          376 RIVERSIDE INDUSTRIAL PARKWAY                                                 PORTLAND                   ME      04103
8296349     UNITIL NH (NORTHERN UTILITIES OF NH)          6 LIBERTY LANE WEST                                                              HAMPTON                    NH      03842‐1720
8296350     UTE WATER CONSERVANCY DISTRICT                2190 1/4 RD # H                                                                  GRAND JUNCTION             CO      81505
8296351     UTILITIES INC. OF LOUISIANA                   27 PINE STREET                                                                   LEWISTON                   ME      04240
8267143     VALLEY INTERNATIONAL AIRPORT                  AIRPORT TERMINAL                   3RD TERMINAL                                  HARLINGEN                  TX      78550
8296352     VECTREN ENERGY DELIVERY (INDIANA GAS)         PO BOX 209                                                                       EVANSVILLE                 IN      47702
8296353     VECTREN ENERGY DELIVERY (SIGECO)              PO BOX 209                                                                       EVANSVILLE                 IN      47702
8267152     VERIZON                                       1095 AVENUE OF THE AMERICAS                                                      NEW YORK                   NY      10036
8267153     VERIZON WIRELESS                              BANKRUPTCY ADMINISTRATION          500 TECHNOLOGY DRIVE      SUITE 550           WELDON SPRING              MO      63304
8296354     VERMONT GAS SYSTEMS INC.                      85 SWIFT STREET SOUTH                                                            BURLINGTON                 VT      05403
8296355     VILLAGE OF BOURBONNAIS                        600 MAIN ST. NW                                                                  BOURBONNAIS                IL      60914
8296356     VILLAGE OF CRESTWOOD                          13840 S CICERO AVE                                                               CRESTWOOD                  IL      60418
8296357     VILLAGE OF DOWNERS GROVE                      801 BURLINGTON AVE                                                               DOWNERS GROVE              IL      60515
8296358     VILLAGE OF LOMBARD                            255 E WILSON AVENUE                                                              LOMBARD                    IL      60148
8296359     VILLAGE OF MOKENA                             11004 CARPENTER STREET                                                           MOKENA                     IL      60448
8296360     VILLAGE OF OAK PARK                           123 MADISON ST                                                                   OAK PARK                   IL      60302
8296480     VILLAGE OF SCHAUMBURG                         101 SCHAUMBURG COURT                                                             SCHAUMBURG                 IL      60193
8296361     VILLAGE OF SCHILLER PARK                      9526 WEST IRVING PARK ROAD                                                       SCHILLER PARK              IL      60176
8296362     VILLAGE OF SOUTH HOLLAND                      16226 WAUSAU AVENUE                                                              SOUTH HOLLAND              IL      60473
8296363     VILLAGE OF STONE PARK                         1825 N. 32ND AVE                                                                 STONE PARK                 IL      60165
8296364     VINELAND MUNICIPAL UTILITIES                  640 E. WOOD STREET                                                               VINELAND                   NJ      08362‐1508
8296365     VIRGINIA AMERICAN WATER                       621 OLDHAMS RD                                                                   WARSAW                     VA      22572
8296366     VIRGINIA NATURAL GAS                          544 S INDEPENDENCE BLVD                                                          VIRGINIA BEACH             VA      23452‐1104
8267172     VISION COMMUNICATIONS                         155 WEST 10TH BLVD                                                               LAROSE                     LA      70373
8296367     WALLINGFORD ELECTRIC DIVISION                 100 JOHN STREET                                                                  WALLINGFORD                CT      06492
8296368     WALTON EMC                                    842 US HIGHWAY 78                                                                MONROE                     GA      30655



          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                Page 24 of 25
                                                   Case 20-11218-MFW                       Doc 645         Filed 07/01/20   Page 142 of 142
                                                                                                    Exhibit J
                                                                                             Utilities Service List
                                                                                           Served via first class mail
MMLID                            NAME                                  ADDRESS 1                          ADDRESS 2         ADDRESS 3              CITY     STATE   POSTAL CODE COUNTRY
8267177     WAM RADIO                                     4230 PACKARD ROAD                                                             ANN ARBOR           MI      48108‐1597
8296369     WARWICK SEWER AUTHORITY                       125 ARTHUR W DEVINE BLVD                                                      WARWICK             RI      02886
8296370     WARWICK UTILITY BILLING                       3027 WEST SHORE RD                                                            WARWICK             RI      02886
8296371     WASHINGTON GAS OF DC                          101 CONSTITUTION AVE NW                                                       WASHINGTON          DC      20001‐2133
8296372     WASHINGTON GAS OF MD                          PO BOX 170                                                                    FREDERICK           MD      21705‐0170
8296373     WASHINGTON GAS OF VA                          6801 INDUSTRIAL ROAD                                                          SPRINGFIELD         VA      22151
8296374     WASHINGTON SUBURBAN SANITARY C                14501 SWEITZER LANE                                                           LAUREL              MD      20707
8296375     WASTE MANAGEMENT (CA)                         9081 TUJUNGA AVENUE SUITE 4000                                                SUN VALLEY          CA      91352
8296376     WASTE MANAGEMENT (OH)                         1700 NORTH BROAD STREET                                                       FAIRBORN            OH      45324
8296377     WASTE PRO (FL)                                2101 WEST STATE ROAD 434            SUITE 305                                 LONGWOOD            FL      32779‐5053
8296378     WATER GAS & LIGHT COMMISSION                  207 PINE AVENUE                                                               ALBANY              GA      31701

8296379     WATER REVENUE BUREAU (CITY OF PHILADELPHIA)   1401 JOHN F KENNEDY BLVD                                                      PHILADELPHIA        PA      19102
8296380     WATERONE (KS)                                 10747 RENNER BLVD                                                             LENEXA              KS      66219
8296381     WAUKESHA WATER UTILITY                        115 DELAFIELD ST                                                              WAUKESHA            WI      53187
8267204     WAVE BROADBAND                                401 PARK PLACE CENTER               SUITE 103                                 KIRKLAND            WA      98033
8267205     WC MAUI COAST HOTEL LLC                       2259 SOUTH KIHEI ROAD                                                         KIHEI               HI      96753
8296382     WE ENERGIES ‐ WI ELECTRIC POWER COMPANY       231 W. MICHIGAN ST                                                            MILWAUKEE           WI      53203
8296383     WE ENERGIES ‐ WI GAS LLC                      231 W. MICHIGAN ST                                                            MILWAUKEE           WI      53203
            WEST PENN POWER FKA ALLEGHENY POWER OF PA
8296384     (FIRSTENERGY OF PA)                           800 CABIN HILL DRIVE                                                          GREENSBURG          PA      15601
8296385     WEST VIRGINIA AMERICAN WATER                  1600 PENNSYLVANIA AVE.                                                        CHARLESTON          WV      25302
8296386     WESTERN NATURAL GAS (FL)                      2960 STRICKLAND ST                                                            JACKSONVILLE        FL      32254
8296387     WESTERN VA WATER AUTHORITY                    601 S JEFFERSON ST #100                                                       ROANOKE             VA      24011
8267215     WICHITA AIRPORT                               2173 AIR CARGO RD.                                                            WICHITA             KS      67209
8267216     WINDSOR MARKETING                             100 MARKETING DRIVE                                                           SUFFIELD            CT      06078
8267217     WINDSTREAM                                    4001 RODNEY PARHAM ROAD                                                       LITTLE ROCK         AR      72212
8296388     WINNIPEG WATER AND WASTE DEPARTMENT           510 MAIN ST                                                                   WINNIPEG            MB      R3B 1B9      CANADA
8296389     WOODHAVEN WATER DEPARTMENT                    21869 WEST ROAD                                                               WOODHAVEN           MI      48183
8296390     WSSC WATER                                    14501 SWEITZER LN                                                             LAUREL              MD      20707
8296391     XCEL ENERGY OF CO (PSC OF COLORADO)           1800 LARIMER ST                                                               DENVER              CO      80202‐1402
            XCEL ENERGY OF MN (FORMERLY NORTHERN STATES
8296392     POWER)                                        414 NICOLLET MALL                                                             MINNEAPOLIS         MN      55401
8296394     XCEL ENERGY OF WI                             414 NICOLLET MALL                                                             MINNEAPOLIS         MN      55401‐1993
8267254     XO COMMUNICATIONS                             13865 SUNRISE VALLEY DRIVE                                                    HERNDON             VA      20171
8296395     YAMPA VALLEY ELECTRIC ASSOCIATION             2211 ELK RIVER RD                                                             STEAMBOAT SPRINGS   CO      80487
8296396     YORK ELECTRIC COOPERATIVE                     1385 ALEXANDER LOVE HWY                                                       YORK                SC      29745




          In re The Hertz Corporation, et al.
          Case No. 20‐11218 (MFW)                                                                  Page 25 of 25
